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  7   Attorneys for Plaintiffs
  8
                                 UNITED STATES DISTRICT COURT
  9
                              SOUTHERN DISTRICT OF CALIFORNIA
 10
      JOSE CHAVEZ, et al.,                ) Case No.: 3:19-cv-01226-L-AHG
 11                                       ) Hon. M. James Lorenz and Magistrate Judge
                    Plaintiffs,
 12                                       ) Allison H. Goddard
      v.                                  )
 13
      ROB BONTA, in his official          ) DECLARATION OF JOHN W. DILLON IN
                                            SUPPORT OF PLAINTIFFS’ OPPOSITION
 14   capacity as Attorney General of the ) TO DEFENDANTS’ MOTION FOR
      State of California, et al.,1       )
 15                                       ) SUMMARY JUDGMENT
 16   Defendants.                         ) Date: May 13, 2024
                                          ) Time: 10:30 a.m.
 17                                       ) Place: Courtroom 5B (Fifth Floor)
 18                                       )
                                          ) Third Amended Complaint Filed: March. 22,
 19                                       ) 2024
 20                                       )
      ____________________________ ) No oral argument will be heard pursuant to local
 21
                                            rules unless ordered by the Court
 22
 23
 24
 25
      1
 26      Rob Bonta is automatically substituted for his predecessor, Xavier Becerra, as
      California Attorney General, and Allison Mendoza is automatically substituted for her
 27
      predecessors, former Directors Louis Lopez and Martin Horan, and former Acting
 28   Directors Brent E. Orick and Blake Graham. Fed. R. Civ. P. 25(d).

                                                              1
             DECLARATION OF JOHN W. DILLON IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT)
Case 3:19-cv-01226-L-AHG          Document 139-1 Filed 04/29/24                    PageID.17604            Page
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  1                             DECLARATION OF JOHN W. DILLON
  2   I, John W. Dillon, declare as follows:
  3          1.     I am licensed to practice law in the State of California. I am the counsel
  4   of record for Plaintiffs in this action.
  5
             2.     I have personal knowledge of the facts stated herein and, if called as a
  6   witness, could and would competently testify to such facts.
  7
             3.     I have personally verified the documents described below and used the
  8
      facts within each document to prepare the legal memorandum in support of Plaintiffs’
  9
      Opposition to Defendants’ Motion for Summary Judgement.
 10
             4.     Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’
 11
      Survey Responses, which provide a point-by-point response to the Defendants’
 12
      “survey of relevant laws, ordinances, and authorities categorized among five charts”
 13
      provided in the Declaration of Todd Grabarsky (ECF No. 133).
 14

 15          I declare under penalty of perjury under the laws of the United States that the

 16   foregoing is true and correct and this declaration was executed on April 29, 2024 in

 17
      Carlsbad, California.

 18                                                                       By: _______________________
                                                                                John W. Dillon
 19

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                                                              2
             DECLARATION OF JOHN W. DILLON IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT)
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 27                EXHIBIT A: PLAINTIFFS SURVEY RESPONSES
 28

                                            1
                                                           EX. A: PLAINTIFFS’ SURVEY RESPONSES
                     Case 3:19-cv-01226-L-AHG         Document 139-1 Filed 04/29/24               PageID.17606        Page
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                                               Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                 PLAINTIFFS’ SURVEY RESPONSES
                                                         Historical Laws


                                                  A. FIREARMS AGE RESTRICTIONS

Exhibit   Year     Jurisdiction           Citation                         Description of Regulation                   Plaintiffs’ Response
 No.

Laws of the States, Territories, and District of Columbia

Early Republic (1791-1812)

  1       1812       Delaware     Act of Feb. 4, 1812, 195    “Section 1. If any person or persons shall presume      Restriction applies to all
                                  Del. Laws 529 (1812).       to fire or discharge any gun, ordnance, musket,         persons. This is a general
                                  An Act to prevent the       fowling-piece, fusee or pistol, within any of the       restriction on discharging
                                  discharging of fire-arms    towns or villages of this State, or within the limits   firearms. There is no age
                                  within the towns and        thereof; of where the limits cannot be ascertained,     restriction of any kind.
                                  villages, and other         within one quarter of a mile of the center of such      Under this Act, 18-to-20-
                                  public places within this   town or village, shall fire or discharge any gun,       year-olds would be free to
                                  State, and for other        ordnance, musket, fowling piece, fusee or pistol,       purchase and acquire any
                                  purposes.                   within or on any of the greens, streets, alleys or      firearm without restriction
                                                              lanes of any of the towns and villages within this      whether they were under
                                                              State, whereon any buildings are or shall be            or over the current age of
                                                              erected, or within one hundred yards of any mill-       majority.
                                                              dam, over or across where any of the main public
                                                              or State roads may go or pass; every person or
                                                              persons so offending, shall be fined or punished as
                                                              hereinafter directed.”
                                                              “Sect. 2. If any free white person or persons or the
                                                              child or children of any such person or persons
                                                              shall fire or discharge any gun, ordnance, musket,
                                                              fowling-piece, fusee or pistol within any or at any
                                                                                                                                           4
                   Case 3:19-cv-01226-L-AHG         Document 139-1 Filed 04/29/24           PageID.17607         Page
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                                             Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                              PLAINTIFFS’ SURVEY RESPONSES
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year    Jurisdiction          Citation                     Description of Regulation                    Plaintiffs’ Response
 No.
                                                         of the places or limits aforesaid, every such person
                                                         or persons or the child or children of every such
                                                         person or persons shall forfeit and pay for every
                                                         such offence any sum not exceeding five dollars to
                                                         be recovered from the person or persons, or from
                                                         the parent of such child or children before any
                                                         Justice of the Peace of this State on his own view,
                                                         or on the oath or affirmation of any one or more
                                                         credible witnesses to be recovered as debts under
                                                         forty shillings are recoverable by the laws of the
                                                         State.”

Antebellum and Reconstruction Periods (1813-1877)

  2       1856     Alabama       1856 Ala. Acts 17, To   Section 1. “That anyone who shall sell or give or       Restriction applies to legal
                                 Amend the Criminal      lend, to any male minor, a bowie knife, or knife or     minors, not adults. Legal
                                 Law, §1 (1855 Ala.      instrument of the like kind or description, by          adults would be free to
                                 Laws 17).               whatever name called, or air gun or pistol, shall, on   purchase any firearms or
                                                         conviction be fined not less than three hundred, nor    weapon without restriction
                                                         more than one thousand dollars.”                        under this act.
                                                                                                                 Act also restricts Bowie
                                                                                                                 Knives, air guns, and
                                                                                                                 pistols. Individuals 18-to-
                                                                                                                 20-years old would be free
                                                                                                                 to purchase all long guns
                                                                                                                 without restriction.
                                                                                                                                      5
                  Case 3:19-cv-01226-L-AHG         Document 139-1 Filed 04/29/24              PageID.17608          Page
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                                            Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                      Grabarsky Declaration
                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                     Plaintiffs’ Response
 No.



  3       1856    Tennessee     Seymour Dwight             “Sec. 2. Be it enacted, That, hereafter, it shall be     Restriction applies to legal
                                Thompson, A                unlawful for any person to sell, loan, or give, to any   minors, not adults. Legal
                                Compilation of the         minor a pistol, bowie-knife, dirk, or Arkansas           adults would be free to
                                Statute Laws of the        tooth-pick, hunter’s knife; and whoever shall so         purchase any firearms or
                                State of Tennessee, of a   sell, loan, or give to any minor any such weapon,        weapon without restriction
                                General and Permanent      on conviction thereof, upon indictment or                under this act.
                                Nature, Compiled on the    presentment, shall be fined not less than twenty-
                                Basis of the Code of       five dollars, and be liable to imprisonment, at the      Act also restricts the sale
                                                                                                                    and loan of certain knives,
                                Tennessee, With Notes      discretion of the Court: Provided, that this act shall
                                                                                                                    and pistols.
                                and References,            not be construed so as to prevent the sale, loan, or
                                Including Acts of          gift to any minor of a gun for hunting.”
                                                                                                                  Individuals 18-to-20-years
                                Session of 1870-’71        “Sec. 3. Be it enacted, That it shall be the duty of   old would be free to
                                Page 125, Image 794        the Circuit Judges and the Judges of the Criminal      purchase all long guns
                                (Vol. 2, 1873) available   Courts to give this act in charge to the Grand Juries: without restriction.
                                at The Making of           Provided, said minor be travelling on a journey, he
                                Modern Law: Primary        shall be exempted.”                                     Act explicitly provides that
                                Sources. 1856.                                                                     “this act shall not be
                                                                                                                   construed so as to prevent
                                Offences Against Public
                                                                                                                   the sale, loan, or gift to any
                                Policy and Economy. §                                                              minor of a gun for
                                4864.                                                                              hunting.” Thus, pistols and
                                Tenn. 1856 ch. 81 p. 92                                                            long guns could still be
                                § 2.                                                                               acquired by minors.

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                  Case 3:19-cv-01226-L-AHG         Document 139-1 Filed 04/29/24            PageID.17609          Page
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                                            Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                      Grabarsky Declaration
                                                         Historical Laws

                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                       Description of Regulation                     Plaintiffs’ Response
 No.

  4       1858    Tennessee     The Code of Tennessee    “4864. Any person who sells, loans, or gives to any      Restriction applies to legal
                                Enacted by the General   minor a pistol, bowie-knife, dirk, Arkansas tooth-       minors, not adults. Legal
                                Assembly of 1857-8,      pick, hunter's knife, or like dangerous weapon,          adults would be free to
                                871 (Return J. Meigs &   except a gun for hunting or weapon for defence in        purchase any firearms or
                                William F. Cooper eds.   travelling, is guilty of a misdemeanor, and shall be     weapon without restriction
                                1858). Chapter 9,        fined not less than twenty-five dollars, and be          under this act.
                                Article II, Selling      imprisoned in the county jail at the discretion of the
                                Liquors or Weapons to    court.”                                                  Act also restricts the sale
                                                                                                                  and loan of certain knives,
                                Minors or Slaves. Page
                                                                                                                  and pistols.
                                871. 1858.
                                                                                                                  Individuals 18-to-20-years
                                                                                                                  old would be free to
                                                                                                                  purchase all long guns
                                                                                                                  without restriction.

                                                                                                                  Act explicitly exempts
                                                                                                                  “gun[s] for hunting or
                                                                                                                  weapon[s] for defence”
                                                                                                                  Thus, pistols and long guns
                                                                                                                  could still be acquired by
                                                                                                                  minors.




                                                                                                                                       7
            Case 3:19-cv-01226-L-AHG       Document 139-1 Filed 04/29/24               PageID.17610         Page
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5   1859,   Kentucky   Act of Jan. 12, 1860, ch.   “§ 23. If any person, other than the parent or           Restriction applies to legal
    1860               33, § 23, 1859 Ky. Acts     guardian, shall sell, give, or loan, any pistol, dirk,   minors, not adults. Legal
                       241, 245.                   bowie-knife, brass-knucks, slung-shot, colt, cane-       adults would be free to
                                                   gun, or other deadly weapon, which is carried            purchase any firearms or
                                                   concealed, to any minor, or slave, or free negro, he     weapon without restriction
                                                   shall be fined fifty dollars.”                           under this act.

                                                                                                            Act also restricts the sale
                                                                                                            and loan of certain knives,
                                                                                                            and pistols. Individuals 18-
                                                                                                            to-20-years old would be
                                                                                                            free to purchase all long
                                                                                                            guns without restriction.


                                                                                                            Act requires that the
                                                                                                            weapons identified in this
                                                                                                            provision be “carried
                                                                                                            concealed” in order to be a
                                                                                                            violation. Thus, minors
                                                                                                            were free to purchase,
                                                                                                            acquire, and even openly
                                                                                                            carry all arms identified
                                                                                                            therein.




                                                                                                                                 8
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                                            Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                      Grabarsky Declaration
                                                         Historical Laws

                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                       Description of Regulation                    Plaintiffs’ Response
 No.




  6       1866    Alabama       George Washington         “§ 204. Selling or giving fire-arms to minor. – Any     Act only Restricts the
                                Stone, The Penal Code     person who sells, gives, or lends to any boy under      selling or giving of
                                of Alabama,               eighteen years of age, any pistol, or bowie-knife, or   firearms to those under
                                Montgomery, 1866 Page     other knife of like kind or description, must, on       18 years old.
                                63, Image 63 (1866)       conviction, be fined not less than fifty, nor more      Legal adults or anyone
                                available at The Making   than five hundred dollars.”                             18 years or older were
                                of Modern Law:                                                                    free to purchase the arms
                                Primary Sources. 1866.                                                            identified within this act
                                Miscellaneous Offenses                                                            without restriction.
                                § 204.
                                                                                                                  Individuals 18-to-20-
                                1866 Ala. Laws 63.                                                                years old would be free
                                                                                                                  to purchase all long guns
                                                                                                                  without restriction.




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           Case 3:19-cv-01226-L-AHG     Document 139-1 Filed 04/29/24             PageID.17612        Page
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7   1868   Oregon     1868 Or. Laws 613, §§   “§ 1. Every white male citizen of this state above      This law (1868) comes
                      1-2.                    the age of sixteen years, shall be entitled to have,    too late to shed much
                                              hold, and keep, for his own use and defence, the        light on the scope of the
                                              following firearms, to wit: either or any one of the    Second Amendment
                                              following named guns, and one revolving pistol: a       “[B]ecause post-Civil
                                              rifle, shotgun (double or single barrel), yager, or     War discussions of the
                                              musket; the same to be exempt from execution, in        right to keep and bear
                                              all cases, under the laws of Oregon.”                   arms ‘took place 75 years
                                              “§ 2. No officer, civil or military, or other person,   after the ratification of
                                              shall take from or demand of the owner any              the Second Amendment,
                                                                                                      they do not provide as
                                                                                                      much insight into its
                                                                                                      original meaning as
                                                                                                      earlier sources.” Bruen,
                                                                                                      597 U.S. at 36.


                                                                                                      Law explicitly states that
                                                                                                      every white male citizen
                                                                                                      “above the age of sixteen
                                                                                                      years, shall be entitled to
                                                                                                      have, hold, and keep, for
                                                                                                      his own use and defence
                                                                                                      the following firearms…”


                                                                                                      Law explicitly permits
                                                                                                      anyone over 16 years old
                                                                                                      to acquire, purchase, own,
                                                                                                      and use firearms.




                                                                                                                           10
                  Case 3:19-cv-01226-L-AHG        Document 139-1 Filed 04/29/24              PageID.17613       Page
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                                            Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                      Grabarsky Declaration
                                                         Historical Laws

                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                       Description of Regulation                  Plaintiffs’ Response
 No.
                                                          firearms mentioned in this chapter, except where
                                                          the services of the owner are also required to keep
                                                          the peace or defend the state.”

  8       1871   Connecticut    Henry Dutton, A           “Of Trespass on the Case. A person, before he         This law (1871) comes
                                Revision of Swift’s       trusts a gun with an incautious person, is bound to   too late to shed much
                                Digest of the Laws of     render it perfectly innoxious. Where the defendant    light on the scope of the
                                Connecticut. Also,        negligently and imprudently entrusted a loaded gun    Second Amendment
                                Practice, Forms and       to a young mulatto girl, who discharged it against    “[B]ecause post-Civil
                                Precedents, in            the son of the plaintiff, and severely wounded him    War discussions of the
                                Connecticut Page 564,     by which the plaintiff lost his service and was put   right to keep and bear
                                Image 565 (Vol 1, 1871)   to great expense for his cure, the defendant was      arms ‘took place 75 years
                                available at The Making   subjected to 100 pounds damages.”                     after the ratification of
                                of Modern Law:                                                                  the Second Amendment,
                                Primary Sources. 1871.                                                          they do not provide as
                                1871 Conn. Acts                                                                 much insight into its
                                                                                                                original meaning as
                                                                                                                earlier sources.” Bruen,
                                                                                                                597 U.S. at 36.


                                                                                                                This discussion of law
                                                                                                                describes “incautious
                                                                                                                person[s]” and a “young
                                                                                                                mulatto girl.” There is no

                                                                                                                                     11
           Case 3:19-cv-01226-L-AHG      Document 139-1 Filed 04/29/24             PageID.17614         Page
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                                                                                                        age restriction regarding
                                                                                                        firearms of any kind.




9   1875   Indiana    Edwin Augustine Davis,    “§ 1. Be it enacted by the General Assembly of the      This law (1875) comes
                      LL.B., The Statutes of    State of Indiana, That it shall be unlawful for any     too late to shed much
                      the State of Indiana:     person to sell, barter, or give to any other person,    light on the scope of the
                      Containing the Revised    under the age of twenty-one years, any pistol, dirk,    Second Amendment
                      Statutes of 1852, with    or bowie-knife, slung-shot, knucks, or other deadly     “[B]ecause post-Civil
                      the Amendments            weapon that can be worn, or carried, concealed          War discussions of the
                      Thereto, and the          upon or about the person, or to sell, barter, or give   right to keep and bear
                      Subsequent Legislation,   to any person, under the age of twenty-one years,       arms ‘took place 75 years
                                                                                                        after the ratification of
                                                                                                        the Second Amendment,
                                                                                                        they do not provide as
                                                                                                        much insight into its
                                                                                                        original meaning as
                                                                                                        earlier sources.” Bruen,
                                                                                                        597 U.S. at 36.
                                                                                                        Law does not restriction
                                                                                                        the acquisition, sale or
                                                                                                        purchase of any kind of
                                                                                                        long gun to those under
                                                                                                        21.
                                                                                                                             12
                  Case 3:19-cv-01226-L-AHG           Document 139-1 Filed 04/29/24              PageID.17615         Page
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                                             Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                       Grabarsky Declaration
                                                          Historical Laws

                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                         Description of Regulation                    Plaintiffs’ Response
 No.
                                with Notes and               any cartridges manufactured and designed for use
                                References to Judicial       in a pistol.”
                                Decisions. Second            “§ 2. Be it further enacted, That any person who
                                Edition Vol. 2 Page 482,     shall violate any of the provisions of the foregoing
                                Image 493 (1877)             section shall be deemed guilty of a misdemeanor,
                                available at The Making      and upon conviction thereof, shall be fined in any
                                of Modern Law:               sum not less than five dollars, nor more than fifty
                                Primary Sources. 1875.       dollars.”
                                An Act to prohibit the
                                sale, gift or bartering of
                                deadly weapons or
                                ammunition therefor, to
                                minors.
                                Ind. 1875 ch. 40 p. 59.

  10      1876    Alabama       Wade Keyes, The Code         “§ 4230 (3751). Selling, giving, or lending, pistol     This law (1876) comes
                                of Alabama, 1876: with       or bowie knife, or like knife, to boy under eighteen.   too late to shed much
                                References to the            – Any person who sells, gives, or lends, to any boy     light on the scope of the
                                Decisions of the             under eighteen years of age, any pistol, or bowie       Second Amendment
                                Supreme Court of the         knife, or other knife of like kind or description,      “[B]ecause post-Civil
                                State upon the               must on conviction, be fined not less than fifty, nor   War discussions of the
                                Construction of the          more than five hundred dollars.”                        right to keep and bear
                                Statutes; and in Which                                                               arms ‘took place 75 years
                                the General and                                                                      after the ratification of
                                Permenent Acts of the                                                                the Second Amendment,
                                                                                                                                        13
Case 3:19-cv-01226-L-AHG   Document 139-1 Filed 04/29/24   PageID.17616   Page
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                                                                           they do not provide as
                                                                           much insight into its
                                                                           original meaning as
                                                                           earlier sources.” Bruen,
                                                                           597 U.S. at 36.


                                                                           Law restricts only “boys
                                                                           under eighteen years of
                                                                           age”
                                                                          Individuals both below
                                                                          and above the age of 18
                                                                          years would be free to
                                                                          purchase any kind of long
                                                                          gun under this provision.




                                                                                              14
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                                            Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                      Grabarsky Declaration
                                                         Historical Laws

                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                       Description of Regulation                   Plaintiffs’ Response
 No.
                                Session of 1876-7 have
                                been Incorporated Page
                                901, Image 917 (1877)
                                available at The Making
                                of Modern Law:
                                Primary Sources. 1877
                                Offenses Against Public
                                Health, etc. § 4230
                                (3751).

  11      1876     Georgia      1876 Ga. Laws 112.        Section I. “That from and after the passage of this    This law (1876) comes
                                                          Act it shall not be lawful for any person or persons   too late to shed much
                                                          knowingly to sell, give, lend or furnish any minor     light on the scope of the
                                                          or minors any pistol, dirk, bowie knife or sword       Second Amendment
                                                          cane. Any person found guilty of a violation of this   “[B]ecause post-Civil
                                                          Act shall be guilty of a misdemeanor, and punished     War discussions of the
                                                          as prescribed in section 4310 of the Code of 1873:     right to keep and bear
                                                          Provided, that nothing herein contained shall be       arms ‘took place 75 years
                                                          construed as forbidding the furnishing of such         after the ratification of
                                                          weapons under circumstances justifying their use in    the Second Amendment,
                                                          defending life, limb or property.”                     they do not provide as
                                                                                                                 much insight into its
                                                                                                                 original meaning as
                                                                                                                 earlier sources.” Bruen,
                                                                                                                 597 U.S. at 36.
                                                                                                                                    15
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                                                                          Law only restricts legal
                                                                          minors. Restriction only
                                                                          applies to pistols and
                                                                          certain knives.

                                                                          Provide explicit exception
                                                                          to acquire or sell such
                                                                          weapons to minors for
                                                                          “circumstances justifying
                                                                          their use in defending life,
                                                                          limb, or property.”
                                                                          Legal adults are free to
                                                                          purchase any kind of arm
                                                                          under this provision.




                                                                                              16
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                                              Chavez v. Bonta, No. 3:19-cv-01226-L-AHG
                                                        Grabarsky Declaration
                                                           Historical Laws

                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year    Jurisdiction           Citation                         Description of Regulation                      Plaintiffs’ Response
 No.

Late 19th Century (1878-1899)

  12      1878    Mississippi    1878 Miss. Laws 175-        “Sec. 2. Be it further enacted, That it shall not be       This law (1878) comes
                                 76, An Act To Prevent       lawful for any person to sell to any minor or person       too late to shed much
                                 The Carrying Of             intoxicated, knowing him to be a minor or in a state       light on the scope of the
                                 Concealed Weapons           of intoxication, any weapon of the kind or                 Second Amendment
                                 And For Other               description in the first section of this Act described     “[B]ecause post-Civil
                                 Purposes, ch. 46, §§ 2-3.   [pistols, various knives etc.], or any pistol cartridge,   War discussions of the
                                                             and on conviction shall be punished by a fine not          right to keep and bear
                                                             exceeding two hundred dollars, and if the fine and         arms ‘took place 75 years
                                                             costs are not paid, be condemned to hard labor             after the ratification of
                                                             under the direction of the board of supervisors or of      the Second Amendment,
                                                             the court, not exceeding six months.”                      they do not provide as
                                                             “Sec. 3. Be it father enacted, That any father, who        much insight into its
                                                             shall knowingly suffer or permit any minor son             original meaning as
                                                             under the age of sixteen years to carry concealed, in      earlier sources.” Bruen,
                                                             whole or in part, any weapon of the kind or                597 U.S. at 36.
                                                             description in the first section of this Act described
                                                             [pistols, knives, etc.], shall be deemed guilty of a       Law restricts legal minors,
                                                                                                                        not legal adults from
                                                             misdemeanor, and on conviction, shall be fined not
                                                                                                                        purchasing pistols and
                                                             less than twenty dollars, nor more than two hundred
                                                                                                                        certain knives.
                                                             dollars, and if the fine and costs are not paid, shall
                                                             be condemned to hard labor under the direction of          Sec. 3 restricts minors
                                                             the board of supervisors or of the court.”                 under sixteen years old
                                                                                                                                           17
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                                                                          from carrying concealed.

                                                                          Under this provision, legal
                                                                          minors 16 years and over,
                                                                          would be free to purchase,
                                                                          acquire, possess, and carry
                                                                          openly and concealed any
                                                                          pistol or long gun.

                                                                          Sec. 4 college carry
                                                                          restriction only applies to
                                                                          students and faculty. There
                                                                          is not age restriction of any
                                                                          kind.




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                                                       Grabarsky Declaration
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                   Plaintiffs’ Response
 No.
                                                          “Sec. 4. Be it further enacted, That any student of
                                                          any university, college or school who shall carry
                                                          concealed, in whole or in part, any weapon of the
                                                          kind or description in the first section of this Act
                                                          described [pistols, knives, etc.], or any teacher,
                                                          instructor, or professor who shall, knowingly,
                                                          suffer or permit any such weapon to be carried by
                                                          any student or pupil shall be deemed guilty of a
                                                          misdemeanor, and, on conviction, be fined not
                                                          exceeding three hundred dollars, and if the fine and
                                                          costs are not paid, condemned to hard labor under
                                                          the direction of the board of supervisors or of the
                                                          court.”

  13      1878    Wisconsin     Supplement to the         Section 4397a. “1. It shall be unlawful for any         This law (1878) comes
                                Revised Statutes of the   person to sell or use, or have in his possession, for   too late to shed much
                                State of Wisconsin,       the purpose of exposing for sale or use, any toy        light on the scope of the
                                1878, Containing the      pistol, toy revolver, or other toy fire-arm.            Second Amendment
                                General Laws from         2. Any person violating any of the provisions of        “[B]ecause post-Civil
                                1879 to 1883, with the                                                            War discussions of the
                                                          this act, on conviction thereof, shall be punished by
                                Revisers’ Notes to the                                                            right to keep and bear
                                                          imprisonment in the county jail not exceeding six
                                Statutes of 1878 and                                                              arms ‘took place 75 years
                                                          months, or by fine not exceeding one hundred
                                Notes to Cases            dollars, or by both fine and imprisonment, in the       after the ratification of
                                Construing and                                                                    the Second Amendment,
                                                          discretion of the court.”
                                Applying These and                                                                they do not provide as

                                                                                                                                     19
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                                                                          much insight into its
                                                                          original meaning as
                                                                          earlier sources.” Bruen,
                                                                          597 U.S. at 36.


                                                                          Section 4397a restricts the
                                                                          sale of “toy pistols” “toy
                                                                          revolvers” and “other toy
                                                                          fire-arm[s].”
                                                                          This provision is not a
                                                                          restriction on any firearm.
                                                                          Nor does it apply any kind
                                                                          of age restriction of any
                                                                          kind.


                                                                          Section 4397b restricts the
                                                                          act of going “armed with
                                                                          any pistol or revolver” by
                                                                          legal minors. It does not
                                                                          affect legal adults.


                                                                          Section 2 restriction sales
                                                                          of pistols and revolvers to
                                                                          legal minors. These
                                                                          provisions do not affect
                                                                          legal adults. Long guns are
                                                                          not prohibited under this
                                                                          law.




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                                                      Grabarsky Declaration
                                                         Historical Laws

                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                Similar Statutes by the   Section 4397b. “1. It shall be unlawful for any
                                Supreme Court of          minor, within this state, to go armed with any pistol
                                Wisconsin and the         or revolver, and it shall be the duty of all sheriffs,
                                Courts of Other States    constables, or other public police officers, to take
                                Page 847, Image 889       from any minor any pistol or revolver, found in his
                                (1883) available at The   possession.
                                Making of Modern Law:     2. It shall be unlawful for any dealer in pistols or
                                Primary Sources. 1882.    revolvers, or any other person, to sell, loan or give
                                1878 Wis. Sess. Laws      any pistol or revolver to any minor in this state.”
                                §§ 4397a, 4397b.

  14      1880   Mississippi    Josiah A. Patterson       “§ 2986. It shall not be lawful for any person to sell   This law (1880) comes
                                Campbell, The Revised     to any minor or person intoxicated, knowing him to       too late to shed much
                                Code of the Statute       be a minor or in a state of intoxication, any            light on the scope of the
                                Laws of the State of      weapons of the kind or description in the foregoing      Second Amendment
                                Mississippi: With         section described, or any pistol cartridge, and on       “[B]ecause post-Civil
                                References to Decisions   conviction he shall be punished by a fine not            War discussions of the
                                of the High Court of      exceeding two hundred dollars, and if the fine and       right to keep and bear
                                Errors and Appeals, and   costs are not paid, be condemned to hard labor           arms ‘took place 75 years
                                of the Supreme Court,     under the direction of the board of supervisors or of    after the ratification of
                                Applicable to the         the court, not exceeding six months.”                    the Second Amendment,
                                Statutes Page 776-777,    “§ 2987. Any father who shall knowingly suffer or        they do not provide as
                                Image 776-777 (1880)      permit any minor son under the age of sixteen years      much insight into its
                                available at The Making   to carry concealed, in whole or in part, any weapon      original meaning as
                                of Modern Law:                                                                     earlier sources.” Bruen,
                                                                                                                                      21
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                                                                          597 U.S. at 36.



                                                                          Law restricts legal minors,
                                                                          not legal adults from
                                                                          purchasing pistols and
                                                                          certain knives.

                                                                          Sec. 3 restricts minors
                                                                          under sixteen years old
                                                                          from carrying concealed.

                                                                          Under this provision, legal
                                                                          minors 16 years and over,
                                                                          would be free to purchase,
                                                                          acquire, possess, and carry
                                                                          openly and concealed any
                                                                          pistol or long gun.

                                                                          Sec. 4 college carry
                                                                          restriction only applies to
                                                                          students and faculty. There
                                                                          is not age restriction of any
                                                                          kind.




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                                                      Grabarsky Declaration
                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                       Description of Regulation                     Plaintiffs’ Response
 No.
                                Primary Sources. 1880.    of the kind or description in the forgoing section
                                Carrying Concealed        described, shall be deemed guilty of a
                                Weapons.                  misdemeanor, and on conviction, shall be fined not
                                1880 Miss. Laws §§        less than twenty dollars, nor more than two hundred
                                2986, 2987, 2988.         dollars, and if the fine and costs are not paid, shall
                                                          be condemned to hard labor as provided in the
                                                          proceeding section.”
                                                          “§ 2988. Any student of any university, college, or
                                                          school, who shall carry concealed, in whole or in
                                                          part, any weapon of the kind or description in the
                                                          foregoing section described, or any teacher,
                                                          instructor or professor who shall knowingly, suffer
                                                          or permit any such weapon to be carried by any
                                                          student or pupil, shall be deemed guilty of a
                                                          misdemeanor and on conviction be fined not
                                                          exceeding three hundred dollars, and if the fine and
                                                          costs are not paid, be condemned to hard labor as
                                                          above provided.”

  15      1880      Ohio        Ohio 1880 S.B. 80 p. 79. “Section 6986a. That whoever sells, barters, or           This law (1880) comes
                                                         gives away to any minor under the age of fourteen         too late to shed much
                                                         years, any air-gun, musket, rifle-gun, shot-gun,          light on the scope of the
                                                         revolver, pistol, or other fire-arm, of any kind or       Second Amendment
                                                         description whatever, or ammunition for the same,         “[B]ecause post-Civil
                                                         or whoever being the owner, or having charge or           War discussions of the
                                                                                                                                       23
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                                                                          right to keep and bear
                                                                          arms ‘took place 75 years
                                                                          after the ratification of
                                                                          the Second Amendment,
                                                                          they do not provide as
                                                                          much insight into its
                                                                          original meaning as
                                                                          earlier sources.” Bruen,
                                                                          597 U.S. at 36.


                                                                          Law only restricts those
                                                                          under the age of
                                                                          fourteen.
                                                                          Law has no effect on
                                                                          legal adults or legal
                                                                          minors above the age of
                                                                          14.




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                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                     Plaintiffs’ Response
 No.
                                                           control of any such air-gun, musket, rifle-gun, shot-
                                                           gun, revolver, pistol or other fire-arm knowingly
                                                           permits the same to be used by such minor, shall be
                                                           deemed guilty of a misdemeanor and . . . be fined in
                                                           any sum not exceeding one hundred dollars, or be
                                                           imprisoned in jail not exceeding thirty days or
                                                           both.”

  16      1881    Delaware      Revised Statutes of the    “Section 1. That if any person shall carry concealed     This law (1881) comes
                                State of Delaware, of      a deadly weapon upon or about his person other           too late to shed much
                                Eight Hundred and          than an ordinary pocket knife, or shall knowingly        light on the scope of the
                                Fifty-Two. As They         sell a deadly weapon to a minor other than an            Second Amendment
                                Have Since Been            ordinary pocket knife, such person shall, upon           “[B]ecause post-Civil
                                Amended, Together          conviction thereof, be fined not less than twenty-       War discussions of the
                                with the Additional        five nor more than one hundred dollars or                right to keep and bear
                                Laws of a Public and       imprisoned in the county jail for not less than ten      arms ‘took place 75 years
                                General Nature, Which      nor more than thirty days, or both at the discretion     after the ratification of
                                Have Been Enacted          of the court: Provided, that the provisions of this      the Second Amendment,
                                Since the Publication of   section shall not apply to the carrying of the usual     they do not provide as
                                the Revised Code of        weapons by policemen and other peace officers.”          much insight into its
                                Eighteen Fifty-Two. To     “Section 2. That if any person shall, except in          original meaning as
                                the Year of Our Lord       lawful self-defence discharge any fire-arm in any        earlier sources.” Bruen,
                                One Thousand Eight         public road in this State, shall be deemed guilty of a   597 U.S. at 36.
                                Hundred and Ninety-        misdemeanor and upon conviction thereof shall be
                                Three; to Which are        punished by fine not exceeding fifty dollars or by
                                                                                                                                       25
Case 3:19-cv-01226-L-AHG   Document 139-1 Filed 04/29/24   PageID.17628   Page
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                                                                          Restricts the sale of “a
                                                                          deadly weapon” to legal
                                                                          minors, not legal adults.




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                                                      Grabarsky Declaration
                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                   Plaintiffs’ Response
 No.
                                Added the Constitutions    imprisonment not exceeding one month, or both at
                                of the United States and   the discretion of the court.”
                                of this State, the
                                Declaration of
                                Independence, and
                                Appendix Page 987,
                                Image 1048 (1893)
                                available at The Making
                                of Modern Law:
                                Primary Sources. 1881.
                                An Act Providing for
                                the Punishment of
                                Persons Carrying
                                Concealed Deadly
                                Weapons. 16 Del. Laws
                                716 (1881).

  17      1881     Florida      1881 Fla. Laws 87, An      “Section 1. It shall be unlawful for any person or     This law (1881) comes
                                Act to Prevent the         persons to sell, hire, barter, lend or give to any     too late to shed much
                                Selling, Hiring,           minor under sixteen years of age any pistol, dirk or   light on the scope of the
                                Bartering, Lending or      other arm or weapon, other than an ordinary            Second Amendment
                                Giving to.                 pocket-knife, or a gun or rifle used for hunting,      “[B]ecause post-Civil
                                Flor. 1881 ch. 3285 p.     without the permission of the parent of such minor,    War discussions of the
                                87.                        or the person having charge to such minor, and it      right to keep and bear
                                                           shall be unlawful for any person or persons to sell,   arms ‘took place 75 years
                                                                                                                                     27
Case
 Case3:19-cv-01226-L-AHG
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                                                                               after the ratification of
                                                                               the Second Amendment,
                                                                               they do not provide as
                                                                               much insight into its
                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.


                                                                               Law restricts the sale of
                                                                               pistols to “minor[s] under
                                                                               sixteen years of age”
                                                                               Legal adults are not
                                                                               restricted by this
                                                                               provision in any way.


                                                                               Minors over the age of 16
                                                                               could be sold the arms
                                                                               identified within said
                                                                               provision




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                 Case
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                                                       Grabarsky Declaration
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                         Description of Regulation                     Plaintiffs’ Response
 No.
                                                            hire, barter, lend or give to any person or persons of
                                                            unsound mind any dangerous weapon, other than an
                                                            ordinary pocket-knife.”
                                                            “Sec. 2. Any person or persons so offending shall
                                                            be deemed guilty of a misdemeanor, and upon
                                                            conviction thereof shall be fined not less than
                                                            twenty nor more than fifty dollars, or imprisoned in
                                                            the county jail not more than three months.”

  18      1881     Illinois     Act of Apr. 16, 1881, §     “§ 2. Whoever, not being the father, guardian or          This law (1881) comes
                                2, 1881 Ill. Laws 73, 73.   employer or the minor herein named, by himself or         too late to shed much
                                Ill. 1881 “Criminal         agent, shall sell, give, loan, hire or barter, or shall   light on the scope of the
                                Code” § 2 p. 73.            offer to sell, give, loan, hire or barter to any minor    Second Amendment
                                                            within this state, any pistol, revolver, derringer,       “[B]ecause post-Civil
                                                            bowie knife, dirk or other deadly weapon of like          War discussions of the
                                                            character, capable of being secreted upon the             right to keep and bear
                                                            person, shall be guilty of a misdemeanor, and shall       arms ‘took place 75 years
                                                            be fined in any sum not less than twenty-five             after the ratification of
                                                            dollars ($25) nor more than two hundred dollars           the Second Amendment,
                                                            ($200).”                                                  they do not provide as
                                                                                                                      much insight into its
                                                                                                                      original meaning as
                                                                                                                      earlier sources.” Bruen,
                                                                                                                      597 U.S. at 36.

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                                                                                                          Law only effects legal
                                                                                                          minors, not legal adults.


                                                                                                          Under this provision, legal
                                                                                                          minors would still be free
                                                                                                          to purchase and acquire all
                                                                                                          types of long guns without
                                                                                                          restriction.




19   1881     Indiana   The Revised Statutes of     1986. “It shall be unlawful for any person to sell,   This law (1881) comes
                        the State of Indiana, the   barter, or give to any person under the age of        too late to shed much
                        Revision of 1881 and        twenty-one years any pistol, dirk or bowie-knife,     light on the scope of the
                        All General Laws            slung-shot, knucks or other deadly weapon that can    Second Amendment
                                                                                                          “[B]ecause post-Civil
                                                                                                          War discussions of the
                                                                                                          right to keep and bear
                                                                                                          arms ‘took place 75 years
                                                                                                          after the ratification of
                                                                                                          the Second Amendment,
                                                                                                          they do not provide as
                                                                                                          much insight into its
                                                                                                          original meaning as
                                                                                                          earlier sources.” Bruen,
                                                                                                          597 U.S. at 36.

                                                                                                          Law restricted the sale of
                                                                                                          pistols, dirks, Bowie
                                                                                                          knives, slug-shot, knucks
                                                                                                          or other deadly weapons
                                                                                                          that can be concealed.


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                                                                               Law does not limit anyone
                                                                               under 21 from purchasing
                                                                               or acquiring any type of
                                                                               long gun.




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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                    Plaintiffs’ Response
 No.
                                Enacted to that Revision   be worn or carried concealed upon or about the
                                (1888) Section 1986-87,    person; or to sell¸ barter, or give to any person
                                Furnishing Deadly          under the age of twenty-one years any cartridges
                                Weapon to Minor. 1881.     manufactured and designed to be used in a pistol.”
                                1881 Ind. Acts § 1986.     1987. “Any person who shall violate any of the
                                                           provisions of the foregoing section shall be deemed
                                                           guilty of a misdemeanor, and, upon conviction
                                                           thereof, shall be fined in any sum not less than five
                                                           dollars nor more than fifty dollars.”

  20      1881     Nevada       David E. Baily, The        “Section 1. Every person under the age of twenty-       This law (1881) comes
                                General Statutes of the    one (21) years who shall wear or carry any dirk,        too late to shed much
                                State of Nevada. In        pistol, sword in case, slung shot, or other dangerous   light on the scope of the
                                Force. From 1861 to        or deadly weapon concealed upon his person, shall       Second Amendment
                                1885, Inclusive. With      be deemed guilty of a misdemeanor, and shall,           “[B]ecause post-Civil
                                Citations of the           upon conviction thereof, be fined not less than         War discussions of the
                                Decisions of the           twenty nor more than two hundred ($200) dollars,        right to keep and bear
                                Supreme Court Relating     or by imprisonment in the county jail not less than     arms ‘took place 75 years
                                Thereto Page 1077,         thirty days nor more than six months or by both         after the ratification of
                                Image 1085 (1885)          such fine and imprisonment.”                            the Second Amendment,
                                available at The Making                                                            they do not provide as
                                of Modern Law:                                                                     much insight into its
                                Primary Sources. 1881.                                                             original meaning as
                                An Act to prohibit the                                                             earlier sources.” Bruen,
                                                                                                                   597 U.S. at 36.
                                                                                                                                      32
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                                                                               Law only restricted the
                                                                               act of concealed carrying
                                                                               of certain weapons.


                                                                               Law does not effect the
                                                                               ability for legal minors
                                                                               from purchasing any kind
                                                                               of firearm. Nor does it
                                                                               effect the ability of legal
                                                                               adults from purchasing or
                                                                               acquiring any kind of
                                                                               firearm.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                    Plaintiffs’ Response
 No.
                                carrying of concealed
                                weapons by minors.
                                See also Nev. Rev. Stat.
                                § 4864 (1885).

  21      1881   Pennsylvania   Act of June 10, 1881,      Section 1. “That any person, who shall knowingly        This law (1881) comes
                                § 1.                       and willfully sell or cause to be sold, to any person   too late to shed much
                                Penn. 1881 ch. 124, p.     under sixteen years of age, any cannon, revolver,       light on the scope of the
                                111.                       pistol or other such deadly weapon, or who shall        Second Amendment
                                                           knowingly and willfully cause to be sold to any         “[B]ecause post-Civil
                                                           such minor, any imitation or toy cannon, revolver       War discussions of the
                                                           or pistol so made, constructed or arranged as to be     right to keep and bear
                                                           capable of being loaded with gunpowder or other         arms ‘took place 75 years
                                                           explosive substance, cartridges, shot, slugs, or        after the ratification of
                                                           balls, and being exploded, fired off and discharged,    the Second Amendment,
                                                           and thereby become a dangerous or deadly weapon,        they do not provide as
                                                           or who shall knowingly and willfully sell or cause      much insight into its
                                                           to be sold to any such minor any cartridge,             original meaning as
                                                           gunpowder or other dangerous and explosive              earlier sources.” Bruen,
                                                           substance, shall, in every such case, be guilty of a    597 U.S. at 36.
                                                           misdemeanor, and upon conviction thereof shall be       Not “relevantly similar”
                                                           sentenced to pay a fine not exceeding three hundred     to the challenged laws,
                                                           dollars.”                                               Bruen, 597 U.S. at 29-30,
                                                                                                                   because law restricts only
                                                                                                                   minors under sixteen
                                                                                                                                      34
            Case
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                                                                                                     years of age. Minors over
                                                                                                     sixteen were freely able
                                                                                                     to purchase all firearms
                                                                                                     and ammunition under
                                                                                                     this Act.




22   1882     Illinois   Harvey Bostwick Hurd,   § 2., “Whoever, not being the father, guardian or   This law (1882) comes
                                                                                                     too late to shed much
                                                                                                     light on the scope of the
                                                                                                     Second Amendment
                                                                                                     “[B]ecause post-Civil
                                                                                                     War discussions of the
                                                                                                     right to keep and bear
                                                                                                     arms ‘took place 75 years
                                                                                                     after the ratification of
                                                                                                     the Second Amendment,
                                                                                                     they do not provide as
                                                                                                     much insight into its
                                                                                                     original meaning as
                                                                                                     earlier sources.” Bruen,
                                                                                                     597 U.S. at 36.
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Case
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                                                      Grabarsky Declaration
                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                     Plaintiffs’ Response
 No.
                                Late Commissioner, The     employer or the minor herein named, by himself or         Not “relevantly similar” to
                                Revised Statutes of the    agent, shall sell, give, loan, hire or barter, or shall   the challenged laws ,
                                State of Illinois. 1882.   offer to sell, give, loan, hire or barter to any minor    Bruen, 597 U.S. at 29-30,
                                Comprising the             within this state, any pistol, revolver, derringer,       because restriction only
                                                                                                                     applies to pistols,
                                “Revised Statutes of       bowie knife, dirk or other deadly weapon of like
                                                                                                                     revolvers, derringers, and
                                1874,” and All             character, capable of being secreted upon the             certain knives that are
                                Amendments Thereto,        person, shall be guilty of a misdemeanor, and shall       “capable of being secreted
                                Together with the          be fined in any sum not less than twenty-five             upon the person.”
                                General Acts of 1875,      dollars ($25), nor more than two hundred ($200).”
                                1877, 1879, 1881 and                                                                 Law does not effect the
                                1882, Being All the                                                                  sale, purchase, acquisition,
                                General Statutes of the                                                              possession, or carrying of
                                State, in Force on the                                                               any long gun for minors or
                                First Day of December,                                                               legal adults.
                                1882 Page 375, Image
                                392 (1882) available at
                                The Making of Modern
                                Law: Primary Sources.
                                1881. Deadly Weapons:
                                Selling or Giving to
                                Minor. § 54b.
                                1882 Ill. Law § 54b.

  23      1882    Maryland      1882 Md. Laws 656.         “Section 1. Be it enacted by the General Assembly         This law (1882) comes
                                                           of Maryland, That it shall be unlawful for any            too late to shed much
                                                                                                                                         37
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                                                                               light on the scope of the
                                                                               Second Amendment
                                                                               “[B]ecause post-Civil
                                                                               War discussions of the
                                                                               right to keep and bear
                                                                               arms ‘took place 75 years
                                                                               after the ratification of
                                                                               the Second Amendment,
                                                                               they do not provide as
                                                                               much insight into its
                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.




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                 Case
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                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                    Plaintiffs’ Response
 No.
                                 Mary. 1882 ch. 424 p.     person or persons within the State of Maryland to       Law explicitly exempts
                                 656.                      manufacture or sell, barter or give away the            “shotguns, fowling
                                                           cartridge toy pistol to any one whomsoever.”            pieces, and rifles.”
                                                           “Sec. 2. Be it enacted, That it shall be unlawful for
                                                           any person, be he or she licensed dealer or not, to     Thus, there are no
                                                           sell, barter or give away any firearm whatsoever or     restrictions on the sale,
                                                           other deadly weapons, except shot gun, fowling          purchase, acquisition, or
                                                           pieces and rifles, to any person who is a minor         possession of long guns
                                                           under the age of twenty-one years. Any person or        for minor or legal adults
                                                           persons violating any of the provisions of this act     under this provision.
                                                           shall, on conviction thereof, pay a fine of not less
                                                           than fifty nor more than two hundred dollars,
                                                           together with the cost of prosecution, and upon
                                                           failure to pay said fine and cost, be committed to
                                                           jail and confined therein until such fine and costs
                                                           are paid, or for the period of sixty days, whichever
                                                           shall first occur.”

  24      1882   Massachusetts   Report of                 “§ 1. Whoever sells to a child under the age of         This law (1882) comes
                                 Commissioners on          sixteen years, without the written consent of its       too late to shed much
                                 Revision of Ordinances    parent or guardian, any cartridge or fixed              light on the scope of the
                                 Page 141, Image 146       ammunition of which any fulminate is a component        Second Amendment
                                 (1882) available at The   part, or a gun, pistol, or other mechanical             “[B]ecause post-Civil
                                 Making of Modern Law:     contrivance arranged for the explosion of such          War discussions of the
                                                           cartridge or of any fulminate, shall be liable to a     right to keep and bear
                                                                                                                                       39
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                                                                               arms ‘took place 75 years
                                                                               after the ratification of
                                                                               the Second Amendment,
                                                                               they do not provide as
                                                                               much insight into its
                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.


                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because restriction only
                                                                               applies to legal minors
                                                                               “under the age of sixteen
                                                                               years.”




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                 Case
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                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                      Description of Regulation                     Plaintiffs’ Response
 No.
                                 Primary Sources. 1882.   penalty of not less than five nor more than fifty
                                 Of Explosive             dollars.”
                                 Compounds. Penalty for
                                 selling guns, pistols,
                                 cartridges, etc., to
                                 children. § 1.

  25      1882   West Virginia   1882 W. Va. Acts 421–    “7. If a person carry about his person any revolver      This law (1882) comes
                                 22.                      or other pistol, dirk, bowie knife, razor, slung shot,   too late to shed much
                                 W.V. 1882 ch. 135 § 7    billy, metalic or other false knuckles, or any other     light on the scope of the
                                 p. 421.                  dangerous or deadly weapon of like kind or               Second Amendment
                                                          character, he shall be guilty of a misdemeanor, and      “[B]ecause post-Civil
                                                          fined not less that twenty-five nor more than two        War discussions of the
                                                          hundred dollars, and may, at the discretion of the       right to keep and bear
                                                          court, be confined in jail not less than one, nor        arms ‘took place 75 years
                                                          more than twelve months; and if any person shall         after the ratification of
                                                          sell or furnish any such weapon as is hereinbefore       the Second Amendment,
                                                          mentioned to a person whom he knows, or has              they do not provide as
                                                          reason, from his appearance or otherwise, to             much insight into its
                                                          believe to be under the age of twenty-one years, he      original meaning as
                                                          shall be punished as hereinbefore provided; but          earlier sources.” Bruen,
                                                          nothing herein contained shall be so construed as to     597 U.S. at 36.
                                                          prevent any person from keeping or carrying about
                                                          his dwelling house or premises any such revolver or
                                                          other pistol, or from carrying the same from the         Not “relevantly similar”
                                                                                                                                      41
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                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-
                                                                               20, because the
                                                                               provision does not
                                                                               restrict the sale,
                                                                               purchase, acquisition or
                                                                               possession of any kind
                                                                               of long gun for minors
                                                                               or legal adults.




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                 Case
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                                                          Historical Laws

                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                         Description of Regulation                    Plaintiffs’ Response
 No.
                                                             place of purchase to his dwelling house, or from his
                                                             dwelling house to any place where repairing is
                                                             done, to have it repaired, and back again. And if
                                                             upon the trial of an indictment for carrying any
                                                             such pistol, dirk, razor or bowie knife, the
                                                             defendant shall prove to the satisfaction of the jury
                                                             that he is a quiet and peaceable citizen, of good
                                                             character and standing in the community in which
                                                             he lives, and at the time he was found with such
                                                             pistol, dirk, razor or bowie knife, as charged in the
                                                             indictment, he had good cause to believe and did
                                                             believe that he was in danger of death or great
                                                             bodily harm at the hands of another person, and that
                                                             he was, in good faith, carrying such weapon for self
                                                             defense and for no other purpose, the jury shall find
                                                             him not guilty.”

  26      1883     Arizona      Ariz. 1883 ch. 36, § 3, p.   “Sec. 3. Any person in this Territory over the age      This law (1883) comes
                                66, “An Act                  of ten and under the age of seventeen years, having     too late to shed much
                                Supplemental to and          or carrying, concealed or unconcealed, any dirk,        light on the scope of the
                                amendment of an Act          dirk-knife, bowie-knife, slung-shot, brass-knuckles,    Second Amendment
                                entitled ‘An Act to          or pistol within any city, village or town in this      “[B]ecause post-Civil
                                prevent the improper use     Territory shall, upon conviction thereof…be fined       War discussions of the
                                of deadly weapons, and       in any sum not more than fifty dollars, or be           right to keep and bear
                                the indiscriminate use of    imprisoned in the County Jail not more than one         arms ‘took place 75 years

                                                                                                                                        43
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                                                                               after the ratification of
                                                                               the Second Amendment,
                                                                               they do not provide as
                                                                               much insight into its
                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.


                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because law applies to
                                                                               the act of concealed
                                                                               carrying certain knives
                                                                               and impact weapons.
                                                                               Law does not restrict the
                                                                               sale, purchase,
                                                                               acquisition, possession or
                                                                               carrying of any kind of
                                                                               long gun. Law also does
                                                                               not restrict the sale,
                                                                               purchase, acquisition,
                                                                               possession, or open
                                                                               carrying of pistols for
                                                                               minors in general.
                                                                               Minors over the age of 17
                                                                               could also concealed
                                                                               carry the identified arms.




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                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                     Description of Regulation                    Plaintiffs’ Response
 No.
                                firearms in the towns    month, or be punished by both such fine and
                                and villages of the      imprisonment, in the discretion of the Court trying
                                Territory.’”             the case.”

  27      1883     Kansas       1883 Kan. Sess. Laws     “Section 1. Any person who shall sell, trade, give,     This law (1883) comes
                                159, An Act to Prevent   loan or otherwise furnish any pistol, revolver or toy   too late to shed much
                                Selling, Trading or      pistol, by which cartridges or caps may be              light on the scope of the
                                Giving Deadly Weapons    exploded, or any dirk, bowie-knife, brass knuckles,     Second Amendment
                                or Toy Pistols to        slung shot, or other dangerous weapons to any           “[B]ecause post-Civil
                                Minors, and to Provide   minor, or to any person of notoriously unsound          War discussions of the
                                Punishment Therefor,     mind, shall be deemed guilty of a misdemeanor,          right to keep and bear
                                ch. 106, §§ 1-2.         and shall, upon conviction before any court of          arms ‘took place 75 years
                                Kan. 1883 ch. 105 p.     competent jurisdiction, be fined not less than five     after the ratification of
                                159.                     nor more than one hundred dollars.”                     the Second Amendment,
                                                         “Sec. 2. Any minor who shall have in his                they do not provide as
                                                         possession any pistol, revolver or toy pistol, by       much insight into its
                                                         which cartridges may be exploded, or any dirk,          original meaning as
                                                         bowie-knife, brass knuckles, slung shot or other        earlier sources.” Bruen,
                                                         dangerous weapon, shall be deemed guilty of a           597 U.S. at 36.
                                                         misdemeanor, and upon conviction before any             Not “relevantly similar”
                                                         court of competent jurisdiction shall be fined not      to the challenged laws,
                                                         less than one nor more than ten dollars.”               Bruen, 597 U.S. at 29-30,
                                                                                                                 because the restriction
                                                                                                                 applies only to minors,
                                                                                                                 not legal adults.
                                                                                                                                    45
            Case
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                                                                                                         Restriction also does not
                                                                                                         place any restrictions on
                                                                                                         long guns for minors or
                                                                                                         legal adults.




28   1883    Michigan   1883 Mich. Pub. Acts     Section 1. “That no person shall sell, give, or         This law (1883) comes
                        144, An Act To Prevent   furnish to any child under the age of thirteen years,   too late to shed much
                                                                                                         light on the scope of the
                                                                                                         Second Amendment
                                                                                                         “[B]ecause post-Civil
                                                                                                         War discussions of the
                                                                                                         right to keep and bear
                                                                                                         arms ‘took place 75 years
                                                                                                         after the ratification of
                                                                                                         the Second Amendment,
                                                                                                         they do not provide as
                                                                                                         much insight into its
                                                                                                         original meaning as
                                                                                                         earlier sources.” Bruen,

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                                                                               597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law restricts
                                                                               only those “under the age
                                                                               of thirteen years.” Law
                                                                               also does not apply to
                                                                               long guns for minors or
                                                                               legal adults.




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                  Case
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                                                           Historical Laws

                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year    Jurisdiction           Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                 The Sale And Use Of        any cartridge of any form or material, or any pistol,
                                 Toy Pistols, § 1.          gun, or other mechanical contrivance, specially
                                                            arranged or designated for the explosion of the
                                                            same.”
                                                            “Sec. 3. It shall be unlawful for any person under
                                                            the age of thirteen years, to have in possession, or
                                                            use any of the articles named in section one of this
                                                            act.”

  29      1879,    Missouri      Mo. Rev. Stat. § 1274      “Section 1274. If any person shall carry concealed,      This law (1879, 1883)
          1883                   (1879), reprinted in 1     upon or about his person, any deadly or dangerous        comes too late to shed
                                 The Revised Statutes of    weapon, or shall go into any church or place where       much light on the scope
                                 the State of Missouri      people have assembled for religious worship, or          of the Second
                                 1879 224 (John A.          into any school room or place where people are           Amendment “[B]ecause
                                 Hockaday et al. eds.       assembled for educational, literary or social            post-Civil War
                                 1879).                     purposes, or to any election precinct on any             discussions of the right to
                                                            election day, or into any court room during the          keep and bear arms ‘took
                                 1883 Mo. Laws 76, An
                                                            sitting of court, or into any other public assemblage    place 75 years after the
                                 Act To Amend Section
                                 1274, Article 2, Chapter   of persons met for any lawful purpose other than         ratification of the Second
                                 24 Of The Revised          for militia drill or meetings called under the militia   Amendment, they do not
                                                            law of this state, having upon or about his person       provide as much insight
                                 Statutes Of Missouri,
                                                            any kind of fire arms, bowie knife, dirk, dagger,        into its original meaning
                                 Entitled “Of Crimes
                                 And Criminal               slung-shot, or other deadly weapon, or shall in the      as earlier sources.”
                                 Procedure,” § 1.           presence of one or more persons shall exhibit any        Bruen, 597 U.S. at 36.
                                                            such weapon in a rude, angry or threatening
                                                                                                                                         48
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                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because as it permits sale,
                                                                               purchase, acquisition, and
                                                                               possession of firearms by
                                                                               minors with parental
                                                                               consent. California’s law
                                                                               applies regardless of
                                                                               parental consent. Law is
                                                                               also a restriction on
                                                                               minors, not legal adults.




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                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                        Description of Regulation                      Plaintiffs’ Response
 No.
                                                          manner, or shall have or carry any such weapon
                                                          upon or about his person when intoxicated or under
                                                          the influence of intoxicating drinks, or shall directly
                                                          or indirectly sell or deliver, loan or barter to any
                                                          minor any such weapon, without the consent of the
                                                          parent or guardian of such minor, he shall, upon
                                                          conviction, be punished by a fine of not less than
                                                          twenty-five nor more than two hundred dollars, or
                                                          by imprisonment in the county jail not exceeding
                                                          six months, or by both such fine and
                                                          imprisonment.”

  30      1883     New          William Martin Chase,     “Sect. 4. If any person shall have in his possession       This law (1883) comes
                 Hampshire      The Public Statutes of    a toy pistol, toy revolver, or other toy firearms, for     too late to shed much
                                the State of New          the explosion of percussion caps or blank                  light on the scope of the
                                Hampshire, To which       cartridges, with intent to sell the same, or shall sell,   Second Amendment
                                are Prefixed the          or offer to sell or to give away the same, he shall be     “[B]ecause post-Civil
                                Constitutions of the      fined not more than fifty dollars; and he shall be         War discussions of the
                                United States and State   liable for all damages resulting from the use of the       right to keep and bear
                                of New Hampshire with     toy pistol, revolver, or other firearms by him sold        arms ‘took place 75 years
                                a Glossary and Digested   or given away, to be recovered in an action on the         after the ratification of
                                Index Page 713, Image     case.”                                                     the Second Amendment,
                                732 (1891) available at                                                              they do not provide as
                                The Making of Modern                                                                 much insight into its
                                Law: Primary Sources.                                                                original meaning as

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                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because there is no age
                                                                               restriction of any kind.
                                                                               Law does not restrict
                                                                               minors in any way or
                                                                               restrict the sale, purchase,
                                                                               acquisition, possession,
                                                                               or carrying of any
                                                                               firearm.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

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 No.
                                1883.
                                Offenses Against
                                Minors. § 4.

  31      1883      Ohio        1883 Ohio Laws 222,       “That it shall be unlawful for any firm, company or        This law (1883) comes
                                An Act to Prohibit the    person in the state of Ohio, to sell or exhibit for sale   too late to shed much
                                Sale of Toy Pistols in    any pistol manufactured out of any metallic or hard        light on the scope of the
                                the State of Ohio, § 1.   substance, commonly known as the ‘toy pistol’; to          Second Amendment
                                                          a minor under the age of fourteen years; any firm          “[B]ecause post-Civil
                                                          company or person violating the provisions of this         War discussions of the
                                                          act, shall be deemed guilty of a misdemeanor, and          right to keep and bear
                                                          upon conviction thereof shall be fined not less than       arms ‘took place 75 years
                                                          ten nor more than fifty dollars, or be imprisoned not      after the ratification of
                                                          less than ten days nor more than twenty days, or           the Second Amendment,
                                                          both, and shall be liable to a civil action in damages     they do not provide as
                                                          to any person injured by such sale.”                       much insight into its
                                                                                                                     original meaning as
                                                                                                                     earlier sources.” Bruen,
                                                                                                                     597 U.S. at 36.
                                                                                                                     Not “relevantly similar”
                                                                                                                     to the challenged laws,
                                                                                                                     Bruen, 597 U.S. at 29-30,
                                                                                                                     because it restricts “toy
                                                                                                                     pistols” to “minor[s]

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                                                                                                            under the age of fourteen
                                                                                                            years.” This is not a
                                                                                                            restriction on firearms of
                                                                                                            any kind.




32   1883   Pennsylvania   John Purdon, A Digest    “113. Any person who shall knowingly and                This law (1883) comes
                           of the Laws of           willfully sell or cause to be sold to any person        too late to shed much
                           Pennsylvania: From the   under sixteen years of age, any cannon, revolver,       light on the scope of the
                           Year One Thousand        pistol or other such deadly weapon, or who shall        Second Amendment
                           Seven Hundred to the     knowingly and willfully sell, or cause to be sold, to   “[B]ecause post-Civil
                           Sixth Day of July, One   any such minor, any imitation or toy cannon,            War discussions of the
                           Thousand Eight           revolver or pistol so made, constructed or arranged     right to keep and bear
                           Hundred and Eighty-      as to be capable of being loaded with gunpowder or      arms ‘took place 75 years
                                                                                                            after the ratification of
                                                                                                            the Second Amendment,
                                                                                                            they do not provide as
                                                                                                            much insight into its
                                                                                                            original meaning as
                                                                                                            earlier sources.” Bruen,
                                                                                                            597 U.S. at 36.
                                                                                                            Not “relevantly similar”
                                                                                                            to the challenged laws,
                                                                                                            Bruen, 597 U.S. at 29-30,
                                                                                                            because the restriction
                                                                                                            applies to minors “under

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Case
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                                                                               sixteen years of age.”




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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                       Description of Regulation                    Plaintiffs’ Response
 No.
                                Three. 11th Edition       other explosive substance, cartridges, shot, slugs or
                                Page 423-424, Image       balls and being exploded, fired off and discharged,
                                472-473 (Vol. 1, 1885)    and thereby become a dangerous or deadly weapon,
                                available at The Making   or who shall knowingly and willfully sell, or cause
                                of Modern Law:            to be sold to any such minor, any cartridge,
                                Primary Sources. 1883.    gunpowder or other dangerous and explosive
                                Crimes, Carrying and      substance, shall in every such case, be guilty of a
                                Sale of Explosives,       misdemeanor, and upon conviction thereof shall be
                                § 113.                    sentenced to pay a fine not exceeding three hundred
                                                          dollars.”

  33      1883   Rhode Island   1883 R.I. Pub. Laws       “Section 1. No person shall sell to any child under     This law (1883) comes
                                157, An Act In            the age of fifteen years, without the written consent   too late to shed much
                                Amendment Of And in       of a parent or guardian of such child, any cartridge    light on the scope of the
                                Addition To Chapter 92    or fixed ammunition of which any fulminate is a         Second Amendment
                                Of The Public Statutes    component part, or any gun, pistol or other             “[B]ecause post-Civil
                                “Of Fire-arms and Fire-   mechanical contrivance arranged for the explosion       War discussions of the
                                works”, § 1.              of such cartridge or of any fulminate.”                 right to keep and bear
                                                                                                                  arms ‘took place 75 years
                                                                                                                  after the ratification of
                                                                                                                  the Second Amendment,
                                                                                                                  they do not provide as
                                                                                                                  much insight into its
                                                                                                                  original meaning as
                                                                                                                  earlier sources.” Bruen,

                                                                                                                                     55
            Case
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                                                                                                            597 U.S. at 36.
                                                                                                            Not “relevantly similar”
                                                                                                            to the challenged laws,
                                                                                                            Bruen, 597 U.S. at 29-30,
                                                                                                            because



34   1883   Washington   Edward D. McLaughlin,     “6353.—Sale of Toy Pistols to Children. It shall be      This law (1883) comes
                         The Revised Statutes      unlawful for any person or persons, to sell or offer     too late to shed much
                         and Codes of the State    for sale, any toy pistols within this state, and every   light on the scope of the
                         of Washington Page        person who shall sell, give, furnish, or cause to be     Second Amendment
                         1042, Image 1094          furnished to any person under the age of sixteen         “[B]ecause post-Civil
                         (1896) available at The   years, any pistol, toy pistol or other pocket weapon,    War discussions of the
                                                                                                            right to keep and bear
                                                                                                            arms ‘took place 75 years
                                                                                                            after the ratification of
                                                                                                            the Second Amendment,
                                                                                                            they do not provide as
                                                                                                            much insight into its
                                                                                                            original meaning as
                                                                                                            earlier sources.” Bruen,
                                                                                                            597 U.S. at 36.
                                                                                                            Not “relevantly similar”
                                                                                                            to the challenged laws,
                                                                                                            Bruen, 597 U.S. at 29-30,
                                                                                                            because restriction only
                                                                                                            applies to minors “under
                                                                                                            the age of sixteen years”
                                                                                                            and does not restrict the
                                                                                                            sale, purchase,
                                                                                                            acquisition, possession,
                                                                                                            or carrying of any kind of

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Case
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                                                                               long gun.




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                                              A. FIREARMS AGE RESTRICTIONS

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 No.
                                Making of Modern Law:    in which explosives may be used, shall be deemed
                                Primary Sources. 1883.   guilty of a misdemeanor, and upon conviction, shall
                                1883 Wash. Sess. Laws    be fined in any sum not less than five, nor more
                                1042.                    than twenty-five dollars.”

  35      1883    Wisconsin     1883 Wis. Sess. Laws     “Section 1. It shall be unlawful for any minor,         This law (1883) comes
                                290.                     within this state, to go armed with any pistol or       too late to shed much
                                Wisc. 1883 ch. 329 p.    revolver, and it shall be the duty of all sheriffs,     light on the scope of the
                                290.                     constables, or other public police officers, to take    Second Amendment
                                                         from any minor, any pistol or revolver, found in his    “[B]ecause post-Civil
                                                         possession.”                                            War discussions of the
                                                         “Section 2. It shall be unlawful for any dealer in      right to keep and bear
                                                         pistols or revolvers, or any other person, to sell,     arms ‘took place 75 years
                                                         loan, or give any pistol or revolver to any minor in    after the ratification of
                                                         this state.”                                            the Second Amendment,
                                                                                                                 they do not provide as
                                                         “Section 3. It shall be unlawful for any person in a    much insight into its
                                                         state of intoxication, to go armed with any pistol or   original meaning as
                                                         revolver. Any person violating the provisions of        earlier sources.” Bruen,
                                                         this act, shall be punished by imprisonment in the      597 U.S. at 36.
                                                         county jail not exceeding six months, or by fine not
                                                                                                                 Not “relevantly similar”
                                                         exceeding one hundred dollars ($100).”
                                                                                                                 to the challenged laws,
                                                                                                                 Bruen, 597 U.S. at 29-30,
                                                                                                                 because it only restricts

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            Case
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                                                                                                      the sale, loan, or giving
                                                                                                      of pistols. Law does not
                                                                                                      effect the sale, purchase,
                                                                                                      acquisition, possession or
                                                                                                      carrying of long guns for
                                                                                                      minors or legal adults.




36   1884      Iowa     1884 Iowa Acts 86.     “Section 1. That it shall be unlawful for any person   This law (1884) comes
                                               to knowingly sell, present or give any pistol,         too late to shed much
                                                                                                      light on the scope of the
                                                                                                      Second Amendment
                                                                                                      “[B]ecause post-Civil
                                                                                                      War discussions of the
                                                                                                      right to keep and bear
                                                                                                      arms ‘took place 75 years
                                                                                                      after the ratification of
                                                                                                      the Second Amendment,
                                                                                                      they do not provide as
                                                                                                      much insight into its
                                                                                                      original meaning as
                                                                                                      earlier sources.” Bruen,
                                                                                                      597 U.S. at 36.
                                                                                                      Not “relevantly similar”
                                                                                                                         59
Case
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                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law effects
                                                                               minors, not legal adults.
                                                                               Law also does not restrict
                                                                               the sale, purchase,
                                                                               acquisition, possession,
                                                                               or carrying of any kind of
                                                                               long gun.




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                 Case
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                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                        Description of Regulation                   Plaintiffs’ Response
 No.
                                                          revolver or toy pistol to any minor.”
                                                          “Sec. 2. Any violation of this act shall be
                                                          punishable by a fine of not less than twenty-five
                                                          nor more than one hundred dollars or by
                                                          imprisonment in the county jail of not less than ten
                                                          nor more than thirty days.”

  37      1884    New York      George R. Donnan,         § 409. “A person who manufactures, or causes to         This law (1884) comes
                                Annotated Code of         be manufactured, or sells or keeps for sale, or         too late to shed much
                                Criminal Procedure and    offers, or gives, or disposes of, any instrument or     light on the scope of the
                                Penal Code of the State   weapon of the kind usually known as slung-shot,         Second Amendment
                                of New York as            billy, sand club or metal knuckles, or who, in any      “[B]ecause post-Civil
                                Amended 1882-5 Page       city in this state, without the written consent of a    War discussions of the
                                172, Image 699 (1885)     police magistrate, sells or gives any pistol or other   right to keep and bear
                                available at The Making   fire-arm to any person under the age of eighteen        arms ‘took place 75 years
                                of Modern Law:            years, is guilty of a misdemeanor.”                     after the ratification of
                                Primary Sources. 1884.    § 410. “A person who attempts to use against            the Second Amendment,
                                                                                                                  they do not provide as
                                Carrying, Using, Etc.,    another, or who, with intent so to use, carries,
                                Certain Weapons, § 410.   conceals or possesses any instrument or weapon of       much insight into its
                                                          the kind commonly known as the slung-shot, billy,       original meaning as
                                                                                                                  earlier sources.” Bruen,
                                                          sand-club or metal knuckles, or a dagger, dirk, or
                                                                                                                  597 U.S. at 36.
                                                          dangerous knife, is guilty of a felony. Any person
                                                          under the age of eighteen years who shall have,         Not “relevantly similar”
                                                          carry or have in his possession in any public street,   to the challenged laws,

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Case
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                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because it restricts sales
                                                                               to persons “under the age
                                                                               of eighteen.” Law does
                                                                               not restrict the sale of
                                                                               pistols or any firearm to
                                                                               persons eighteen and over
                                                                               or legal adults.




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                      Description of Regulation                    Plaintiffs’ Response
 No.
                                                          highway or place in any city of this state, without a
                                                          written license from a police magistrate of such
                                                          city, any pistol or other fire-arm of any kind, shall
                                                          be guilty of a misdemeanor. This section shall not
                                                          apply to the regular and ordinary transportation of
                                                          fire-arms as merchandise, or for use without the
                                                          city limits.”

  38      1885     Nevada       1885 Nev. Stat. 51, § 1   “Section one. Every person under the age of             This law (1885) comes
                                (approved March 4,        twenty-one (21) years who shall wear or carry any       too late to shed much
                                1881).                    dirk, pistol, sword in case, slung shot, or other       light on the scope of the
                                The General Statutes Of   dangerous or deadly weapon concealed upon his           Second Amendment
                                The State Of Nevada. In   person, shall be deemed guilty of a misdemeanor,        “[B]ecause post-Civil
                                Force From 1861 To        and shall, upon conviction thereof, be fined not less   War discussions of the
                                1885, Inclusive. 1077     than twenty nor more than two hundred ($200)            right to keep and bear
                                (David E. Baily and       dollars, or by imprisonment in the county jail not      arms ‘took place 75 years
                                John D. Hammond,          less than thirty days nor more than six months, or      after the ratification of
                                1885).                    by both such fine and imprisonment.”                    the Second Amendment,
                                                                                                                  they do not provide as
                                                                                                                  much insight into its
                                                                                                                  original meaning as
                                                                                                                  earlier sources.” Bruen,
                                                                                                                  597 U.S. at 36.
                                                                                                                  Not “relevantly similar”
                                                                                                                  to the challenged laws,
                                                                                                                                     63
            Case
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                                                                                                              Bruen, 597 U.S. at 29-30,
                                                                                                              because law restricts the
                                                                                                              age of concealed carrying
                                                                                                              for those under 21. There
                                                                                                              is no restriction on the
                                                                                                              sale, purchase,
                                                                                                              acquisition, possession, or
                                                                                                              open carrying of any
                                                                                                              firearm by minors or legal
                                                                                                              adults.


39   1885   New Jersey   1885 N.J. Laws 52, An      311. Sec. 1 “That is shall not be lawful for any          This law comes too late
                         Amendment to an Act to     person or persons to sell, barter or exchange, or to      to shed much light on the
                         Prevent Vending, Using,    offer or exhibit for sale, barter or exchange, any        scope of the Second
                         or Exploding of Guns,      gun, pistol, toy pistol or other firearm in this state    Amendment “[B]ecause
                         Pistols, Toy Pistols, or   to any person under the age of fifteen years.”            post-Civil War
                         Other Fire-Arms to or      334. Sec. 1. “That it shall not be lawful to sell, hire   discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.
                                                                                                              Not “relevantly similar”
                                                                                                              to the challenged laws,
                                                                                                              Bruen, 597 U.S. at 29-30,
                                                                                                              because it restricts
                                                                                                              “person[s] under the age
                                                                                                              of fifteen years.” Minors
                                                                                                              fifteen year and over and
                                                                                                              all legal adults are not
                                                                                                                                  64
Case
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                                                                               restricted in any way.




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                                                       Grabarsky Declaration
                                                          Historical Laws

                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                     Plaintiffs’ Response
 No.
                                by Persons under the       or loan to any person under the age of fifteen years
                                Age of Fifteen Years in    any gun, pistol, toy pistol or other firearms, or for
                                this State, ch. 44, § 2.   any person under the age of fifteen years to
                                                           purchase, barter or exchange any gun, pistol, toy
                                                           pistol or other fire-arms, nor for any person under
                                                           the age of fifteen years to carry, fire or use any gun,
                                                           pistol, toy pistol or other firearms, except in the
                                                           presence of his father or guardian, or for the
                                                           purpose of military drill in accordance with the
                                                           rules of a school.”

  40      1885    New York      George R. Donnan,          “Section 1. No person under the age of eighteen           This law comes too late
                                Annotated Code of          years shall have, carry or have in his possession in      to shed much light on the
                                Criminal Procedure and     any public street, highway or place in any of the         scope of the Second
                                Penal Code of the State    cities of this state, any pistol or other fire-arms of    Amendment “[B]ecause
                                of New York as             any kind, and no person shall in such cities sell or      post-Civil War
                                Amended 1882-5.            give any pistol or other fire-arms to any person          discussions of the right to
                                Fourth Edition Page        under such age.”                                          keep and bear arms ‘took
                                298, Image 824 (1885)      “§ 2. Any person violating any of the provisions of       place 75 years after the
                                available at The Making    this act shall be guilty of a misdemeanor, and in all     ratification of the Second
                                of Modern Law:                                                                       Amendment, they do not
                                                           trials or examinations for said offense the
                                Primary Sources. 1885.     appearance of the person so alleged or claimed to         provide as much insight
                                An Act to Limit the        be under the age of eighteen years shall be evidence      into its original meaning
                                Carrying and Sale of       to the magistrate or jury as to the age of such           as earlier sources.”
                                Pistols and other fire                                                               Bruen, 597 U.S. at 36.

                                                                                                                                         66
Case
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                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because it restricts
                                                                               carrying and sale of
                                                                               pistols and other firearms
                                                                               to those “under the age of
                                                                               eighteen years.” Minor
                                                                               18 years and up and legal
                                                                               adults are not restricted
                                                                               under this provision.




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                                 A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction            Citation                         Description of Regulation                     Plaintiffs’ Response
 No.
                                arms in the cities of this   person.”
                                state. Chap. 375, § 1.       “§ 3. Nothing herein contained shall apply to the
                                                             regular and ordinary transportation of pistols or
                                                             fire-arms as articles of merchandise in said cities,
                                                             or to the carrying of a gun or rifle through a street
                                                             or highway of any city, with the intent to use the
                                                             same outside the said city; nor to any person under
                                                             such age carrying any pistol or fire-arms under a
                                                             license given by the mayor of said cities; but no
                                                             license so given shall be in force more than one
                                                             year from its date, and all such licenses may be
                                                             revoked at the pleasure of the mayor, and a full
                                                             complete and public record shall be kept by the
                                                             mayor of said cities of all such licenses and the
                                                             terms and date thereof.”

  41      1890    Louisiana     1890 La. Acts 39, An         “Section 1. Be it enacted by the General Assembly         This law comes too late
                                Act Making it a              of the State of Louisiana, That, hereafter, it shall be   to shed much light on the
                                Misdemeanor for Any          unlawful, for any person to sell, or lease or give        scope of the Second
                                Person to Sell, Give or      through himself or any other person, any pistol,          Amendment “[B]ecause
                                Lease, to Any Minor,         dirk, bowie-knife or any other dangerous weapon           post-Civil War
                                Any Pistol, Bowie-           which may be carried concealed to any person              discussions of the right to
                                Knife, Dirk or Any           under the age of twenty-one years.”                       keep and bear arms ‘took
                                Weapons, Intended to be                                                                place 75 years after the
                                Carried or Used as a                                                                   ratification of the Second
                                                                                                                                           68
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                                                                               Amendment, they do not
                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because it restricts
                                                                               weapons that may be
                                                                               carried concealed. Law
                                                                               does not restrict sales of
                                                                               long guns to minors or
                                                                               legal adults.




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                      Description of Regulation                     Plaintiffs’ Response
 No.
                                Concealed Weapon, § 1.
                                Lou. 1890 ch. 46 p. 39.

  42      1890   Oklahoma       1890 Okla. Laws 495,      “§ 1. It shall be unlawful for any person in the        This law comes too late
                 [Territory]    496, art. 47.             Territory of Oklahoma to carry concealed on or          to shed much light on the
                                                          about his person, saddle, or saddle bags, any pistol,   scope of the Second
                                                          revolver, bowie knife, dirk, dagger, slung-shot,        Amendment “[B]ecause
                                                          sword cane, spear, metal knuckles, or any other         post-Civil War
                                                          kind of knife or instrument manufactured or sold        discussions of the right to
                                                          for the purpose of defense except as in this article    keep and bear arms ‘took
                                                          provided.”                                              place 75 years after the
                                                          “§ 2. It shall be unlawful for any person in the        ratification of the Second
                                                          Territory of Oklahoma, to carry upon or about his       Amendment, they do not
                                                          person any pistol, revolver, bowie knife, dirk knife,   provide as much insight
                                                          loaded cane, billy, metal knuckles, or any other        into its original meaning
                                                          offensive or defensive weapon, except as in this        as earlier sources.”
                                                          article provided.”                                      Bruen, 597 U.S. at 36.
                                                                                                                  Not “relevantly similar” to
                                                          “§ 3. It shall be unlawful for any person within this
                                                                                                                  the challenged laws, Bruen,
                                                          Territory, to sell or give to any minor any of the
                                                                                                                  597 U.S. at 29-30, because
                                                          arms or weapons designated in sections one and
                                                                                                                  it restricts minors, not legal
                                                          two of this article.”
                                                                                                                  adults. Law also does not
                                                                                                                  restrict long guns in any
                                                                                                                  way.

                                                                                                                                       70
            Case
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43   1890    Virginia    Va. 1890 ch. 152 p. 118.   “1. Be it enacted by the general assembly of
                                                    Virginia, That if any person sell, barter, give or




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                                  Grabarsky Declaration
                                                     Historical Laws

                                          A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction       Citation                    Description of Regulation                  Plaintiffs’ Response
 No.
                                                    furnish or cause to be sold, bartered, given, or      This law comes too late
                                                    furnished to any minor under sixteen years of age     to shed much light on the
                                                    cigarettes, or pistols, or dirks, or bowie-knives,    scope of the Second
                                                    having good cause to believe him or her to be a       Amendment “[B]ecause
                                                    minor under sixteen years of age, said person shall   post-Civil War
                                                    be fined not less than ten nor more than one          discussions of the right to
                                                    hundred dollars.”                                     keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          to the challenged laws,
                                                                                                          Bruen, 597 U.S. at 29-
                                                                                                          30, because it restricts
                                                                                                          minors “under sixteen
                                                                                                          years of age.” Does not
                                                                                                          restrict minors 16 and
                                                                                                          over or any legal adult.
                                                                                                          The law also does not

                                                                                                                              72
            Case
             Case3:19-cv-01226-L-AHG
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                                                                                                              restrict minors’ ability
                                                                                                              to purchase or acquire
                                                                                                              long guns.




44   1890    Wyoming      1890 Wyo. Terr. Sess.      “Sec. 97. It shall be unlawful for any person to sell,   This law comes too late
            [Territory]   Laws 140. Josiah A.        barter or give to any other person under the age of      to shed much light on the
                          Van Orsdel, Attorney       twenty-one years any pistol, dirk or bowie knife,        scope of the Second
                          General, Revised           slung-shot, knucks or other deadly weapon that can       Amendment “[B]ecause
                          Statutes of Wyoming, in    be worn or carried concealed upon or about the           post-Civil War
                          Force December 1, 1899     person, or to sell, barter or give to any person under   discussions of the right to
                          Including the Magna        the age of sixteen years any cartridges                  keep and bear arms ‘took
                          Charta, Declaration of     manufactured and designed for use in a pistol; and       place 75 years after the
                          Independence, Articles     any person who shall violate any of the provisions       ratification of the Second
                          of Confederation,          of this section shall be fined in any sum not more       Amendment, they do not
                          Organic Act of Territory   than fifty dollars.”                                     provide as much insight
                          of Wyoming, Act of                                                                  into its original meaning
                          Admission of the State                                                              as earlier sources.”
                          of Wyoming,                                                                         Bruen, 597 U.S. at 36.
                          Constitution of the                                                                 Not “relevantly similar”
                          United States and of                                                                to the challenged laws,
                          Wyoming, and the Rules                                                              Bruen, 597 U.S. at 29-30,
                                                                                                              because it restricts
                                                                                                              minors, not legal adults.
                                                                                                              The law also does not
                                                                                                              restrict minors’ ability to
                                                                                                              purchase or acquire long
                                                                                                              guns.




                                                                                                                                   73
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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                                                           Historical Laws

                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction            Citation                         Description of Regulation                    Plaintiffs’ Response
 No.
                                 of the Supreme Court
                                 Page 1253, Image 1253
                                 (1899) available at The
                                 Making of Modern Law:
                                 Primary Sources. 1890.
                                 Wyo. 1890 ch. 73 § 97
                                 p. 140.

  45      1891   West Virginia   See State v. Workman,       “7. If a person carry about his person any revolver      This law comes too late
                                 14 L.R.A. 600 (1891):       or other pistol, dirk, bowie knife, razor, slung shot,   to shed much light on the
                                 John Augustus Warth,        billy, metallic or other false knuckles, or any other    scope of the Second
                                 The Code of West            dangerous or deadly weapon of like kind or               Amendment “[B]ecause
                                 Virginia. Containing the    character, he shall be guilty of a misdemeanor, and      post-Civil War
                                 Constitution and            fined not less than twenty-five nor more than two        discussions of the right to
                                 Naturalization of the       hundred dollars, and may, at the discretion of the       keep and bear arms ‘took
                                 United States – the         court, be confined in jail not less than one nor more    place 75 years after the
                                 Constitution of the State   than twelve months; and if any person shall sell or      ratification of the Second
                                 – the Code, as Amended      furnish any such weapon as is hereinbefore               Amendment, they do not
                                 by Legislation to and       mentioned to a person whom he knows, or has              provide as much insight
                                 Including the Year 1891     reason, from his appearance or otherwise, to             into its original meaning
                                 and Marginal Notes to       believe to be under the age of twenty-one years, he      as earlier sources.”
                                 all Prior Laws and          shall be punished as hereinbefore provided; but          Bruen, 597 U.S. at 36.
                                 Applicable Decisions,       nothing herein contained shall be so construed as to     Not “relevantly similar”
                                 with an Appendix,           prevent any person from keeping or carrying about        to the challenged laws,
                                 Containing all the          his dwelling house or premises, any such revolver
                                                                                                                                          74
Case
 Case3:19-cv-01226-L-AHG
      3:19-cv-01226-L-AHG Document 133139-1
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                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law restricts
                                                                               minors, not legal adults.
                                                                               The law also does not
                                                                               place any restrictions on
                                                                               minors’ ability to
                                                                               purchase or acquire long
                                                                               guns.




                                                                                                  75
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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                                                      Grabarsky Declaration
                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                  Plaintiffs’ Response
 No.
                                Statutes of the State in   or other pistol, or from carrying the same from the
                                Force, of a General and    place of purchase to his dwelling house, or from his
                                Prospective Nature, not    dwelling house to any place where repairing is
                                Enacted or Inserted in     done, to have it repaired and back again.”
                                the Several Chapters of
                                the Code Page 915-916,
                                Image 920-921 (1891)
                                available at The Making
                                of Modern Law:
                                Primary Sources. 1891.
                                1891 W. Va. 915.

  46      1892    District of   Washington D.C. 27         “Be it enacted by the Senate and House of              This law comes too late
                  Columbia      Stat. 116 (1892).          Representatives of the United States of America in     to shed much light on the
                                Ch. 159.–An Act to         Congress assembled, That it shall not be lawful for    scope of the Second
                                punish the carrying or     any person or persons within the District of           Amendment “[B]ecause
                                selling of deadly or       Columbia, to have concealed about their person any     post-Civil War
                                                           deadly or dangerous weapons, such as daggers, air-     discussions of the right to
                                dangerous weapons
                                                           guns, pistols, bowie-knives, dirk knives or dirks,     keep and bear arms ‘took
                                within the District of
                                Columbia, and for other    blackjacks, razors, razor blades, sword canes, slung   place 75 years after the
                                purposes.                  shot, brass or other metal knuckles.”                  ratification of the Second
                                                                                                                  Amendment, they do not
                                                                                                                  provide as much insight
                                                           “Sec. 5. That any person or persons who shall,
                                                           within the District of Columbia, sell, barter, hire,   into its original meaning
                                                                                                                  as earlier sources.”
                                                                                                                                      76
Case
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                                                                               Bruen, 597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law restricts
                                                                               minors, not legal adults.
                                                                               The law also does not
                                                                               place any restrictions on
                                                                               minors’ ability to
                                                                               purchase or acquire long
                                                                               guns.




                                                                                                  77
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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                                                       Grabarsky Declaration
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                   Plaintiffs’ Response
 No.
                                                           lend or give to any minor under the age of twenty-
                                                           one years any such weapon as hereinbefore
                                                           described shall be deemed guilty of a misdemeanor,
                                                           and shall, upon conviction thereof, pay a fine or
                                                           penalty of not less than twenty dollars nor more
                                                           than one hundred dollars, or be imprisoned in the
                                                           jail of the District of Columbia not more than three
                                                           months.”

  47      1892   Mississippi    R.H. Thompson, The         1028. “It shall not be lawful for any person to sell,   This law comes too late
                                Annotated Code of the      give, or lend to any minor or person intoxicated,       to shed much light on the
                                General Statute Laws of    knowing him to be a minor or in a state of              scope of the Second
                                the State of Mississippi   intoxication, any deadly weapon, or other weapon        Amendment “[B]ecause
                                327, § 1030 (1892).        the carrying of which concealed is prohibited, or       post-Civil War
                                1892 Miss. Laws 327.       pistol cartridge . . .”                                 discussions of the right to
                                                           1029. “Any father who shall knowingly suffer or         keep and bear arms ‘took
                                                           permit any son under the age of sixteen years to        place 75 years after the
                                                           have or to own, or to carry concealed, in whole or      ratification of the Second
                                                           in part, any weapon the carrying of which               Amendment, they do not
                                                           concealed is prohibited, shall be guilty of a           provide as much insight
                                                           misdemeanor, and, on conviction, shall be fined not     into its original meaning
                                                           less than twenty dollars nor more than two hundred      as earlier sources.”
                                                           dollars, or may be imprisoned not more than sixty       Bruen, 597 U.S. at 36.
                                                           days in the county jail, or both.”                      Not “relevantly similar” to
                                                                                                                   the challenged laws,

                                                                                                                                      78
Case
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                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law restricts
                                                                               concealed carry by
                                                                               minors, not legal adults.
                                                                               The law also does not
                                                                               place any restrictions on
                                                                               minors’ ability to
                                                                               purchase or acquire long
                                                                               guns.




                                                                                                  79
                 Case
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                                                     Grabarsky Declaration
                                                        Historical Laws

                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                     Description of Regulation                    Plaintiffs’ Response
 No.
                                                       1030. “A student of any university, college, or
                                                       school, who shall carry, bring, receive, own, or
                                                       have on the campus, college or school grounds, or
                                                       within two miles thereof, any weapon the carrying
                                                       of which concealed is prohibited, or a teacher,
                                                       instructor, or professor who shall knowingly suffer
                                                       or permit any such weapon to be carried, or so
                                                       brought, received, owned, or had by a student or
                                                       pupil, shall be guilty of a misdemeanor, and, on
                                                       conviction, be fined not exceeding three hundred
                                                       dollar or imprisoned in the county jail not
                                                       exceeding three months, or both.”

  48      1893     North        1893 N.C. Sess. Laws   “Section 1. That it shall be unlawful for any person,    This law comes too late
                  Carolina      468–69.                corporation or firm knowingly to sell or offer for       to shed much light on the
                                                       sale, give or in any way dispose of to a minor any       scope of the Second
                                                       pistol or pistol cartridge, brass knucks, bowie-knife,   Amendment “[B]ecause
                                                       dirk, loaded cane, or sling shot.”                       post-Civil War
                                                       “Sec. 2. That any person, corporation or firm            discussions of the right to
                                                       violating this act shall be guilty of a misdemeanor,     keep and bear arms ‘took
                                                                                                                place 75 years after the
                                                       and upon conviction for each and every offense
                                                       shall be fined or imprisoned, one or both, in the        ratification of the Second
                                                       discretion of the court.”                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning

                                                                                                                                    80
            Case
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                                                                                                      as earlier sources.”
                                                                                                      Bruen, 597 U.S. at 36.


                                                                                                      Not “relevantly similar” to
                                                                                                      the challenged laws, Bruen,
                                                                                                      597 U.S. at 29-30, because
                                                                                                      the law restricts minors, not
                                                                                                      legal adults. The law also
                                                                                                      does not place any
                                                                                                      restrictions on minors’
                                                                                                      ability to purchase or
                                                                                                      acquire long guns.
49   1897      Iowa     Annotated Code of the   Sec. 5004. “No person shall knowingly sell, present   This law comes too late
                                                                                                      to shed much light on the
                                                                                                      scope of the Second
                                                                                                      Amendment “[B]ecause
                                                                                                      post-Civil War
                                                                                                      discussions of the right to
                                                                                                      keep and bear arms ‘took
                                                                                                      place 75 years after the
                                                                                                      ratification of the Second
                                                                                                      Amendment, they do not
                                                                                                      provide as much insight
                                                                                                      into its original meaning
                                                                                                      as earlier sources.”
                                                                                                      Bruen, 597 U.S. at 36.
                                                                                                      Not “relevantly similar” to
                                                                                                      the challenged laws, Bruen,
                                                                                                      597 U.S. at 29-30, because
                                                                                                      the law restricts minors, not
                                                                                                      legal adults. The law also
                                                                                                      does not place any
                                                                                                      restrictions on minors’
                                                                                                      ability to purchase or
                                                                                                                          81
Case
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                                                                               acquire long guns.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                    Plaintiffs’ Response
 No.
                                State of Iowa              or give any pistol, revolver or toy pistol to any
                                Containing All the Laws    minor. Any violation of this section shall be
                                of a General Nature        punished by a fine of not less than twenty-five nor
                                Enacted by The Twenty-     more than one hundred dollars, or by imprisonment
                                Sixth General Assembly     in the county jail not less than ten nor more than
                                at the Extra Session,      thirty days.”
                                Which Adjourned July
                                2, 1897 Page 1955,
                                Image 787 (Vol. 1,
                                1897) available at The
                                Making of Modern Law:
                                Primary Sources. 1897.
                                § 5004.
                                1897 Iowa Acts 1955.

  50      1897      Texas       1897 Tex. Gen. Laws        Section 1. “That if any person in this State shall      This law comes too late
                                221-22, An Act to          knowingly sell, give or barter, or cause to be sold,    to shed much light on the
                                Prevent the Barter, Sale   given or bartered to any minor, any pistol, dirk,       scope of the Second
                                and Gift of Any Pistol,    dagger, slung shot, sword-cane, spear or knuckles       Amendment “[B]ecause
                                Dirk, Dagger, Slung        made of any metal or hard substance, bowie knife        post-Civil War
                                Shot, Sword Cane,          or any other knife manufactured or sold for the         discussions of the right to
                                Spear, or Knuckles         purpose of offense or defense, without the written      keep and bear arms ‘took
                                Made of Any Metal or       consent of the parent or guardian of such minor, or     place 75 years after the
                                Hard Substance to Any      of someone standing in lieu thereof, he shall be        ratification of the Second
                                Minor Without the          punished by fine of not less than twenty-five dollars   Amendment, they do not
                                                                                                                                       83
Case
 Case3:19-cv-01226-L-AHG
      3:19-cv-01226-L-AHG Document 133139-1
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                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law restricts
                                                                               minors, not legal adults.
                                                                               The law also does not
                                                                               place any restrictions on
                                                                               minors’ ability to
                                                                               purchase or acquire long
                                                                               guns. Law also allows for
                                                                               the sale of the identified
                                                                               weapons to minors with
                                                                               parental consent.




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                  Case
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                                                            Historical Laws

                                                  A. FIREARMS AGE RESTRICTIONS

Exhibit   Year    Jurisdiction            Citation                         Description of Regulation                   Plaintiffs’ Response
 No.
                                  Written Consent of the       nor more than two hundred dollars, or by
                                  Parent or Guardian of        imprisonment in the county jail not less than ten
                                  Such Minor. . . , ch. 155,   nor more than thirty days, or by both such fine and
                                  § 1.                         imprisonment. And during the time of such
                                  Tex. 1897 ch. 154 p.         imprisonment such offender may be put to work
                                  221.                         upon any public work in the county in which such
                                                               offense is committed.”

Early 20th Century (1900-1930s)

  51      1900     New York       1900 N.Y. Laws 459,          § 409. Making, et cetera, dangerous weapons. – A       Law comes too late to
                                  An Act to Amend              person who manufactures, or causes to be               provide any insight into
                                  Section Four Hundred         manufactured, or sells or keeps for sale, or offers,   the meaning of the
                                  and Nine of the Penal        or gives, or disposes of any instrument or weapon      Second Amendment.
                                  Code, Relative to            of the kind usually known as slungshot, billy, sand-   Bruen entirely
                                  Dangerous Weapons,           club or metal knuckles, or who, in any city or         disregarded laws from the
                                  ch. 222, § 1.                incorporated village in this state, without the        20th century, noting that,
                                                               written consent of the police magistrate, sells or     “[a]s with…late-19th
                                                               gives any pistol or other firearm, to any person       century evidence, the
                                                               under the age of eighteen years or without a like      20th-century evidence
                                                               consent sells or gives away any air-gun, or spring-    presented by respondents
                                                               gun, or other instrument or weapon in which the        and their amici does not
                                                               propelling force is a spring or air to any person      provide insight into the
                                                               under the age of twelve years, or who sells or gives   meaning of the Second
                                                               away any instrument or weapon commonly known           Amendment when it

                                                                                                                                         85
Case
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                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.


                                                                               Not “relevantly similar”
                                                                               as it is a applies to persons
                                                                               “under the age of eighteen
                                                                               years.” Law does not
                                                                               apply to persons 18 years
                                                                               and over or legal adults.




                                                                                                    86
                 Case
                  Case3:19-cv-01226-L-AHG
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                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                     Plaintiffs’ Response
 No.
                                                          as a toy pistol, in or upon which any loaded or
                                                          blank cartridges are used or may be used, to any
                                                          person under the age of sixteen years, is guilty of a
                                                          misdemeanor.”

  52      1902     Virginia     1902-1904 Va. Acts        “1. Be it enacted by the general assembly of              Law comes too late to
                                261, An Act to Prevent    Virginia, That it shall be unlawful for any person,       provide any insight into
                                the Sale or Gift of Toy   firm, corporation, or association, to sell, barter,       the meaning of the
                                Firearms to Persons       exchange, furnish, or dispose of by purchase, gift,       Second Amendment.
                                Under Twelve Years of     or in any other manner, any toy gun, pistol, rifle, or    Bruen entirely
                                Age, and to Provide a     other toy firearm, if the same shall, by means of         disregarded laws from the
                                Penalty Therefor, ch.     powder or other explosive discharge blank or ball         20th century, noting that,
                                186, §§ 1-2. 1903.        charges, to any person under the age of twelve            “[a]s with…late-19th
                                                          years. Any firm, corporation, or association              century evidence, the
                                                          violating the provisions of this act shall be deemed      20th-century evidence
                                                          guilty of a misdemeanor, and, upon conviction             presented by respondents
                                                          thereof, shall be fined not less than fifty dollars nor   and their amici does not
                                                          more than one hundred dollars, or confined in jail        provide insight into the
                                                          for a period not less than thirty, nor more than          meaning of the Second
                                                          ninety days, either or both.”                             Amendment when it
                                                          “2. Each sale of any of the articles hereinbefore         contradicts earlier
                                                                                                                    evidence.” Bruen, 597
                                                          specified to any person under the age mentioned
                                                          shall constitute a separate offense, and any person       U.S. at 66 n.28.
                                                          over the age of twelve years who shall purchase,
                                                          accept, or in any manner acquire any of the toy
                                                                                                                                       87
Case
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                                                                               Not “relevantly similar”
                                                                               as it is a restricts persons
                                                                               under the age of twelve
                                                                               years. Minors 12 years
                                                                               and over and legal adults
                                                                               are not restricted.




                                                                                                     88
                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                                           articles of the kind hereinbefore enumerated for any
                                                           person under the age of twelve years, shall be
                                                           deemed guilty of a misdemeanor, and, upon
                                                           conviction thereof, shall be fined not less than one
                                                           hundred dollars nor more than two hundred dollars,
                                                           or confined in jail for a period not less than thirty
                                                           days nor more than six months, either or both.”

  53      1903   New Jersey     1903 N.J. Laws 337-38,     “95. It shall not be lawful to sell, barter, exchange,   Law comes too late to
                                An Act to Amend an         hire or loan to any person under the age of fifteen      provide any insight into
                                Act Entitled “An Act for   years, any gun, pistol, toy pistol, or other firearms,   the meaning of the
                                the Punishment of          or for any person under the age of fifteen years to      Second Amendment.
                                Crimes,” ch. 169, § 1.     purchase, barter or exchange any gun, pistol, toy        Bruen entirely
                                                           pistol or other firearms, nor for any person under       disregarded laws from the
                                                           the age of fifteen years to carry, fire or use a gun,    20th century, noting that,
                                                           pistol¸ toy pistol or other firearms, except in the      “[a]s with…late-19th
                                                           presence of his father or guardian, or for the           century evidence, the
                                                           purpose of military drill in accordance with the         20th-century evidence
                                                           rules of a school; it shall be the duty of all persons   presented by respondents
                                                           selling, hiring, bartering or exchanging pistols,        and their amici does not
                                                           revolvers, guns or other firearms, to keep and           provide insight into the
                                                           maintain a book of registry of the same, in which        meaning of the Second
                                                           said book of registry shall be entered the number of     Amendment when it
                                                           the article sold, if any, the name of the maker,         contradicts earlier
                                                           together with such other means of identification as      evidence.” Bruen, 597

                                                                                                                                       89
Case
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                                                                               U.S. at 66 n.28.


                                                                               Not “relevantly similar”
                                                                               as it is a restricts those
                                                                               under the age of fifteen
                                                                               years. Minors 15 years
                                                                               and over and legal adults
                                                                               are not restricted.




                                                                                                   90
                 Case
                  Case3:19-cv-01226-L-AHG
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                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                         Description of Regulation                    Plaintiffs’ Response
 No.
                                                             may be obtainable concerning the same, and also
                                                             the name and address of the person to whom such
                                                             pistol, revolver, gun or other firearm is sold,
                                                             bartered, exchanged or hired . . .”

  54      1903     Oregon       1903 Or. Laws 309-10,        “Section 1. It shall be unlawful to sell, exchange,     Law comes too late to
                                An Act to Regulate and       barter, or give to any child, under the age of          provide any insight into
                                Prohibit the Sale, Barter,   fourteen years, any explosive article or substance,     the meaning of the
                                Exchange, or Gift of         other than an ordinary firecracker, containing ten      Second Amendment.
                                Explosives, Firearms or      grains of gunpowder; or to sell, exchange, barter, or   Bruen entirely
                                Other Articles of a Like     give to any such child any firearms, or other device    disregarded laws from the
                                Kind, to Children Under      of a like kind, ordinarily used or ordinarily capable   20th century, noting that,
                                the Age of Fourteen          of being used in discharging gunpowder in a greater     “[a]s with…late-19th
                                Years, and to Punish the     quantity than ten grains; and it is hereby made         century evidence, the
                                Violation of the             unlawful in any event to sell, exchange, barter, or     20th-century evidence
                                Provisions of this Act.      give to any child, under the age of fourteen years,     presented by respondents
                                §§ 1-2.                      any instrument or apparatus, the chief utility of       and their amici does not
                                                             which consists in the fact that it is used, or is       provide insight into the
                                                             ordinarily capable of being used, as an article or      meaning of the Second
                                                             device to increase the force or intensity of such       Amendment when it
                                                             explosive, or to direct or control the discharge of     contradicts earlier
                                                             any such explosive.”                                    evidence.” Bruen, 597
                                                             “Section 2. Any person violating the provisions of      U.S. at 66 n.28.
                                                             this act shall be guilty of a misdemeanor.”

                                                                                                                                        91
Case
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                                                                               Not “relevantly similar”
                                                                               as it is a restricts those
                                                                               under the age of fourteen
                                                                               years. Law does not
                                                                               restrict those 14 years and
                                                                               over or legal adults.




                                                                                                   92
                 Case
                  Case3:19-cv-01226-L-AHG
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                      Description of Regulation                   Plaintiffs’ Response
 No.

  55      1903   South Dakota   1903 S.D. Sess. Laws      §1. “It shall be unlawful for any person under the     Law comes too late to
                                168-69, Prohibiting the   age of fifteen years to carry, use or discharge any    provide any insight into
                                Use of Fire Arms by       rifle, shot gun, revolver or other fire arms except    the meaning of the
                                Persons under Fifteen     with the consent and knowledge of their parents or     Second Amendment.
                                Years of Age, ch. 144,    guardians.”                                            Bruen entirely
                                §§ 1-3.                   § 2. “It shall be unlawful for any parent or           disregarded laws from the
                                                          guardian, having the legal charge or control of any    20th century, noting that,
                                                                                                                 “[a]s with…late-19th
                                                          minor under the age of fifteen years, to allow or
                                                                                                                 century evidence, the
                                                          permit such minor to use or carry while loaded any
                                                          of the arms mentioned in section one of this act       20th-century evidence
                                                          within the platted portion or within the distance of   presented by respondents
                                                                                                                 and their amici does not
                                                          one mile of the platted portion of any city, town or
                                                                                                                 provide insight into the
                                                          village.”
                                                                                                                 meaning of the Second
                                                          “§ 3. Any person or persons violating the              Amendment when it
                                                          provisions of this act shall be deemed guilty of a     contradicts earlier
                                                          misdemeanor and upon conviction thereof shall be       evidence.” Bruen, 597
                                                          fined in a sum not exceeding Fifty Dollars.”           U.S. at 66 n.28.


                                                                                                                 Not “relevantly similar”
                                                                                                                 as it is a restricts those
                                                                                                                 under the age of fifteen
                                                                                                                 years. Law does not
                                                                                                                 restrict those 15 years and
                                                                                                                                     93
            Case
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                                                                                                       over or any legal adult
                                                                                                       based on age.




56   1905     Indiana   1905 Ind. Acts 688,     “Sec. 450. It shall be unlawful for any person to      Law comes too late to
                        Weapon— Furnishing to   sell, barter or give to any other person under the     provide any insight into
                        Minor, § 450.           age of twenty-one years any pistol, dirk or bowie-     the meaning of the
                                                knife, slung-shot, knucks or other deadly weapon       Second Amendment.
                                                that can be worn or carried concealed upon or about    Bruen entirely
                                                the person, or to sell¸ barter or give to any person   disregarded laws from the
                                                                                                       20th century, noting that,
                                                                                                       “[a]s with…late-19th
                                                                                                       century evidence, the
                                                                                                       20th-century evidence
                                                                                                       presented by respondents
                                                                                                       and their amici does not
                                                                                                       provide insight into the
                                                                                                       meaning of the Second
                                                                                                       Amendment when it
                                                                                                                           94
Case
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                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.


                                                                               Not “relevantly similar”
                                                                               as it is a restricts weapons
                                                                               that can be concealed.
                                                                               Law does not affect long
                                                                               guns.




                                                                                                    95
                 Case
                  Case3:19-cv-01226-L-AHG
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                         Description of Regulation                    Plaintiffs’ Response
 No.
                                                            under the age of twenty-one years any cartridges
                                                            manufactured and designed to be used in a pistol or
                                                            revolver. Any person who shall violate any of the
                                                            provisions of this section shall be deemed guilty of
                                                            a misdemeanor, and, on conviction shall be fined
                                                            not less than five dollars nor more than fifty
                                                            dollars.”

  57      1905      Utah        1905 Utah Laws 60, An       “Section 1. Selling or giving firearms to minors         Law comes too late to
                                Act to Prohibit the Sale    under fourteen. Any person who sells, gives or           provide any insight into
                                of Firearms to Minors       disposes of, or offers to sell, give or dispose of any   the meaning of the
                                and the Carrying of         pistol, gun, target gun or other firearm, to any         Second Amendment.
                                Firearms by Minors, and     person under the age of fourteen years, is guilty of     Bruen entirely
                                Prescribing Penalties for   a misdemeanor.”                                          disregarded laws from the
                                Violation Thereof, ch.      “Sec. 2. Minor under fourteen must not carry             20th century, noting that,
                                52, §§ 1-2.                                                                          “[a]s with…late-19th
                                                            firearms. Any person under the age of fourteen
                                                            years who shall carry, or have in his possession,        century evidence, the
                                                            any pistol, gun, target gun or other firearm, unless     20th-century evidence
                                                            accompanied by a parent or guardian, shall be            presented by respondents
                                                            guilty of a misdemeanor.”                                and their amici does not
                                                                                                                     provide insight into the
                                                                                                                     meaning of the Second
                                                                                                                     Amendment when it
                                                                                                                     contradicts earlier
                                                                                                                     evidence.” Bruen, 597

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            Case
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                                                                                                         U.S. at 66 n.28.


                                                                                                         Not “relevantly similar”
                                                                                                         as it is a restriction on
                                                                                                         “minors under fourteen.”
                                                                                                         Minors 14 years and older
                                                                                                         and legal adults are not
                                                                                                         restricted.




58   1909     Idaho     1909 Id. Sess. Laws 6,   “Section 1. If any person . . . shall carry concealed   Law comes too late to
                                                                                                         provide any insight into the
                        An Act To Regulate the   upon or about his person any dirk, dirk knife, bowie
                                                                                                         meaning of the Second
                        Use and Carrying of      knife, dagger, slung shot, pistol, revolver, gun or     Amendment. Bruen
                        Concealed Deadly         any other deadly or dangerous weapon within the         entirely disregarded laws
                                                                                                         from the 20th century,
                                                                                                         noting that, “[a]s
                                                                                                         with…late-19th century
                                                                                                         evidence, the 20th-century
                                                                                                         evidence presented by
                                                                                                         respondents and their amici
                                                                                                         does not provide insight
                                                                                                         into the meaning of the
                                                                                                         Second Amendment when
                                                                                                         it contradicts earlier
                                                                                                         evidence.” Bruen, 597 U.S.
                                                                                                         at 66 n.28.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                         Description of Regulation                    Plaintiffs’ Response
 No.
                                Weapons and to             limits or confines of any city, town, or village, or in
                                Regulate the Sale or       any public assembly, or in any mining, lumbering,
                                Delivery of Deadly         logging, railroad, or other construction camp within
                                Weapons to Minors          the State of Idaho, or shall, in the presence of one
                                Under the Age of           or more persons, exhibit any deadly or dangerous
                                Sixteen Years to Provide   weapon in a rude, angry, or threatening manner, or
                                a Penalty for the          shall have or carry any such weapon upon or about
                                Violation of the           his person when intoxicated, or under the influence
                                Provisions of this Act,    of intoxicating drinks, or shall, directly or
                                and to Exempt Certain      indirectly, sell or deliver, loan or barter to any
                                Persons, § 1.              minor under the age of sixteen (16) years any such
                                                           weapon, without the consent of the parent or
                                                           guardian of such minor, he shall upon conviction,
                                                           be punished by a fine of not less than twenty-five
                                                           dollars ($25.00) nor more than two hundred dollars
                                                           ($200.00), or by imprisonment in the county jail for
                                                           a period of not less than twenty (20) nor more than
                                                           sixty (60) days, or by both such fine and
                                                           imprisonment: Provided, however, that it shall be a
                                                           good defense to the charge of carrying such
                                                           concealed weapons if the defendant shall show that
                                                           he has been threatened with great bodily harm or
                                                           had good reason to carry the same in the necessary
                                                           defense of his person, family home or property.”


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                 Case
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                                                           Historical Laws

                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction            Citation                      Description of Regulation                   Plaintiffs’ Response
 No.

  59      1909   Massachusetts   1909 Mass. Acts 148,      “Section ninety-two of chapter one hundred and
                                 An Act to Prohibit the    two of the Revised Laws is hereby amended by
                                 Sale of Air Guns to       inserting after the word ‘firearms’, in the second
                                 Certain Minors.           line, the words: — air guns, — so as to read as
                                                           follows: Section 92. Whoever sells or furnishes to a
                                                           minor under the age of fifteen years any firearms,
                                                           air guns or other dangerous weapon shall be
                                                           punished by a fine of not less than ten nor more
                                                           than fifty dollars for each offence; but instructors
                                                           and teachers may furnish military weapons to
                                                           pupils for instruction and drill.”

  60      1909    Washington     1909 Wash. Sess. Laws     Sec. 308. “No minor under the age of fourteen          Law comes too late to
                                 984, An Act Relating to   years shall handle or have in his possession or        provide any insight into the
                                 Crimes and Punishments    under his control, except while accompanied by or      meaning of the Second
                                 and the Rights and        under his control, except while accompanied by or      Amendment. Bruen
                                 Custody of Persons        under the immediate charge of his parent or            entirely disregarded laws
                                 Accused or Convicted of   guardian, any firearm of any kind for hunting or       from the 20th century,
                                 Crime, and Repealing      target practice or for other purposes. Every person    noting that, “[a]s
                                 Certain Acts, ch. 249,    violating any of the foregoing provisions, or aiding   with…late-19th century
                                 ch. 8, § 308.             or knowingly permitting any such minor to violate      evidence, the 20th-century
                                                           the same, shall be guilty of a misdemeanor.”           evidence presented by
                                                                                                                  respondents and their amici
                                                                                                                  does not provide insight
                                                                                                                  into the meaning of the
                                                                                                                                     99
            Case
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                                                                                                    Second Amendment when
                                                                                                    it contradicts earlier
                                                                                                    evidence.” Bruen, 597 U.S.
                                                                                                    at 66 n.28.




61   1910    Georgia    1910 Ga. Laws 72. See    § 350. “Furnishing weapons to minors. If any       Law comes too late to
                        Spires v. Goldberg, 26   person shall knowingly sell or furnish any minor   provide any insight into
                                                                                                    the meaning of the
                                                                                                    Second Amendment.
                                                                                                    Bruen entirely
                                                                                                    disregarded laws from
                                                                                                    the 20th century, noting
                                                                                                    that, “[a]s with…late-
                                                                                                    19th century evidence,
                                                                                                    the 20th-century
                                                                                                    evidence presented by
                                                                                                    respondents and their
                                                                                                    amici does not provide
                                                                                                    insight into the
                                                                                                    meaning of the Second
                                                                                                    Amendment when it
                                                                                                    contradicts earlier
                                                                                                    evidence.” Bruen, 597
                                                                                                    U.S. at 66 n.28.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

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 No.
                                Ga. App. 530 (1921).     with a pistol, dirk, bowie-knife, or sword-cane, he
                                                         shall be guilty of a misdemeanor.”


  62      1911    Delaware      Vol. 26 Del. Laws 28,    “Section 3. It shall be unlawful for any person or         Law comes too late to
                                28- 29 (1911). Section   persons, or a member of any firm, or the agents or         provide any insight into
                                3.                       officers of any corporation to sell to a minor, or any     the meaning of the Second
                                                         intoxicated person, any revolver, pistol, or revolver      Amendment.           Bruen
                                                         or pistol cartridges, stiletto, steel or brass knuckles,   entirely disregarded laws
                                                         or other deadly weapons, made especially for the           from the 20th century,
                                                         defense of one’s person.”                                  noting      that,     “[a]s
                                                                                                                    with…late-19th century
                                                                                                                    evidence,     the     20th-
                                                                                                                    century           evidence
                                                                                                                    presented by respondents
                                                                                                                    and their amici does not
                                                                                                                    provide insight into the
                                                                                                                    meaning of the Second
                                                                                                                    Amendment when it
                                                                                                                    contradicts         earlier
                                                                                                                    evidence.” Bruen, 597
                                                                                                                    U.S. at 66 n.28.




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            Case
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63   1911    New York   1911 N.Y. Laws 442-43,     “§ 1897. Carrying and use of dangerous weapons.       Law comes too late to
                                                                                                         provide any insight into the
                        An Act to Amend the        A person who attempts to use against another, or
                                                                                                         meaning of the Second
                        Penal Law, in Relation     who carries, or possesses, any instrument or          Amendment. Bruen
                        to the Sale and Carrying   weapon of the kind commonly known as a                entirely disregarded laws
                        of Dangerous Weapons.      blackjack, slungshot, billy, sandclub, sandbag,       from the 20th century,
                        ch. 195, §1.               metal knuckles or bludgeon, or who with intent to     noting that, “[a]s
                                                   use the same unlawfully against another, carries or   with…late-19th century
                                                   possesses a dagger, dirk, dangerous knife, razor,     evidence, the 20th-century
                                                   stiletto, or any other dangerous or deadly            evidence presented by
                                                   instrument or weapon, is guilty of a felony. Any      respondents and their amici
                                                   person under the age of sixteen years, who shall      does not provide insight
                                                                                                         into the meaning of the
                                                   have, carry, or have in his possession, any of the
                                                                                                         Second Amendment when
                                                   articles named or described in the last section,      it contradicts earlier
                                                                                                         evidence.” Bruen, 597 U.S.
                                                                                                         at 66 n.28.




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                      Plaintiffs’ Response
 No.
                                                           which it is forbidden therein to offer, sell, loan,
                                                           lease or give to him, shall be guilty of a
                                                           misdemeanor. . . Any person over the age of sixteen
                                                           years, who shall have or carry concealed upon his
                                                           person in any city, village, or town of this state, any
                                                           pistol, revolver, or other firearm without a written
                                                           license therefor, theretofore issued to him by a
                                                           police magistrate of such city or village, or by a
                                                           justice of the peace of such town, or in such manner
                                                           as may be prescribed by ordinance of such city,
                                                           village or town, shall be guilty of a felony.”

  64      1912    Vermont       1912 Vt. Acts and          “A person, other than a parent or guardian, who           Law comes too late to
                                Resolves 306, An Act . .   sells or furnishes to a minor under the age of            provide any insight into the
                                . Relating to Firearms,    sixteen years a firearm or other dangerous weapon,        meaning of the Second
                                §§ 1-2.                    shall be fined not more than fifty dollars nor less       Amendment. Bruen
                                                           than ten dollars. This section shall not apply to an      entirely disregarded laws
                                                           instructor or teacher who furnishes military              from the 20th century,
                                                           weapons to pupils for instruction and drill.”             noting that, “[a]s
                                                           “Sec. 2. A child under the age of sixteen years who,      with…late-19th century
                                                           without the consent of his parent or guardian, has in     evidence, the 20th-century
                                                           his possession or control a pistol or revolver            evidence presented by
                                                           constructed or designed for the use of gunpowder          respondents and their amici
                                                           or other explosive substance with leaden ball or          does not provide insight
                                                                                                                     into the meaning of the

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                                                                               Second Amendment when
                                                                               it contradicts earlier
                                                                               evidence.” Bruen, 597 U.S.
                                                                               at 66 n.28.




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                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                     Description of Regulation                    Plaintiffs’ Response
 No.
                                                        shot shall be fined not more than twenty dollars.”

  65      1913     North        1913 N.C. Sess. Laws    “That any person being the parent or guardian of, or    Law comes too late to
                  Carolina      57, Pub. Laws, An Act   standing in loco parentis to, any child under the age   provide any insight into
                                to Prevent the Use of   of twelve years, who shall knowingly permit such        the meaning of the
                                Firearms by Children,   child to have the possession or custody of, or use in   Second Amendment.
                                ch. 32 § 1.             any manner whatever, any gun, pistol, or other          Bruen entirely
                                                        dangerous firearm, whether such firearm be loaded       disregarded laws from the
                                                        or unloaded, or any other person, who shall             20th century, noting that,
                                                        knowingly furnish such child any such firearm,          “[a]s with…late-19th
                                                        shall be guilty of a misdemeanor, and upon              century evidence, the
                                                        conviction shall be fined not exceeding fifty           20th-century evidence
                                                        dollars, or imprisoned not exceeding thirty days.”      presented by respondents
                                                                                                                and their amici does not
                                                                                                                provide insight into the
                                                                                                                meaning of the Second
                                                                                                                Amendment when it
                                                                                                                contradicts earlier
                                                                                                                evidence.” Bruen, 597
                                                                                                                U.S. at 66 n.28.




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66   1913      Ohio     1913 Ohio Laws 906,        “Sec. 12966. Whoever sells or exhibits for sale, to a   Law comes too late to
                        An Act: A Bill to          minor under sixteen years of age, a pistol              provide any insight into
                        Amend and Supplement       manufactured of a metallic or hard substance,           the meaning of the Second
                        [Certain] Sections . . .   commonly known as a ‘toy pistol’ or air gun, or         Amendment. Bruen
                        and to Repeal [Certain]    any form of explosive gun, shall be fined not less      entirely disregarded laws
                        Sections of the General    than ten dollars nor more than fifty dollars or         from the 20th century,
                        Code; Relating to          imprisoned not less than ten days nor more than         noting that, “[a]s
                        Children and to Females    twenty days, or both, and be liable in damages to       with…late-19th century
                        under Twenty-One           any person injured by such sale.”                       evidence, the 20th-century
                        Years of Age and to        “Sec. 12967. Whoever sells, barters, furnishes or       evidence presented by
                        Organizations which        gives to a minor under the age of seventeen years,      respondents and their
                                                                                                           amici does not provide
                                                                                                           insight into the meaning
                                                                                                           of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.




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                                               A. FIREARMS AGE RESTRICTIONS

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 No.
                                Include within Their        an air-gun, musket, rifle, shotgun, revolver, pistol,
                                Objects Matters             or other fire-arm, or ammunition therefor, or, being
                                Relating to Children, ch.   the owner or having charge or control thereof,
                                11, §§ 12966-67.            knowingly permits it to be used by a minor under
                                                            such age, shall be fined not more than one hundred
                                                            dollars or imprisoned in jail not more than thirty
                                                            days, or both.”

  67      1914   New Jersey     1914 N.J. Laws 65,          “1. No license to hunt, pursue or kill with a gun or    Law comes too late to
                                Supplement to an Act        any fire-arm any of the game birds¸ wild animals or     provide any insight into
                                Entitled “An Act to         fowl of this State, shall be issued to any person       the meaning of the Second
                                License Citizens of this    under the age of fourteen years, and if any applicant   Amendment.           Bruen
                                State to Hunt and Pursue    for license shall misrepresent his age he shall be      entirely disregarded laws
                                Wild Animals and            liable to a penalty of twenty dollars, to be sued for   from the 20th century,
                                Fowl,” ch. 43, § 1.         and recovered as other penalties under the fish and     noting       that,    “[a]s
                                                            game laws.”                                             with…late-19th century
                                                                                                                    evidence, the 20th-century
                                                                                                                    evidence presented by
                                                                                                                    respondents and their
                                                                                                                    amici does not provide
                                                                                                                    insight into the meaning of
                                                                                                                    the Second Amendment
                                                                                                                    when it contradicts earlier
                                                                                                                    evidence.” Bruen, 597
                                                                                                                    U.S. at 66 n.28.

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68   1917     Oregon    1917 Or. Sess. Laws        “Section 10. It shall be unlawful for any person,       Law comes too late to
                        804-808, An Act            firm or corporation to sell, offer for sale, give or    provide any insight into
                        Prohibiting the            dispose of any pistol, revolver or other firearm of a   the meaning of the
                        manufacture, sale,         size which may be concealed upon the person, to         Second Amendment.
                        possession, carrying, or   any minor under the age of twenty-one years. A          Bruen entirely
                        use of any blackjack,      violation of this section is a misdemeanor and          disregarded laws from the
                        slungshot, billy,          punishable by imprisonment in the county jail for a     20th century, noting that,
                        sandclub, sandbag,         period not exceeding six months, or by a fine not       “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.




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                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                metal knuckles, dirk,       exceeding Five Hundred Dollars, or both such fine
                                dagger or stiletto, and     and imprisonment.”
                                regulating the carrying
                                and sale of certain
                                firearms, and defining
                                the duties of certain
                                executive officers, and
                                providing penalties for
                                violation of the
                                provisions of this Act, §
                                10.

  69      1918    Delaware      1918–1919 Del. Laws         “It shall be unlawful for any minor under fifteen       Law comes too late to
                                484, Minors Under           years of age to hunt game birds or game animals         provide any insight into
                                Fifteen Not to Use Gun      anywhere in this State with a rifle or shotgun of any   the meaning of the
                                Unless Accompanied by       kind unless accompanied by an adult lawfully            Second Amendment.
                                an Adult, § 2382 A. Sec.    hunting.”                                               Bruen entirely
                                25 A. 1918.                                                                         disregarded laws from the
                                                                                                                    20th century, noting that,
                                                                                                                    “[a]s with…late-19th
                                                                                                                    century evidence, the
                                                                                                                    20th-century evidence
                                                                                                                    presented by respondents
                                                                                                                    and their amici does not
                                                                                                                    provide insight into the

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                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.



70   1919    Delaware   Vol. 30 Del. Laws 55,   “259, Section 222. It shall be unlawful for any             Law comes too late to
                        55-56 (1919). Section   person or persons, or a member of any firm, or the          provide any insight into
                        222.                    agents or officers of any corporation to sell to a          the meaning of the Second
                                                minor or any intoxicated person, any revolver,              Amendment.           Bruen
                                                pistol, or revolver or pistol cartridges, stiletto, steel   entirely disregarded laws
                                                or brass knuckles, or other deadly weapons made             from the 20th century,
                                                                                                            noting      that,     “[a]s
                                                                                                            with…late-19th century
                                                                                                            evidence,     the     20th-
                                                                                                            century           evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts         earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.




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                                                A. FIREARMS AGE RESTRICTIONS

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 No.
                                                             for the defense of one’s person.”

  71      1922   Massachusetts   1922 Mass. Acts 563,        “Whoever sells or furnishes to a minor under the      Law comes too late to
                                 ch. 485, An Act Relative    age of fifteen, or to an unnaturalized foreign born   provide any insight into
                                 to the Sale and Carrying    person who has who has not a permit to carry          the meaning of the
                                 of Firearms, ch. 485, § 8   firearms under section one hundred and thirty-one,    Second Amendment.
                                 (amending § 130).           any firearm, air gun or other dangerous weapon or     Bruen entirely
                                                             ammunition therefor shall be punished by a fine of    disregarded laws from the
                                                             not less than ten nor more than fifty dollars, but    20th century, noting that,
                                                             instructors and teachers may furnish military         “[a]s with…late-19th
                                                             weapons to pupils for instruction and drill.”         century evidence, the
                                                                                                                   20th-century evidence
                                                                                                                   presented by respondents
                                                                                                                   and their amici does not
                                                                                                                   provide insight into the
                                                                                                                   meaning of the Second
                                                                                                                   Amendment when it
                                                                                                                   contradicts earlier
                                                                                                                   evidence.” Bruen, 597
                                                                                                                   U.S. at 66 n.28.




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72   1923   North Dakota   1923 N.D. Laws 381,      “Sec. 9. Selling to Minors. Any person or persons      Law comes too late to
                           Pistols and Revolvers,   who shall sell, barter, hire, lend or give to any      provide any insight into
                           ch. 266, § 9.            minor under the age of eighteen years any pistol or    the meaning of the
                                                    revolver shall be deemed guilty of a misdemeanor,      Second Amendment.
                                                    and shall upon conviction thereof be fined not less    Bruen entirely
                                                    than $100, nor more than $1,000, or be imprisoned      disregarded laws from the
                                                    not less than three months, nor more than one year,    20th century, noting that,
                                                    or both.”                                              “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.
73   1923      South       1923 S.C. Acts 221.      “If any person shall knowingly sell, offer for sale,   Law comes too late to
                                                    give, or in any way dispose of to a minor any pistol   provide any insight into
                                                                                                           the meaning of the
                                                                                                           Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
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                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.




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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                     Plaintiffs’ Response
 No.
                  Carolina                                  or pistol cartridge, brass knucks, bowie knife, dirk,
                                                            loaded cane or sling shot, he shall be guilty of a
                                                            misdemeanor. Any person being the parent or
                                                            guardian of, or attending in loco parentis to any
                                                            child under the age of twelve years who shall
                                                            knowingly permit such child to have the possession
                                                            or custody of, or use in any manner whatever any
                                                            gun, pistol, or other dangerous firearm, whether
                                                            such firearm be loaded or unloaded, or any person
                                                            who shall knowingly furnish such child any
                                                            firearm, shall be guilty of a misdemeanor, and,
                                                            upon conviction, shall be fined not exceeding Fifty
                                                            Dollars or imprisoned not exceeding thirty days.”

  74      1925     Indiana      1925 Ind. Acts 496, ch.     “Sec 8. Any person or persons who shall, within the      Law comes too late to
                                207, An Act to Regulate     State of Indiana, sell, barter, hire, lend, or give to   provide any insight into
                                and Control the             any minor under the age of twenty-one years, any         the meaning of the
                                Possession, Sale, and       pistol or revolver shall be deemed guilty of a           Second Amendment.
                                Use of Pistols and          misdemeanor and shall upon conviction thereof be         Bruen entirely
                                Revolvers in the State of   fined not more than one hundred dollars ($100.00),       disregarded laws from the
                                Indiana.                    or be imprisoned for not more than three months, or      20th century, noting that,
                                                            both, except for uses as hereinbefore provided.”         “[a]s with…late-19th
                                                                                                                     century evidence, the
                                                                                                                     20th-century evidence
                                                                                                                     presented by respondents

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                                                                                                                and their amici does not
                                                                                                                provide insight into the
                                                                                                                meaning of the Second
                                                                                                                Amendment when it
                                                                                                                contradicts earlier
                                                                                                                evidence.” Bruen, 597
                                                                                                                U.S. at 66 n.28.



75   1925   West Virginia   1925 W.Va. Acts 25-30,     “Section 7 (a). If any person, without a state license   Law comes too late to
                            1st Extraordinary Sess.,   therefor, carry about his person any revolver or         provide any insight into
                                                                                                                the meaning of the
                                                                                                                Second Amendment.
                                                                                                                Bruen entirely
                                                                                                                disregarded laws from the
                                                                                                                20th century, noting that,
                                                                                                                “[a]s with…late-19th
                                                                                                                century evidence, the
                                                                                                                20th-century evidence
                                                                                                                presented by respondents
                                                                                                                and their amici does not
                                                                                                                provide insight into the
                                                                                                                meaning of the Second
                                                                                                                Amendment when it
                                                                                                                contradicts earlier
                                                                                                                evidence.” Bruen, 597
                                                                                                                U.S. at 66 n.28.




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                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                           Description of Regulation                     Plaintiffs’ Response
 No.
                                An Act to Amend and           other pistol, dirk, bowie-knife, slung shot, razor,
                                Re-Enact Section Seven        billy, metallic or other false knuckles, or any other
                                . . . Relating to Offenses    dangerous or deadly weapon of like kind or
                                Against the Peace;            character, he shall be guilty of a misdemeanor and
                                Providing for the             upon conviction thereof be confined in the county
                                Granting and Revoking         jail for a period of not less than six nor more than
                                of Licenses and Permits       twelve months for the first offense; but upon
                                Respecting the Use,           conviction of the same person for the second
                                Transportation and            offense in this state, he shall be guilty of a felony
                                Possession of Weapons         and be confined in the penitentiary not less than
                                and Fire Arms. . . , ch. 3,   one or more than five years, and in either case fined
                                § 7, pt. a.                   not less than fifty nor more than two hundred
                                                              dollars, in the discretion of the court; and it shall be
                                                              the duty of the prosecuting attorney in all cases to
                                                              ascertain whether or not the charge made by the
                                                              grand jury is the first or second offense, and if it
                                                              shall be the second offense, it shall be so stated in
                                                              the indictment returned, and the prosecuting
                                                              attorney shall introduce the record evidence before
                                                              the trial court of said second offense, and shall not
                                                              be permitted to use his discretion in charging said
                                                              second offense nor in introducing evidence to prove
                                                              the same on the trial; provided, that boys or girls
                                                              under the age of eighteen years, upon the second
                                                              conviction, may, at the discretion of the court, be
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 No.
                                                    sent to the industrial homes for boys and girls,
                                                    respectively, of the state.
                                                    …
                                                    Any person desiring to obtain a state license to
                                                    carry any such weapon within one or more counties
                                                    in this state shall first publish a notice in some
                                                    newspaper, published in the county in which he
                                                    resides, setting forth his name, residence and
                                                    occupation, and that on a certain day he will apply
                                                    to the circuit court of his county for such state
                                                    license; and after the publication of such notice for
                                                    at least ten days before said application is made and
                                                    at the time stated in said notice upon application to
                                                    said court, it may grant such person a license in the
                                                    following manner, to-wit: The applicant shall file
                                                    with said court his application in writing, duly
                                                    verified, which said application shall show: First:
                                                    That said applicant is a citizen of the United States
                                                    of America. Second: That such applicant has been a
                                                    bona fide resident of this state for at least one year
                                                    next prior to the date of such application, and of the
                                                    county sixty days next prior thereto. Third: That
                                                    such applicant is over twenty-one years of age; that
                                                    he is a person of good moral character, of temperate
                                                    habits, not addicted to intoxication, and has not
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                                              A. FIREARMS AGE RESTRICTIONS

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 No.
                                                          been convicted of a felony nor of any offense
                                                          involving the use on his part of such weapon in an
                                                          unlawful manner.”

  76      1927    Hawai’i       1927 Haw. Sess. Laws      “Section 8. Selling to minors. No person shall sell,    Law comes too late to
                 [Territory]    209-217, An Act           barter, hire, lend, or give any pistol or revolver to   provide any insight into
                                Regulating the Sale,      any person under the age of eighteen years.”            the meaning of the
                                Transfer and Possession                                                           Second Amendment.
                                of Certain Firearms and                                                           Bruen entirely
                                Ammunitions, and                                                                  disregarded laws from the
                                Amending Sections                                                                 20th century, noting that,
                                2136, 2137, 2138, 2139,                                                           “[a]s with…late-19th
                                2140, 2141, 2142, 2143,                                                           century evidence, the
                                2146 and 2147 of the                                                              20th-century evidence
                                Revised Laws of Hawaii                                                            presented by respondents
                                1925 (the “Small Arms                                                             and their amici does not
                                Act”), § 8.                                                                       provide insight into the
                                                                                                                  meaning of the Second
                                                                                                                  Amendment when it
                                                                                                                  contradicts earlier
                                                                                                                  evidence.” Bruen, 597
                                                                                                                  U.S. at 66 n.28.




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            Case
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77   1929     Indiana   1929 Ind. Acts 139,    “Section 1. Be it enacted by the general assembly      Law comes too late to
                        Criminal Offenses—     of the State of Indiana, That any person who being     provide any insight into
                        Commission of or       over sixteen years of age, commits or attempts to      the meaning of the
                        Attempt to Commit      commit either the crime of rape, robbery, bank         Second Amendment.
                        Crime While Armed      robbery, petit larceny or grand larceny while armed    Bruen entirely
                        with Deadly Weapon,    with a pistol, revolver, rifle, shotgun, machine gun   disregarded laws from the
                        ch.55, § 1.            or any other firearm or any dangerous or deadly        20th century, noting that,
                                                                                                      “[a]s with…late-19th
                                                                                                      century evidence, the
                                                                                                      20th-century evidence
                                                                                                      presented by respondents
                                                                                                      and their amici does not
                                                                                                      provide insight into the
                                                                                                      meaning of the Second
                                                                                                      Amendment when it
                                                                                                      contradicts earlier
                                                                                                      evidence.” Bruen, 597
                                                                                                      U.S. at 66 n.28.




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                 Case
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                                             A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                    Description of Regulation                    Plaintiffs’ Response
 No.
                                                       weapon, or while any other person present and
                                                       aiding or assisting in committing or attempting to
                                                       commit either of said crimes is armed with any of
                                                       said weapons, shall be guilty of a separate felony in
                                                       addition to the crimes above named and upon
                                                       conviction shall be imprisoned for a determinate
                                                       period of not less than ten years nor more than
                                                       twenty years....... ”

  78      1932    District of   Washington D.C. 47     “Sec. 4. No person shall within the District of         Law comes too late to
                  Columbia      Stat. 650, 651-652     Columbia carry concealed on or about his person,        provide any insight into
                                (1932), Carrying       except in his dwelling house or place of business or    the meaning of the
                                Concealed Weapons.     on other land possessed by him, a pistol, without a     Second Amendment.
                                                       license therefor issued as hereinafter provided, or     Bruen entirely
                                                       any deadly or dangerous weapon.”                        disregarded laws from the
                                                                                                               20th century, noting that,
                                                       “Sec. 7. No person shall within the District of         “[a]s with…late-19th
                                                                                                               century evidence, the
                                                       Columbia sell any pistol to a person who he has
                                                       reasonable cause to believe is not of sound mind, or    20th-century evidence
                                                       is a drug addict, or is a person who has been           presented by respondents
                                                       convicted in the District of Columbia or elsewhere      and their amici does not
                                                                                                               provide insight into the
                                                       of a crime of violence or, except when the relation
                                                       of parent and child or guardian and ward exists, is     meaning of the Second
                                                       under the age of eighteen years.”                       Amendment when it
                                                                                                               contradicts earlier

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Case
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                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.




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                 Case
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                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                        Description of Regulation                    Plaintiffs’ Response
 No.

  79      1933    Hawai’i       1933 Haw. Sess. Laws       “Section 4. No person residing or doing business or     Law comes too late to
                 [Territory]    37-38, An Act              temporarily sojourning within the Territory shall       provide any insight into
                                Regulating the Sale,       take possession of any fire arm of any description,     the meaning of the
                                Transfer, and Possession   whether usable or unusable, serviceable or              Second Amendment.
                                of Firearms and            unserviceable, modern or antique, registered under      Bruen entirely
                                Ammunition, § 4.           prior Acts or unregistered, or of any ammunition of     disregarded laws from the
                                                           any kind or description, except shotgun                 20th century, noting that,
                                                           ammunition, either through sale, gift, loan, bequest,   “[a]s with…late-19th
                                                           or otherwise, whether procured in the Territory or      century evidence, the
                                                           imported by mail, express, freight, or otherwise,       20th-century evidence
                                                           until he shall first have procured from the chief of    presented by respondents
                                                           police of the city and county of Honolulu or the        and their amici does not
                                                           sheriff of the county, other than the city and county   provide insight into the
                                                           of Honolulu, wherein is his place of business, or if    meaning of the Second
                                                           there be no place of business, his residence, or if     Amendment when it
                                                           there be neither place of business nor residence, his   contradicts earlier
                                                           place of sojourn, a permit to acquire as prescribed     evidence.” Bruen, 597
                                                           herein. The chief of police of the city and county of   U.S. at 66 n.28.
                                                           Honolulu or the sheriffs of the several counties,
                                                           other than the city and county of Honolulu, are
                                                           hereby authorized, within their discretion, to issue
                                                           permits, within their respective jurisdictions, to
                                                           acquire rifles, pistols, and revolvers to citizens of
                                                           the United States, of the age of twenty years or
                                                           more, and to duly accredited official representatives
                                                                                                                                      122
                  Case
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                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year    Jurisdiction           Citation                        Description of Regulation                     Plaintiffs’ Response
 No.
                                                            of foreign nations. Permits to acquire ammunition
                                                            for rifles, pistols and revolvers acquired prior to the
                                                            effective date of this Act and registered in
                                                            accordance with the provisions hereof, may be
                                                            granted persons [sic] of the age of twenty years or
                                                            more irrespective of citizenship. Permits to acquire
                                                            shotguns may be granted to persons of the age of
                                                            sixteen years or more, irrespective of citizenship.”

City/Local Ordinances

  80      1763    New York –     Laws, Statutes,            “VI. And be it further ordained by the authority          Not “relevantly similar”
                  City of New    Ordinances and             aforesaid, That if any Children, Youth,                   to the challenged laws,
                     York        Constitutions, Ordained,   Apprentices, Servants, or other Persons, do fire and      Bruen, 597 U.S. at 29-30,
                                 Made and Established,      discharge any Gun, Pistol, Rockets, Crackers,             because this historical
                                 by the Mayor,              Squibs, or other Fire-Works, in any Street, Lane or       analogue targeted certain
                                 Aldermen, and              Alley, or within any Yard or Garden, or from any          conduct with firearms,
                                 Commonalty, of the         House, or in any Place where Persons frequent to          but did not ban anyone
                                 City of New York,          walk; such Person so offending, shall forfeit for         from selling or
                                 Convened in Common-        every such Offence, the Sum of Forty Shillings,           purchasing them.
                                 Council, for the Good      current Money of New York; and on Refusal to pay          It also did not single out
                                 Rule and Government of     the same, shall be committed to the House of              individuals for
                                 the Inhabitants and        Correction, at the Discretion of the Mayor,               restrictions based on age.
                                 Residents of the Said      Recorder, or Alderman, or any one of them before          Rather, by its terms it
                                 City Page 11, Image 12     whom such Offender shall be convicted, there to           applies to all “persons.”
                                                                                                                                          123
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                                                                               To the extend this law
                                                                               was a restriction on
                                                                               children and youth at the
                                                                               time it was enacted, it is
                                                                               irrelevant to the rights of
                                                                               adults today. It provides
                                                                               no justification for laws
                                                                               restriction the Second
                                                                               Amendment rights of
                                                                               individuals who are
                                                                               unquestionably legal
                                                                               adults today.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                      Description of Regulation                    Plaintiffs’ Response
 No.
                                (1763) available at The   remain committed, not exceeding Twenty Days . .
                                Making of Modern Law:     .”
                                Primary Sources. 1763.
                                New York, NY.,
                                Ordinance no. 4, § VI
                                (1763).
                                Ordinances of the City
                                of New York, § VI.

  81      1803   New York –     Edward Livingston,        “Sect. 1. Whereas the firing of guns and the            Not “relevantly similar”
                 City of New    Laws and Ordinances,      practice of fowling in the public streets and in the    to the challenged laws,
                    York        Ordained and              roads or highways in the vicinity of this city, are     Bruen, 597 U.S. at 29-30,
                                Established by the        frequently productive of accidents and dangerous        because this historical
                                Mayor, Aldermen, and      consequences are always to be apprehended               analogue targeted certain
                                Commonalty of the City    therefrom: Be it therefore ordained by the Mayor,       conduct with firearms,
                                of New-York, in           Aldermen, and Commonalty of the City of New-            but did not ban anyone
                                Common-Council            York, in the Common Council convened, That no           from selling or
                                Convened, for the Good    person shall hereafter be permitted to fire or          purchasing them.
                                Rule and Government of    discharge any gun, pistol, fowling piece, or fire-      It also did not single out
                                the Inhabitants and       arm, at any place on the island of New York, within     individuals for
                                Residents of Said City    the distance of four miles from the City Hall, under    restrictions based on age.
                                Page 83-84, Image 84-     the penalty of five dollars upon each offender, to be   Rather, by its terms it
                                85 (1803) available at    recovered with costs. And if the person so              applies to all “persons.”
                                The Making of Modern      offending shall be a minor, apprentice, servant or
                                                                                                                  To the extend this law
                                                                                                                                      125
Case
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                                                                               was a restriction on
                                                                               children and youth at the
                                                                               time it was enacted, it is
                                                                               irrelevant to the rights of
                                                                               adults today. It provides
                                                                               no justification for laws
                                                                               restriction the Second
                                                                               Amendment rights of
                                                                               individuals who are
                                                                               unquestionably legal
                                                                               adults today.


                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                Law: Primary Sources.       slave, the said fine shall be recoverable form his
                                1803.                       father, mother, master or mistress, together with
                                New York, NY.,              costs. Provided always, That nothing contained in
                                Ordinances ch. 23, § 1      this ordinance shall be constructed to extend to the
                                (1803).                     reviews or exercises of any military company, or of
                                                            the State Prison Guards.”
                                Ordinances of the City
                                of New York, To
                                Prevent the Firing of
                                guns in the City of New
                                York, § 1.

  82      1817     South        Ordinances, of the Town     “Whereas the practice of firing small arms within       Not “relevantly similar”
                  Carolina -    of Columbia, (S. C.)        the town of Columbia, is extremely dangerous to         to the challenged laws,
                  Columbia      Passed Since the            the lives, as well as the property of the inhabitants   Bruen, 597 U.S. at 29-30,
                                Incorporation of Said       thereof, and ought to be strictly prohibited: Be it     because this historical
                                Town: To Which are          ordained by the Intendent and Municipal Wardens         analogue targeted certain
                                Prefixed, the Acts of the   of the towns aforesaid, in council assembled, and it    conduct with firearms,
                                General Assembly, for       is hereby ordained by the authority of the same,        but did not ban anyone
                                Incorporating the Said      That hereafter it shall not be lawful for any person    from selling or
                                Town, and Others in         to fire or discharge any gun, pistol or other small     purchasing them.
                                Relation Thereto Page       arms within the limits bounded by Henderson,            It also did not single out
                                61-61, Image 61-62          Blossom, Lincoln and Upper streets; and if any          individuals for
                                (1823) available at The     person shall wantonly, knowingly, and willfully fire    restrictions based on age.
                                Making of Modern Law:       or discharge any gun, pistol, or other small arms       Rather, by its terms it
                                                                                                                                        127
Case
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                                                                               applies to all “persons.”
                                                                               To the extend this law
                                                                               was a restriction on
                                                                               children and youth at the
                                                                               time it was enacted, it is
                                                                               irrelevant to the rights of
                                                                               adults today. It provides
                                                                               no justification for laws
                                                                               restriction the Second
                                                                               Amendment rights of
                                                                               individuals who are
                                                                               unquestionably legal
                                                                               adults today.


                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the American
                                                                               population.” Bruen, 597
                                                                               U.S. at 66-69. It therefore,
                                                                               cannot shed much, if any,
                                                                               light on the scope of the
                                                                               Second Amendment.




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                 Case
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                                                 A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction            Citation                        Description of Regulation                       Plaintiffs’ Response
 No.
                                 Primary Sources. 1817.      within the said limits, such person shall forfeit and
                                 [Ordinances of the          pay to the use of the town aforesaid, a sum not
                                 Town of Columbia, An        exceeding five dollars, for each and every such
                                 Ordinance for               offence, to be sued for and recovered according to
                                 Prohibiting the Firing of   law. And whereas, offences of this kind may be
                                 Guns in the Town of         committed by minors or other disorderly persons,
                                 Columbia (1817)].           who have no ostensible property whereof the said
                                                             penalty can be levied: Be it therefore ordained by
                                 Columbia, S.C.,             the authority aforesaid, That any gun, pistol or
                                 Ordinance 41 (1817).        other small arms, fired or discharged by any such
                                                             person in breach of this ordinance, shall be liable
                                                             for the payment of the penalty or penalties
                                                             aforesaid; and it shall be lawful for the Intendant,
                                                             either of the Wardens or constables, who shall see
                                                             such person offending against this ordinance, to
                                                             seize and take into possession the gun or pistol, or
                                                             other small arms so fired or discharged, and
                                                             deposite the same with the Intendant or either of the
                                                             Wardens; and if the person charged with the said
                                                             offense, and convicted thereof, shall not within ten
                                                             days after conviction pay the penalty incurred and
                                                             the costs of prosecution, the same shall be sold to
                                                             discharge the said penalty and costs.”

          1835   Connecticut –   The By-Laws of the          “Be it ordained by the mayor, aldermen, and             This law comes decades
  83
                                                                                                                     after ratification of the
                                                                                                                                            129
Case
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                                                                              Second Amendment and
                                                                              thus provides only a “dim”
                                                                              view of the meaning of the
                                                                              right to keep and bear arms,
                                                                              as “state laws are less
                                                                              illuminating the further one
                                                                              moves from ratification.”
                                                                              Hirschfeld, 5 F.4th at 420.
                                                                              The Supreme Court has
                                                                              cautioned “against giving
                                                                              post enactment history more
                                                                              weight than it can rightly
                                                                              bear.” Bruen, 597 U.S. at
                                                                              34-35.

                                                                              Not “relevantly similar” to
                                                                              the challenged laws, Bruen,
                                                                              597 U.S. at 29-30, because
                                                                              this historical analyogue
                                                                              targeted certain conduct
                                                                              with firearms, but did not
                                                                              ban minors from purchasing
                                                                              them.
                                                                               It also did not single out
                                                                               individuals for
                                                                               restrictions based on age.
                                                                               Rather, by its terms it
                                                                               applies to all “persons.”
                                                                               To the extend this law
                                                                               was a restriction on
                                                                               children and youth at the
                                                                               time it was enacted, it is
                                                                               irrelevant to the rights of
                                                                               adults today. It provides
                                                                               no justification for laws

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Case
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                                                                               restriction the Second
                                                                               Amendment rights of
                                                                               individuals who are
                                                                               unquestionably legal
                                                                               adults today.

                                                                              This is a local regulation
                                                                              which did not even apply
                                                                              statewide. It would have
                                                                              been “irrelevant to more
                                                                              than 99% of the American
                                                                              population.” Bruen, 597
                                                                              U.S. at 66-69. It therefore,
                                                                              cannot shed much, if any,
                                                                              light on the scope of the
                                                                              Second Amendment.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                 City of New    City of New London,         common council and freemen of the city of New-
                   London       with the Statute Laws of    London, That no gun or pistol shall be fired at any
                                the State of Connecticut    time within the limits of said city, unless on some
                                Relative to Said City       public day of review, and then by order of the
                                Page 47-48, Image 47-       officers of the military companies of said city, or by
                                48 (1855) available at      permission of the mayor, or one of the aldermen of
                                The Making of Modern        said city; and whosoever shall fire any gun or
                                Law: Primary Sources.       pistol, contrary to the form and effect of this by-
                                1835.                       law, shall for every such offence, forfeit and pay
                                New London, Conn., ch.      the sum of two dollars, to be recovered by due
                                26, § 2 (Sept. 28, 1835).   process in any court in said city, proper to try the
                                                            same.”
                                                            “Sec. 2. And whereas the firing of guns and pistols,
                                                            crackers, or other fire works is most frequently
                                                            done by apprentices and minors under age, who are
                                                            unable to pay the forfeiture incurred by the by-law
                                                            of this city – be it also ordained that where any
                                                            minor or apprentice shall be guilty of any breach of
                                                            the by-laws relating to the firing of guns, pistols,
                                                            crackers, or other fire-works, the parent, guardian,
                                                            or master of such minor or apprentice, shall be
                                                            liable to pay the forfeitures incurred by said by-law,
                                                            and the same shall be recoverable of any parent,
                                                            guardian or master, by action of debt brought on
                                                            said by law, before any court in said city proper to
                                                                                                                                     132
                 Case
                  Case3:19-cv-01226-L-AHG
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                     Plaintiffs’ Response
 No.
                                                            try the same. And it shall be the duty of the city
                                                            attorney and lawful for any other person to
                                                            prosecute for said penalty; and one-half of said
                                                            penalty shall go to the informer, or the person
                                                            prosecuting for the same, and the other half to the
                                                            use of the city.”

  84      1853   Kentucky –     Oliver H. Strattan, City    “No person shall retail gunpowder to minors under       This law comes decades
                                                                                                                    after ratification of the
                  City of       Clerk A Collection of       fifteen years of age, or free colored persons,
                                                                                                                    Second Amendment and
                 Louisville     the State and Municipal     without authority from his parent or guardian, or to    thus provides only a “dim”
                                Laws, in Force, and         slaves without authority from his master. Any           view of the meaning of the
                                Applicable to the City of   person doing so in either case, shall be fined twenty   right to keep and bear arms,
                                Louisville, Ky. Prepared    dollars.”                                               as “state laws are less
                                and Digested, under an                                                              illuminating the further one
                                Order from the General                                                              moves from ratification.”
                                Council of Said City by                                                             Hirschfeld, 5 F.4th at 420.
                                Oliver H. Strattan and                                                              The Supreme Court has
                                John M. Vaughan, City                                                               cautioned “against giving
                                                                                                                    postenactment history more
                                Clerks, which Includes
                                                                                                                    weight than it can rightly
                                the State Constitution                                                              bear.” Bruen, 142 S. Ct. at
                                and City Charter, with                                                              2136.
                                Notes of Reference Page
                                175, Image 176 (1857)                                                               This law is disanalogous
                                available at The Making                                                             because it only applies to
                                of Modern Law:                                                                      minors under 15-years-old

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                                                                              This law comes from the
                                                                              antebellum South and it
                                                                              would be “strange to rely on
                                                                              . . . southern laws restricting
                                                                              gun rights that were enacted
                                                                              before the Civil War given
                                                                              Congress’s grave concerns
                                                                              about southern states
                                                                              disarming freed Blacks
                                                                              during this period.”
                                                                              Hirschfeld, 5 F. 4th at 440;
                                                                              see also McDonald, 561
                                                                              U.S. at 770–78.

                                                                              This law is discriminatory in
                                                                              nature and should not
                                                                              inform the scope of a
                                                                              fundamental right today. It
                                                                              would be obviously
                                                                              unconstitutional if enacted
                                                                              today and to the extent it
                                                                              was accepted as
                                                                              constitutional at earlier
                                                                              periods that was only
                                                                              because of an
                                                                              inappropriately narrower
                                                                              conception of “the people”
                                                                              covered by the Second
                                                                              Amendment. See Bruen,
                                                                              142 S. Ct. at 2150–51
                                                                              (discussing Dred Scott v.
                                                                              Sandford and Chief Justice
                                                                              Tawney’s concern that
                                                                              extending citizenship to
                                                                              blacks would entail
                                                                              extending them the right to


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                                                                              keep and bear arms, as
                                                                              well).




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                 Case
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                                                      Grabarsky Declaration
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                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                       Description of Regulation                      Plaintiffs’ Response
 No.
                                Primary Sources. 1853.
                                Louisville, Ky.,
                                Ordinance No. 78 (Oct.
                                17, 1853).

  85      1857   Tennessee –    Digest of the Charter     “4864. Any person who sells, loans or gives to any       This law comes decades
                                                                                                                   after ratification of the
                   City of      and Ordinances of The     minor a pistol, bowie-knife, dirk, Arkansas
                                                                                                                   Second Amendment and
                  Memphis       City of Memphis 50        toothpick, hunter’s knife, or like dangerous             thus provides only a “dim”
                                (1857).                   weapon, except a gun for hunting or weapon for           view of the meaning of the
                                Memphis, Tenn., Selling   defense in traveling, is guilty of a misdemeanor and     right to keep and bear arms,
                                Liquors or Weapons to     shall be fined not less than twenty-five dollar, and     as “state laws are less
                                                          imprisoned in the county jail at the discretion of the   illuminating the further one
                                Minors, § 4864 (1857).
                                                          court.”                                                  moves from ratification.”
                                                                                                                   Hirschfeld, 5 F.4th at 420.
                                                                                                                   The Supreme Court has
                                                                                                                   cautioned “against giving
                                                                                                                   postenactment history more
                                                                                                                   weight than it can rightly
                                                                                                                   bear.” Bruen, 142 S. Ct. at
                                                                                                                   2136.
                                                                                                                    Not “relevantly similar”
                                                                                                                    to the challenged laws,
                                                                                                                    Bruen, 597 U.S. at 29-30,
                                                                                                                    because the restriction
                                                                                                                    does not apply to long

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                                                                                                               guns. Law also explicitly
                                                                                                               exempts from the
                                                                                                               restrictions on sales any
                                                                                                               “gun for hunting or
                                                                                                               weapon for defense in
                                                                                                               traveling.” Law also only
                                                                                                               applies to minors, not
                                                                                                               legal adults.
                                                                                                               This is a local regulation
                                                                                                               which did not even apply
                                                                                                               statewide. It would have
                                                                                                               been “irrelevant to more
                                                                                                               than 99% of the
                                                                                                               American population.”
                                                                                                               Bruen, 597 U.S. at 66-69.
                                                                                                               It therefore, cannot shed
                                                                                                               much, if any, light on the
                                                                                                               scope of the Second
                                                                                                               Amendment.


86   1859   Kentucky –    1859 Ky. Acts 245, An      “§ 23. If any person, other than the parent or           This law comes decades
                                                                                                              after ratification of the
             Town of      Act to Amend an Act        guardian, shall sell, give, or loan, any pistol, dirk,
                                                                                                              Second Amendment and
            Harrodsburg   Entitled “An Act to        bowie-knife, brass knucks, slung-shot, colt, cane-       thus provides only a “dim”
                          Reduce to One of the       gun, or other deadly weapon, which is carried            view of the meaning of the
                          Several Acts in Relation   concealed, to any minor, or slave, or free negro, he     right to keep and bear arms,
                          to the Town of             shall be fined fifty dollars.”                           as “state laws are less
                          Harrodsburg,” § 23.                                                                 illuminating the further one
                                                                                                              moves from ratification.”
                                                                                                              Hirschfeld, 5 F.4th at 420.
                                                                                                              The Supreme Court has
                                                                                                              cautioned “against giving
                                                                                                              postenactment history more
                                                                                                              weight than it can rightly

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                                                                                                       bear.” Bruen, 142 S. Ct. at
                                                                                                       2136.
                                                                                                        Not “relevantly similar”
                                                                                                        to the challenged laws,
                                                                                                        Bruen, 597 U.S. at 29-30,
                                                                                                        because the restriction
                                                                                                        does not apply to long
                                                                                                        guns. Law also only
                                                                                                        restricts the act of
                                                                                                        carrying the identified
                                                                                                        arms concealed.
                                                                                                        This is a local regulation
                                                                                                        which did not even apply
                                                                                                        statewide. It would have
                                                                                                        been “irrelevant to more
                                                                                                        than 99% of the American
                                                                                                        population.” Bruen, 597
                                                                                                        U.S. at 66-69. It therefore,
                                                                                                        cannot shed much, if any,
                                                                                                        light on the scope of the
                                                                                                        Second Amendment.
87   1859   New York –    D. T. Valentine,      “§ 6. No tavern-keeper, keeper of a public house,     This law comes decades
                                                                                                      after ratification of the
            City of New   Ordinances of the     garden or place of resort, nor any other person,
                                                                                                      Second Amendment and
               York       Mayor, Aldermen and   shall suffer or permit any person to practice with or thus provides only a “dim”
                                                                                                      view of the meaning of the
                                                                                                      right to keep and bear arms,
                                                                                                      as “state laws are less
                                                                                                      illuminating the further one
                                                                                                      moves from ratification.”
                                                                                                      Hirschfeld, 5 F.4th at 420.
                                                                                                      The Supreme Court has
                                                                                                      cautioned “against giving
                                                                                                      postenactment history more
                                                                                                      weight than it can rightly
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                                                                              bear.” Bruen, 142 S. Ct. at
                                                                              2136.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the restriction
                                                                               does not apply to the sale,
                                                                               purchase, acquisition,
                                                                               possession, or carrying of
                                                                               arms by minors. This is a
                                                                               restriction on the act of a
                                                                               shooting firearms in
                                                                               certain locations.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




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                 Case
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                                                       Grabarsky Declaration
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                      Description of Regulation                      Plaintiffs’ Response
 No.
                                Commonalty of the City    fire off any pistol, gun, fowling-piece or other fire-
                                of New York: Revised      arms, in or upon his or her premises, nor shall
                                A. D. 1859 Adopted by     suffer or permit any pistol gallery, erected in his or
                                the Common Council        her house, or upon his or her premises, to be used
                                Page 235, Image 243       for the purpose of practicing with any pistol gun,
                                (1859) available at The   fowling-piece or other fire-arms, upon the first day
                                Making of Modern Law:     of the week, called Sunday, under the penalty of
                                Primary Sources. 1859.    fifty dollars for each offense, to be sued for and
                                Ordinances of the City    recovered from the person keeping such public
                                of New York. Firing of    house, tavern, public garden, pistol gallery, place of
                                Fire-Arms, Cannons and    resort or premises; and also the further penalty of
                                Fireworks. § 6.           fifty dollars for each offense, to be sued for and
                                                          recovered from the person firing off or practicing
                                                          with a pistol, gun, fowling-piece, or other fire-arms;
                                                          and in case such person so offending shall be an
                                                          apprentice, such penalty shall be sued for and
                                                          recovered from the master of such apprentice, or in
                                                          case such person so offending shall be a minor and
                                                          not an apprentice, the same shall be sued for and
                                                          recovered from the father of, or in case of the death
                                                          of the father, then from the mother or guardian of
                                                          such minor.”

  88      1863   Tennessee –    William H. Bridges,       “Section 1. That no person or persons shall set up        This law comes decades
                                                                                                                   after ratification of the
                   City of      Digest of the Charters    or use any pistol gallery, or place for the
                                                                                                                   Second Amendment and
                                                                                                                                       140
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                                                                              thus provides only a “dim”
                                                                              view of the meaning of the
                                                                              right to keep and bear arms,
                                                                              as “state laws are less
                                                                              illuminating the further one
                                                                              moves from ratification.”
                                                                              Hirschfeld, 5 F.4th at 420.
                                                                              The Supreme Court has
                                                                              cautioned “against giving
                                                                              postenactment history more
                                                                              weight than it can rightly
                                                                              bear.” Bruen, 142 S. Ct. at
                                                                              2136.
                                                                                Not “relevantly similar”
                                                                                to the challenged laws,
                                                                                Bruen, 597 U.S. at 29-30,
                                                                                because the restriction
                                                                                only required parental
                                                                                consent for minors (not
                                                                                legal adults) to shoot in
                                                                                the galleries.


                                                                               Nothing in this provision
                                                                               prevents minors or legal
                                                                               adults from purchasing or
                                                                               acquiring any kind of
                                                                               firearm.
                                                                              This is a local regulation
                                                                              which did not even apply
                                                                              statewide. It would have
                                                                              been “irrelevant to more
                                                                              than 99% of the American
                                                                              population.” Bruen, 597
                                                                              U.S. at 66-69. It therefore,

                                                                                                   141
Case
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                                                                              cannot shed much, if any,
                                                                              light on the scope of the
                                                                              Second Amendment.




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                                                       Grabarsky Declaration
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                  Memphis       and Ordinances of the      discharging of pistols, guns or other firearms in the
                                City of Memphis,           first story of any building in this city; nor shall any
                                Together with the Acts     gallery be used in any manner involving risk or
                                of the Legislature         danger to any person in the city; nor shall any
                                Relating to the City,      person setting up or using such pistol gallery be
                                with an Appendix Page      exempt from the ordinance and penalties now in
                                148-149, Image 149-150     force, for discharging or shooting any pistol, gun or
                                (1863) available at The    firearms within the city limits, until such person or
                                Making of Modern Law:      persons have applied and paid for license to set up
                                Primary Sources. 1863.     and use such pistol gallery, according to the
                                [Ordinances of the City    provisions of this ordinance.”
                                of Memphis, Shooting     “§ 2. That the person or persons applying for
                                Galleries, § 1.]         license to keep such pistol gallery, shall, at the time
                                Memphis, Tenn., art. VI, of obtaining such license, enter into bond with good
                                § 1 (1863).              security, to be approved by the City Register, in the
                                                         sum of three thousand dollars, payable as other city
                                                         bonds, conditioned that no gambling of any kind be
                                                         permitted in such pistol gallery, or in the room used
                                                         for such pistol gallery, or any room adjacent
                                                         thereto, under the control and connected with said
                                                         pistol gallery, or its proprietors or keepers; and that
                                                         all shooting or discharging of firearms shall be
                                                         done only with the perfect security against any
                                                         harm to persons or property in the vicinity of such
                                                         pistol gallery; such penalty to be recoverable for
                                                                                                                                     143
                 Case
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                                                       Grabarsky Declaration
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                     Plaintiffs’ Response
 No.
                                                           every violation of this section of this ordinance, and
                                                           of the conditions of said bond.”
                                                           “§ 3. That the proprietors or persons keeping such
                                                           pistol gallery shall not permit any minors to shoot
                                                           in such gallery without the written consent of the
                                                           lawful guardian of such minor, unless such
                                                           guardian be personally present, and consenting to
                                                           such shooting; nor shall the proprietors or keepers
                                                           of such gallery permit any shooting in the same
                                                           after eleven o’clock at night, or on Sunday, nor
                                                           shall such shooting gallery be allowed to be kept
                                                           open for shooting after eleven o’clock at night or
                                                           on Sunday. Any violation of this ordinance is
                                                           hereby declared a misdemeanor, and each offender,
                                                           on conviction, shall be fined a sum not less than
                                                           five nor more than fifty dollars for any violation of
                                                           this ordinance, recoverable as other fines.”

  89      1867   Tennessee –    William H. Bridges,        “4864. Any person who sells, loans or gives to any       This law (1867) comes
                   City of      Digest of the Charters     minor a pistol, bowie-knife, dirk, Arkansas              too late to shed much
                  Memphis       and Ordinances of the      toothpick, hunter’s knife, or like dangerous             light on the scope of the
                                City of Memphis, from      weapon, except a gun for hunting or weapon for           Second Amendment
                                1826 to 1867, Inclusive,   defense in traveling, is guilty of a misdemeanor and     “[B]ecause post-Civil
                                Together with the Acts     shall be fined not less than twenty-five dollars, and    War discussions of the
                                of the Legislature         imprisoned in the county jail at the discretion of the   right to keep and bear
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                                                                               arms ‘took place 75 years
                                                                               after the ratification of
                                                                               the Second Amendment,
                                                                               they do not provide as
                                                                               much insight into its
                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the restriction
                                                                               does not apply to long
                                                                               guns. Law also explicitly
                                                                               exempts from the
                                                                               restrictions on sales any
                                                                               “gun for hunting or
                                                                               weapon for defense in
                                                                               traveling.” Law also only
                                                                               applies to minors, not
                                                                               legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.


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                                                         Historical Laws

                                              A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction          Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                Relating to the City,     court.”
                                with an Appendix Page
                                50, Image 50 (1867)
                                available at The Making
                                of Modern Law:
                                Primary Sources. 1867.
                                Police Regulations of
                                the State. Selling
                                Liquors or Weapons to
                                Minors. § 4864.

  90      1869    Virginia –    The Charter and General   “2. If any person sell, barter, give or furnish, or      This law (1869) comes
                   Town of      Ordinances of the Town    cause to be sold, bartered, given or furnished to any    too late to shed much
                  Lexington     of Lexington, Virginia    minor under sixteen years of age, cigarettes, or         light on the scope of the
                                Page 87, Image 107        pistols, or dirks, or bowie knives, having good          Second Amendment
                                (1892) available at The   cause to believe him or her to be a minor under          “[B]ecause post-Civil
                                Making of Modern Law:     sixteen years of age, shall be fined not less than ten   War discussions of the
                                Primary Sources. 1869.    dollars nor more than one hundred dollars.”              right to keep and bear
                                Ordinances of the Town                                                             arms ‘took place 75 years
                                of Lexington. Of                                                                   after the ratification of
                                                                                                                   the Second Amendment,
                                Concealed Weapons and
                                Cigarettes. § 2.                                                                   they do not provide as
                                                                                                                   much insight into its
                                                                                                                   original meaning as
                                                                                                                   earlier sources.” Bruen,
                                                                                                                                      146
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                                                                                                            597 U.S. at 36.
                                                                                                            Not “relevantly similar”
                                                                                                            to the challenged laws,
                                                                                                            Bruen, 597 U.S. at 29-30,
                                                                                                            because the restriction
                                                                                                            does not apply to long
                                                                                                            guns. Law also only
                                                                                                            applies to minors “under
                                                                                                            sixteen years of age”, not
                                                                                                            minors over sixteen or
                                                                                                            legal adults.
                                                                                                            This is a local regulation
                                                                                                            which did not even apply
                                                                                                            statewide. It would have
                                                                                                            been “irrelevant to more
                                                                                                            than 99% of the
                                                                                                            American population.”
                                                                                                            Bruen, 597 U.S. at 66-69.
                                                                                                            It therefore, cannot shed
                                                                                                            much, if any, light on the
                                                                                                            scope of the Second
                                                                                                            Amendment.


91   1873   Illinois – City   Proceedings of the      “Section 1. That no person within said city shall     This law (1873) comes
                              Common Council of the   sell to or in any manner furnish any minor with any   too late to shed much
                                                                                                            light on the scope of the
                                                                                                            Second Amendment
                                                                                                            “[B]ecause post-Civil
                                                                                                            War discussions of the
                                                                                                            right to keep and bear
                                                                                                            arms ‘took place 75 years
                                                                                                            after the ratification of
                                                                                                            the Second Amendment,
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                                                                               they do not provide as
                                                                               much insight into its
                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law only
                                                                               applies to minors, not
                                                                               legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




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                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction            Citation                      Description of Regulation                    Plaintiffs’ Response
 No.
                  of Chicago     City of Chicago Page      gun, pistol, revolver, or other firearms; and any
                                 140, Image 185 (Vol. 5,   person offending against this ordinance shall on
                                 1874) available at The    conviction be fined in a sum not less than twenty-
                                 Making of Modern Law:     five dollars nor more than one hundred dollars for
                                 Primary Sources. 1873.    each offense.”
                                 Ordinances of Chicago:
                                 An Ordinance
                                 Prohibiting the Sale to
                                 or Furnishing Minors
                                 with Firearms. § 1.

  92      1881   Connecticut –   Charter of the City of    “Sec. 468. No person shall sell to any child under      This law (1881) comes
                 City of New     New Haven Page 142-       the age of sixteen years, without the written consent   too late to shed much
                    Haven        143, Image 241-242        of the parent or guardian of such child, any            light on the scope of the
                                 (1881) available at The   cartridge or fixed ammunition of which any              Second Amendment
                                 Making of Modern Law:     fulminate is a component part, or any gun, pistol or    “[B]ecause post-Civil
                                 Primary Sources. 1881.    other mechanical contrivance arranged for the           War discussions of the
                                 New Haven, Conn., §       explosion of cartridge, or of any fulminate”            right to keep and bear
                                 468 (1881).                                                                       arms ‘took place 75 years
                                                                                                                   after the ratification of
                                                                                                                   the Second Amendment,
                                                                                                                   they do not provide as
                                                                                                                   much insight into its
                                                                                                                   original meaning as
                                                                                                                   earlier sources.” Bruen,
                                                                                                                                      149
            Case
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                                                                                                           597 U.S. at 36.
                                                                                                           Not “relevantly similar”
                                                                                                           to the challenged laws,
                                                                                                           Bruen, 597 U.S. at 29-30,
                                                                                                           because the law only
                                                                                                           applies to minors “under
                                                                                                           the age of sixteen years,”
                                                                                                           not minors over sixteen
                                                                                                           or legal adults.
                                                                                                           This is a local regulation
                                                                                                           which did not even apply
                                                                                                           statewide. It would have
                                                                                                           been “irrelevant to more
                                                                                                           than 99% of the
                                                                                                           American population.”
                                                                                                           Bruen, 597 U.S. at 66-69.
                                                                                                           It therefore, cannot shed
                                                                                                           much, if any, light on the
                                                                                                           scope of the Second
                                                                                                           Amendment.


93   1885   Massachusetts The Revised Ordinances    “Section 1. Whoever sells to a child under the age     This law (1885) comes
             – City of    of 1885, of the City of   of sixteen years, without the written consent of its   too late to shed much
              Boston      Boston, as Passed and     parent or guardian, any cartridge or fixed             light on the scope of the
                          Approved December 14,     ammunition of which any fulminate is a component       Second Amendment
                          1885. (With               part, or a gun, pistol, or other mechanical            “[B]ecause post-Civil
                                                                                                           War discussions of the
                                                                                                           right to keep and bear
                                                                                                           arms ‘took place 75 years
                                                                                                           after the ratification of
                                                                                                           the Second Amendment,
                                                                                                           they do not provide as
                                                                                                           much insight into its
                                                                                                                                 150
Case
 Case3:19-cv-01226-L-AHG
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                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law only
                                                                               applies to minors “under
                                                                               the age of sixteen years,”
                                                                               not minors over sixteen
                                                                               or legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




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                 Case
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                                                           Historical Laws

                                                 A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction             Citation                       Description of Regulation                   Plaintiffs’ Response
 No.
                                  Amendments Thereto,       contrivance arranged for the explosion of such
                                  Passed and Approved, to   cartridge or of any fulminate, shall be liable to a
                                  May 1, 1886): Being the   penalty of not less than five nor more than fifty
                                  Ninth Revision. To        dollars. But the provisions of this section shall not
                                  Which are Added the       apply to paper-caps of which the only component
                                  Revised Standing          parts are chlorate of potash and sulphide of
                                  Regulations of the        antimony, nor to any appliance for exploding the
                                  Board of Aldermen. 9th    same.”
                                  Rev. Page 172, Image
                                  182 (1886) available at
                                  The Making of Modern
                                  Law: Primary Sources.
                                  1884.”
                                  Ordinances of the City
                                  of Boston. Of Fire-
                                  Arms, Bonfires, and
                                  Brick-Kilns. § 4.

  94      1887   Iowa – City of   Geoffrey Andrew           “§ 5. No person shall carry on or take part in          This law (1881) comes
                    Council       Holmes, Compiled          carrying on any pistol gallery or shooting gallery      too late to shed much
                    Bluffs        Ordinances of the City    without license therefor from said city, and the        light on the scope of the
                                  of Council Bluffs, and    charge for such license shall be ten dollars per        Second Amendment
                                  Containing the Statutes   month, or fifty dollars per annum.”                     “[B]ecause post-Civil
                                  Applicable to Cities of   “§6. No licensee or his employee, or any person in      War discussions of the
                                  the First-Class,                                                                  right to keep and bear
                                                                                                                                        152
Case
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                                                                               arms ‘took place 75 years
                                                                               after the ratification of
                                                                               the Second Amendment,
                                                                               they do not provide as
                                                                               much insight into its
                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law requires a
                                                                               license from the City to
                                                                               establish a “pistol gallery
                                                                               or shooting gallery”
                                                                               Regulations restricted
                                                                               legal minors, not adults
                                                                               who have reached the age
                                                                               of majority.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




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                 Case
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                                                A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction            Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                 Organized under the        charge of any pin alley, ball alley, pistol gallery or
                                 Laws of Iowa Page 168-     shooting gallery, shall at any time, without gain or
                                 169, Image 171-172         profit, permit or allow any minor to be or remain in
                                 (1887) available at The    or about the same to play thereat, under penalty of
                                 Making of Modern Law:      the same fine and forfeiture as set forth in section 2
                                 Primary Sources. 1887.     of this chapter.”
                                 Ordinances, City of
                                 Council Bluffs,
                                 Shooting Gallery, § 5-6.

  95      1887   Kansas – City   Sam Kimble Revised         “§ 13. Any person who shall give, trade, loan or         This law (1887) comes
                 of Manhattan    Ordinances of the City     otherwise furnish any pistol, revolver, or toy pistol    too late to shed much
                                 of Manhattan and Rules     by which cartridges or caps may be exploded, or          light on the scope of the
                                 of the Council Page 49-    any dirk, bowie-knife sling shot or toy known as         Second Amendment
                                 50, Image 51-52 (1887)     ‘rubber sling shot’ or other dangerous weapon, to        “[B]ecause post-Civil
                                 available at The Making    any minor or to any person of notoriously unsound        War discussions of the
                                 of Modern Law:             mind, shall be deemed guilty of a misdemeanor,           right to keep and bear
                                 Primary Sources. 1887.     and shall upon conviction before the Police Judge        arms ‘took place 75 years
                                 Ordinances of              be fined not less than five nor more than one            after the ratification of
                                 Manhattan, KS;             hundred dollars.”                                        the Second Amendment,
                                                                                                                     they do not provide as
                                 Offenses Against the       “§ 14. Having Possession of the Same. Any minor
                                                                                                                     much insight into its
                                 Public Peace, Health       who shall have in his possession any pistol,
                                 and Safety, Toy Pistols,   revolver, or toy pistol by which cartridges may be       original meaning as
                                 §13.                       exploded or any dirk, bowie knife, brass knuckles,       earlier sources.” Bruen,
                                                                                                                     597 U.S. at 36.
                                                                                                                                        154
Case
 Case3:19-cv-01226-L-AHG
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                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the law does not
                                                                               restrict the sale, purchase,
                                                                               acquisition, possession, or
                                                                               carrying of long guns.
                                                                               Regulations restricted
                                                                               legal minors, not adults
                                                                               who have reached the age
                                                                               of majority.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the American
                                                                               population.” Bruen, 597
                                                                               U.S. at 66-69. It therefore,
                                                                               cannot shed much, if any,
                                                                               light on the scope of the
                                                                               Second Amendment.




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                    Plaintiffs’ Response
 No.
                                                            slung shot or toy known as ‘rubber sling shot’ or
                                                            other dangerous weapons shall be deemed guilty of
                                                            a misdemeanor and upon conviction shall be fined
                                                            not less than one nor more than ten dollars.”

  96      1887    Missouri –    Chester H. Krum,            Sec. 1054. “No person shall sell to any child under     This law (1887) comes
                  City of St.   Reviser, The Revised        the age of sixteen years, without the written consent   too late to shed much
                    Louis       Ordinance City of St.       of the parents or guardian of such child, any           light on the scope of the
                                Louis. No. 17188.           cartridge of fixed ammunition of which any              Second Amendment
                                Approved April 7, 1893      fulminate is a component part, or any gun, pistol or    “[B]ecause post-Civil
                                Page 885, Image 894         other mechanical contrivance arranged for the           War discussions of the
                                (1895) available at The     explosion of such cartridge, or of any fulminate.”      right to keep and bear
                                Making of Modern Law:                                                               arms ‘took place 75 years
                                Primary Sources. 1887.                                                              after the ratification of
                                Ordinances of the City                                                              the Second Amendment,
                                of St. Louis. Minors –                                                              they do not provide as
                                                                                                                    much insight into its
                                Conditions of Sale to, of
                                                                                                                    original meaning as
                                Ammunition.
                                                                                                                    earlier sources.” Bruen,
                                                                                                                    597 U.S. at 36.
                                                                                                                    Not “relevantly similar”
                                                                                                                    to the challenged laws,
                                                                                                                    Bruen, 597 U.S. at 29-30,
                                                                                                                    because the restricts
                                                                                                                    “child[ren] under the age
                                                                                                                                       156
            Case
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                                                                                                              of sixteen years.” Also
                                                                                                              permits all firearms sales
                                                                                                              with parental consent.
                                                                                                              Regulations did not
                                                                                                              restrict minors over 16
                                                                                                              years or legal adults.
                                                                                                              This is a local regulation
                                                                                                              which did not even apply
                                                                                                              statewide. It would have
                                                                                                              been “irrelevant to more
                                                                                                              than 99% of the American
                                                                                                              population.” Bruen, 597
                                                                                                              U.S. at 66-69. It therefore,
                                                                                                              cannot shed much, if any,
                                                                                                              light on the scope of the
                                                                                                              Second Amendment.
97   1892   Maine – City   Seth L. Haarrabee, The     “Section 1. No person shall sell to any child under     This law (1887) comes
            of Portland    Charter and Ordinances     the age of sixteen years, without the written consent   too late to shed much
                           of the City of Portland,   of a parent or guardian of such child, any blank        light on the scope of the
                           Me., page 136, Image       cartridge, or any pistol, or mechanical contrivance     Second Amendment
                           150 (1892) available at    specially arranged or designed for the explosion of     “[B]ecause post-Civil
                           The Making of Modern       the same.”                                              War discussions of the
                                                                                                              right to keep and bear
                                                                                                              arms ‘took place 75 years
                                                                                                              after the ratification of
                                                                                                              the Second Amendment,
                                                                                                              they do not provide as
                                                                                                              much insight into its
                                                                                                              original meaning as
                                                                                                              earlier sources.” Bruen,
                                                                                                              597 U.S. at 36.
                                                                                                              Not “relevantly similar”
                                                                                                              to the challenged laws,
                                                                                                                                  157
Case
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                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the restricts
                                                                               “child[ren] under the age
                                                                               of sixteen years.” Also
                                                                               permits all firearms sales
                                                                               with parental consent.
                                                                               Regulations did not
                                                                               restrict minors over 16
                                                                               years or legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the American
                                                                               population.” Bruen, 597
                                                                               U.S. at 66-69. It therefore,
                                                                               cannot shed much, if any,
                                                                               light on the scope of the
                                                                               Second Amendment.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                        Description of Regulation                   Plaintiffs’ Response
 No.
                                Law: Primary Sources.      “Sec. 2. Any person violating the provisions of this
                                1892.                      ordinance shall be liable to a penalty of not less
                                Nuisances. Sale of blank   than fifty and not exceeding one hundred dollars, to
                                cartridges and pistols     be recovered on complaint to the use of the City of
                                prohibited. § 4.           Portland.”

  98      1893   Louisiana –    John Q. Flynn Flynn’s      “Art. 1342. It shall be unlawful for any one to sell,   This law (1893) comes
                 City of New    Digest of the City         or lease, or give through himself or any other          too late to shed much
                   Orleans      Ordinances, Together       person, any pistol, dirk, bowieknife, toy pistol for    light on the scope of the
                                with the Constitutional    which cartridges are used, or any other dangerous       Second Amendment
                                Provisions, Acts of the    weapon which may be carried concealed, to any           “[B]ecause post-Civil
                                General Assembly, and      person under the age of eighteen years.”                War discussions of the
                                Decisions of the Courts    “Art. 1343. That any person violating the               right to keep and bear
                                Relative to the            provisions of this ordinance shall be deemed guilty     arms ‘took place 75 years
                                Government of the City     of a misdemeanor and shall be liable to a fine not      after the ratification of
                                of New Orleans Page        exceeding twenty-five dollars or imprisonment for       the Second Amendment,
                                545, Image 617 (1896)      a period not exceeding thirty days, or both, at the     they do not provide as
                                available at The Making    discretion of the Recorder having jurisdiction.”        much insight into its
                                of Modern Law:                                                                     original meaning as
                                Primary Sources. 1893.                                                             earlier sources.” Bruen,
                                Ordinances of the City                                                             597 U.S. at 36.
                                of New Orleans.                                                                    Not “relevantly similar”
                                Offences,                                                                          to the challenged laws,
                                Misdemeanors and                                                                   Bruen, 597 U.S. at 29-30,

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Case
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                                                                               because the restricts
                                                                               “persons under the age of
                                                                               eighteen years.” Also
                                                                               does not effect long guns
                                                                               of any kind.
                                                                               Regulations did not
                                                                               restrict minors 18 years
                                                                               and over or legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                         Description of Regulation                    Plaintiffs’ Response
 No.
                                Nuisances. §§ 1342-
                                1343.

  99      1895   Nebraska –     1895 Neb. Laws 237-38,      “§ 2. No person shall sell, loan, or furnish, to any     This law (1895) comes
                  City of       Laws of Nebraska            minor, any gun, fowling-piece, or other fire-arm,        too late to shed much
                  Lincoln       Relating to the City of     within the limits of the city, under penalty of a fine   light on the scope of the
                                Lincoln, An Ordinance       of fifty dollars for each offense.”                      Second Amendment
                                Regulating and              “§ 5. It shall be unlawful for any parent, guardian,     “[B]ecause post-Civil
                                Prohibiting the Use of      or other person having the care and custody of any       War discussions of the
                                Fire-arms, Fire-works       minor, to purchase for or give to any such minor or      right to keep and bear
                                and Cannon in the City      knowingly to permit any such minor to have any           arms ‘took place 75 years
                                of Lincoln . . .            toy pistol, toy gun, or other toy arm or arms, or        after the ratification of
                                Prescribing Penalties for   sling shot, out of which any leaden or other             the Second Amendment,
                                Violation of the            dangerous missiles may be discharged. Any such           they do not provide as
                                Provisions of This          person so offending shall, upon conviction thereof,      much insight into its
                                Ordinance, and              be fined in any amount not exceeding twenty              original meaning as
                                Repealing Ordinances in     dollars, and stand committed until such fine and         earlier sources.” Bruen,
                                Conflict Herewith, Art.     costs are paid and secured.”                             597 U.S. at 36.
                                XXVI, §§ 2, 5.                                                                       Not “relevantly similar”
                                                                                                                     to the challenged laws,
                                                                                                                     Bruen, 597 U.S. at 29-30,
                                                                                                                     because the regulations
                                                                                                                     restrict minors, not legal
                                                                                                                     adults.

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             Case
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                                                                                                              This is a local regulation
                                                                                                              which did not even apply
                                                                                                              statewide. It would have
                                                                                                              been “irrelevant to more
                                                                                                              than 99% of the
                                                                                                              American population.”
                                                                                                              Bruen, 597 U.S. at 66-69.
                                                                                                              It therefore, cannot shed
                                                                                                              much, if any, light on the
                                                                                                              scope of the Second
                                                                                                              Amendment.




100   1896    California –    L. W. Moultrie, City     “Section 53. No junk-shop keeper or pawnbroker         This law (1896) comes
             City of Fresno   Attorney, Charter and    shall hire, loan or deliver to any minor under the     too late to shed much
                              Ordinances of the City   age of eighteen years any gun, pistol or other         light on the scope of the
                              of Fresno, 1896 Page     firearm, dirk, bowie-knife, powder, shot, bullets or   Second Amendment
                              37, Image 35 (1896)      any weapon, or any combustible or dangerous            “[B]ecause post-Civil
                                                                                                              War discussions of the
                                                                                                              right to keep and bear
                                                                                                              arms ‘took place 75 years
                                                                                                              after the ratification of
                                                                                                              the Second Amendment,
                                                                                                              they do not provide as
                                                                                                              much insight into its
                                                                                                              original meaning as
                                                                                                              earlier sources.” Bruen,
                                                                                                              597 U.S. at 36.
                                                                                                              Not “relevantly similar”

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                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the restricts “any
                                                                               minor under the age of
                                                                               eighteen years” Also
                                                                               permits all firearms sales
                                                                               with parental consent.

                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the American
                                                                               population.” Bruen, 597
                                                                               U.S. at 66-69. It therefore,
                                                                               cannot shed much, if any,
                                                                               light on the scope of the
                                                                               Second Amendment.




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                 Case
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                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                  Plaintiffs’ Response
 No.
                                available at The Making    material, without the written consent of the parent
                                of Modern Law:             or guardian of such minor.”
                                Primary Sources. 1896.
                                Misdemeanors. Section
                                53.
                                Fresno, Ca., § 52
                                (1896).

 101      1904   Maryland –     1904 Md. Laws 295, An      “Section 1. Be it enacted by the General Assembly     This law comes from a
                  Garrett       Act to Prohibit all        of Maryland, That it shall be unlawful for all        state which did not have a
                  County        Persons Under Fifteen      persons under the age of fifteen years to carry or    Second Amendment
                                Years of Age from          have in his or her possession any shot gun, rifle,    analog in its state
                                Carrying or Having in      revolver or other firearm of any description within   constitution at the time
                                Their Possession           the limits of Garrett County.”                        the law was passed. See
                                Firearms of any            “Sec. 2. And be it enacted, That any person           Eugene Volokh, State
                                Description Within the     convicted of violating this Act before any court of   Constitutional Rights to
                                Limits of Garrett          competent jurisdiction shall be fined not less than   Keep and Bear Arms, 11
                                County, ch. 177, §§ 1-2.   five dollars nor more than twenty dollars, or be      TEX. REV. OF L. AND
                                                           imprisoned in the county jail for not less than ten   POLITICS 191, 193-204
                                                           nor more than thirty days for each and every          (2006).
                                                           offense.”
                                                                                                                 Law comes too late to
                                                                                                                 provide any insight into
                                                                                                                 the meaning of the
                                                                                                                                    164
Case
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                                                                               Second Amendment.
                                                                               Bruen entirely
                                                                               disregarded laws from the
                                                                               20th century, noting that,
                                                                               “[a]s with…late-19th
                                                                               century evidence, the
                                                                               20th-century evidence
                                                                               presented by respondents
                                                                               and their amici does not
                                                                               provide insight into the
                                                                               meaning of the Second
                                                                               Amendment when it
                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.
                                                                               Not “relevantly similar”
                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because the restricts
                                                                               persons “under the age of
                                                                               fifteen years.” Does not
                                                                               effect sale, purchase, or
                                                                               acquisition, possession, or
                                                                               carrying of firearms by
                                                                               minor fifteen years and
                                                                               over or legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the American
                                                                               population.” Bruen, 597
                                                                               U.S. at 66-69. It therefore,
                                                                                                   165
             Case
              Case3:19-cv-01226-L-AHG
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                                                                                                        cannot shed much, if any,
                                                                                                        light on the scope of the
                                                                                                        Second Amendment.




102   1908   Maryland –     1908 Md. Laws 397,   “31. It shall be unlawful for any person under the     Law comes too late to
             Catonsville,   § 31.                age of twenty-one years to fire a gun, cat rifle,      provide any insight into
              Baltimore                          pistol, or any explosive instrument of metal, within   the meaning of the
                                                                                                        Second Amendment.
                                                                                                        Bruen entirely
                                                                                                        disregarded laws from the
                                                                                                        20th century, noting that,
                                                                                                        “[a]s with…late-19th
                                                                                                        century evidence, the
                                                                                                        20th-century evidence
                                                                                                        presented by respondents
                                                                                                        and their amici does not
                                                                                                        provide insight into the
                                                                                                        meaning of the Second
                                                                                                        Amendment when it
                                                                                                        contradicts earlier
                                                                                                        evidence.” Bruen, 597
                                                                                                        U.S. at 66 n.28.
                                                                                                        Not “relevantly similar”
                                                                                                                           166
Case
 Case3:19-cv-01226-L-AHG
      3:19-cv-01226-L-AHG Document 133139-1
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                                                                               to the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because it restricts the act
                                                                               of firing weapons in the
                                                                               county. It does not
                                                                               restrict the sale, purchase,
                                                                               acquisition, possession,
                                                                               or carrying of any firearm
                                                                               by minors or legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




                                                                                                    167
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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                                                       Grabarsky Declaration
                                                          Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                      Description of Regulation                       Plaintiffs’ Response
 No.
                   County                                one mile in any direction of the Library Hall in
                                                         Catonsville, Baltimore county; and any person
                                                         under said age of twenty-one years, violating this
                                                         section, shall upon conviction before the Circuit
                                                         Court, or any justice of the peace for said county,
                                                         be fined a sum not less than one dollar nor more
                                                         than ten dollars, or be imprisoned in the county jail
                                                         for not less than five days nor more than thirty
                                                         days, or be both fined and imprisoned, in the
                                                         discretion of the court or the justice of the peace.”

 103      1911    Illinois –    Cook County              “2814. Weapons not to be sold to minors.] No               Law comes too late to
                 Cook County    Ordinance, Chicago       person shall sell, give, loan, hire, barter, furnish, or   provide any insight into
                                Code of 1911: Art. II,   offer to sell, give, loan, hire, barter or furnish, to     the meaning of the
                                § 2814.                  any minor, within the city, any gun, pistol,               Second Amendment.
                                                         revolver, fowling-piece, or other firearm, or any toy      Bruen entirely
                                                         gun, toy pistol, toy fowling-piece, or other toy           disregarded laws from the
                                                         firearm, in which any explosive substance can be           20th century, noting that,
                                                         used, or any bowie knife, dirk, dagger, or other           “[a]s with…late-19th
                                                         deadly weapon of a like character, under a penalty         century evidence, the
                                                         of not less than ten or more than one hundred              20th-century evidence
                                                         dollars for each offense.”                                 presented by respondents
                                                                                                                    and their amici does not
                                                                                                                    provide insight into the
                                                                                                                    meaning of the Second

                                                                                                                                       168
             Case
              Case3:19-cv-01226-L-AHG
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                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.
                                                                                                           Not “relevantly similar” to
                                                                                                           the challenged laws,
                                                                                                           Bruen, 597 U.S. at 29-30,
                                                                                                           because it restricts minors,
                                                                                                           not legal adults.
                                                                                                           This is a local regulation
                                                                                                           which did not even apply
                                                                                                           statewide. It would have
                                                                                                           been “irrelevant to more
                                                                                                           than 99% of the American
                                                                                                           population.” Bruen, 597
                                                                                                           U.S. at 66-69. It therefore,
                                                                                                           cannot shed much, if any,
                                                                                                           light on the scope of the
                                                                                                           Second Amendment.
104   1914   Illinois – City   Samuel A. Ettelson,   “§ 4a. It shall be unlawful for any person, firm or   Law comes too late to
               of Chicago      Opinions of the       corporation to sell, barter or give away to any       provide any insight into
                                                                                                           the meaning of the
                                                                                                           Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                                               169
Case
 Case3:19-cv-01226-L-AHG
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                                                                               Amendment when it
                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.
                                                                               Not “relevantly similar” to
                                                                               the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because it restricts minors,
                                                                               not legal adults.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the American
                                                                               population.” Bruen, 597
                                                                               U.S. at 66-69. It therefore,
                                                                               cannot shed much, if any,
                                                                               light on the scope of the
                                                                               Second Amendment.




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                                      Grabarsky Declaration
                                                         Historical Laws

                                               A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction           Citation                       Description of Regulation                    Plaintiffs’ Response
 No.
                                Corporation Counsel        person within the City of Chicago, any pistol,
                                and Assistants from        revolver, derringer, bowie knife, dirk or other
                                May 1, 1915, to June 30,   weapon of like character which can be concealed
                                1916 Page 458-459,         on the person, except to licensed dealers and to
                                Image 458-459 (Vol. 7,     persons who have secured a permit for the purchase
                                1916) available at The     of such articles from the general superintendent of
                                Making of Modern Law:      police as hereinafter required; provided, this section
                                Primary Sources. 1914.     shall not apply to sales made of such articles which
                                Ordinance of May 25,       are delivered or furnished outside the City of
                                1914, § 4a.                Chicago.:
                                                           “§ 5. It shall be unlawful for any person to purchase
                                                           any pistol, revolver, derringer, bowie knife, dirk or
                                                           other weapon of like character, which can be
                                                           concealed on the person, without first securing
                                                           from the General Superintendent of Police a permit
                                                           so to do. Before any such permit is granted, an
                                                           application in writing shall be made therefor,
                                                           setting forth in such application the name, address,
                                                           age, height, weight, complexion, nationality and
                                                           other elements of identification, of the person
                                                           desiring such permit, and the applicant shall present
                                                           such evidence of good character as the General
                                                           Superintendent of Police in his discretion may
                                                           require.”

                                                                                                                                    171
                 Case
                  Case3:19-cv-01226-L-AHG
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                                                        Grabarsky Declaration
                                                           Historical Laws

                                                 A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction             Citation                      Description of Regulation                    Plaintiffs’ Response
 No.
                                                            “§ 6. It shall be the duty of the General
                                                            Superintendent of Police to refuse such permit to
                                                            (a) All persons having been convicted of any crime.
                                                            (b) all minors. ‘Otherwise, in case he shall be
                                                            satisfied that the applicant is a person of good
                                                            moral character, it shall be the duty of the General
                                                            Superintendent of Police to grant such permit, upon
                                                            the payment of a fee of one dollar.’”

 105      1917   Illinois – City   Samuel Irwin, Reports    “Sec. 6. It shall be the duty of the general            Law comes too late to
                   of Chicago      of Cases At Law And In   superintendent of police to refuse such permit to (a)   provide any insight into
                                   Chancery 566 (vol.       all persons having been convicted of any crime; (b)     the meaning of the
                                   #278, Chicago, Ill,      all minors. Otherwise, in case he shall be satisfied    Second Amendment.
                                   1917).                   that the applicant is a person of good moral            Bruen entirely
                                                            character, it shall be the duty of the general          disregarded laws from the
                                                            superintendent of police to grant such permit upon      20th century, noting that,
                                                            the payment of a fee of one dollar.”                    “[a]s with…late-19th
                                                                                                                    century evidence, the
                                                                                                                    20th-century evidence
                                                                                                                    presented by respondents
                                                                                                                    and their amici does not
                                                                                                                    provide insight into the
                                                                                                                    meaning of the Second
                                                                                                                    Amendment when it
                                                                                                                    contradicts earlier

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             Case
              Case3:19-cv-01226-L-AHG
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                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.
                                                                                                             Not “relevantly similar” to
                                                                                                             the challenged laws,
                                                                                                             Bruen, 597 U.S. at 29-30,
                                                                                                             because it restricts minors,
                                                                                                             not legal adults.
                                                                                                             This is a local regulation
                                                                                                             which did not even apply
                                                                                                             statewide. It would have
                                                                                                             been “irrelevant to more
                                                                                                             than 99% of the American
                                                                                                             population.” Bruen, 597
                                                                                                             U.S. at 66-69. It therefore,
                                                                                                             cannot shed much, if any,
                                                                                                             light on the scope of the
                                                                                                             Second Amendment.
106   1917    Missouri –      Joplin Code of 1917,     Sec. 1201. “If any person shall carry concealed       Law comes too late to
             City of Joplin   Art. 67, § 1201.         upon or about his person a dangerous or deadly        provide any insight into
                              Weapons; Deadly. 1917.   weapon of any kind or description, or shall go into   the meaning of the
                                                       any church or place where people have assembled       Second Amendment.
                                                       for religious worship, or into any school room or     Bruen entirely
                                                       place where people are assembled for educational,     disregarded laws from the
                                                       political, literary or social purposes, or to any     20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                                                 173
Case
 Case3:19-cv-01226-L-AHG
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                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.
                                                                               Not “relevantly similar” to
                                                                               the challenged laws,
                                                                               Bruen, 597 U.S. at 29-30,
                                                                               because it restricts minors,
                                                                               not legal adults. Also
                                                                               permits sale, purchase,
                                                                               acquisition, possession of
                                                                               firearms with parental
                                                                               consent.
                                                                               This is a local regulation
                                                                               which did not even apply
                                                                               statewide. It would have
                                                                               been “irrelevant to more
                                                                               than 99% of the
                                                                               American population.”
                                                                               Bruen, 597 U.S. at 66-69.
                                                                               It therefore, cannot shed
                                                                               much, if any, light on the
                                                                               scope of the Second
                                                                               Amendment.




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                 Case
                  Case3:19-cv-01226-L-AHG
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                                                     Historical Laws

                                          A. FIREARMS AGE RESTRICTIONS

Exhibit   Year   Jurisdiction       Citation                    Description of Regulation                    Plaintiffs’ Response
 No.
                                                    election precinct on any election day, or into any
                                                    court room during the sitting of court, or into any
                                                    other public assemblage of persons met for any
                                                    lawful purpose other than for militia drill, or
                                                    meetings called under militia law of this state,
                                                    having upon or about his person, concealed or
                                                    exposed, any kind of firearms, bowie knife, spring-
                                                    back knife, razor, knuckles, bill, sword cane, dirk,
                                                    dagger, slung shot, or other similar deadly
                                                    weapons, or shall, in the presence of one or more
                                                    persons, exhibit any such weapon in a rude, angry
                                                    or threatening manner, or shall have any such
                                                    weapons in his possession when intoxicated, or
                                                    directly or indirectly shall sell or deliver, loan or
                                                    barter, to any minor any such weapon, without the
                                                    consent of the parent or guardian of such minor, he
                                                    shall be deemed guilty of a misdemeanor. Provided,
                                                    that nothing contained in this section shall apply to
                                                    legally qualified sheriffs, police officers, and other
                                                    persons whose bona fide duty is to execute process,
                                                    civil or criminal, make arrests, or aid in conserving
                                                    the public peace, nor to persons traveling in a
                                                    continuous journey peaceably through this state.”



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                 Case
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                                                    Grabarsky Declaration
                                                       Historical Laws

                                B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

Exhibit   Year       Jurisdiction          Citation                  Description of Regulation                Plaintiffs’ Response
 No.

 107      1655       Massachusetts A Copy of the Laws of    ““noe students shall be suffered to have a gun   See Plaintiffs Motion for
                      - Harvard    Harvard College, 1655,   in his or theire champers or studies, or         Summary Judgment (ECF
                                   at 10.                   keeping for theire use any where else in the     No. 136-1, at 20-22 for
                                                            town.”                                           detailed response.
                                                                                                             Not “relevantly similar”
                                                                                                             to the challenged laws,
                                                                                                             Bruen, 597 U.S. at 29-30,
                                                                                                             because At this time,
                                                                                                             neither the municipalities
                                                                                                             in Massachusetts, nor the
                                                                                                             State of Massachusetts
                                                                                                             imposed any restriction
                                                                                                             on the sale, purchase,
                                                                                                             acquisition or carrying of
                                                                                                             firearms of any kind
                                                                                                             based on age. As such, the
                                                                                                             laws of the time explicitly
                                                                                                             contradict this college
                                                                                                             policy.
                                                                                                             College policy did not
                                                                                                             apply to approximately
                                                                                                             99% of the population at
                                                                                                             this time.
                                                                                                             College policy applied to
                                                                                                                                176
               Case
                Case3:19-cv-01226-L-AHG
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                                                                                                           “students.” Such policy
                                                                                                           was not based on age.




108   Revolution   Massachusetts 31 Publications of The   “XVI. No Undergraduate shall keep a Gun,         See response to Exhibit
         Era        - Harvard    Colonial Society of      Pistol or any Gunpowder in the College,          no. 107 above.
                                 Massachusetts:           without Leave of the President—nor shall he
                                 Collections 338, 358     go a gunning, fishing, or seating over deep
                                 (1935).                  Waters, without Leave from the President, or
                                                          one of the Tutors or Professors, under the
                                                          Penalty of one shilling for either of the
                                                          Offences aforesaid—and if any Scholar shall
                                                          fire a Gun, or Pistol, within the College
                                                          Walls, Yard or near the College, he shall be
                                                          fined not exceeding two shillings & six pence,
                                                          or be admonished, degraded, or rusticated
                                                          according to the Aggravation of the Offence”

109     1793        Rhode Island Laws of Rhode Island     “3. No student shall keep any kind of fire-      See response to Exhibit
                      – Rhode     College (1793) at 13.   arms or gunpowder in his room, nor fire gun-     no. 107 above.
                   Island College                         powder in or near the College, in any manner
                                                          whatever.”

110     1795       Connecticut -   The Laws of Yale-      “XIV. No Scholar is allowed to keep any          See response to Exhibit no.
                                                                                                           107 above.




                                                                                                                              177
                 Case
                  Case3:19-cv-01226-L-AHG
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                                                         Historical Laws

                                 B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

Exhibit   Year       Jurisdiction            Citation                     Description of Regulation                 Plaintiffs’ Response
 No.
                     Yale College    College, in New-Haven,     kind of fire-arms, or gun-powder, upon
                                     in Connecticut, Enacted    penalty of seventeen cents: and if any Scholar
                                     by the President and       shall fire any gun-powder in or near the
                                     Fellows, the Sixth Day     College-yard, he shall be fiend fifty cents: and
                                     of October, A.D. 1795      if it be done near the dwelling-house or the
                                     p. 26 (1800).              person of the President, a Professor or a
                                                                Tutor, he shall be punished as for contempt.”

 111      1799          North        University of North        “8. No student shall keep a dog or fire-arms;      See response to Exhibit
                      Carolina -     Carolina, Public           nor shall he use fire-arms without permission      no. 107 above.
                     University of   Colleges and               from some one of the Faculty.”
                        North        Universities, 1799,
                      Carolina       https://docsouth.unc.edu
                                     /unc/uncbk1018/uncbk1
                                     018.html.

 112      1802       New York – Wayne Somers,                   “Keeping guns or gunpowder has likewise            See response to Exhibit
                    Union College Encyclopedia of Union         been forbidden since 1802; other ‘deadly           no. 107 above.
                                  College History               weapons’ have been proscribed since 1832.”
                                  (Schenectady, NY:
                                  Union College Press,
                                  2003), p. 533.

 113      1803       Rhode Island    Walter C. Bronson, The     “No student shall keep any kind of fire-arms       See response to Exhibit
                       – Brown       History of Brown           or gunpowder in his room, nor fire gunpowder       no. 107 above.
                                     University, 1714-1914      in or near the College, in any manner
                                                                                                                                      178
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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                                                         Historical Laws

                                   B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

Exhibit   Year       Jurisdiction            Citation                     Description of Regulation               Plaintiffs’ Response
 No.
                      University     (Boston: D.B. Updike,       whatever.”
                                     The Merrymount Press,
                                     1914), Student Laws of
                                     1803.

 114      1803        Vermont –      The Laws of                 “10. No Scholar is allowed to keep any kind     See response to Exhibit no.
                      Middlebury     Middlebury-College,         of firearms or gunpowder in College, nor to     107 above.
                       College       1803 (Middlebury, VT:       fire a gun or pistol within the College-walls
                                     Huntington & Fitch,         on penalty of twelve-cents for every such
                                     1804), p. 16.               offense.”
                                     https://www.jstor.org/st
                                     able/community.284794
                                     83?seq=16.

 115      1805        Virginia –     John L. Brinkley, On        “The equally ineffectual outlawing of dogs      See response to Exhibit
                      Hampden-       this Hill: A Narrative      and guns, both being the cause of ‘great        no. 107 above.
                       Sidney        History of Hampden-         inconvenience,’ would be repeated and
                       College       Sydney College, 1774-       expanded: in 1805 the reaffirmed rule on guns
                                     1994 (Hampden-Sidney,       was supplemented with a prohibition on
                                     VA: Hampden-Sidney,         dueling or promoting a duel.”
                                     1994), p. 115.

 116      1807          South        Edwin L. Green, A           “No student may keep in his room any kind of    See response to Exhibit
                      Carolina –     History of the University   firearms or gun powder; nor fire any in or      no. 107 above.
                     University of   of South Carolina           near the College, in any manner whatever;
                        South        (Columbia, S.C: The         and any student who shall violate this law,
                                                                                                                                    179
                 Case
                  Case3:19-cv-01226-L-AHG
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                                  B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

Exhibit   Year       Jurisdiction            Citation                      Description of Regulation                Plaintiffs’ Response
 No.
                       Carolina      State Company, 1916),       shall be liable to admonition, suspension or
                                     p. 220.                     expulsion.”

 117      1810        Georgia –      The Minutes of the          “no student shall be allowed to keep any gun,     See response to Exhibit
                     University of   Senate Academicus           pistol, Dagger, Dirk[,] sword cane or any         no. 107 above.
                       Georgia       1799–1842, University       other offensive weapon in College or
                                     of Georgia Libraries        elsewhere, neither shall they or either of them
                                     (1976).                     be allowed to be possessed of the same out of
                                     https://dlg.usg.edu/recor   the college in any case whatsoever.”
                                     d/guan_ua0148_ua0148
                                     -002-004-001#text.

 118      1813       New York –      Documentary History of      “XII. If any student shall keep any kind of       See response to Exhibit
                      Hamilton       Hamilton College            firearms or gun-powder, or shall fire any gun-    no. 107 above.
                      College        (Clinton, NY: Hamilton      powder in or near the college-yard, or near the
                                     College, 1922), The         dwellinghouse or the person of the president,
                                     Laws of Hamilton            a professor or a tutor, he shall be admonished,
                                     College, 1813, Chapter      rusticated, or otherwise punished as the case
                                     VIII, Of Crimes and         may require.”
                                     Misdemeanors. XII.

 119      1814       Ohio – Ohio     Thomas N. Hoover, The       It will be deemed a transgression, “[t]o keep     See response to Exhibit
                      University     History of Ohio             fire-arms, gun-powder, or any preparation         no. 107 above.
                                     University (Athens, OH:     thereof in the College, or to discharge any
                                     Ohio University Press,      fire-arms in or near it.”
                                     1954), 57.
                                                                                                                                      180
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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Exhibit   Year       Jurisdiction           Citation                       Description of Regulation                Plaintiffs’ Response
 No.
                                    https://ohiomemory.org/
                                    digital/collection/p2674
                                    01coll36/id/16772.

 120      1817         Maine –      Laws of Bowdoin              Describing college prohibitions against           See response to Exhibit
                       Bowdoin      College, 1817. Ernst         keeping “a gun or pistol in [a student’s] room    no. 107 above.
                       College      Christian Helmreich,         without permission of the president” and
                                    Religion at Bowdoin          going “gunning or fishing without permission
                                    College: A History           of some member of the faculty.” Students
                                    (Brunswick, ME:              also could “not fire a gun or pistol within or
                                    Bowdoin College,             near a college building.”
                                    1981), 39,
                                    https://digitalcommons.
                                    bowdoin.edu/cgi/viewco
                                    ntent.cgi?article=1005&
                                    context=bowdoin-
                                    histories.

 121      1819       New Jersey –   1819, Laws of the            “9. Any student convicted of sending or           See response to Exhibit
                      College of    College of New Jersey,       receiving a challenge to fight a duel, or who     no. 107 above.
                     New Jersey     ch. 17, § 9; ch. 19, § 10.   shall carry such challenge, or be a second in a
                                                                 duel, or in any wise aid or abet it, shall
                                                                 immediately be dismissed by the faculty, and
                                                                 as soon as practicable expelled by the
                                                                 trustees.”

                                                                                                                                      181
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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Exhibit   Year       Jurisdiction             Citation                      Description of Regulation                Plaintiffs’ Response
 No.
                                                                   “10. No student shall keep for his use or
                                                                   pleasure any horse or riding beast; nor shall
                                                                   any student keep a dog, or gun, or fire-arms
                                                                   and ammunition of any kind, nor any sword,
                                                                   dirk, sword-cane, or any deadly weapon
                                                                   whatever.”

 122      1824        District of     1824, Laws of the            “10th. No Student shall keep a servant, nor      See response to Exhibit
                      Columbia –      Columbian College,           shall he keep fire arms, or any deadly weapon    no. 107 above.
                      Columbian       District of Columbia,        whatever. He shall bring no gun-powder
                       College        ch. 5, § 2, no. 10.          upon the College premises; nor shall horses or
                                                                   dogs be kept by students for their private use
                                                                   or pleasure.”

 123      1824       Massachusetts 1824, Laws of Harvard           Making punishable “keeping a gun or pistol,      See response to Exhibit
                      – Harvard    College, ch. 6, § 1, no.        or gunpowder, or firing a gun or pistol.”        no. 107 above.
                       College     2.

 124      1824        Virginia –      University of Virginia       “No Student shall, within the precincts of the   See response to Exhibit
                     University of    Board of Visitors            University, introduce, keep or use any           no. 107 above.
                       Virginia       Minutes (October 4–5,        spirituous or vinous liquors, keep or use
                                      1824) 1, 6–7 (1824),         weapons or arms of any kind, or gunpowder,
                                      https://encyclopediavirg     keep a servant, horse or dog, appear in school
                                      inia.org/entries/universit   with a stick, or any weapon, nor, while in
                                      y-of-virginia-board-of-      school.”
                                      visitors-minutes-
                                                                                                                                       182
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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Exhibit   Year       Jurisdiction             Citation                       Description of Regulation               Plaintiffs’ Response
 No.
                                     october-4-5-1824/.

 125      1825       Massachusetts 1825, Statutes and Laws         Making a high offense the “[k]eeping any         See response to Exhibit
                      – University of the University in            gun, pistol, or gun-powder, or firing or using   no. 107 above.
                     of Cambridge Cambridge, ch. 7, § 76,          the same in the town of Cambridge.”
                                   no. 3. CHAP. VII.

 126      1826       Connecticut –   Laws of Washington            “Sec. 3. The following are deemed high           See response to Exhibit
                       Trinity       College [renamed              offences: . . . Keeping any gun, pistol,         no. 107 above.
                       College       Trinity College in            gunpowder, or firing or using the same in the
                                     1845], Ch. IV, p. 10.         City of Hartford; or having in possession any
                                     https://digitalrepository.t   dirk, sword-cane, or other offensive weapon,
                                     rincoll.edu/cgi/viewcont      unless in case of military exercises being
                                     ent.cgi?article=1020&c        allowed by the Faculty.”
                                     ontext=laws_and_standi
                                     ng_rules.

 127      1826          South        W.J. McGlothlin,              “. . . they were forbidden to use or possess     See response to Exhibit
                      Carolina –     Baptist Beginnings in         intoxicating liquor or frequent bar rooms, to    no. 107 above.
                       Furman        Education: A History of       accept a challenge or in any way aid, abet, or
                      University     Furman University             promote a duel, to carry or have in their
                                     (Nashville, TN: Sunday        rooms firearms . . .”
                                     School Board of the
                                     Southern Baptist
                                     Convention, 1926), p.

                                                                                                                                       183
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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Exhibit   Year       Jurisdiction             Citation                       Description of Regulation                  Plaintiffs’ Response
 No.
                                      115.

 128      1828       Delaware –       Academy minutes, April       “Students were not permitted to keep a horse        See response to Exhibit
                     University of    17, 1828; American           or a dog or to have a gun or ammunition . . .       no. 107 above.
                      Delaware        Watchman, August 1,          or a sword, dirk, sword cane, or any deadly
                                      1828.                        weapon.”
                                      https://sites.udel.edu/uar
                                      m/the-university-of-
                                      delaware-chapter-2/

 129      1828         Illinois –     Centennial, McKendree        “The Faculty are determined that the college        See response to Exhibit
                      McKendree       College With St. Clair       shall not be infested, and the whole                no. 107 above.
                        College       County History, 1828-        community embarrassed and perhaps
                                      1928 (Lebanon, IL:           corrupted by idle and dissolute members.
                                      McKendree College,           There is an interesting list of requirements: . .
                                      1928), p. 238.               . ‘using profane or obscene language; visiting
                                      https://archive.org/detail   circuses or shows; keeping pistols, dirk knives
                                      s/centennialmckend00m        or any unlawful weapons ...... ’”
                                      cke/page/238/mode/2up
                                      ?q=gambling.

 130      1830        Louisiana –     William Hamilton             “Soon after a student tried to stab a professor     See response to Exhibit
                      Centenary       Nelson, A Burning            the trustees, the date was March 12, 1830,          no. 107 above.
                      College         Torch and a Flaming          passed another Article for the By-Laws which
                                      Fire: The Story of           would take care of the situation in the future.

                                                                                                                                          184
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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 No.
                                     Centenary College of         They also passed a rule that no student could
                                     Louisiana (Nashville,        keep a riding animal, or dog, or gun, or other
                                     TN: Methodist                firearms.”
                                     Publishing House,
                                     1931), p. 81.
                                     https://archive.org/detail
                                     s/burningtorchandf00nel
                                     s/page/n7/mode/2up?q=
                                     gun

 131      1830       Pennsylvania    The statutes of              “12.—If any student shall keep for his use or      See response to Exhibit
                     – Dickinson     Dickinson College, as        pleasure any riding beast, dog, gun, fire arms     no. 107 above.
                       College       revised and adopted by       or ammunition, sword-dirk, sword-cane, or
                                     the Board of Trustees,       any deadly weapon whatever . . . he shall be
                                     April 16, 1830, 22-23,       publicly admonished, suspended or
                                     Chapter VI.                  dismissed.”

 132      1830       Virginia –      Laws and Regulations         “29. Students are strictly forbidden to keep, or   See response to Exhibit
                     College of      of the College of            to have about their person, any dirk, sword or     no. 107 above.
                     William and     William and Mary,            pistol. Firing squibs or crackers in and about
                        Mary         Volume 276 (1830),           College or elsewhere is also strictly
                                     Regulations of the           forbidden.”
                                     Society, 29.

 133      1831       Mississippi –   Constitution & Laws of       “ . . . wearing or carrying a dirk or other        See response to Exhibit
                      Oakland        the Institution of           deadly weapon . . . are offences; and shall be     no. 107 above.
                                                                                                                                        185
                 Case
                  Case3:19-cv-01226-L-AHG
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Exhibit   Year       Jurisdiction            Citation                     Description of Regulation               Plaintiffs’ Response
 No.
                       College       Learning Under the         punished as hereinafter directed.”
                                     Care of the Mississippi
                                     Presbytery, Oakland
                                     College (Miss.), at 10
                                     (1831), Chapter XI.

 134      1832        Maine –        Waterville College,        “6. No student shall keep firearms, or any       See response to Exhibit
                      Waterville     Laws of Waterville         deadly weapon whatever. He shall bring no        no. 107 above.
                       College       College, Maine             gunpowder upon the College premises; . . .”
                                     (Hallowell, ME:
                                     Glazier, Masters, & Co.,
                                     1832), 11.

 135      1834         North         George Washington          Students were “not to keep any dirk, sword-      See response to Exhibit
                     Carolina –      Paschal, History of        case, fire arms or any other weapon of           no. 107 above.
                     Wake Forest     Wake Forest College        defense.”
                     University      (Wake Forest, NC:
                                     Wake Forest College,
                                     1935), p. 136.
                                     https://wakespace.lib.wf
                                     u.edu/bitstream/handle/1
                                     0339/33244/wf_history_
                                     v1.pdf

 136      1834       Pennsylvania    Ernest Ashton Smith,       Art. III, “Sect. 12. No student shall bring or   See response to Exhibit
                     – Allegheny     Allegheny—A Century        cause to be brought gunpowder, firearms, or      no. 107 above.
                                                                                                                                    186
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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Exhibit   Year       Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response
 No.
                       College      of Education, 1815-         any deadly weapon within the college
                                    1915 (Meadville, PA:        premises; nor shall any one engage in any
                                    The Allegheny College       species of hunting during the college term
                                    History Company,            without permission from the Faculty.”
                                    1916), p. 401.
                                    Adopted 1834 (printed
                                    in the Annual Catalog
                                    starting in 1840).

 137      1837       Alabama – La   “Circular Letter of the     “No student shall bring or cause to be brought   See response to Exhibit
                        Grange      Faculty of La Grange        into College, or on any occasion, keep in his    no. 107 above.
                        College     College” (Tuscumbia),       room, any spirituous or fermented liquors, nor
                                    North Alabamian, May        any fire-arms, or ammunition of any kind; nor
                                    5, 1837;                    a sword, dirk, sword-cane, or any deadly
                                    https://www.newspapers      weapon whatever; upon penalty of such
                                    .com/image/308403735/       censure or punishment as the Faculty may
                                    ?terms=%22the%20facu        judge the offence to deserve.”
                                    lty%22&match=1.

 138      1837       Pennsylvania   David B. Skillman, The      “Section 14. No student shall wear about his     See response to Exhibit
                      – Lafayette   Biography of a College:     person any pistol, dirk, stiletto, or other      no. 107 above.
                        College     Being the History of the    dangerous weapon.”
                                    First Century of the Life
                                    of Lafayette College
                                    (Easton, PA: Lafayette
                                                                                                                                    187
                 Case
                  Case3:19-cv-01226-L-AHG
                       3:19-cv-01226-L-AHG Document 133139-1
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Exhibit   Year       Jurisdiction            Citation                    Description of Regulation                 Plaintiffs’ Response
 No.
                                     College, 1932), p. 130.

 139      1837       Tennessee –     Law of the University of   “No student shall bring, or cause to be
                     University of   Nashville for the moral    brought into College, or, on any occasion,
                      Nashville      conduct of the students,   keep in his room, any spirituous or fermented
                                     in American Annals of      liquors; nor any fire-arms or ammunition of
                                     Education and              any kind; nor a sword, dirk, sword-cane or
                                     Instruction for the Year   any deadly weapon whatever, upon penalty of
                                     1837, at 185 (1837).       such censure or punishment as the Faculty
                                                                may judge the offence to deserve.”

 140      1838          North        Acts of the General        “13. No Student shall keep a dog, or fire arms,   See response to Exhibit
                      Carolina –     Assembly and               or gunpowder. He shall not carry, keep, or        no. 107 above.
                     University of   Ordinances of the          own at the College, a sword, dirk, sword-
                        North        Trustees, for the          cane, or any deadly weapon; nor shall he use
                       Carolina      Organization and           fire arms without permission from the
                                     Government of the          President.”
                                     University of North-
                                     Carolina 15 Chapter V,
                                     13 (1838).

 141      1839        Vermont –      1839 Laws of               “1. If any student shall be guilty of . . .       See response to Exhibit
                      Middlebury     Middlebury College, ch.    duelling, or any other crime for which an         no. 107 above.
                       College       7, §§ 1, 11. Chapter VII   infamous punishment may be inflicted by the
                                     of Crimes and              laws of the State, he shall be expelled.”

                                                                                                                                     188
                  Case
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 No.
                                      Misdemeanors.               “11. No student is allowed to keep any kind of
                                                                  fire-arms or gunpowder in his room or in any
                                                                  part of the College buildings, nor to fire a gun
                                                                  or pistol within or near said buildings.”

 142       1840        Missouri –     The Laws of Kemper          “6. No Student shall keep arms of any sort, or       See response to Exhibit
                        Kemper        College, Near St. Louis,    keep or fire powder on the College premises.”        no. 107 above.
                        College       Missouri 9 (1840),
                                      Chapter VIII.
                                      Miscellaneous, 6.

 143       1843       Ohio – Miami    The Laws of Miami           “12. No student shall bring into any of the          See response to
                       University     University, for The         buildings or on the College premises any             Exhibit no. 107
                                      Government of the           cannon, musket, pistol, or other species of          above.
                                      Faculty and Students        fire-arms, or powder in any mode of
                                      (Rossville, OH: J.M.        preparation, without the consent of Faculty.”
                                      Christy, 1843), p. 15.
                                      https://digital.lib.miami
                                      oh.edu/digital/collection
                                      /univdocs/id/3116/rec/3

 144      1845-46        North        Cornelia Rebekah Shaw,      “4. No student shall . . . keep a dirk, pistol, or   See response to Exhibit
                       Carolina –     Davidson College (NY:       any deadly weapon . . . under severe                 no. 107 above.
                       Davidson       Fleming H. Revell           penalties.”
                        College       Press, 1923), app’x IX,

                                                                                                                                          189
                 Case
                  Case3:19-cv-01226-L-AHG
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 No.
                                     Old Rules, from the
                                     second catalog issued,
                                     that for 1845-46........ 4.

 145      1847         Ohio –        Francis W.                    “6—No student shall . . . keep in his room      See response to Exhibit
                      Denison        Shepherdson, Denison          fire-arms or other deadly weapons . . .”        no. 107 above.
                      University     University: 1831-1931
                                     (Granville, OH: Denison
                                     University, 1931), p. 55;
                                     https://babel.hathitrust.o
                                     rg/cgi/pt?id=mdp.39015
                                     058689640&seq=69&q
                                     1=fire

 146      1848         Iowa –        Merle Curti and Vernon        “. . . University of Iowa . . . prohibit[ed]    See response to Exhibit
                     University of   Carstensen, The               students from carrying pistols and knives.”     no. 107 above.
                        Iowa         University of
                                     Wisconsin: A History,
                                     1848-1925 (Madison,
                                     WI: University of
                                     Wisconsin Press, 1949),
                                     196.

 147      1849          New          Laws of Dartmouth             “IV. No student shall . . . keep fire-arms or   See response to
                     Hampshire –     College (Hanover, NH:         gun-powder in his room without permission,      Exhibit no. 107
                      Dartmouth      Dartmouth Press, 1849),       or fire gun-powder in or near the College       above.
                                                                                                                                      190
                 Case
                  Case3:19-cv-01226-L-AHG
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 No.
                        College       p. 11;                       premises . . .”
                                      https://babel.hathitrust.o
                                      rg/cgi/pt?id=umn.31951
                                      002082852o&seq=7&q
                                      1=fire.

 148      1850         Illinois –     Laws of Illinois             “Sec. 4. No gunpowder or other explosive         See response to Exhibit
                        Illinois      College, 1850, in            materials, nor any firearms, shall be kept or    no. 107 above.
                        College       Transactions of the          used on the College premises, or brought
                                      Illinois State Historical    upon them.”
                                      Society for the Year         “Sec. 5. No student shall carry deadly
                                      1906, at 252, 254,           weapons upon his person, on penalty of
                                      1850, Chapter XII.
                                                                   admonition, dismission or expulsion,
                                                                   according to the aggravation of the offence.”

 149      1850       Wisconsin – 1850 Laws of Beloit               “[N]o student shall be allowed . . . to use or   See response to Exhibit
                    Beloit College College, ch. 4, § 2.            keep upon the College premises, fire-arms, or    no. 107 above.
                                                                   gunpowder . . .”

 150      1852       Massachusetts Russell E. Miller, Light        “The first incident requiring faculty            See response to Exhibit no.
                       – Tufts     on the Hill: A History of       disciplinary action occurred shortly after the   107 above.
                      University   Tufts College 1852-             College opened, when a freshman allegedly
                                   1952 (Boston, MA:               attempted ‘to use a pistol upon a room-
                                   Beacon Press, 1966), p.         mate.’”
                                   397.

                                                                                                                                       191
                 Case
                  Case3:19-cv-01226-L-AHG
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                                    http://hdl.handle.net/104
                                    27/14802

 151      1852       Missouri –     M.M. Fisher, History of      “q. No student is allowed to have or carry      See response to Exhibit
                     Westminster    Westminster College,         weapons, sword canes, pistols, and other than   no. 107 above.
                      College       1851-1903 (Columbia,         pen knives; and the sending or accepting of a
                                    MO: E.W. Stephens,           challenge subjects to the highest penalty.”
                                    1903), p. 85;
                                    https://tile.loc.gov/stora
                                    ge-
                                    services/public/gdcmass
                                    bookdig/historyofwestm
                                    in00fish/historyofwestm
                                    in00fish.pdf

 152      1852       Pennsylvania   Charles H. Glatfelter, A     “Any student was courting trouble by . . .      See response to Exhibit
                     – Gettysburg   Salutary Influence:          keeping a pistol in his room (1852) . . .”      no. 107 above.
                       College      Gettysburg College,
                                    1832-1985, 2 vols.
                                    (Gettysburg, PA:
                                    Gettysburg College,
                                    1987), I, p. 153.
                                    https://gettysburg.conten
                                    tdm.oclc.org/digital/coll
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                                 B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

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 153      1853       New Jersey –     1853 Laws of New           “1. Be it enacted by the Senate and General      See response to Exhibit
                      College of      Jersey, Ch. CXXVIII,       Assembly of the State of New Jersey, That the    no. 107 above.
                     New Jersey       326.                       opening or keeping of any room or place . . .
                                                                 for pistol shooting, either for money or
                                                                 without money, within three miles of the main
                                                                 building of the College of New Jersey, shall
                                                                 be and hereby are declared to be offences
                                                                 against this state.”

 154      1853       Pennsylvania     Joseph Henry Dubbs,        “No student shall keep for his use or pleasure   See response to Exhibit
                     – Franklin and   History of Franklin and    any horse, dog, gun, or fire-arms and            no. 107 above.
                        Marshall      Marshall College           ammunition of any description, or any dirk,
                        College       (Lancaster, PA: Franklin   sword, or any other deadly weapon.”
                                      and Marshall College,
                                      1903), p. 229.

 155      1854       New Jersey –     1854 Laws of New           “1. Be it enacted by the Senate and General      See response to Exhibit
                       Rutgers        Jersey, Ch. XLIX, 109.     Assembly of the State of New Jersey, That the    no. 107 above.
                       College                                   opening or keeping of any room or place . . .
                                                                 for pistol-shooting, either for money or
                                                                 without money, within three miles of the main
                                                                 building of ‘Rutgers College,’ in New Jersey,
                                                                 shall be and hereby are declared to be

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                                  B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

Exhibit   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
 No.
                                                                offences against this state.”

 156      1855       Massachusetts 1855, The Laws and           “VII. In no case shall a student bring into the    See response to Exhibit
                      – Amherst    Regulations of Amherst       College premises, any cannon, musket, pistol,      no. 107 above.
                       College     College, ch. 9, § 7.         or other species of fire-arms, or any
                                   CHAPTER IX.                  gunpowder in any mode of preparation; and in
                                                                no case, in term time, shall any student be
                                                                concerned in the discharge of any fire-arms or
                                                                fire-works in the town of Amherst.”

 157      1859          Ohio –       Oberlin College, Laws      “22. No student when in Town, shall use fire-      See response to Exhibit
                        Oberlin      and Regulations of         arms, or burn gun-powder in any way,               no. 107 above.
                        College      Oberlin College, 11th      without permission from a member of the
                                     ed. (Oberlin, OH:          Faculty.”
                                     Shankland and Harmon,
                                     1859), 11.

 158      1859        Tennessee –    1859, Code of Laws for     “Sec. 3. Any student charged and proved            See response to Exhibit
                      La Grange      the Government of La       guilty of carrying about his person, or keeping    no. 107 above.
                       Synodical     Grange Synodical           in his possession, fire-arms, or any deadly
                        College      College, ch. 10, §§ 2-9.   weapon, shall be suspended.”
                                     Chapter X.                                                                    Tennessee state law at the
                                                                “Sec. 4. A student using, or threatening to use,   time restricting minors
                                                                a weapon in a quarrel, shall be expelled.”         permitted long gun sale,
                                                                “Sec. 5. A student sending, or accepting, or       purchase, acquisition, and
                                                                bearing a challenge in a duel, shall be            possession.
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                                   B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

Exhibit   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
 No.
                                                                expelled.”
                                                                “Sec. 7. No student shall be permitted to keep
                                                                a pistol or gun, or other deadly weapon, at his
                                                                room, under any circumstances.”
                                                                “Sec. 8. Students may not use a gun in hours
                                                                of recreation, for hunting, without permission
                                                                from the President.”
                                                                “Sec. 9. All guns owned by students (save
                                                                those who reside with their parents) must be
                                                                deposited with the President, and kept under
                                                                his control.”

 159      1860        Michigan –     Eighteenth Annual          Prohibiting “[g]unpowder, firearms, or deadly      See response to Exhibit
                        Albion       Catalogue of the           weapons of any kind on the premises.”              no. 107 above.
                        Female       Officers and Students of
                      College and    the Albion Female
                       Wesleyan      College, and Wesleyan
                       Seminary      Seminary (Michigan) 32
                                     (1860-1861), 1860.

 160      1861        Kentucky –     Joseph Henry Dubbs,        “4. No student shall be guilty of insulting or     See response to Exhibit
                        Centre       History of Franklin and    striking a fellow student, nor of keeping in his   no. 107 above.
                       College       Marshall College           possession any pistol, sword-cane, or other        State law at the time
                                     (Lancaster, PA: Franklin   deadly weapon. And if he shall draw, or            restricting minors
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                                                                              permitted long gun sale,
                                                                              purchase, acquisition,
                                                                              and possession.




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                                  B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

Exhibit   Year        Jurisdiction            Citation                       Description of Regulation                Plaintiffs’ Response
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                                      and Marshall College,        attempt to use, such deadly weapon upon a
                                      1903), p. 229.               fellow student, or wear it for this purpose, he
                                      https://sc.centre.edu/sc/d   shall be forthwith dismissed, and not restored
                                      igital/pdf/laws1861.pdf      without a vote of the Board of Trustees.”

 161      1865          Iowa –        John Scholte Nollen,         “Of course dancing, cards, billiards,             See response to Exhibit
                        Grinnell      Grinnell College (Cedar      intoxicants, gambling, and tobacco were           no. 107 above.
                        College       Rapids, IA: The State        equally taboo at Grinnell, and these
                      (Founded as     Historical Society of        indulgences were linked with ‘profanity,
                     Iowa College)    Iowa, 1953) [ca. 1865],      obscenity and lewdness’ in the college rules,
                                      p. 72.                       and with ‘keeping of gunpowder, fire-arms
                                                                   and other dangerous weapons.’”

 162      1865        Kentucky –      James F. Hopkins, The        “156. Students are forbidden to have in their     See response to Exhibit
                      University of   University of Kentucky:      possession any description of firearms or         no. 107 above.
                       Kentucky       Origins and Early Years      other deadly weapons not issued to them by
                                      (Lexington, KY:              proper authority.”
                                      University of Kentucky                                                         State law at the time
                                      Press, 1951), p. 176.                                                          restricting minors
                                                                                                                     permitted long gun sale,
                                                                                                                     purchase, acquisition,
                                                                                                                     and possession.




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163   1870        Alabama –   Mitchell B. Garrett,     Student dismissed from the college for           See response to Exhibit
                   Howard     “Sixty Years of Howard   “carrying firearms, drawing a pistol on one of   no. 107 above.
                   College    College,” 1842-1902,     the students, and using profane language.”
                              Howard College           Dated Nov. 1, 1870.
                              Bulletin, LXXXV                                                           State law at the time
                              (October 1927): 81.                                                       restricting       minors
                                                                                                        permitted long gun sale,
                                                                                                        purchase,    acquisition,
                                                                                                        and possession. It also
                                                                                                        only restricted minors
                                                                                                        under 18 years of age.




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                                    B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

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                                      https://archive.org/detail
                                      s/sixtyyearsofhowa00ga
                                      rr/page/n7/mode/2up

 164      1874         Indiana –      Robert W. Topping, A         “The carrying of firearms, especially to class,   See response to Exhibit
                        Purdue        Century and Beyond:          was banned. But, though it was discouraged,       no. 107 above.
                       University     The History of Purdue        students then could spit on the floor without
                                      University (West             fear or faculty retribution.”
                                      Lafayette, IN: Purdue
                                      University Press, 1988),
                                      p. 86.

 165      1874        Tennessee –     Edwin Mims, History of       4. “No student, during his connection with the    See response to Exhibit
                       Vanderbilt     Vanderbilt University        University shall carry about his person,          no. 107 above.
                       University     (Nashville, TN:              anywhere, any pistol, dirk, bowie knife or
                                      Vanderbilt University        other deadly weapons.”
                                      Press, 1946), p. 126.                                                          State law at the time
                                                                                                                     restricting minors
                                                                                                                     permitted long gun sale,
                                                                                                                     purchase, acquisition,
                                                                                                                     and possession.




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166   1877        New Jersey   Mercer Beasley              Prohibiting the “opening or keeping of any        See response to Exhibit
                               Revision of the Statutes    room or place . . . for pistol shooting, either   no. 107 above.
                               of New Jersey:              for money or without money, within three
                               Published under the         miles of the main building of the College of
                               Authority of the            New Jersey, or of ‘Rutgers College,’ or of
                               Legislature; by Virtue of   Drew Seminary or University, in New Jersey,
                               an Act Approved April       shall be and hereby are declared to be
                               4 1871, page 236-237,




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                 Case
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                                  B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

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 No.
                                      image 282-283              offenses against this state.”
                                      (Trenton, 1877)
                                      available at The Making
                                      of Modern Law:
                                      Primary Sources. 1871.

 167      1878       Massachusetts 1878 Laws of Williams         “No student shall have or keep any               See response to Exhibit
                      – Williams   College, ch. III Of           gunpowder or fire-arms in his room, or in any    no. 107 above.
                        College    Deportment and                building or other place on College grounds;
                                   Discipline, 13.               nor shall he at any time use gunpowder or
                                                                 fire-arms within half a mile of the College
                                                                 grounds.”

 168      1885         Vermont –      1885 Laws of the           “Sect. 4234. A person who between sunset         See response to Exhibit
                      University of   University of Vermont,     and sunrise disturbs and breaks the public       no. 107 above.
                        Vermont       ch. 4, § 4234; ch. 6, §§   peace by firing guns, blowing horns, or by
                                      4, 9. Chapter IV.          other unnecessary and offensive noise, shall
                                                                 be fined not more than fifty dollars.”
                                                                 Sect. 4 “[T]he keeping of fire-arms or
                                                                 gunpowder except under direction of the
                                                                 Military Instructor” is prohibited.
                                                                 “Sect. 9. No student shall use gun powder or
                                                                 fire-arms in the buildings, or on the adjacent
                                                                 grounds of the University, except under

                                                                                                                                   201
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                                    B. COLLEGE AND UNIVERSITY FIREARMS REGULATIONS

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                                                                direction of the Military Instructor.”

 169      1890-91      Kentucky –     Kentucky University,      “7. That he shall neither keep nor use fire-   See response to Exhibit
                        Kentucky      Catalogue of Kentucky     arms, a dirk, a bowie-knife, or any other      no. 107 above.
                       University     University, Lexington,    deadly weapon.”
                                      Kentucky, 1890-1891,
                                      23.                                                                      State law at the time
                                                                                                               restricting minors
                                                                                                               permitted long gun sale,
                                                                                                               purchase, acquisition,
                                                                                                               and possession.
 170       1918          Texas –      Laws of McKenzie          Forbidding “[k]eeping gunpowder, firearms,     See response to Exhibit
                        McKenzie      College,” in Education    or deadly weapons of any kind, about the       no. 107 above.
                         College      in Texas: Source          person, or in the room.”                       State law at the time
                                      Materials, comp.                                                         restricting minors
                                      Fredrick Eby,                                                            permitted long gun sale,
                                      University of Texas                                                      purchase, acquisition,
                                      Bulletin, Education                                                      and possession.
                                      Series No. 2 (April 25,
                                      1918): 392-93.


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                                                         C. MILITIA LAWS

Exhibit   Year        Jurisdiction           Citation                     Description of Regulation                  Plaintiffs’ Response
 No.

 171      1776          New          An Act For forming and     “And be it further Enacted by the Authority        Does not place any limit
                      Hampshire      regulating the Militia     aforesaid, That each and every Officer and         on the ability of an 18-to-
                                     within the State of New    private Soldier of said Militia, not under the     20-year-old from
                                     Hampshire, in New-         control of Parents, Masters, or Guardians, and     purchasing or acquiring
                                     England, and for           being of sufficient Ability therefore, in the      firearms.
                                     repealing all the Laws     Judgment of the Select-men of the Town
                                     heretofore made for that   wherein he has his usual place of Abode, shall
                                     Purpose, Acts & Laws       equip himself and be constantly provided with
                                     of the Colony of N.H.,     a good Fire Arm .......”
                                     39 (1776).

 172      1778        New Jersey     1778 N.J. Ch. 24.          “3. And be it Enacted by the Authority             Does not place any limit on
                                                                                                                   the ability of an 18-to-20-
                                                                aforesaid, That the Colonel or Commanding
                                                                                                                   year-old from purchasing or
                                                                Officer of each Regiment of Militia in this        acquiring firearms.
                                                                State shall, immediately after the Passing and
                                                                Publication of this Act, issue Orders to the
                                                                Captain or Commanding Officer of each
                                                                Company in his Regiment, directing him to
                                                                call a Meeting of the commissioned Officers
                                                                of such Company, and with their Assistance
                                                                to make out full, particular, and exact Lists or
                                                                Returns of all Male Free Inhabitants of
                                                                twenty-one Years old and upwards . . .”


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                                                          C. MILITIA LAWS

Exhibit   Year        Jurisdiction           Citation                       Description of Regulation                  Plaintiffs’ Response
 No.

 173      1780       Pennsylvania    1780 Penn. Ch. 902.          “That the said lieutenant or sub-lieutenants . .   Specifically includes 18-to-
                                                                  . shall issue her or their warrants to the         20-year-olds in the Militia.
                                                                  captain or commanding officer . . .
                                                                  commanding him, in the name of the
                                                                  commonwealth, to deliver to him or them, . . .     Does not place any limit on
                                                                  a true and exact list of the names and             the ability of an 18-to-20-
                                                                  surnames of each and every male white              year-old from purchasing or
                                                                  person inhabiting or residing within his           acquiring firearms.
                                                                  township, borough, ward or district, between
                                                                  the ages of eighteen and fifty-three ....... ”

 174      1785         Delaware      An Act for establishing      “[E]very apprentice, or other person of the        Specifically includes 18-
                                     a Militia, § 7, 2 Military   age of eighteen and under twenty-one years,        to-20-year-olds in the
                                     Obligation: The              who hath an estate of the value of eighty          Militia
                                     American Tradition 13        pounds, or whose parent shall pay six pounds
                                     (1947).                      annually towards the public taxes, shall by his
                                                                  parent or guardian respectively be provided        Provision provides arms
                                                                  with a musket or firelock ....... ”                to this age group.


                                                                                                                     Does not place any limit
                                                                                                                     on the ability of an 18-to-
                                                                                                                     20-year-old from
                                                                                                                     purchasing or acquiring
                                                                                                                     firearms.

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175   1792          Georgia   1792 Ga. Ch. 468,       “IX. And be it enacted, That the commanding       Specifically includes 18-
                              reprinted in Robert     officer of each company of militia shall enroll   to-20-year-olds in the
                              Watkins, et al, eds.,   the names of all male inhabitants (slaves         Militia
                              Digest of the Laws of   excepted) above the age of eighteen and under
                              the State of Georgia    the age of forty-five years . . .”
                                                                                                        Does not place any limit
                                                                                                        on the ability of an 18-to-
                                                                                                        20-year-old from
                                                                                                        purchasing or acquiring
                                                                                                        firearms.




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                                                         C. MILITIA LAWS

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 No.
                                     (Philadelphia: R.
                                     Aitken, 1800), 458-467.

 176      1792          New          An Act for Forming and    “And be it further enacted, That such of the      Specifically includes 18-
                      Hampshire      Regulating the Militia    infantry as are under the care of parents,        to-20-year-olds in the
                                     Within This State, and    masters or guardians, shall be furnished by       Militia
                                     For Repealing All the     them with such arms and accoutrements.”
                                     Laws Heretofore Made
                                     for That Purpose N.H.,                                                      Requires that this age
                                     447 (1792).                                                                 group be armed.


                                                                                                                 Does not place any limit
                                                                                                                 on the ability of an 18-to-
                                                                                                                 20-year-old from
                                                                                                                 purchasing or acquiring
                                                                                                                 firearms.
 177      1792       United States   Uniform Militia Act of    “That each and every free able-bodied white       Specifically includes 18-
                                     1792, 1 U.S. Stat. 271.   male citizen of the respective states, resident   to-20-year-olds in the
                                                               therein, who is or shall be of the age of         Militia
                                                               eighteen years, and under the age of forty five   Does not place any limit
                                                               years . . . shall severally and respectively be   on the ability of an 18-to-
                                                               enrolled in the militia . . .”                    20-year-old from
                                                                                                                 purchasing or acquiring
                                                                                                                 firearms.
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178   1793       Massachusetts An Act for regulating    “[A]ll parents, masters and guardians shall      Necessarily includes 18-
                               and governing the        furnish those of the said Militia who shall be   to-20-year-olds in the
                               Militia of the           under their care and command, with the arms      Militia.
                               Commonwealth of          and equipment’s aforementioned ....... ”
                               Massachusetts,
                               Massachusetts Acts and                                                    Requires that this age
                               Laws, May Session, ch.                                                    group be armed.


                                                                                                         Does not place any limit
                                                                                                         on the ability of an 18-to-
                                                                                                         20-year-old from
                                                                                                         purchasing or acquiring
                                                                                                         firearms.




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                                                          C. MILITIA LAWS

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 No.
                                     1, § XIX (1793).

 179      1793       Pennsylvania    Act of April 11, 1793,       “I. Be it enacted. . . That each and every free,   Specifically includes
                                     ch. 176, §§ 1–2, 1793        able-bodied, white, male citizen of this or any    18-to-20-year-olds in
                                     Pa. Laws 394, 394–95         other of the United States, residing in this       the Militia.
                                     (regulating the militia of   commonwealth, who is or shall be of the age
                                     Pennsylvania).               of eighteen years and under the age of forty-
                                                                  five years, except as hereinafter excepted,        Exempts this age
                                     1793 Penn. Ch. 1619,                                                            group from furnishing
                                     “An Act for the              shall severally and respectively be enrolled in
                                                                  the militia. . . .                                 arms and from militia
                                     regulation of the Militia                                                       duties unless in cases
                                     of the Commonwealth          II. And be it further enacted. . . [that certain
                                                                  categories of persons] shall be, and are           of     rebellion    or
                                     of Pennsylvania,” 455,                                                          invasion.
                                     § 2.                         hereby, excepted from military duty,
                                                                  notwithstanding their being above the age of
                                                                  eighteen and under the age of forty-five years.
                                                                                                                     Does not place any
                                                                  And also all young men under the age of
                                                                                                                     limit on the ability of
                                                                  twenty-one years, and all servants purchased
                                                                                                                     an 18-to-20-year-old
                                                                  bona fide and for a valuable consideration,
                                                                                                                     from purchasing or
                                                                  shall be exempted from furnishing the
                                                                                                                     acquiring firearms.
                                                                  necessary arms, ammunition and
                                                                  accoutrements, as are required by the fifth
                                                                  section thereof, and shall be excepted from
                                                                  militia duties and fines during such minority
                                                                  or servitude, except in cases of rebellion, or
                                                                  an actual or threatened invasion of this or any

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                                                         C. MILITIA LAWS

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                                                                of the neighboring states.”

 180      1796        Connecticut    Acts and Laws of the       Section I. “Be it enacted . . . That each and       Specifically includes
                                     State of Connecticut, in   every free able bodied white Male Citizen, of       18-to-20-year-olds in
                                     America 298–314            the respective states, resident therein, who is     the Militia.
                                     (1796).                    or shall be of the Age of eighteen years, and       Does not place any limit on
                                                                under the Age of forty-five Years . . . shall . .   the ability of an 18-to-20-
                                                                be enrolled in the Militia.”                        year-old from purchasing or
                                                                                                                    acquiring firearms.
 181      1797         Delaware      Laws of the State of       Section I. “That each and every free able           Specifically includes
                                     Delaware from the          bodied white male citizen of this state, who is     18-to-20-year-olds in
                                     Fourteenth Day of          or shall be of the age of eighteen years, and       the Militia.
                                     October, One Thousand      under the age of forty-five years, except as        Does not place any limit on
                                     Seven Hundred, to the      herein after excepted, shall . . . be enrolled in   the ability of an 18-to-20-
                                     Eighteenth Day of          the militia....... ”                                year-old from purchasing or
                                     August, One Thousand                                                           acquiring firearms.
                                     Seven Hundred and
                                     Ninety-Seven 1134
                                     (1797).




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182   1797          New       The Laws of the State of    “And be it further enacted, That each and           Specifically includes
                  Hampshire   New Hampshire, the          every free able-bodied white male citizen of        18-to-20-year-olds in
                              Constitution of the State   this State, resident therein, who is, or shall be   the Militia.
                              of New Hampshire, and       of the age of eighteen years, and under the of      Does not place any limit on
                              the Constitution of the     forty years, except as herein after excepted,       the ability of an 18-to-20-
                              United States 415-430       shall severally and respectively be enrolled in     year-old from purchasing
                                                                                                              or acquiring firearms.




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                                                           C. MILITIA LAWS

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 No.
                                     (1797).                      the militia ....... ”

 183      1797         Vermont       An Act, for regulating       “And all parents, masters or guardians, shall     Includes     18-to-20-
                                     and governing the            furnish those of the said militia who shall be    year-olds    in    the
                                     militia of this State, ch.   under their care and command, with the arms       Militia.
                                     LXXXI, No. 1, § 15, 2        and equipment’s above mentioned ....... ”         Requires this age
                                     Laws Of The State Of                                                           group to be furnished
                                     Vermont Digested And                                                           with arms.
                                     Compiled 122, 131- 32
                                     (1808).                                                                        Does not place any limit
                                                                                                                    on the ability of an 18-to-
                                                                                                                    20-year-old from
                                                                                                                    purchasing or acquiring
                                                                                                                    firearms.
 184      1798       Rhode Island    Public Laws of the State     “And in case such delinquent or offender shall    Does not address militia in
                                     of Rhode-Island and          be within age, and live with his father, mother   any way.
                                     Providence Plantations       or guardian, or shall be an apprentice or         Does not address any kind
                                     Passed since the Session     indented servant, the said Town-Sergeant or       of age restriction on the
                                     of the General               Constable shall be required by said warrant to    purchase or acquisition of
                                     Assembly in January,         levy the same upon the goods and chattel of       firearms.
                                     A.D. 1798 (1798-1813).       said father, mother, guardian, master, or
                                     1798 R.I. 438.               mistress as the case may be.”




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185   1799       Massachusetts The Perpetual Laws, of    “And all parents, masters and guardians shall     Includes     18-to-20-
                               the Commonwealth of       furnish those of the said Militia, who shall be   year-olds    in    the
                               Massachusetts, from the   under their care and command, with the arms       Militia.
                               Establishment of its      and equipment aforementioned under the like       Requires this age
                               Constitution to the       penalties for any neglect.”                       group to be furnished
                                                                                                           with arms.
                                                                                                           Does not place any limit
                                                                                                           on the ability of an 18-to-
                                                                                                           20-year-old from
                                                                                                           purchasing or acquiring
                                                                                                           firearms.




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                                                         C. MILITIA LAWS

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 No.
                                     Second Session of the
                                     General Court, A.D.
                                     1798 172-194, 181
                                     (1799).

 186      1799        New Jersey     Laws of the State of        1. “That each and every free able bodied            Specifically includes
                                     New Jersey, Revised         white male citizen of the respective States,        18-to-20-year-olds in
                                     and Published Under the     resident therein, who is or shall be of the age     the Militia.
                                     Authority of the            of eighteen years, and under the age of forty-      Does not place any limit on
                                     Legislature of William      five years, (except as is herein after excepted)    the ability of an 18-to-20-
                                     Paterson 436-48 (1799).     shall severally and respectively be enrolled in     year-old from purchasing or
                                                                 the militia.”                                       acquiring firearms.
 187      1799         Northwest     Salmon P. Chase,            Be it enacted “[t]hat each and every free, able     Specifically includes
                                     Statutes of Ohio and of
                       Territory                                 bodied, white male citizen, of the territory,       18-to-20-year-olds in
                                     the Northwestern
                                     Territory (Cincinnati:      who is or shall be of the age of eighteen years,    the Militia.
                                     Corey & Fairbank,           and under the age of forty-five years, except       Does not place any limit on
                                     1833), “An act              as is hereinafter excepted, shall severally and     the ability of an 18-to-20-
                                     establishing and            respectively be enrolled in the militia ....... ”   year-old from purchasing or
                                     regulating the militia,”
                                                                                                                     acquiring firearms.
                                     245-256.
 188      1803          Georgia      1803 Ga. 3 “Militia Law     “Sec. 10. And it be further enacted, That the       Specifically includes
                                     of the State of Georgia.”   commanding officers of companies, shall             18-to-20-year-olds in
                                                                 enroll every able-bodied white male citizen,        the Militia.
                                                                 between the age of eighteen and forty-five          Does not place any limit on
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                                                                              the ability of an 18-to-20-
                                                                              year-old from purchasing or
                                                                              acquiring firearms.




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                                                         C. MILITIA LAWS

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                                                                years . . .”

 189      1803           Ohio        Salmon P. Chase,           Be it enacted “[t]hat each and every free,          Specifically includes
                                     Statutes of Ohio and of    able-bodied white male citizen of the state,        18-to-20-year-olds in
                                     the Northwestern           who is or shall be of the age of eighteen, and      the Militia.
                                     Territory (Cincinnati:     under the age of forty-five years, except as        Does not place any limit on
                                     Corey & Fairbank,          hereinafter excepted, shall severally and           the ability of an 18-to-20-
                                     1833), “An act             respectively be enrolled in the militia ....... ”   year-old from purchasing or
                                     establishing and                                                               acquiring firearms.
                                     regulating the militia,”
                                     378-91.

 190      1804          North        James; Martin Iredell,     “And all parents, masters, or guardians, shall      Necessarily includes
                       Carolina      Francois-Xavier. Public    furnish those of the militia, who shall be          18-to-20-year-olds in
                                     Acts of the General        under their care or command, with their arms        the Militia.
                                     Assembly of North-         and equipments above-mentioned, under the           Requires this age
                                     Carolina (1804).           like penalties for any neglect.”                    group to be furnished
                                                                                                                    with arms.
                                                                                                                    Does not place any limit
                                                                                                                    on the ability of an 18-to-
                                                                                                                    20-year-old from
                                                                                                                    purchasing or acquiring
                                                                                                                    firearms.


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191   1806         Delaware   Act of Aug. 13, 1807,     “. . . and all young men under the age of        Necessarily includes
                              ch. XLIX, §§ 1–2, 4, in   twenty-one years, enrolled agreeably to the      18-to-20-year-olds in
                              4 LAWS OF THE STATE,      second section of this act, shall be exempted    the Militia.
                              OF DELAWARE 123,          from furnishing the necessary arms and           Does not place any limit on
                              123–24, 125–26 (M.        accoutrements, and from all militia duties and   the ability of an 18-to-20-
                              Bradford & R. Porter      fines during such minority.”                     year-old from purchasing or
                              eds., 1816).                                                               acquiring firearms.




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                                                       C. MILITIA LAWS

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 192      1806          North        2 William T. Dortch,    “And all parents and masters shall furnish        Necessarily includes
                       Carolina      John Manning, John S.   those of the militia, who shall be under their    18-to-20-year-olds in
                                     Henderson, The Code     care or command, with the arms and                the Militia.
                                     Of North Carolina       equipments above mentioned, under the like        Requires this age
                                     § 3168, at 346–47       penalty for each neglect.”                        group to be furnished
                                     (1883).                                                                   with arms.
                                                                                                               Does not place any limit
                                                                                                               on the ability of an 18-to-
                                                                                                               20-year-old from
                                                                                                               purchasing or acquiring
                                                                                                               firearms.
 193      1810       Massachusetts An Act for regulating,    “[A]ll parents, masters or guardians, shall       Necessarily includes
                                   governing, and training   furnish all minors enrolled in the militia, who   18-to-20-year-olds in
                                   the Militia of this       shall be under their care respectively with the   the Militia.
                                   Commonwealth, ch.         arms and equipments, required by this act . . .   Requires this age
                                   CVII, § 28, in 1810       .”                                                group to be furnished
                                   Mass. Laws 151, 176.                                                        with arms.
                                                                                                               Does not place any limit
                                                                                                               on the ability of an 18-to-
                                                                                                               20-year-old from
                                                                                                               purchasing or acquiring
                                                                                                               firearms.

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194   1820          New       An Act for the forming,      “[A]ll parents, masters, and guardians, shall      Necessarily includes
                  Hampshire   arranging and regulating     furnish all minors enrolled in the militia, who    18-to-20-year-olds in
                              the militia, § 46, 2 New     shall be under their care respectively, with the   the Militia.
                              Hampshire Laws               arms and equipments required by this act . . .”    Requires this age
                              Enacted Since June 1,                                                           group to be furnished
                              1815, 80 (1824).                                                                with arms.
                                                                                                              Does not place any limit
                                                                                                              on the ability of an 18-to-
                                                                                                              20-year-old from
                                                                                                              purchasing or acquiring
                                                                                                              firearms.
195   1821          Maine     An Act to organize,          “Sect. 34. Be it further enacted, That all         Necessarily includes
                              govern, and discipline       parents, masters or guardians, shall furnish all   18-to-20-year-olds in
                              the Militia of this State,   minors enrolled in the militia, who shall be       the Militia.
                              ch. CLXIV, § 34, 1821        under their care respectively, with the arms,      Requires this age
                                                                                                              group to be furnished
                                                                                                              with arms.
                                                                                                              Does not place any limit
                                                                                                              on the ability of an 18-to-
                                                                                                              20-year-old from
                                                                                                              purchasing or acquiring
                                                                                                              firearms.




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                                                         C. MILITIA LAWS

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                                     Me. Laws 548, 570.         and equipments, required by this Act . . .”

 196      1821        New Jersey     An Act to exempt           “[F]rom and after the passing of this act, all   Necessarily includes
                                     minors from Militia        persons under the age of twenty-one years be,    18-to-20-year-olds in
                                     Duty in time of peace,     and they are hereby, exempt from militia duty    the Militia.
                                     in Josiah Harrison, Ed.,   in time of peace.”                               Does not place any limit on
                                     A Compilation Of The                                                        the ability of an 18-to-20-
                                     Public Laws Of The                                                          year-old from purchasing
                                     State Of New-Jersey                                                         or acquiring firearms.
                                     Passed Since The
                                     Revision In The Year
                                     1820 266 (1833).

 197      1822       Pennsylvania    1822 Penn. Ch. 274.        “VIII. Every free able bodied white male         Specifically includes
                                                                person who has resided within this               18-to-20-year-olds in
                                                                commonwealth for one month, and is between       the Militia.
                                                                the ages of eighteen and forty-five, except      Requires this age
                                                                those hereinafter enumerated, shall be           group to be furnished
                                                                enrolled in the militia of this commonwealth .   with arms.
                                                                . .”
                                                                                                                 Does not place any limit on
                                                                                                                 the ability of an 18-to-20-
                                                                                                                 year-old from purchasing or
                                                                                                                 acquiring firearms.


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198   1825         Missouri   An Act to organize,         “[A]ll parents, masters and guardians, shall       Necessarily ncludes
                              govern and discipline       furnish all minors, enrolled in the militia, who   18-to-20-year-olds in
                              the Militia, ch. I, § 24,   shall be under their care, respectively, with      the Militia.
                              in 1825 Mo. Laws 533,       the arms and equipments required by this act.”     Requires this age
                                                                                                             group to be furnished
                                                                                                             with arms.
                                                                                                             Does not place any limit
                                                                                                             on the ability of an 18-to-
                                                                                                             20-year-old from
                                                                                                             purchasing or acquiring
                                                                                                             firearms.




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                                                         C. MILITIA LAWS

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                                     554.

 199      1829        New Jersey     Act of Nov. 6, 1829,        “That from and after the passing of this act,    Necessarily includes
                                     1829 N.J. Laws 3.           all persons under the age of twenty-one years    18-to-20-year-olds in
                                                                 be, and they are hereby, exempt from militia     the Militia.
                                                                 duty in time of peace.”                          Does not place any limit on
                                                                                                                  the ability of an 18-to-20-
                                                                                                                  year-old from purchasing
                                                                                                                  or acquiring firearms.
 200      1831           Ohio        Salmon P. Chase,            “§ 1 Be it enacted, That each and every able-    Specifically includes
                                     Statutes of Ohio and of     bodied white male citizen of the United          18-to-20-year-olds in
                                     the Northwestern            States, who now resides, or hereafter shall      the Militia.
                                     Territory (Cincinnati:      reside in this state, who now is, or hereafter   Does not place any limit on
                                     Corey & Fairbank,           shall be, of the age of eighteen years, and      the ability of an 18-to-20-
                                     1833), “An act              under forty-five years of age . . . shall        year-old from purchasing or
                                     establishing and            severally and respectively be enrolled in the    acquiring firearms.
                                     regulating the militia,”    militia of this state ....... ”
                                     1983-2005.

 201      1842           Ohio        1842 Ohio 99 “An Act        “Sec. 6. That all persons, under the age of      Necessarily includes
                                     to amend the act entitled   twenty one years, be and they are hereby         18-to-20-year-olds in
                                     ‘An act to organize and     exempt from the performance of militia duty      the Militia.
                                     discipline the Militia’,”   in time of peace . . .”                          Does not place any limit on
                                     § 6.                                                                         the ability of an 18-to-20-

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                                                                                                          year-old from purchasing
                                                                                                          or acquiring firearms.




202   1844           Ohio     Act of Mar. 12, 1844,   “Sec. 2. That every able bodied white male          Does not place any limit on
                              § 2, 1843 Ohio Laws 53, inhabitant, resident within this state, who is or   the ability of an 18-to-20-
                                                      shall be of the age of twenty one years, and        year-old from purchasing or
                                                                                                          acquiring firearms.




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                                                          C. MILITIA LAWS

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                                     53.                         under the age of forty five years . . . shall be
                                     1843 Ohio 53, “An Act       enrolled in the militia.”
                                     to regulate the Militia,”
                                     § 1.

 203      1859          Kansas       Kan. Const. of 1859,        “Section 1. The militia shall be composed of        Does not place any limit on
                                     art. 8, § 1.                all able-bodied white male citizens between         the ability of an 18-to-20-
                                                                 the ages of twenty-one and forty-five years . .     year-old from purchasing or
                                                                 .”                                                  acquiring firearms.

 204      1864       Pennsylvania    Act of May 4, 1864, no.     “1. Every able-bodied white male citizen            Does not place any limit on
                                     211, § 1, 1864 Pa. Laws     resident within this state, of the age of twenty-   the ability of an 18-to-20-
                                     221, 221–22.                one years, and under the age of forty-five          year-old from purchasing or
                                                                 years . . . shall be enrolled in the militia.”      acquiring firearms.

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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                Plaintiffs’ Response

205    1383          England      7 Rich. 2, ch. 13 (1383).   Prohibited possession of launcegays. Punished     Not “relevantly similar” to
                                                              by forfeiture of the weapon.                      the challenged laws, Bruen,
                                                                                                                597 U.S. at 29-30, because
                                                                                                                there is no restriction on
                                                                                                                firearm sales, purchase,
                                                                                                                acquisition, possession or
                                                                                                                carrying of any firearms
                                                                                                                based on age.


                                                                                                                This court has already
                                                                                                                found the firearms in
                                                                                                                question are not both
                                                                                                                dangerous and unusual. As
                                                                                                                such, any reference to such
                                                                                                                laws is entirely irrelevant.
206    1396          England      20 Rich. 2, ch. 1 (1396).   Prohibited possession of launcegays. Punished     See Plaintiffs’ response to
                                                              by forfeiture of the weapon.                      Ex. No. 205 above.

207    1541          England      33 Hen. 8, ch. 6 §§ 1, 18   Prohibited possession of any crossbow,            See Plaintiffs response to
                                  (1541).                     handgun, hagbutt, or demy hake. Exempted          Ex. No. 205 above.
                                                              subjects living within 12 miles of the Scottish
                                                              border. Punishable by forfeiture or payment of
                                                              10 pounds.

208    1606          England      4 Jac. I, ch. 1 (1606).     Repealed exemption for subjects living with 12    See Plaintiffs’ response to
                                                              miles of the Scottish border for the keeping of   Ex. No. 205 above.
                                                              crossbows, handguns, and demy hakes.
                                                                                                                                  225
                    Case
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209          1664         New York       The Colonial Laws of       Prohibited a slave from possessing or using a      See Plaintiffs’ response to
                                         New York from the          gun, pistol, sword, club, or other kind of         Ex. No. 205 above.
                                         Year 1664 to the           weapon unless in the presence and at the
                                         Revolution . . ., at 687   direction of their Master or Mistress.
                                         (1894).

210          1686        New Jersey      The Grants,                Prohibited the carrying “privately” of any         See Plaintiffs’ response
                                         Concessions, and           pocket pistol, skeines, stilettoes, daggers or     to Ex. No. 205 above.
                                         Original Constitutions     dirks, or other unusual or unlawful weapons.
                                         of The Province of New     Punishable by fine of 5 pounds for first

         1
           As explained in the declaration, supra paragraph 3, at this time Defendants do not provide exhibited copies of the historical laws
  referenced in categories (D) Dangerous Weapons Laws, and (E) Gunpowder Laws, but will do so if the Court so requests.




                                                                                                                                         226
              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                   Description of Regulation            Plaintiffs’ Response
                                  Jersey 289-90 (1881)     conviction, and punishable by imprisonment
                                  (1686).                  for 6 months and a fine of 10 pounds.


211    1750       Massachusetts 1750 Mass. Acts 544,       Prohibited the carrying of a club or other    See Plaintiffs’ response to
                                An Act for Preventing      weapon while unlawfully, riotously, or        Ex. No. 205 above.
                                and Suppressing of         tumultuously assembling. Punishable by
                                Riots, Routs and           seizing the weapon and a hearing before the
                                Unlawful Assemblies,       court.
                                ch. 17, § 1.

212    1786       Massachusetts An Act to Prevent          Prohibited being armed with a club or other   See Plaintiffs’ response to
                                Routs, Riots, and          weapon while rioting.                         Ex. No. 205 above.
                                Tumultuous assemblies,
                                and the Evil
                                Consequences Thereof,
                                reprinted in Cumberland
                                Gazette (Portland, MA),
                                Nov. 17, 1786, at 1.

213    1788           Ohio        1788-1801 Ohio Laws      Prohibited the carrying of any “dangerous     See Plaintiffs’ response to
                                  20, A Law Respecting     weapon” that indicates a violent intention    Ex. No. 205 above.
                   [Territory]
                                  Crimes and Punishments   while committing a burglary. Punishable by
                                  . . ., ch. 6.            imprisonment for up to 40 years.

214    1792          Virginia     Collection of All Such   Prohibited any “negro or mulatto” from        See Plaintiffs’ response
                                  Acts of the General      possessing or carrying a gun, powder, shot,   to Ex. No. 205 above.
                                  Assembly of Virginia,    club, or other weapon.
                                  of a Public and
                                                                                                                           227
              Case
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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                       Description of Regulation                Plaintiffs’ Response
                                  Permanent Nature, as
                                  Are Now in Force ....... ,
                                  at 187 (1803), §§ 8-9.

215    1797         Delaware      Del. Laws 104, An Act        Prohibited “any Negro or Mulatto slave” from      See Plaintiffs’ response to
                                  for the Trial of Negroes,    carrying guns, swords, pistols, fowling pieces,   Ex. No. 205 above.
                                  ch. 43, § 6.                 clubs, or other arms and weapons without the
                                                               master’s special license.



216    1798         Kentucky      1798 Ky. Acts 106.           Prohibited “negro, mulatto, or Indian” from       See Plaintiffs’ response to
                                                               possessing or carrying a gun, powder, shot,       Ex. No. 205 above.
                                                               club, or other weapon or ammunition.



217    1799        Mississippi    1799 Miss. Laws 113, A       Prohibited any “Negro or mulatto” from            See Plaintiffs’ response
                                  Law for The Regulation       carrying gun, powder, shot, club, or other        to Ex. No. 205 above.
                   [Territory]
                                  of Slaves.                   weapon. Also prohibits a “negro or mulatto”
                                                               from possessing a gun, weapon, or
                                                               ammunition.


218    1799        New Jersey     Charles Nettleton, Laws      Prohibited the carrying of any pistol, hanger,    See Plaintiffs’ response
                                  of the State of New-         cutlass, bludgeon, or other offensive weapon,
                                                                                                                 to Ex. No. 205 above.
                                  Jersey, at 474 (1821),       with intent to assault any person.
                                  [An Act to Describe,
                                  Apprehend and Punish
                                                                                                                                   228
              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                  Plaintiffs’ Response
                                  Disorderly Persons
                                  (1799)], § 2.

219    1801         Tennessee     1801 Tenn. Act 260-61.    Prohibited the private carrying of “any dirk,       See Plaintiffs’ response to
                                                            large knife, pistol, or any other dangerous         Ex. No. 205 above.
                                                            weapon, to the fear or terror of any person,”
                                                            unless a surety is posted. Punishable as for
                                                            “breach of the peace, or riot at common law.”

220    1804          Indiana      1804 Ind. Acts 108, A     Prohibited a “slave or mulatto” from carrying       See Plaintiffs’ response to
                                  Law Entitled a Law        or possessing a gun, powder, shot, club or          Ex. No. 205 above.
                   [Territory]
                                  Respecting Slaves, § 4.   other weapon and ammunition.



221    1804        Mississippi    1804 Miss. Laws 90, An    Prohibited a “Slave” from keeping or carrying       See Plaintiffs’ response
                                  Act Respecting Slaves,    a gun, powder, shot, club, or other weapon.         to Ex. No. 205 above.
                   [Territory]
                                  § 4.




222    1805         Alabama       1805 Negroes and          “And be it further enacted, that no slave shall     See Plaintiffs’ response
                                  Mulattoes, Bond and       keep or carry any gun, powder, shot, club, or       to Ex. No. 205 above.
                                  Free – 1805, Chapter I,   other weapon whatsoever, offensive or
                                  An Act respecting         defensive, except the tools given him to work
                                  Slaves. – Passed March    with, or that he is ordered by his master,
                                  6, 1805: Sec. 4.          mistress, or overseer, to carry the said articles

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              Case
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                                           D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                   Description of Regulation                Plaintiffs’ Response
                                                          from one place to another, but all and every
                                                          gun , weapon, or ammunition, found in the
                                                          possession or custody of any slave, may be
                                                          seized by any person, and upon due proof
                                                          made thereof, before any justice of the peace
                                                          of the county or corporation where such
                                                          seizure shall be made, shall, by his order, be
                                                          forfeited to the seizer, for his own use; and
                                                          moreover, every such offender shall have and
                                                          receive, by order of such justice, any number
                                                          of lashes, not exceeding thirty-nine, on his
                                                          bare back for every such offense : Provided
                                                          nevertheless, That any justice of the peace may
                                                          grant, in his proper county, permission in
                                                          writing to any slave, on application of his
                                                          master or overseer, to carry and use a gun and
                                                          ammunition within the limits of his said
                                                          master’s or owner’s plantation, for a term not
                                                          exceeding one year, and revocable at any time
                                                          within such term, at the discretion of the said
                                                          justice, and to prevent the inconveniences
                                                          arising from the meeting of slaves.”

223    1811         Maryland      The Laws of Maryland,   Prohibited the carrying of any pistol, hanger,    See Plaintiffs’ response to
                                  with the Charter, the   cutlass, bludgeon, or other offensive weapon      Ex. No. 205 above.
                                  Bill Of Rights, the     with the intent to assault a person. Punishable
                                  Constitution of the     by imprisonment for 3 months to 2 years.
                                  State, and Its
                                  Alterations, the
                                                                                                                              230
              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                 Plaintiffs’ Response
                                  Declaration of
                                  Independence, and the
                                  Constitution of the
                                  United States, and Its
                                  Amendments, at 465
                                  (1811).

224    1813         Louisiana     1813 La. Acts 172, An     Prohibited the carrying of any concealed           See Plaintiffs’ response to
                                  Act Against Carrying      weapon, including a dirk, dagger, knife, pistol,   Ex. No. 205 above.
                                  Concealed Weapons,        or any other deadly weapon.
                                  and Going Armed in
                                  Public Places in an
                                  Unnecessary Manner, §
                                  1.

225    1816          Georgia      Lucius Q.C. Lamar, A      Prohibited the carrying of any pistol, hanger,     See Plaintiffs’ response to
                                  Compilation of the        cutlass, bludgeon, or other offensive weapon       Ex. No. 205 above.
                                  Laws of the State of      with the intent to assault a person. Punishable
                                  Georgia, Passed by the    by imprisonment with hard labor for a period
                                  Legislature since the     of time to be determined by a jury.
                                  Year 1810 to the Year
                                  1819, Inclusive.
                                  Comprising all the Laws
                                  Passed within those
                                  Periods, Arranged under
                                  Appropriate Heads, with
                                  Notes of Reference to
                                  those Laws, or Parts of
                                  Laws, which are
                                                                                                                                 231
              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response
                                  Amended or Repealed
                                  to which are Added such
                                  Concurred and
                                  Approved Resolutions,
                                  as are Either of General,
                                  Local, or Private
                                  Moment. Concluding
                                  with a Copious Index to
                                  the Laws, a Separate
                                  one to the Resolutions,
                                  at 599 (1821), Offences
                                  Against the Public
                                  Peace, (1816) § 19.

226    1818         Missouri      Organic Laws:-Laws of       Prohibited “slave or mulatto” from carrying a   See Plaintiffs’ response
                                  Missouri Territory,         gun, powder, shot, club or other weapon and     to Ex. No. 205 above.
                    [Territory]
                                  (Alphabetically             from possessing a gun or ammunition.
                                  Arranged):-Spanish
                                  Regulations for the
                                  Allotment of Lands:-
                                  Laws of the United
                                  States, for Adjusting
                                  Titles to Lands, &c. to
                                  Which are Added, a
                                  Variety of Forms,
                                  Useful to Magistrates, at
                                  374 (1818), Slaves, § 3.


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              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                  Plaintiffs’ Response

227    1835         Arkansas      Slaves, in Laws of the    Prohibited any “slave or mulatto” from              See Plaintiffs’ response to
                                  Arkansas Territory 521    keeping or carrying a gun, powder, shot, club,      Ex. No. 205 above.
                   [Territory]
                                  (J. Steele & J.           or other weapon.
                                  M’Campbell, Eds.,
                                  1835).

228    1836       Massachusetts Mass. Rev. Stat., ch.       Prohibited the carrying of a dirk, dagger,          See Plaintiffs’ response to
                                134, § 16 (1836).           sword, pistol, or other offensive and dangerous     Ex. No. 205 above.
                                                            weapon without reasonable cause to fear an
                                                            assault. Punishable by finding sureties for
                                                            keeping the peace for a term up to 6 months.


229    1837         Alabama       1837 Ala. Acts 7, §§ 1,   Imposed tax of $100 on any person selling,          See Plaintiffs’ response to
                                  2.                        giving, or disposing of any Bowie knife or          Ex. No. 205 above.
                                                            Arkansas toothpick. Failure to pay the tax was
                                                            subject to penalty of perjury.

230    1837         Arkansas      Josiah Gould, A Digest    Prohibited the concealed carrying of any            See Plaintiffs’ response
                                  of the Statutes of        pistol, dirk, butcher or large knife, sword cane,   to Ex. No. 205 above.
                                  Arkansas Embracing All    unless “upon a journey.”
                                  Laws of a General and
                                  Permanent Character in
                                  Force the Close of the
                                  Session of the General
                                  Assembly of 1856 380
                                  381–82 (1837).


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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response

231    1837          Georgia      Acts of the General        Prohibited any merchant, or “any other person      See Plaintiffs’ response
                                  Assembly of the State of   or persons whatsoever,” to sell, offer to sell,    to Ex. No. 205 above.
                                  Georgia Passed in          keep, or have on their person or elsewhere any
                                  Milledgeville at an        Bowie knife or “any other kind of knives,
                                  Annual Session in          manufactured and sold for the purpose of
                                  November and               wearing, or carrying the same as arms of
                                  December 1837, at 90-      offence or defence,” pistols, swords, sword
                                  91 (1838).                 canes, or spears. Exempted “such pistols as
                                                             are known as horseman’s pistols” from these
                                                             restrictions. Punishable by a fine of up to
                                                             $100-500 for the first offense and $500-1,000
                                                             for subsequent offenses.

232    1837        Mississippi    1837 Miss. L. 291-92.      Prohibited the use of any rifle, shotgun, sword    See Plaintiffs’ response to
                                                             cane, pistol, dirk, dirk knife, Bowie knife, or    Ex. No. 205 above.
                                                             any other deadly weapon in a fight in which
                                                             one of the combatants was killed, and the
                                                             exhibition of any dirk, dirk knife, Bowie knife,
                                                             sword, sword cane, or other deadly weapon in
                                                             a rude or threatening manner that was not in
                                                             necessary self-defense. Punishable by liability
                                                             to decedent and a fine of up to $500 and
                                                             imprisonment for up to 3 months.

233    1837        Mississippi    1837 Miss. Law 289-90,     That if any person or persons shall be guilty of   See Plaintiffs’ response
                                  An Act To Prevent The      fighting in any corporate city or town, or any     to Ex. No. 205 above.
                                  Evil Practice Of Dueling   other town or public place, in this state, and
                                  In This State And For      shall in such fight use any rifle, shot gun,

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              Case
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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction            Citation                   Description of Regulation                 Plaintiffs’ Response
                                   Other Purposes, § 5.     sword, sword cane, pistol, dirk, bowie knife,
                                                            dirk knife, or any other deadly weapon; or if
                                                            any person shall be second or aid in such fight,
                                                            the persons so offending shall be fined not less
                                                            than three hundred dollars, and shall be
                                                            imprisoned not less than three months; and if
                                                            any person shall be killed in such fight, the
                                                            person so killing the other may also be
                                                            prosecuted and convicted as in other cases of
                                                            murder.

234    1837        Mississippi –   1837 Miss. L. 294.       Authorized the town of Sharon to enact “the        See Plaintiffs’ response
                    Town of                                 total inhibition of the odious and savage          to Ex. No. 205 above.
                     Sharon                                 practice” of carrying dirks, Bowie knives, or
                                                            pistols.

235    1837         Tennessee      1837-38 Tenn. Pub.       Prohibited the carrying of a concealed Bowie       See Plaintiffs’ response to
                                   Acts 200-01, An Act to   knife, Arkansas tooth pick, or other knife or      Ex. No. 205 above.
                                   Suppress the Sale and    weapon. Punishable by fine of $200-500 and
                                   Use of Bowie Knives      imprisonment for 3-6 months.
                                   and Arkansas Tooth
                                   Picks in this State,
                                   ch. 137, § 2.

236    1837         Tennessee      1837-1838 Tenn. Pub.     Prohibited any merchant from selling a Bowie       See Plaintiffs’ response
                                   Acts 200, An Act to      knife or Arkansas tooth pick. Punishable by        to Ex. No. 205 above.
                                   Suppress the Sale and    fine of $100-500 and imprisonment for $1-6
                                   Use of Bowie Knives      months.
                                   and Arkansas Tooth
                                                                                                                                 235
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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction            Citation                    Description of Regulation                Plaintiffs’ Response
                                  Picks in this State, ch.
                                  137, § 1.

237    1837         Tennessee     1837-1838 Tenn. Pub.       Prohibited the stabbing or cutting of another     See Plaintiffs’ response to
                                  Acts 201, An Act to        person with any knife or weapon known as a        Ex. No. 205 above.
                                  Suppress the Sale and      “Bowie knife, Arkansas tooth pick, or any
                                  Use of Bowie Knives        knife or weapon that shall in form, shape or
                                  and Arkansas Tooth         size resemble a Bowie knife,” regardless of
                                  Picks in the State, ch.    whether the person dies. Punishable by
                                  137, § 4.                  imprisonment for 3-15 years.

238    1838         Tennessee     Acts Passed at the First   Prohibited the sale or transfer of any Bowie      See Plaintiffs’ response
                                  Session of the Twenty-     knife or knives, Arkansas toothpicks, or “any     to Ex. No. 205 above.
                                  Second General             knife or weapon that shall in form shape or
                                  Assembly of the State of   size resemble a Bowie knife or any Arkansas
                                  Tennessee: 1837-38, at     toothpick.”
                                  200-01, ch. 137.

239    1838          Virginia     Acts of the General        Prohibited “habitually or generally” carrying     See Plaintiffs’ response to
                                  Assembly of Virginia,      any concealed pistol, dirk, Bowie knife, or any   Ex. No. 205 above.
                                  Passed at the Session of   other weapon of like kind.
                                  1838, at 76-77, ch. 101
                                  (1838).

240    1839         Alabama       1839 Ala. Acts 67, § 1.    Prohibited the concealed carrying of “any         See Plaintiffs’ response to
                                                             species of fire arms, or any bowie knife,         Ex. No. 205 above.
                                                             Arkansas tooth-pick, or any other knife of the
                                                             like kind, dirk, or any other deadly weapon.”
                                                             Punished by fine of $50-100 and imprisonment
                                                                                                                                 236
              Case
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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction            Citation                      Description of Regulation                  Plaintiffs’ Response
                                                               not to exceed 3 months.

241    1839          Florida       John P. Duval,              Prohibited the concealed carrying of “any dirk,     See Plaintiffs’ response to
                                   Compilation of the          pistol, or other arm, or weapon, except a           Ex. No. 205 above.
                    [Territory]
                                   Public Acts of the          common pocket-knife.” Punishable by fine of
                                   Legislative Council of      $50-500 or imprisonment for 1-6 months.
                                   the Territory of Florida,
                                   Passed Prior to 1840, at
                                   423 (1839), An Act to
                                   Prevent any Person in
                                   this Territory from
                                   Carrying Arms Secretly.

242    1839        Mississippi –   1839 Miss. L. 385, ch.      Authorized the town of Emery to enact               See Plaintiffs’ response
                    Town of        168.                        restrictions on the carrying of dirks, Bowie        to Ex. No. 205 above.
                     Emery                                     knives, or pistols.

243    1840        Mississippi –   1840 Miss. L. 181, ch.      Authorized the town of Hernando to enact            See Plaintiffs’ response
                    Town of        111.                        restrictions on the carrying of dirks, Bowie        to Ex. No. 205 above.
                    Hernando                                   knives, or pistols.

244    1841          Alabama       1841 Ala. Acts 148–49,      Prohibited the concealed carrying of “a bowie       See Plaintiffs’ response to
                                   Of Miscellaneous            knife, or knife or instrument of the like kind or   Ex. No. 205 above.
                                   Offences, ch. 7, § 4.       description, by whatever name called, dirk or
                                                               any other deadly weapon, pistol or any species
                                                               of firearms, or air gun,” unless the person is
                                                               threatened with an attack or is traveling or
                                                               “setting out on a journey.” Punished by a fine
                                                               of $50-100.
                                                                                                                                     237
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                  Plaintiffs’ Response

245    1841          Maine        1841 Me. Laws 709, ch.    Prohibited the carrying of a dirk, dagger,          See Plaintiffs’ response to
                                  169, § 16.                sword, pistol, or other offensive and dangerous     Ex. No. 205 above.
                                                            weapon without reasonable cause to fear an
                                                            assault. Upon complaint of any person, the
                                                            person intending to carry such weapons may
                                                            be required to find sureties for keeping the
                                                            peace for up to six months.

246    1841        Mississippi    1841 Miss. 52, ch. 1.     Imposed an annual property tax of $1 on each        See Plaintiffs’ response to
                                                            Bowie knife.                                        Ex. No. 205 above.

247    1842         Louisiana     Henry A. Bullard &        Prohibited the carrying of “any concealed           See Plaintiffs’ response to
                                  Thomas Curry, 1 A New     weapon, such as a dirk, dagger, knife, pistol, or   Ex. No. 205 above.
                                  Digest of the Statute     any other deadly weapon.” Punishable by fine
                                  Laws of the State of      of $20-50.
                                  Louisiana, from the
                                  Change of Government
                                  to the Year 1841 at 252
                                  (E. Johns & Co., New
                                  Orleans, 1842).

248    1845          Illinois     Mason Brayman,            Prohibited the carrying of “any pistol, gun,        See Plaintiffs’ response to
                                  Revised Statutes of the   knife, dirk, bludgeon or other offensive            Ex. No. 205 above.
                                  State of Illinois:        weapon, with intent to assault any person.”
                                  Adopted by the General    Punishable by fine up to $100 or imprisonment
                                  Assembly of Said State,   up to 3 months.
                                  at Its Regular Session,
                                  Held in the Years A.D.

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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                Plaintiffs’ Response
                                  1844-45: Together with
                                  an Appendix Containing
                                  Acts Passed at the Same
                                  and Previous Sessions,
                                  Not Incorporated in the
                                  Revised Statutes, but
                                  Which Remain in Force
                                  , at 176 (1845), Criminal
                                  Jurisprudence, § 139.

249    1846          North        1846 N.C. L., ch. 42.       Prohibited “any slave” from receiving any         See Plaintiffs’ response to
                    Carolina                                  sword, dirk, Bowie knife, gun, musket,            Ex. No. 205 above.
                                                              firearms, or “any other deadly weapons of
                                                              offense” without written permission.




250    1847          Maine        The Revised Statutes of     Prohibited the carrying of a dirk, dagger,        See Plaintiffs’ response to
                                  the State of Maine,         sword, pistol, or other offensive and dangerous   Ex. No. 205 above.
                                  Passed October 22,          weapon without reasonable cause to fear an
                                  1840; To Which are          assault. Upon complaint of any person, the
                                  Prefixed the                person intending to carry such weapons may
                                  Constitutions of the        be required to find sureties for keeping the
                                  United States and of the    peace for up to one year.
                                  State of Maine, and to
                                  Which Are Subjoined
                                  the Other Public Laws
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response
                                  of 1840 and 1841, with
                                  an Appendix, at 709
                                  (1847), Justices of the
                                  Peace, § 16.

251    1849        California –   1849 Cal. Stat. 245, An    Prohibited the carrying, with intent to assault   See Plaintiffs’ response to
                   City of San    Act to Incorporate the     any person, any pistol, gun, knife, dirk,         Ex. No. 205 above.
                   Francisco      City of San Francisco,     bludgeon, or other offensive weapon with the
                                  § 127.                     intent to assault another person. Punished by
                                                             fine of up to $100 and imprisonment for up to
                                                             3 months.

252    1850        Mississippi    1850 Miss. 43, ch. 1.      Imposed an annual property tax of 50 cents on     See Plaintiffs’ response to
                                                             each Bowie knife.                                 Ex. No. 205 above.

253    1851         Alabama       1851-52 Ala. 3, ch. 1.     Tax of $2 on “every bowie knife or revolving      See Plaintiffs’ response
                                                             pistol.”                                          to Ex. No. 205 above.

254    1851        Pennsylvania   1851 Pa. Laws 382, An      Prohibited the willful and malicious carrying     See Plaintiffs’ response to
                     – City of    Act Authorizing Francis    of any pistol, gun, dirk, knife, slungshot, or    Ex. No. 205 above.
                   Philadelphia   Patrick Kenrick, Bishop    deadly weapon. Punishable by imprisonment
                                  of Philadelphia, to        for 6 months to 1 year and security for future
                                  Convey Certain Real        good behavior.
                                  Estate in the Borough of
                                  York, and a Supplement
                                  to the Charter of Said
                                  Borough, § 4.

255    1852          Hawai’i      1852 Haw. Sess. Laws       “§ 1. Any person not authorized by law, who       See Plaintiffs’ response to
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                  [Independent]   19, Act to Prevent the      shall carry, or be found armed with, any
                                  Carrying of Deadly          bowie-knife, sword-cane, pistol, air-gun,
                                  Weapons Dangerous or        slung-shot or other deadly weapon, shall be
                                  Unusual Weapons |           liable to a fine of no more than Thirty, and no
                                  Hawaii | 1852.              less than Ten Dollars, or in default of payment
                                                              of such fine, to imprisonment at hard labor, for
                                                              a term not exceeding two months and no less
                                                              than fifteen days, upon conviction of such
                                                              offense before any District Magistrate, unless
                                                              good cause be shown for having such
                                                              dangerous weapons: and any such person may
                                                              be immediately arrested without warrant by the
                                                              Marshal or any Sheriff, Constable or other
                                                              officer or person and be lodged in prison until
                                                              he can be taken before such Magistrate.”

256    1852        New Mexico     1852 N.M. Laws 67, An       “That each and every person is prohibited from     See Plaintiffs’ response to
                    [Territory]   Act Prohibiting the         carrying short arms such as pistols, daggers,      Ex. No. 205 above.
                                  Carrying a Certain Class    knives, and other deadly weapons, about their
                                  of Arms, within the         persons concealed, within the settlements, and
                                  Settlements and in Balls,   any person who violates the provisions of this
                                  § 1.                        act shall be fined in a sum not exceeding ten
                                                              dollars, nor less than two dollars, or shall be
                                                              imprisoned for a term not exceeding fifteen
                                                              days nor less than five days.”

257    1853         California    S. Garfielde, Compiled      Prohibited carrying of pistol, gun, knife, dirk,   See Plaintiffs’ response to
                                  Laws of the State of        bludgeon, or other offensive weapon with           Ex. No. 205 above.
                                  California: Containing      intent to assault. Punishable by fine of up to
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response
                                  All the Acts of the        $100 or imprisonment for up to 3 months.
                                  Legislature of a Public
                                  and General Nature,
                                  Now in Force, Passed at
                                  the Sessions of 1850-51-
                                  52-53, § 127.

258    1853        New Mexico     1853 N.M. Laws 406,        Prohibited the carrying of a concealed pistol,   See Plaintiffs’ response to
                                  An Act Prohibiting the     Bowie knife, cuchillo de cinto (belt buckle      Ex. No. 205 above.
                   [Territory]
                                  Carrying of Weapons        knife), Arkansas toothpick, Spanish dagger,
                                  Concealed or Otherwise,    slungshot, or any other deadly weapon.
                                  § 25.




259    1854        Mississippi    1854 Miss. 50, ch. 1.      Imposed an annual property tax of $1 on each     See Plaintiffs’ response to
                                                             Bowie knife, Arkansas toothpick, sword cane,     Ex. No. 205 above.
                                                             and dueling or pocket pistol.


260    1854        Washington     1854 Wash. Sess. Law       Prohibited exhibiting, in a rude, angry, or      See Plaintiffs’ response to
                                  80, An Act Relative to     threatening manner, a pistol, Bowie knife, or    Ex. No. 205 above.
                   [Territory]
                                  Crimes and                 other dangerous weapon. Punishable by
                                  Punishments, and           imprisonment up to 1 year and a fine up to
                                  Proceedings in Criminal    $500.
                                  Cases, ch. 2, § 30.

261    1855         California    1855 Cal. L. 152-53, ch.   Provided that a person who killed another in a   See Plaintiffs’ response to
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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                       Description of Regulation                 Plaintiffs’ Response
                                  127.                         duel with “a rifle, shot-gun, pistol, bowie-
                                                               knife, dirk, small-sword, back-sword or other
                                                               dangerous weapon” would pay the decedent’s
                                                               debts and be liable to the decedent’s family for
                                                               liquidated damages.



262    1855          Indiana      1855 Ind. Acts 153, An       Prohibited the carrying of any dirk, pistol,       See Plaintiffs’ response to
                                  Act to Provide for the       Bowie knife, dagger, sword in cane, or any         Ex. No. 205 above.
                                  Punishment of Persons        other dangerous or deadly weapon with the
                                  Interfering with Trains      intent of injuring another person. Exempted
                                  or Railroads, ch. 79, § 1.   any person who was a “traveler.” Punishable
                                                               by fine up to $500.


263    1855         Louisiana     1855 La. L. 148, ch.         Prohibited the concealed carrying of “pistols,     See Plaintiffs’ response to
                                  120.                         bowie knife, dirk, or any other dangerous          Ex. No. 205 above.
                                                               weapon.”


264    1856        Mississippi    1856-1857 Miss. L. 36,       Imposed an annual property tax of $1 on each       See Plaintiffs’ response
                                  ch. 1.                       Bowie knife, dirk knife, or sword cane.            to Ex. No. 205 above.


265    1856         Tennessee     1855-56 Tenn. L. 92, ch. Prohibited the sale or transfer of any pistol,         See Plaintiffs’ response to
                                  81.                      Bowie knife, dirk, Arkansas toothpick, or              Ex. No. 205 above.
                                                           hunter’s knife to a minor. Excepted the
                                                           transfer of a gun for hunting.
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                  Plaintiffs’ Response


266    1856           Texas       Tex. Penal Code arts.       Provided that the use of a Bowie knife or a         See Plaintiffs’ response
                                  611-12 (enacted Aug.        dagger in manslaughter is to be deemed              to Ex. No. 205 above.
                                  28, 1856).                  murder.

267    1858         District of   1 William B. Webb The       “It shall not be lawful for any person or           See Plaintiffs’ response to
                    Columbia      Laws of the Corporation     persons to carry or have concealed about their      Ex. No. 205 above.
                                  of the of Washington        persons any deadly or dangerous weapons,
                                  Digested and Arranged       such as dagger, pistol, bowie knife, dirk knife,
                                  under Appropriate in        or dirk, colt, slungshot, or brass or other metal
                                  Accordance with a Joint     knuckles within the City of Washington; and
                                  Resolution of the City      any person or persons who shall be duly
                                  418 (1868), Act of Nov.     convicted of so carrying or having concealed
                                  18, 1858.                   about their persons any such weapon shall
                                                              forfeit and pay upon such conviction not less
                                                              than twenty dollars nor more than fifty dollars;
                                                              which fines shall be prosecuted and recovered
                                                              in the same manner as other penalties and
                                                              forfeitures accruing to the city are sued for and
                                                              recovered: Provided, That the Police officers
                                                              when on duty shall be exempt from such
                                                              penalties and forfeitures.”

268    1858         Nebraska      1858 Neb. Laws 69, An       Prohibited the carrying of a pistol, gun, knife,    See Plaintiffs’ response to
                                  Act to Adopt and            dirk, bludgeon or other offensive weapon with       Ex. No. 205 above.
                   [Territory]
                                  Establish a Criminal        the intent to assault a person. Punishable by
                                  code for the Territory of   fine up to $100.

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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
                                  Nebraska, § 135.

269    1859          Indiana      1859 Ind. Acts 129, An     “Be it enacted by the General Assembly of the      See Plaintiffs’ response
                                  Act to Prevent Carrying    State of Indiana, That every person not being a    to Ex. No. 205 above.
                                  Concealed or Dangerous     traveler, who shall wear or carry any dirk,
                                  Weapons, and to            pistol, bowie-knife, dagger, sword in cane, or
                                  Provide Punishment         any other dangerous or deadly weapon
                                  Therefor. § 1.             concealed, or who shall carry or wear any such
                                                             weapon openly, with the intent or avowed
                                                             purpose of injuring his fellow man, shall, upon
                                                             conviction thereof, be fined in any sum not
                                                             exceeding five hundred dollars.”

270    1859        Kentucky –     1859 Ky. Acts 245, An      Prohibited the selling, giving, or loaning of a    See Plaintiffs’ response
                    Town of       Act to Amend An Act        concealed pistol, dirk, Bowie knife, brass         to Ex. No. 205 above.
                   Harrodsburg    Entitled “An Act to        knuckles, slungshot, colt, cane-gun, or other
                                  Reduce to One the          deadly weapon to a “minor, slave, or free
                                  Several Acts in Relation   negro.” Punishable by fine of $50.
                                  to the Town of
                                  Harrodsburg, § 23.


271    1859        New Mexico     1859 N.M. Laws 94, §       “That from and after the passage of this act, it   See Plaintiffs’ response
                    [Territory]   1-2.                       shall be unlawful for any person to carry          to Ex. No. 205 above.
                                                             concealed weapons on their persons, of any
                                                             class of pistols whatever, bowie knife (cuchillo
                                                             de cinto), Arkansas toothpick, Spanish dagger,
                                                             slung-shot, or any other deadly weapon, of
                                                             whatever class or description they may be, no
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                                           D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                    Description of Regulation                 Plaintiffs’ Response
                                                           matter by what name they may be known or
                                                           called, under the penalities and punishment
                                                           which shall hereinafter be described. § 2. Be it
                                                           further enacted: That if any person shall carry
                                                           about his person, either concealed or
                                                           otherwise, any deadly weapon of the class and
                                                           description mentioned in the preceeding
                                                           section, the person or persons who shall so
                                                           offend, on conviction, which shall be by
                                                           indictment in the district court, shall be fined
                                                           in any sum not less than fifty dollars, nor more
                                                           than one hundred dollars, at the discretion of
                                                           the court trying the cause, on the first
                                                           conviction under this act; and for the second
                                                           conviction, the party convicted shall be
                                                           imprisoned in the county jail for a term of not
                                                           less than three months, nor more than one year,
                                                           also at the discretion of the court trying the
                                                           cause.”

272    1859           Ohio        1859 Ohio Laws 56, An    Prohibited the concealed carrying of any           See Plaintiffs’ response to
                                  Act to Prohibit the      pistol, Bowie knife, or any other “dangerous       Ex. No. 205 above.
                                  Carrying or Wearing of   weapon.” Punishable by fine of up to $200 or
                                  Concealed Weapons, §     imprisonment of up to 30 days for the first
                                  1.                       offense, and a fine of up to $500 or
                                                           imprisonment for up to 3 months for the
                                                           second offense.


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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                Plaintiffs’ Response

273    1859        Washington     1859 Wash. Sess. Laws       Prohibited exhibiting, in a rude, angry, or       See Plaintiffs’ response to
                                  109, An Act Relative to     threatening manner, a pistol, Bowie knife, or     Ex. No. 2025 above.
                   [Territory]
                                  Crimes and                  other dangerous weapon. Punishable by
                                  Punishments, and            imprisonment up to 1 year and a fine up to
                                  Proceedings in Criminal     $500.
                                  Cases, ch. 2, § 30.

274    1860          Georgia      1860 Ga. Laws 56, An        Prohibited the sale or furnishing of any gun,     See Plaintiffs’ response
                                  Act to add an additional    pistol, Bowie knife, slungshot, sword cane, or    to Ex. No. 205 above.
                                  Section to the 13th         other weapon to a “slave or free person of
                                  Division of the Penal       color.” Punishable by fine up to $500 and
                                  Code, making it penal to    imprisonment up to 6 months.
                                  sell to or furnish slaves
                                  or free persons of color,
                                  with weapons of offence
                                  and defence; and for
                                  other purposes therein
                                  mentioned, § 1.

275    1861         California    William H. R. Wood,         Prohibited the display of any dirk, dirk-knife,   See Plaintiffs’ response to
                                  Digest of the Laws of       Bowie knife, sword, sword cane, pistol, gun, or   Ex. No. 205 above.
                                  California: Containing      other deadly weapon in a threatening manner,
                                  All Laws of a General       or use of such weapon in a fight. Punishable
                                  Character Which were        by a fine of $100-500 or imprisonment for 1-6
                                  in Force on the First       months.
                                  Day of January, 1858;
                                  Also, the Declaration of
                                  Independence,

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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                  Plaintiffs’ Response
                                  Constitution of the
                                  United States, Articles
                                  of Confederation,
                                  Kentucky and Virginia
                                  Resolutions of 1798-99,
                                  Acts of Congress
                                  Relative to Public Lands
                                  and Pre-Emptions.
                                  Together with Judicial
                                  Decisions, Both of the
                                  Supreme Court of the
                                  United States and of
                                  California, to Which are
                                  Also Appended
                                  Numerous Forms for
                                  Obtaining Pre-Emption
                                  and Bounty Lands, Etc.,
                                  at 334 (1861).

276    1861          Nevada       1861 Nev. L. 61.           Provided that the killing of another in a duel      See Plaintiffs’ response to
                                                             with a rifle, shotgun, pistol, Bowie knife, dirk,   Ex. No. 205 above.
                    [Territory]
                                                             small-sword, back-sword, or other “dangerous
                                                             weapon” in the killing of another in a duel is to
                                                             be deemed murder.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                  Plaintiffs’ Response

277    1862         Colorado      1862 Colo. Sess. Laws      Prohibited the concealed carrying in any city,      See Plaintiffs’ response to
                                  56, § 1.                   town, or village any pistol, Bowie knife,           Ex. No. 205 above.
                    [Territory]
                                                             dagger, or other deadly weapon. Punished by
                                                             fine of $5-35.

278    1863       Kansas – City   C. B. Pierce, Charter      Prohibited the carrying of any concealed            See Plaintiffs’ response to
                       of         and Ordinances of the      “pistol, dirk, bowie knife, revolver, slung shot,   Ex. No. 205 above.
                  Leavenworth     City of Leavenworth,       billy, brass, lead or iron knuckles, or any other
                                  with an Appendix, at 45    deadly weapon within this city.” Punishable by
                                  (1863), An Ordinance       a fine of $3-100.
                                  Relating to
                                  Misdemeanors, § 23.



279    1863        Tennessee –    William H. Bridges,        Prohibited the carrying of a concealed pistol,      See Plaintiffs’ response to
                     City of      Digest of the Charters     Bowie knife, dirk, or any other deadly weapon.      Ex. No. 205 above.
                    Memphis       and Ordinances of the      Punishable by fine of $10-50.
                                  City of Memphis,
                                  Together with the Acts
                                  of the Legislature
                                  Relating to the City,
                                  with an Appendix, at
                                  190 (1863), Offences
                                  Affecting Public Safety:
                                  Carrying Concealed
                                  Weapons, § 3.


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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response

280    1864          Arizona      Coles Bashford, The        That any person in this Territory, having,        See Plaintiffs’ response to
                    [Territory]   Compiled Laws of the       carrying or procuring from another person, any    Ex. No. 205 above.
                                  Territory of Arizona,      dirk, dirk knife, bowie knife, pistol, gun or
                                  Including the Howell       other deadly weapon, who shall, in the
                                  Code and the Session       presence of two or more persons, draw or
                                  Laws From 1864 to          exhibit any of said deadly weapons in a rude,
                                  1871, Inclusive: To        angry or threatening manner, not in necessary
                                  Which is Prefixed the      self defense, or who shall, in any manner,
                                  Constitution of the        unlawfully use the same in any fight or
                                  United States, the         quarrel, the person or persons so offending,
                                  Mining Law of the          upon conviction thereof in any criminal court
                                  United States, and the     in any county of this Territory, shall be fined
                                  Organic Acts of the        in any sum not less than one hundred nor more
                                  Territory of Arizona and   than five hundred dollars, or imprisonment in
                                  New Mexico Page 96,        the county jail not less than one nor more than
                                  Image 102 (1871)           six months, in the discretion of the court, or
                                  available at The Making    both such fine and imprisonment, together
                                  of Modern Law:             with the cost of prosecution.
                                  Primary Sources, 1867.

                                  An Act to prevent the
                                  improper use of deadly
                                  weapons, and the
                                  indiscriminate use of
                                  fire arms in the towns
                                  and villages of the
                                  territory. § 1.


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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response

281    1864         California    Theodore Henry Hittell,     Prohibited the concealed carrying of any dirk,     See Plaintiffs’ response to
                                  The General Laws of the     pistol, sword cane, slungshot, or “other           Ex. No. 205 above.
                                  State of California, from   dangerous or deadly weapon.” Exempted any
                                  1850 to 1864, Inclusive:    peace officer or officer acting under the law of
                                  Being a Compilation of      the United States. Punishable by imprisonment
                                  All Acts of a General       for 30-90 days or fine of $20-200.
                                  Nature Now in Force,
                                  with Full References to
                                  Repealed Acts, Special
                                  and Local Legislation,
                                  and Statutory
                                  Constructions of the
                                  Supreme Court. To
                                  Which are Prefixed the
                                  Declaration of
                                  Independence,
                                  Constitution of the
                                  United States, Treaty of
                                  Guadalupe Hidalgo,
                                  Proclamations to the
                                  People of California,
                                  Constitution of the State
                                  of California, Act of
                                  Admission, and United
                                  States Naturalization
                                  Laws, with Notes of
                                  California Decisions
                                  Thereon, at 261, § 1

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                                              D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction             Citation                   Description of Regulation                 Plaintiffs’ Response
                                  (1868).

282    1864         Montana       1864 Mont. Laws 355,       Prohibited the carrying of a concealed “any        See Plaintiffs’ response to
                                  An Act to Prevent the      pistol, bowie-knife, dagger, or other deadly       Ex. No. 205 above.
                   [Territory]
                                  Carrying of Concealed      weapon” within any town or village in the
                                  Deadly Weapons in the      territory. Punishable by fine of $25-100.
                                  Cities and Towns of
                                  This Territory, § 1.

283    1866       Kansas – City   Samuel Kimball,            “Any person who shall in this city have or         See Plaintiffs’ response
                  of Lawrence     Charter, Other Powers,     carry concealed or partially concealed, upon       to Ex. No. 205 above.
                                  and Ordinances of the      his person, any pistol, bowie knife or other
                                  City of Lawrence Page      deadly weapon, shall, on conviction, be fined
                                  149, Image 157 (1866)      not less than one nor more than ten dollars;
                                  available at The Making    Provided, This section shall not apply to peace
                                  of Modern Law:             officers of the city or state. The carrying of a
                                  Primary Sources, 1863.     weapon in a holster, exposed to full view, shall
                                  Nuisances, § 10.           not be deemed a concealed or partially
                                                             concealed weapon under this section.”

284    1866         New York      Montgomery Hunt            Prohibited using, attempting to use,               See Plaintiffs’ response
                                  Throop, The Revised        concealing, or possessing a slungshot, billy,      to Ex. No. 205 above.
                                  Statutes of the State of   sandclub or metal knuckles, and any dirk or
                                  New York; As Altered       dagger, or sword cane or air-gun. Punishable
                                  by Subsequent              by imprisonment for up to 1 year and/or a fine
                                  Legislation; Together      up to $500.
                                  with the Other Statutory
                                  Provisions of a General
                                  and Permanent Nature
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation              Plaintiffs’ Response
                                  Now in Force, Passed
                                  from the Year 1778 to
                                  the Close of the Session
                                  of the Legislature of
                                  1881, Arranged in
                                  Connection with the
                                  Same or kindred
                                  Subjects in the Revised
                                  Statutes; To Which are
                                  Added References to
                                  Judicial Decisions upon
                                  the Provisions
                                  Contained in the Text,
                                  Explanatory Notes, and
                                  a Full and Complete
                                  Index, at 2512 (Vol. 3,
                                  1882), An Act to
                                  Prevent the Furtive
                                  Possession and use of
                                  slungshot and other
                                  dangerous weapons,
                                  ch. 716, § 1.

285    1866           North       1866 N.C. L. ch. 21, at    Imposed a $1 tax on every dirk, Bowie knife,    See Plaintiffs’ response
                     Carolina     33-34, § 11.               pistol, sword cane, dirk cane, and rifle cane   to Ex. No. 205 above.
                                                             used or worn during the year.



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                                           D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                 Description of Regulation                Plaintiffs’ Response


286    1867         Alabama       1867 Ala. Rev. Code    Tax of $2 on pistols or revolvers in the         See Plaintiffs’ response to
                                  169.                   possession of private persons, excluding         Ex. No. 205 above.
                                                         dealers, and a tax of $3 on “all bowie knives,   This law (1867) comes
                                                         or knives of the like description.” Non-
                                                                                                          too late to shed much
                                                         payment was punishable by seizure and, unless
                                                         payment was made within 10 days with a           light on the scope of the
                                                         penalty of an additional 50%, subject to sale    Second Amendment
                                                         by public auction.                               “[B]ecause post-Civil
                                                                                                          War discussions of the
                                                                                                          right to keep and bear
                                                                                                          arms ‘took place 75 years
                                                                                                          after the ratification of
                                                                                                          the Second Amendment,
                                                                                                          they do not provide as
                                                                                                          much insight into its
                                                                                                          original meaning as
                                                                                                          earlier sources.” Bruen,
                                                                                                          597 U.S. at 36.




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287   1867          Alaska      Fred F. Barker,           That it shall be unlawful for any person to        See Plaintiffs’ response
                  [Territory]   Compilation of the Acts   carry concealed about his person, in any           to Ex. No. 205 above.
                                of Congress and           manner whatever, any revolver, pistol, or other    This law (1867) comes
                                Treaties Relating to      firearm, or knife (other than an ordinary pocket   too late to shed much
                                Alaska: From March 30,    knife), or any dirk or dagger, slung shot, metal   light on the scope of the
                                1867, to March 3, 1905    knuckles, or any instrument by the use of          Second Amendment
                                139 1906.                 which injury could be inflicted upon the           “[B]ecause post-Civil
                                                          person or property of any other person.
                                                                                                             War discussions of the
                                                                                                             right to keep and bear
                                                                                                             arms ‘took place 75 years
                                                                                                             after the ratification of
                                                                                                             the Second Amendment,
                                                                                                             they do not provide as
                                                                                                             much insight into its
                                                                                                             original meaning as
                                                                                                             earlier sources.” Bruen,
                                                                                                             597 U.S. at 36.

288   1867         Colorado     1867 Colo. Sess. Laws     Prohibited the concealed carrying of any           See Plaintiffs’ response to
                                229, § 149.               pistol, Bowie knife, dagger, or other deadly       Ex. No. 205 above.
                  [Territory]
                                                          weapon within any city, town, or village in the
                                                          territory. Punishable by fine of $5-35.            This law (1867) comes
                                                          Exempted sheriffs, constables, and police          too late to shed much
                                                          officers when performing their official duties.    light on the scope of the
                                                                                                             Second Amendment
                                                                                                             “[B]ecause post-Civil
                                                                                                             War discussions of the
                                                                                                             right to keep and bear
                                                                                                             arms ‘took place 75 years
                                                                                                             after the ratification of
                                                                                                             the Second Amendment,
                                                                                                             they do not provide as
                                                                                                             much insight into its
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                                                                                                         earlier sources.” Bruen,
                                                                                                         597 U.S. at 36.




289   1867        Tennessee –   William H. Bridges,      Prohibited the carrying of a concealed Bowie    See Plaintiffs’ response
                    City of     Digest of the Charters   knife, Arkansas tooth pick, dirk, sword cane,   to Ex. No. 205 above.
                                                                                                         This law (1867) comes
                                                                                                         too late to shed much
                                                                                                         light on the scope of the
                                                                                                         Second Amendment
                                                                                                         “[B]ecause post-Civil
                                                                                                         War discussions of the
                                                                                                         right to keep and bear
                                                                                                         arms ‘took place 75 years
                                                                                                         after the ratification of
                                                                                                         the Second Amendment,
                                                                                                         they do not provide as
                                                                                                         much insight into its
                                                                                                         original meaning as
                                                                                                         earlier sources.” Bruen,
                                                                                                         597 U.S. at 36.


                                                                                                         Law is also a local
                                                                                                         ordinance inapplicable to
                                                                                                         99% of the population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                  Plaintiffs’ Response
                    Memphis       and Ordinances of the       Spanish stiletto, belt or pocket pistol, or other
                                  City of Memphis, from       knife or weapon. Also prohibited selling such a
                                  1826 to 1867, Inclusive,    weapon or using such a weapon to threaten
                                  Together with the Acts      people.
                                  of the Legislature
                                  Relating to the City,
                                  with an Appendix, at 44
                                  (1867), Police
                                  Regulations of the State,
                                  Offences Against Public
                                  Peace, §§ 4746, 4747,
                                  4753, 4757.

290    1867        Tennessee –    William H. Bridges,         Prohibited selling, loaning, or giving to a         See Plaintiffs’ response
                     City of      Digest of the Charters      minor a pistol, Bowie knife, dirk, Arkansas         to Ex. No. 205 above.
                    Memphis       and Ordinances of the       tooth-pick, hunter’s knife, or like dangerous
                                  City of Memphis, from       weapon, except a gun for hunting or self            This law (1867) comes
                                  1826 to 1867, Inclusive,    defense in traveling. Punishable by fine of         too late to shed much
                                  Together with the Acts      minimum $25 and imprisonment.                       light on the scope of the
                                  of the Legislature                                                              Second Amendment
                                  Relating to the City,                                                           “[B]ecause post-Civil
                                  with an Appendix, at 50
                                                                                                                  War discussions of the
                                  (1867), Police
                                  Regulations of the State.                                                       right to keep and bear
                                  Selling Liquors or                                                              arms ‘took place 75 years
                                  Weapons to Minors, §                                                            after the ratification of
                                  4864.                                                                           the Second Amendment,
                                                                                                                  they do not provide as
                                                                                                                  much insight into its
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                                                                               original meaning as
                                                                               earlier sources.” Bruen,
                                                                               597 U.S. at 36.

                                                                               Law is also local and
                                                                               inapplicable to 99% of
                                                                               the population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                      Description of Regulation                  Plaintiffs’ Response

291    1867         Virginia –    Staunton, The Charter      “Ordinances of The Town of Lexington, VA,           See Plaintiffs’ response to
                     Town of      and General Ordinances     Of Concealed Weapons and Cigarettes, § 1. If        Ex. No. 205 above.
                    Lexington     of the Town of             any person carrying about his person, hid from      This law (1867) comes
                                  Lexington, Virginia        common observation, any pistol, dirk, bowie-        too late to shed much
                                  Page 87, Image 107         knife, razor, slung-shot, or any weapon of the      light on the scope of the
                                  (1892) available at The    like kind, he shall be fined not less than twenty   Second Amendment
                                  Making of Modern Law:      dollars nor more than one hundred dollars; and      “[B]ecause post-Civil
                                  Primary Sources, 1867.     any of such weapons mentioned shall be
                                                                                                                 War discussions of the
                                                             forfeited to the town. Nothing in this section
                                                             shall apply to any officer of the town, county      right to keep and bear
                                                             or state while in the discharge of his duty.”       arms ‘took place 75 years
                                                                                                                 after the ratification of
                                                                                                                 the Second Amendment,
                                                                                                                 they do not provide as
                                                                                                                 much insight into its
                                                                                                                 original meaning as
                                                                                                                 earlier sources.” Bruen,
                                                                                                                 597 U.S. at 36.

                                                                                                                 Law is also local and
                                                                                                                 inapplicable to 99% of the
                                                                                                                 population.
292    1868         Alabama       Wade Keyes, The Code       Prohibited the carrying of any rifle or “shot-      See Plaintiffs’ response to
                                  of Alabama, 1876, ch. 3,   gun walking cane.” Punishable by fine of            Ex. No. 205 above.
                                  § 4111 (Act of Aug. 5,     $500-1000 and imprisonment of no less than 2        This law (1868) comes
                                  1868, at 1).               years.                                              too late to shed much
                                                                                                                 light on the scope of the
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                                                                                                         Second Amendment
                                                                                                         “[B]ecause post-Civil
                                                                                                         War discussions of the
                                                                                                         right to keep and bear
                                                                                                         arms ‘took place 75 years
                                                                                                         after the ratification of
                                                                                                         the Second Amendment,
                                                                                                         they do not provide as
                                                                                                         much insight into its
                                                                                                         original meaning as
                                                                                                         earlier sources.” Bruen,
                                                                                                         597 U.S. at 36.
293   1868          Florida   Fla. Act of Aug. 8,         Prohibited the manufacture or sale of          See Plaintiffs’ response
                              1868, as codified in Fla.   slungshots or metallic knuckles. Punishable    to Ex. No. 205 above.
                              Rev. Stat., tit. 2, pt. 5   by imprisonment for up to 6 months or a fine   This law (1868) comes
                              (1892), at 2425.            up to $100.
                                                                                                         too late to shed much
                                                                                                         light on the scope of the
                                                                                                         Second Amendment
                                                                                                         “[B]ecause post-Civil
                                                                                                         War discussions of the
                                                                                                         right to keep and bear
                                                                                                         arms ‘took place 75 years
                                                                                                         after the ratification of
                                                                                                         the Second Amendment,
                                                                                                         they do not provide as
                                                                                                         much insight into its
                                                                                                         original meaning as
                                                                                                         earlier sources.” Bruen,
                                                                                                         597 U.S. at 36.




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294   1868          Florida   1868 Fla. Laws 2538,     Prohibited the carrying of a slungshot, metallic   See Plaintiffs’ response to
                              Persons Engaged in       knuckles, billies, firearms or other dangerous     Ex. No. 205 above.
                              Criminal Offence,        weapon if arrested for committing a criminal       This law (1868) comes
                              Having Weapons, ch. 7,   offence or disturbance of the peace.               too late to shed much
                              § 10.                    Punishable by imprisonment up to 3 months or       light on the scope of the
                                                       a fine up to $100.                                 Second Amendment
                                                                                                          “[B]ecause post-Civil
                                                                                                          War discussions of the
                                                                                                          right to keep and bear
                                                                                                          arms ‘took place 75 years
                                                                                                          after the ratification of
                                                                                                          the Second Amendment,
                                                                                                          they do not provide as
                                                                                                          much insight into its
                                                                                                          original meaning as
                                                                                                          earlier sources.” Bruen,
                                                                                                          597 U.S. at 36.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                   Description of Regulation               Plaintiffs’ Response

295    1868          Florida      James F McClellan, A      Prohibited the carrying “about or on their      See Plaintiffs’ response to
                                  Digest of the Laws of     person” any dirk, pistol or other arm or        Ex. No. 205 above.
                                  the State of Florida:     weapon, except a “common pocket knife.”         This law comes too late
                                  From the Year One         Punishable by fine up to $100 or imprisonment   to shed much light on the
                                  Thousand Eight            up to 6 months.                                 scope of the Second
                                  Hundred and Twenty-                                                       Amendment “[B]ecause
                                  Two, to the Eleventh                                                      post-Civil War
                                  Day of March, One
                                                                                                            discussions of the right to
                                  Thousand Eight
                                  Hundred and Eighty-                                                       keep and bear arms ‘took
                                  One, Inclusive, at 403                                                    place 75 years after the
                                  (1881), Offences                                                          ratification of the Second
                                  Against Public Peace, §                                                   Amendment, they do not
                                  13 (Fla. Act of Aug. 6,                                                   provide as much insight
                                  1868, ch. 1637).                                                          into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.




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296   1868          Kansas    The General Statutes of     “Any person who is not engaged in any             See Plaintiffs’ response
                              the State of Kansas, to     legitimate business, any person under the         to Ex. No. 205 above.
                              Which the Constitutions     influence of intoxicating drink, and any person   This law comes too late
                              of the United State of      who has ever borne arms against the               to shed much light on the
                              Kansas, Together with       government of the United States, who shall be     scope of the Second
                              the Organic Act of the      found within the limits of this state, carrying   Amendment “[B]ecause
                              Territory of Kansas, the    on his person a pistol, bowie-knife, dirk or      post-Civil War
                              Treaty Ceding the           other deadly weapon, shall be subject to arrest
                                                                                                            discussions of the right to
                              Territory of Louisiana to   upon the charge of misdemeanor, and upon
                              the United States, and      conviction shall be fined in a sum not            keep and bear arms ‘took
                              the Act Admitting           exceeding one hundred dollars, or by              place 75 years after the
                              Kansas into the Union       imprisonment in the county jail not exceeding     ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.




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                                           D. DANGEROUS WEAPONS LAWS1

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                                  are Prefixed Page 378,    three months, or both, at the discretion of the
                                  Image 387 (1868)          court.”
                                  available at The Making
                                  of Modern Law:
                                  Primary Sources, 1868.
                                  Crimes and
                                  Punishments, § 282.

297    1869         Tennessee     1869-70 Tenn. L. 23-24,   Prohibited the carrying of any “pistol, dirk,     See Plaintiffs’ response
                                  ch. 22.                   bowie-knife, Arkansas tooth-pick,” any            to Ex. No. 205 above.
                                                            weapon resembling a bowie knife or Arkansas       This law comes too late
                                                            toothpick, “or other deadly or dangerous          to shed much light on the
                                                            weapon” while “attending any election” or at      scope of the Second
                                                            “any fair, race course, or public assembly of     Amendment “[B]ecause
                                                            the people.”                                      post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.




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298   1869        Washington    1869 Wash. Sess. Laws     Prohibited exhibiting, in a rude, angry, or        See Plaintiffs’ response to
                                203-04, An Act Relative   threatening manner, a pistol, Bowie knife, or      Ex. No. 205 above.
                  [Territory]
                                to Crimes and             other dangerous weapon. Punishable by              This law comes too late
                                Punishments, and          imprisonment up to 1 year and a fine up to         to shed much light on the
                                Proceedings in Criminal   $500.                                              scope of the Second
                                Cases, ch. 2, § 32.                                                          Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.
                                                          Prohibited the open or concealed carry of “any     See Plaintiffs’ response to
299   1870          Georgia     1870 Ga. L. 421, ch.
                                                                                                             Ex. No. 205 above.
                                285.                      dirk, bowie-knife, pistol or revolver, or any
                                                          kind of deadly weapon” at “any court of            This law comes too late
                                                          justice, or any general election ground or         to shed much light on the
                                                          precinct, or any other public gathering,” except   scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.


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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction            Citation                      Description of Regulation               Plaintiffs’ Response
                                                               for militia musters.

300    1870         Louisiana     1870 La. Acts 159–60,        Prohibited the carrying of a concealed or open   See Plaintiffs’ response to
                                  An Act to Regulate the       gun, pistol, Bowie knife or other dangerous      Ex. No. 205 above.
                                  Conduct and to               weapon on an election day during the hours the   This law comes too late
                                  Maintain the Freedom         polls are open or during registration.           to shed much light on the
                                  of Party Election . . ., §   Punishable by fine of minimum $100 and           scope of the Second
                                  73.                          imprisonment of minimum 1 month.                 Amendment “[B]ecause
                                                                                                                post-Civil War
                                                                                                                discussions of the right to
                                                                                                                keep and bear arms ‘took
                                                                                                                place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.
301    1870         New York      “The Man Trap,” The          Referenced prohibition on the use of “infernal   See Plaintiffs’ response
                                  Buffalo Commercial,          machines.”                                       to Ex. No. 205 above.
                                  Nov. 1, 1870.                                                                 This law comes too late
                                                                                                                to shed much light on the
                                                                                                                scope of the Second
                                                                                                                Amendment “[B]ecause
                                                                                                                post-Civil War
                                                                                                                discussions of the right to
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                                                                                                                   keep and bear arms ‘took
                                                                                                                   place 75 years after the
                                                                                                                   ratification of the Second
                                                                                                                   Amendment, they do not
                                                                                                                   provide as much insight
                                                                                                                   into its original meaning
                                                                                                                   as earlier sources.”
                                                                                                                   Bruen, 597 U.S. at 36.
302   1870       West Virginia     1870 W. Va. Code 692,       If any person, habitually, carry about his          See Plaintiffs’ response to
                                   Of Offenses against the     person, hid from common observation, any            Ex. No. 205 above.
                                   Peace, ch. 148, § 7.        pistol, dirk, bowie knife, or weapon of the like    This law comes too late
                                                               kind, he shall be fined fifty dollars. The          to shed much light on the
                                                               informers shall have one half of such fine.         scope of the Second
                                                                                                                   Amendment “[B]ecause
                                                                                                                   post-Civil War
                                                                                                                   discussions of the right to
                                                                                                                   keep and bear arms ‘took
                                                                                                                   place 75 years after the
                                                                                                                   ratification of the Second
                                                                                                                   Amendment, they do not
                                                                                                                   provide as much insight
                                                                                                                   into its original meaning
                                                                                                                   as earlier sources.”
                                                                                                                   Bruen, 597 U.S. at 36.
303   1871        Arkansas –       George Eugene Dodge,        Prohibited carrying of a pistol, revolver, Bowie    See Plaintiffs’ response to
                  City of Little   A Digest of the Laws        knife, dirk, rifle, shot gun, slungshot, colt, or   Ex. No. 205 above.
                      Rock         and Ordinances of the       metal knuckles while engaged in a breach of         This law comes too late
                                   City of Little Rock, with   the peace. Punishable by a fine of $25-500.         to shed much light on the
                                   the Constitution of State                                                       scope of the Second
                                   of Arkansas, General                                                            Amendment “[B]ecause
                                   Incorporation Laws, and                                                         post-Civil War
                                   All Acts of the General
                                                                                                                   discussions of the right to
                                   Assembly Relating to
                                   the City 230-31 (1871).                                                         keep and bear arms ‘took
                                                                                                                   place 75 years after the
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                                                                               ratification of the Second
                                                                               Amendment, they do not
                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.

                                                                               Law is also local and
                                                                               inapplicable to 99% of the
                                                                               population.




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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                Plaintiffs’ Response

304    1871         District of   An Act to Prevent the       Prohibited the carrying or having concealed       See Plaintiffs’ response to
                    Columbia      Carrying of Concealed       “any deadly or dangerous weapons, such as         Ex. No. 205 above.
                                  Weapons, Aug. 10,           daggers, air-guns, pistols, Bowie knives, dirk-   This law comes too late
                                  1871, reprinted in Laws     knives, or dirks, razors, razor-blades, sword-    to shed much light on the
                                  of the District of          canes, slungshots, or brass or other metal        scope of the Second
                                  Columbia: 1871-1872,        knuckles.” Punishable by forfeiture of the        Amendment “[B]ecause
                                  Part II, 33 (1872) (Dist.   weapon and a fine of $20-50.                      post-Civil War
                                  of Col., An Act to
                                                                                                                discussions of the right to
                                  Prevent the Carrying of
                                  Concealed Weapons,                                                            keep and bear arms ‘took
                                  1871, ch. XXV).                                                               place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.
305    1871        Mississippi    1871 Miss. L. 819-20,       Imposed property tax on pistols, dirks, Bowie     See Plaintiffs’ response to
                                  ch. 33.                     knives, and sword canes.                          Ex. No. 205 above.
                                                                                                                This law comes too late
                                                                                                                to shed much light on the
                                                                                                                scope of the Second
                                                                                                                Amendment “[B]ecause
                                                                                                                post-Civil War
                                                                                                                discussions of the right to
                                                                                                                keep and bear arms ‘took
                                                                                                                place 75 years after the
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                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.
306   1871        Missouri –    Everett Wilson Pattison,    Prohibited the carrying of a concealed pistol,   See Plaintiffs’ response
                  City of St.   The Revised Ordinance       or revolver, colt, billy, slungshot, cross       to Ex. No. 205 above.
                    Louis       of the City of St. Louis,   knuckles, or knuckles of lead, brass or other    This law comes too late
                                Together with the           metal, Bowie knife, razor, dirk knife, dirk,     to shed much light on the
                                Constitution of the         dagger, or any knife resembling a Bowie knife,   scope of the Second
                                United States, and of the   or any other dangerous or deadly weapon          Amendment “[B]ecause
                                State of Missouri; the      without written permission from the Mayor.       post-Civil War
                                Charter of the City; and    Punishable by fine of $10-500.
                                                                                                             discussions of the right to
                                a Digest of the Acts of
                                the General Assembly,                                                        keep and bear arms ‘took
                                Relating to the City, at                                                     place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
                                  491-92 (1871),
                                  Ordinances of the City
                                  of St. Louis,
                                  Misdemeanors, §§ 9-10.

307    1871         Tennessee     James H. Shankland         Prohibited the carrying of a pistol, dirk, Bowie   See Plaintiffs’ response
                                  Public Statutes of the     knife, Arkansas tooth pick, or other weapon in     to Ex. No. 205 above.
                                  State of Tennessee,        the shape of those weapons, to an election site.   This law comes too late
                                  since the Year 1858.       Punishable by fine of minimum $50 and              to shed much light on the
                                  Being in the Nature of a   imprisonment at the discretion of the court.       scope of the Second
                                  Supplement to the Code,                                                       Amendment “[B]ecause
                                  at 108 (Nashville,                                                            post-Civil War
                                  1871).
                                                                                                                discussions of the right to
                                                                                                                keep and bear arms ‘took
                                                                                                                place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.




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308   1871          Texas     1871 Tex. Laws 25, An       Prohibited the carrying of a concealed pistol,   See Plaintiffs’ response
                              Act to Regulate the         dirk, dagger, slungshot, sword cane, spear,      to Ex. No. 205 above.
                              Keeping and Bearing of      brass knuckles, Bowie knife, or any other kind   This law comes too late
                              Deadly Weapons.             of knife used for offense or defense, unless     to shed much light on the
                              § 1.                        carried openly for self-defense. Punishable by   scope of the Second
                                                          fine of $20-100, forfeiture of the weapon, and   Amendment “[B]ecause
                                                          for subsequent offenses, imprisonment up to      post-Civil War
                                                          60 days.
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.
309   1871          Texas     Tex. Act of Apr. 12,        Prohibited the carrying of a concealed or open   See Plaintiffs’ response
                              1871, as codified in Tex.   gun, pistol, Bowie knife, or other dangerous     to Ex. No. 205 above.
                              Penal Code (1879).          weapon within a half mile of a polling site on   This law comes too late
                                                                                                           to shed much light on the
                                                                                                           scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.


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                                              D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                  Plaintiffs’ Response
                                  Art. 163.                 an election day. Also prohibited generally
                                                            carrying a pistol, dirk, dagger, slungshot,
                                                            sword cane, spear, brass knuckles, Bowie
                                                            knife, or other kind of knife used for offense or
                                                            defense. Punishable by fine and forfeiture of
                                                            the weapon.



310    1872        Maryland –     1872 Md. Laws 57, An      Prohibited the carrying of a concealed pistol,      See Plaintiffs’ response
                    City of       Act to Add an             dirk-knife, Bowie knife, slingshot, billy, razor,   to Ex. No. 205 above.
                   Annapolis      Additional Section to     brass, iron or other metal knuckles, or any         This law comes too late
                                  Article Two of the Code   other deadly weapon. Punishable by a fine of        to shed much light on the
                                  of Public Local Laws,     $3-10.                                              scope of the Second
                                  Entitled “Anne Arundel                                                        Amendment “[B]ecause
                                  County,” Sub-title                                                            post-Civil War
                                  “Annapolis,” to Prevent
                                                                                                                discussions of the right to
                                  the Carrying of
                                  Concealed Weapons in                                                          keep and bear arms ‘took
                                  Said City, § 246.                                                             place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.

                                                                                                                Law is also local and

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                                                                                                             inapplicable to 99% of
                                                                                                             the population.




311   1872        Nebraska –   Gilbert B. Colfield,       Prohibited the carrying openly or concealed of     See Plaintiffs’ response to
                    City of    Laws, Ordinances and       a musket, rifle, shot gun, pistol, sabre, sword,   Ex. No. 205 above.
                   Nebraska    Rules of Nebraska City,    Bowie knife, dirk, sword cane, billy slungshot,    This law comes too late
                               Otoe County, Nebraska,     brass or other metallic knuckles, or any other     to shed much light on the
                               at 36 (1872), Ordinance    dangerous or deadly weapons.                       scope of the Second
                               No. 7, An Ordinance                                                           Amendment “[B]ecause
                               Prohibiting the Carrying
                                                                                                             post-Civil War
                               of Fire Arms and
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Law is also local and
                                                                                                             inapplicable to 99% of the
                                                                                                             population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                  Plaintiffs’ Response
                                  Concealed Weapons, §
                                  1.




312    1872         Wisconsin     1872 Wis. Sess. Laws        “SECTION 1. If any person shall go armed            See Plaintiffs’ response to
                                  17, ch. 7, § 1, An Act to   with a concealed dirk, dagger, sword, pistol, or    Ex. No. 205 above.
                                  prohibit and prevent the    pistols, revolver, slung-shot, brass knuckles, or   This law comes too late
                                  carrying of concealed       other offensive and dangerous weapon, he            to shed much light on the
                                  weapons.                    shall, on conviction thereof, be adjudged guilty    scope of the Second
                                                              of a misdemeanor, and shall be punished by          Amendment “[B]ecause
                                                              imprisonment in the state prison for a term of      post-Civil War
                                                              not more than two years, or by imprisonment
                                                                                                                  discussions of the right to
                                                              in the county jail of the proper county not
                                                              more than twelve months, or by fine not             keep and bear arms ‘took
                                                              exceeding five hundred dollars, together with       place 75 years after the
                                                              the costs of prosecution, or by both said fine      ratification of the Second
                                                              and costs and either of said imprisonments;         Amendment, they do not
                                                              and he may also be required to find sureties for    provide as much insight
                                                              keeping the peace and against the further           into its original meaning
                                                              violation of this act for a term not exceeding      as earlier sources.”
                                                              two years: provided, that so going armed shall      Bruen, 597 U.S. at 36.
                                                              not be deemed a violation of this act whenever
                                                              it shall be made to appear that such person had
                                                              reasonable cause to fear an assault or other
                                                              injury or violence to his person, or to his
                                                              family or property, or to any person under his
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                     Description of Regulation                Plaintiffs’ Response
                                                             immediate care or custody, or entitled to his
                                                             protection or assistance, or if it be made to
                                                             appear that his possession of such weapon was
                                                             for a temporary purpose, and with harmless
                                                             intent.”

313    1873         Alabama       Wade Keyes, The Code       Prohibited the concealed carrying of any brass   See Plaintiffs’ response
                                  of Alabama, 1876, ch. 3,   knuckles, slungshots, or “other weapon of like   to Ex. No. 205 above.
                                  § 4110 (Act of Apr. 8,     kind or description.” Punishable by a fine of    This law comes too late
                                  1873, p. 130).             $20-200 and imprisonment or term of hard
                                                                                                              to shed much light on the
                                                             labor not to exceed 6 months.
                                                                                                              scope of the Second
                                                                                                              Amendment “[B]ecause
                                                                                                              post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.




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314   1873          Georgia     R. H. Clark, The Code     Prohibited the carrying of any dirk, Bowie          See Plaintiffs’ response
                                of the State of Georgia   knife, pistol, or other deadly weapon to a          to Ex. No. 205 above.
                                (1873) § 4528.            court, election site, precinct, place of worship,   This law comes too late
                                                          or other public gathering site. Punishable by       to shed much light on the
                                                          fine of $20-50 or imprisonment for 10-20 days.      scope of the Second
                                                                                                              Amendment “[B]ecause
                                                                                                              post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.
315   1873       Massachusetts 1850 Mass. Gen. Law,       Prohibited the carrying of a slungshot, metallic    See Plaintiffs’ response to
                               ch. 194, §§ 1, 2, as       knuckles, bills, or other dangerous weapon if       Ex. No. 205 above.
                               codified in Mass. Gen.     arrested pursuant to a warrant or while             This law comes too late
                               Stat., ch. 164 (1873) §    committing a crime. Punishable by fine.             to shed much light on the
                               10.                                                                            scope of the Second
                                                                                                              Amendment “[B]ecause
                                                                                                              post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.


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316   1873       Massachusetts 1850 Mass. Gen. Law,     Prohibited manufacturing or selling a            See Plaintiffs’ response to
                               ch. 194, §§ 1, 2 as      slungshot or metallic knuckles. Punishable by    Ex. No. 2025 above.
                               codified in Mass. Gen.   fine up to $50 or imprisonment up to 6 months.   This law comes too late
                               Stat., ch. 164 (1873)
                                                                                                         to shed much light on the
                               § 11.
                                                                                                         scope of the Second
                                                                                                         Amendment “[B]ecause
                                                                                                         post-Civil War
                                                                                                         discussions of the right to
                                                                                                         keep and bear arms ‘took
                                                                                                         place 75 years after the
                                                                                                         ratification of the Second
                                                                                                         Amendment, they do not
                                                                                                         provide as much insight
                                                                                                         into its original meaning
                                                                                                         as earlier sources.”
                                                                                                         Bruen, 597 U.S. at 36.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response

317    1873          Nevada       Bonnifield, The           Prohibited dueling and killing a person with a     See Plaintiffs’ response to
                                  Compiled Laws of the      rifle, shotgun, pistol, Bowie knife, dirk, small   Ex. No. 205 above.
                                  State of Nevada.          sword, backsword, or other dangerous weapon.       This law comes too late
                                  Embracing Statutes of                                                        to shed much light on the
                                  1861 to 1873, Inclusive,                                                     scope of the Second
                                  at 563 (Vol. 1, 1873), Of                                                    Amendment “[B]ecause
                                  Crimes and                                                                   post-Civil War
                                  Punishments, §§ 35-36.
                                                                                                               discussions of the right to
                                                                                                               keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.
                                                                                                               Nor is this law relevant as
                                                                                                               it prohibits dueling and
                                                                                                               killing other persons.




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318   1873         Tennessee   Seymour Dwight             Prohibited selling, loaning, or giving to a     This law comes too late
                               Thompson, A                minor a pistol, Bowie knife, dirk, Arkansas     to shed much light on the
                               Compilation of the         tooth-pick, hunter’s knife, or like dangerous   scope of the Second
                               Statute Laws of the        weapon, except a gun for hunting or self        Amendment “[B]ecause
                               State of Tennessee, of a   defense in traveling. Punishable by fine of     post-Civil War
                               General and Permanent      minimum $25 and imprisonment for a term
                                                                                                          discussions of the right to
                               Nature, Compiled on the    determined by the court.
                               Basis of the Code of                                                       keep and bear arms ‘took
                               Tennessee, With Notes                                                      place 75 years after the
                               and References,                                                            ratification of the Second
                               Including Acts of                                                          Amendment, they do not
                               Session of 1870-1871, at                                                   provide as much insight
                               125 (Vol. 2, 1873),                                                        into its original meaning
                               Offences Against Public                                                    as earlier sources.”
                               Policy and Economy,                                                        Bruen, 597 U.S. at 36.
                               § 4864.
                                                                                                          Not “relevantly similar”
                                                                                                          because it restricts
                                                                                                          minors, not legal adults.
                                                                                                          Law also permits sales,
                                                                                                          loans, and giving, of
                                                                                                          “gun[s] for hunting or
                                                                                                          self-defense in traveling.”
319   1874         Alabama     1874 Ala. L. 41, ch. 1.    Imposed $25 occupational tax on dealers of      See Plaintiffs’ response
                                                          pistols, Bowie knives, and dirk knives.         to Ex. No. 205 above.
                                                                                                          This law comes too late
                                                                                                          to shed much light on the
                                                                                                          scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
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                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.
                                                                               Not “relevantly similar”
                                                                               as this places a tax on
                                                                               dealers.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                Plaintiffs’ Response


320    1874          Illinois     Harvey Bostwick Hurd,       Prohibited the carrying a concealed weapon,       See Plaintiffs’ response to
                                  The Revised Statutes of     including a pistol, knife, slungshot, brass,      Ex. No. 205 above.
                                  the State of Illinois. A.   steel, or iron knuckles, or other deadly weapon
                                  D. 1874. Comprising the     while disturbing the peace. Punishable by fine    This law comes too late
                                  Revised Acts of 1871-       up to $100.                                       to shed much light on the
                                  72 and 1873-74,                                                               scope of the Second
                                  Together with All Other                                                       Amendment “[B]ecause
                                  General Statutes of the                                                       post-Civil War
                                  State, in Force on the
                                                                                                                discussions of the right to
                                  First Day of July, 1874,
                                  at 360 (1874),                                                                keep and bear arms ‘took
                                  Disorderly Conduct:                                                           place 75 years after the
                                  Disturbing the Peace, §                                                       ratification of the Second
                                  56.                                                                           Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.




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321   1874       New Jersey –     Ordinances of Jersey      Prohibited the carrying of a concealed
                 City of Jersey   City, Passed by the       slungshot, billy, sandclub or metal knuckles,    See Plaintiffs’ response to
                      City        Board of Aldermen         and any dirk or dagger (not contained as a       Ex. No. 205 above.
                                  since May 1, 1871,        blade of a pocket-knife), and loaded pistol or   This law comes too late
                                  under the Act Entitled    other dangerous weapon, including a sword in
                                                                                                             to shed much light on the
                                  “An Act to Re-organize    a cane, or air-gun. punishable by confiscation
                                  the Local Government      of the weapon and a fine of up to $20.           scope of the Second
                                  of Jersey City,” Passed   Exempted policemen of Jersey City.               Amendment “[B]ecause
                                  March 31, 1871, and the                                                    post-Civil War
                                  Supplements Thereto, at                                                    discussions of the right to
                                  41 (1874), An                                                              keep and bear arms ‘took
                                  Ordinance to Prevent                                                       place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Law is also local and
                                                                                                             inapplicable to 99% of the
                                                                                                             population.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a concealed carry
                                                                                                             restriction and has no age-
                                                                                                             restrictions of any kind.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                    Description of Regulation                Plaintiffs’ Response
                                  the Carrying of Loaded
                                  or Concealed Weapons
                                  within the Limits of
                                  Jersey City. The Mayor
                                  and Aldermen of Jersey
                                  City do ordain as
                                  follows: §§ 1-2.

322    1874          Virginia     1874 Va. L. 239, ch.     Included the value of all “rifles, muskets, and   See Plaintiffs’ response
                                  239.                     other fire-arms, bowie-knives, dirks, and all     to Ex. No. 205 above.
                                                           weapons of a similar kind” in list of taxable     This law comes too late
                                                           personal property.
                                                                                                             to shed much light on the
                                                                                                             scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.
                                                                                                             Not “relevantly similar”
                                                                                                             as it imposes a tax on

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                                                                                                      property and does not
                                                                                                      have an age restriction of
                                                                                                      any kind.



323   1875         Alabama    1875-1876 Ala. L. 82,   Imposed $50 occupational tax on dealers of      See Plaintiffs’ response
                              ch. 1.                  pistols, Bowie knives, and dirk knives.         to Ex. No. 205 above.
                                                                                                      This law comes too late
                                                                                                      to shed much light on the
                                                                                                      scope of the Second
                                                                                                      Amendment “[B]ecause
                                                                                                      post-Civil War
                                                                                                      discussions of the right to
                                                                                                      keep and bear arms ‘took
                                                                                                      place 75 years after the
                                                                                                      ratification of the Second
                                                                                                      Amendment, they do not
                                                                                                      provide as much insight
                                                                                                      into its original meaning
                                                                                                      as earlier sources.”
                                                                                                      Bruen, 597 U.S. at 36.
                                                                                                      Not “relevantly similar”
                                                                                                      as it imposes a tax on
                                                                                                      property and does not
                                                                                                      have an age restriction of
                                                                                                      any kind.
324   1875         Alabama    1875-1876 Ala. L. 46,   Imposed tax rate of 0.75% of the value of any   See Plaintiffs’ response to
                              ch. 2.                  pistols, guns, dirks, and Bowie knives.         Ex. No. 205 above.
                                                                                                      This law comes too late
                                                                                                      to shed much light on the
                                                                                                      scope of the Second
                                                                                                      Amendment “[B]ecause
                                                                                                      post-Civil War
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                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar” as
                                                                                                           it imposes a tax on property
                                                                                                           and does not have an age
                                                                                                           restriction of any kind.
325   1875         Arkansas   Act of Feb. 16, 1875,    Prohibited the carrying in public of any “pistol,   See Plaintiffs’ response
                              1874-75 Ark. Acts 156,   gun, knife, dirk, bludgeon, or other offensive      to Ex. No. 205 above.
                              § 1.                     weapon, with intent to assault any person.”         This law comes too late
                                                       Punishable by a fine of $25-100.                    to shed much light on the
                                                                                                           scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a general carry
                                                                                                           restriction with the intent
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                                                                               to assault a person and
                                                                               does not have an age
                                                                               restriction of any kind.




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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                       Description of Regulation              Plaintiffs’ Response

326    1875           Idaho       Crimes and                   Prohibited the carrying of “any pistol, gun,   See Plaintiffs’ response to
                                  Punishments, in              knife, dirk, bludgeon, or other offensive      Ex. No. 205 above.
                   [Territory]
                                  Compiled and Revised         weapon, with intent to assault any person.”    This law comes too late
                                  Laws of the Territory of     Punishable by imprisonment for up to 3         to shed much light on the
                                  Idaho 354 (M. Kelly,         months or a fine up to $100.                   scope of the Second
                                  Territorial Printer 1875),                                                  Amendment “[B]ecause
                                  § 133.                                                                      post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar” as
                                                                                                              it is a general carry
                                                                                                              restriction with the intent to
                                                                                                              assault a person and does
                                                                                                              not have an age restriction
                                                                                                              of any kind.




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327   1875          Indiana   1875 Ind. Acts 62, An    Prohibited the drawing or threatening to use a     See Plaintiffs’ response to
                              Act Defining Certain     pistol, dirk, knife, slungshot, or any other       Ex. No. 205 above.
                              Misdemeanors, and        deadly or dangerous weapon. Punishable by          This law comes too late
                              Prescribing Penalties    fine of $1-500, and potentially imprisonment       to shed much light on the
                              Therefore, § 1.          up to 6 months.                                    scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar” as
                                                                                                          it is a restriction on
                                                                                                          drawing or threatening
                                                                                                          certain arms and does not
                                                                                                          have an age restriction of
                                                                                                          any kind.
328   1876         Alabama    1876-77 Ala. Code 882,   Prohibited the carrying of a Bowie knife,          See Plaintiffs’ response to
                              § 4109.                  pistol, or air gun, or any other weapon of “like   Ex. No. 205 above.
                                                       kind or description,” unless threatened with or    This law comes too late
                                                       having good cause to fear an attack or while       to shed much light on the
                                                       traveling or setting out on a journey.             scope of the Second
                                                       Punishable by a fine of $50-300 and                Amendment “[B]ecause
                                                       imprisonment or hard labor for no more than 6      post-Civil War
                                                       months.
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
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                                                                                                        Amendment, they do not
                                                                                                        provide as much insight
                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

                                                                                                        Not “relevantly similar” as
                                                                                                        it is a carry restriction of
                                                                                                        certain weapons and does
                                                                                                        not have an age restriction
                                                                                                        of any kind.
329   1876         Colorado   1876 Colo. Sess. Laws   Prohibited the carrying with intent to assault    See Plaintiffs’ response to
                              304, § 154.             another any pistol, gun, knife, dirk, bludgeon,   Ex. No. 205 above.
                                                                                                        This law comes too late
                                                                                                        to shed much light on the
                                                                                                        scope of the Second
                                                                                                        Amendment “[B]ecause
                                                                                                        post-Civil War
                                                                                                        discussions of the right to
                                                                                                        keep and bear arms ‘took
                                                                                                        place 75 years after the
                                                                                                        ratification of the Second
                                                                                                        Amendment, they do not
                                                                                                        provide as much insight
                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

                                                                                                        Not “relevantly similar”
                                                                                                        as it is a general carry
                                                                                                        restriction with the intent
                                                                                                        to assault a person and
                                                                                                        does not have an age
                                                                                                        restriction of any kind.
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                   Description of Regulation              Plaintiffs’ Response
                                                          or other offensive weapon.




330    1876          Georgia      1876 Ga. L. 112, ch.    Prohibited the transfer of any pistol, dirk,   See Plaintiffs’ response
                                  128.                    Bowie knife, or sword cane to a minor.         to Ex. No. 205 above.
                                                                                                         This law comes too late
                                                                                                         to shed much light on the
                                                                                                         scope of the Second
                                                                                                         Amendment “[B]ecause
                                                                                                         post-Civil War
                                                                                                         discussions of the right to
                                                                                                         keep and bear arms ‘took
                                                                                                         place 75 years after the
                                                                                                         ratification of the Second
                                                                                                         Amendment, they do not
                                                                                                         provide as much insight
                                                                                                         into its original meaning
                                                                                                         as earlier sources.”
                                                                                                         Bruen, 597 U.S. at 36.

                                                                                                         Not “relevantly similar”
                                                                                                         as it is restricts minors,
                                                                                                         not legal adults. Permits
                                                                                                         the sale, purchase,
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                                                                                                            acquisition, possession
                                                                                                            and carrying of all long
                                                                                                            guns by minors and legal
                                                                                                            adults.

331   1876        Illinois –   Consider H. Willett,      Prohibited the carrying a concealed pistol,        See Plaintiffs’ response
                  Village of   Laws and Ordinances       revolver, slungshot, knuckles, Bowie knife,        to Ex. No. 205 above.
                  Hyde Park    Governing the Village     dirk knife, dirk, dagger, or any other dangerous   This law comes too late
                               of Hyde Park [Illinois]   or deadly weapon without written permission
                                                                                                            to shed much light on the
                               Together with Its         from the Captain of Police. Exempted peace
                               Charter and General       officers.                                          scope of the Second
                               Laws Affecting                                                               Amendment “[B]ecause
                               Municipal Corporations;                                                      post-Civil War
                               Special Ordinances and                                                       discussions of the right to
                               Charters under Which                                                         keep and bear arms ‘took
                               Corporations Have                                                            place 75 years after the
                               Vested Rights in the                                                         ratification of the Second
                               Village. Also, Summary                                                       Amendment, they do not
                               of Decisions of the                                                          provide as much insight
                               Supreme Court Relating
                                                                                                            into its original meaning
                               to Municipal
                               Corporations, Taxation                                                       as earlier sources.”
                               and Assessments, at 64                                                       Bruen, 597 U.S. at 36.


                                                                                                            Not “relevantly similar”
                                                                                                            as it is a concealed carry
                                                                                                            and does not have an age
                                                                                                            restriction of any kind.
                                                                                                            It is also a local
                                                                                                            ordinance and not
                                                                                                            applicable to 99% of the
                                                                                                            population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                   Plaintiffs’ Response
                                  (1876), Misdemeanors,
                                  § 39.

332    1876         Wyoming       Wyo. Comp. Laws            Prohibited the carrying of a pistol, knife, dirk,   See Plaintiffs’ response to
                                  (1876) ch. 35, § 127, as   bludgeon, or other offensive weapon with the        Ex. No. 205 above.
                   [Territory]
                                  codified in Wyo. Rev.      intent to assault a person. Punishable by fine      This law comes too late
                                  Stat., Crimes (1887),      up to $500 or imprisonment up to 6 months.          to shed much light on the
                                  Having possession of                                                           scope of the Second
                                  offensive weapons,                                                             Amendment “[B]ecause
                                  § 1027.                                                                        post-Civil War
                                                                                                                 discussions of the right to
                                                                                                                 keep and bear arms ‘took
                                                                                                                 place 75 years after the
                                                                                                                 ratification of the Second
                                                                                                                 Amendment, they do not
                                                                                                                 provide as much insight
                                                                                                                 into its original meaning
                                                                                                                 as earlier sources.”
                                                                                                                 Bruen, 597 U.S. at 36.

                                                                                                                 Not “relevantly similar” as
                                                                                                                 it is a general carry
                                                                                                                 restriction with the intent to
                                                                                                                 assault a person and does
                                                                                                                 not have an age restriction
                                                                                                                 of any kind.

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333   1877         Alabama    Wade Keyes, The Code       Prohibited the sale, giving, or lending of any    See Plaintiffs’ response
                              of Alabama, 1876, ch. 6,   pistol, Bowie knife, or “like knife” to any boy   to Ex. No. 205 above.
                              § 4230.                    under the age of 18.                              This law comes too late
                                                                                                           to shed much light on the
                                                                                                           scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.


                                                                                                           Not “relevantly similar”
                                                                                                           as it is restricts the sale
                                                                                                           of pistols and certain
                                                                                                           knives to “any boy under
                                                                                                           the age of 18.” Law
                                                                                                           would not affect 18-20-
                                                                                                           year-old minors or legal
                                                                                                           adults.




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334   1877         Alabama     Wade Keyes, The Code       Prohibited the concealed carrying of any           See Plaintiffs’ response to
                               of Alabama, 1876, ch. 3,   Bowie knife, or any other knife of like kind or    Ex. No. 205 above.
                               § 4109.                    description, pistol, air gun, slungshot, brass     This law comes too late
                                                          knuckles, or other deadly or dangerous             to shed much light on the
                                                          weapon, unless the person was threatened           scope of the Second
                                                          with, or had good reason to apprehend, an          Amendment “[B]ecause
                                                          attack, or “while traveling, or setting out on a   post-Civil War
                                                          journey.” Punishable by fine of $50-300 and
                                                                                                             discussions of the right to
                                                          imprisonment of not more than 6 months.
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a concealed carry
                                                                                                             restriction and does not
                                                                                                             have an age restriction of
                                                                                                             any kind.
335   1877        Colorado –   Edward O. Wolcott, The     Prohibited the concealed carrying of any           See Plaintiffs’ response to
                   Town of     Ordinances of              pistol, Bowie knife, dagger, or other deadly       Ex. No. 205 above.
                  Georgetown   Georgetown [Colorado]      weapon. Punishable by a fine of $5-50.             This law comes too late
                               Passed June 7th, A.D.                                                         to shed much light on the
                                                                                                             scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                                                297
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                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.

                                                                               Not “relevantly similar” as
                                                                               it is a concealed carry
                                                                               restriction and does not
                                                                               have an age restriction of
                                                                               any kind.

                                                                               It is also a local ordinance
                                                                               inapplicable to 99% of the
                                                                               population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                                  1877, at 100, § 9.

336    1877        New Jersey     Mercer Beasley,             Prohibited The carrying of “any pistol, hanger,   See Plaintiffs’ response to
                                  Revision of the Statutes    cutlass, bludgeon, or other offensive weapon,     Ex. No. 205 above.
                                  of New Jersey:              with intent to assault any person.” Punishable    This law comes too late
                                  Published under the         as a “disorderly person.”                         to shed much light on the
                                  Authority of the                                                              scope of the Second
                                  Legislature; by Virtue of                                                     Amendment “[B]ecause
                                  an Act Approved April                                                         post-Civil War
                                  4, 1871, at 304 (1877),
                                                                                                                discussions of the right to
                                  An Act Concerning
                                  Disorderly Persons, § 2.                                                      keep and bear arms ‘took
                                                                                                                place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.


                                                                                                                Not “relevantly similar” as
                                                                                                                it is a general carry
                                                                                                                restriction with the intent to
                                                                                                                assault a person and does
                                                                                                                not have an age restriction
                                                                                                                of any kind.


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337   1877       South Dakota     S.D. Terr. Pen. Code     Prohibited the carrying, “whether concealed or    See Plaintiffs’ response
                                  (1877), § 457 as         not,” of any slungshot, and prohibited the        to Ex. No. 205 above.
                  [Territory]
                                  codified in S.D. Rev.    concealed carrying of any firearms or sharp or    This law comes too late
                                  Code, Penal Code         dangerous weapons.                                to shed much light on the
                                  (1903), §§ 470-471.                                                        scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a carry restriction
                                                                                                             and does not have an age
                                                                                                             restriction of any kind.
338   1877       Utah – City of   Chapter 5: Offenses      Prohibited carrying a pistol, or other firearm,   See Plaintiffs’ response to
                    Provo         Against the Person,      slungshot, false knuckles, Bowie knife, dagger    Ex. No. 205 above.

                   [Territory]    undated, reprinted in    or any other “dangerous or deadly weapon.”        This law comes too late
                                  The Revised Ordinances   Punishable by fine up to $25.                     to shed much light on the
                                  Of Provo City,                                                             scope of the Second
                                  Containing All The                                                         Amendment “[B]ecause
                                  Ordinances In Force                                                        post-Civil War
                                  105, 106-07 (1877)
                                  (Provo, Utah).                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not

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                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.

                                                                               Not “relevantly similar” as
                                                                               it is a general carry
                                                                               restriction and does not
                                                                               have an age restriction of
                                                                               any kind.
                                                                               This is also a local
                                                                               ordinance inapplicable to
                                                                               99% of the population.




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              Case
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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction            Citation                  Description of Regulation            Plaintiffs’ Response
                                  § 182.

339    1878        Alabama –      1878 Ala. L. 437, ch.     Authorized Uniontown to license dealers of   See Plaintiffs’ response
                    City of       314.                      pistols, Bowie knives, and dirk knives.      to Ex. No. 205 above.
                   Uniontown                                                                             This law comes too late
                                                                                                         to shed much light on the
                                                                                                         scope of the Second
                                                                                                         Amendment “[B]ecause
                                                                                                         post-Civil War
                                                                                                         discussions of the right to
                                                                                                         keep and bear arms ‘took
                                                                                                         place 75 years after the
                                                                                                         ratification of the Second
                                                                                                         Amendment, they do not
                                                                                                         provide as much insight
                                                                                                         into its original meaning
                                                                                                         as earlier sources.”
                                                                                                         Bruen, 597 U.S. at 36.


                                                                                                         Not “relevantly similar”
                                                                                                         as it is a licensing
                                                                                                         regulation and does not
                                                                                                         have an age restriction of
                                                                                                         any kind.



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             Case
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                                                                                                               It is also a local
                                                                                                               ordinance inapplicable to
                                                                                                               99% of the population.

340   1878        California –   William. M. Caswell,      “In future, no persons, except peace officers,      See Plaintiffs’ response to
                  City of Los    Revised Charter and       and persons actually traveling, and                 Ex. No. 205 above.
                   Angeles       Compiled Ordinances       immediately passing through Los Angeles city,       This law comes too late
                                 and Resolutions of the    shall wear or carry any dirk, pistol, sword in a    to shed much light on the
                                 City of Los Angeles       cane, slung-shot, or other dangerous or deadly      scope of the Second
                                 Page 85, Image 83         weapon, concealed or otherwise, within the          Amendment “[B]ecause
                                 (1878) available at The   corporate limits of said city, under a penalty of   post-Civil War
                                 Making of Modern Law:     not more than one hundred dollars fine, and
                                                                                                               discussions of the right to
                                 Primary Sources. 1878     imprisonment at the discretion of the Mayor,
                                 Ordinances of the City    not to exceed ten days. It is hereby made the       keep and bear arms ‘took
                                 of Los Angeles, § 36.     duty of each police officer of this city, when      place 75 years after the
                                                           any stranger shall come within said corporate       ratification of the Second
                                                           limits wearing or carrying weapons, to, as soon     Amendment, they do not
                                                           as possible, give them information and              provide as much insight
                                                           warning of this ordinance; and in case they         into its original meaning
                                                           refuse or decline to obey such warning by           as earlier sources.”
                                                           depositing their weapons in a place of safety,      Bruen, 597 U.S. at 36.
                                                           to complain of them immediately.”

                                                                                                               Not “relevantly similar” as
                                                                                                               it is a general carry
                                                                                                               restriction and does not
                                                                                                               have an age restriction of
                                                                                                               any kind.
341   1878        Mississippi    1878 Miss. Laws 175,      Prohibited the carrying of a concealed Bowie        See Plaintiffs’ response
                                 An Act to Prevent the     knife, pistol, brass knuckles, slungshot or other   to Ex. No. 205 above.
                                 Carrying of Concealed     deadly weapon. Excepted travels other than “a       This law comes too late
                                 Weapons and for Other                                                         to shed much light on the
                                                                                                               scope of the Second
                                                                                                               Amendment “[B]ecause
                                                                                                               post-Civil War
                                                                                                               discussions of the right to
                                                                                                                                 303
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                                                                               keep and bear arms ‘took
                                                                               place 75 years after the
                                                                               ratification of the Second
                                                                               Amendment, they do not
                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.

                                                                               Not “relevantly similar”
                                                                               as it is a concealed carry
                                                                               restriction and does not
                                                                               have an age restriction of
                                                                               any kind.




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              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                   Description of Regulation          Plaintiffs’ Response
                                  Purposes, § 1.            tramp.” Punishable by fine of $5-100.

342    1879        Alabama –      J. M. Falkner, The Code   Prohibited carrying of a concealed Bowie   See Plaintiffs’ response to
                     City of      of Ordinances of the      knife, pistol, air gun, slungshot, brass   Ex. No. 205 above.
                   Montgomery     City Council of           knuckles, or other deadly or dangerous     This law comes too late
                                  Montgomery [Alabama]      weapon. Punishable by a fine of $1-100.    to shed much light on the
                                  (1879), § 428.                                                       scope of the Second
                                                                                                       Amendment “[B]ecause
                                                                                                       post-Civil War
                                                                                                       discussions of the right to
                                                                                                       keep and bear arms ‘took
                                                                                                       place 75 years after the
                                                                                                       ratification of the Second
                                                                                                       Amendment, they do not
                                                                                                       provide as much insight
                                                                                                       into its original meaning
                                                                                                       as earlier sources.”
                                                                                                       Bruen, 597 U.S. at 36.

                                                                                                       Not “relevantly similar” as
                                                                                                       it is a concealed carry
                                                                                                       restriction and does not
                                                                                                       have an age restriction of
                                                                                                       any kind.



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             Case
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343   1879        Idaho – City   Charter and Revised       Prohibited the carrying a concealed Bowie         See Plaintiffs’ response to
                    of Boise     Ordinances of Boise       knife, dirk knife, pistol or sword in cane,       Ex. No. 205 above.

                  [Territory]    City, Idaho. In Effect    slungshot, metallic knuckles, or other            This law comes too late
                                 April 12, 1894, at 118-   dangerous or deadly weapon, unless traveling      to shed much light on the
                                 19 (1894), Carrying       or setting out on a journey. Punishable by fine   scope of the Second
                                 Concealed Weapons, §      up to $25 and/or imprisonment up to 20 days.      Amendment “[B]ecause
                                 36.                                                                         post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a concealed carry
                                                                                                             restriction and does not
                                                                                                             have an age restriction of
                                                                                                             any kind.

                                                                                                             It is also a local ordinance
                                                                                                             and inapplicable to 99% of
                                                                                                             the population.




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344   1879       Kansas – City   Revised Ordinances of     “That it shall be unlawful for any person to       See Plaintiffs’ response to
                   of Salina     the City of Salina,       carry on or about his person any pistol, bowie     Ex. No. 205 above.
                                 Together with the Act     knife, dirk, or other deadly or dangerous          This law comes too late
                                 Governing Cities of the   weapon, anywhere within the limits of the city     to shed much light on the
                                 Second Class: Also a      of Salina, save and except as hereinafter          scope of the Second
                                 Complete List of the      provided. § 2. This ordinance shall not apply to   Amendment “[B]ecause
                                 Officers of Salina        cases when any person carrying any weapon          post-Civil War
                                 During its Organization   above mentioned is engaged in the pursuit of
                                                                                                              discussions of the right to
                                 as a Town and City of     any lawful business, calling or employment
                                 the Second and Third      and the circumstances in which such person is      keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar” as
                                                                                                              it is a concealed carry
                                                                                                              restriction and does not
                                                                                                              have an age restriction of
                                                                                                              any kind.

                                                                                                              It is also a local ordinance
                                                                                                              and inapplicable to 99% of
                                                                                                              the population.




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              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
                                  Class Page 99, Image       placed at the time aforesaid, are such as to
                                  100 (1879) available at    justify a prudent man in carrying such weapon,
                                  The Making of Modern       for the defense of his person, property or
                                  Law: Primary Sources.      family, nor to cases where any person shall
                                  1879 Ordinances of the     carry such weapon openly in his hands, for the
                                  City of Salina, An         purpose of sale, barter, or for repairing the
                                  Ordinance Relating to      same, or for use in any lawful occupation
                                  the Carrying of Deadly     requiring the use of the same. § 3. Any person
                                  Weapons, § 1.              violating any of the provisions of this
                                                             ordinance shall, upon 31 conviction thereof
                                                             before the police court, be fined in any sum not
                                                             less that twentyfive nor more than one hundred
                                                             dollars.”

345    1879         Louisiana     La. Const. of 1879, art.   Provided the right to bear arms, but authorizes    See Plaintiffs’ response to
                                  III.                       the passage of laws restricting the carrying of    Ex. No. 205 above.
                                                             concealed weapons.                                 This law comes too late
                                                                                                                to shed much light on the
                                                                                                                scope of the Second
                                                                                                                Amendment “[B]ecause
                                                                                                                post-Civil War
                                                                                                                discussions of the right to
                                                                                                                keep and bear arms ‘took
                                                                                                                place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight

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                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a state constitutional
                                                                                                             provision permitting “laws
                                                                                                             restricting” concealed carry
                                                                                                             and does not have an age
                                                                                                             restriction of any kind.
346   1879         Montana      1879 Mont. Laws 359,        Prohibited dueling and killing a person          See Plaintiffs’ response to
                                Offences against the        involved with a rifle, shot-gun, pistol, Bowie   Ex. No. 205 above.
                  [Territory]
                                Lives and Persons of        knife, dirk, small-sword, back-sword, or other   This law comes too late
                                Individuals, ch. 4, § 23.   dangerous weapon. Punishable by death by         to shed much light on the
                                                            hanging.                                         scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a law restricting
                                                                                                             dueling and killing of
                                                                                                             persons and does not have
                                                                                                             an age restriction of any
                                                                                                             kind.

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             Case
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347   1879          North     North Carolina: N.C.     Prohibited the concealed carrying of any        See Plaintiffs’ response
                              Sess. Laws (1879), ch.   pistol, Bowie knife, dirk, dagger, slungshot,   to Ex. No. 205 above.
                                                                                                       This law comes too late
                                                                                                       to shed much light on the
                                                                                                       scope of the Second
                                                                                                       Amendment “[B]ecause
                                                                                                       post-Civil War
                                                                                                       discussions of the right to
                                                                                                       keep and bear arms ‘took
                                                                                                       place 75 years after the
                                                                                                       ratification of the Second
                                                                                                       Amendment, they do not
                                                                                                       provide as much insight
                                                                                                       into its original meaning
                                                                                                       as earlier sources.”
                                                                                                       Bruen, 597 U.S. at 36.

                                                                                                       Not “relevantly similar” as
                                                                                                       it is a concealed carry
                                                                                                       restriction and does not
                                                                                                       have an age restriction of
                                                                                                       any kind.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                    Carolina      127, as codified in         loaded case, metal knuckles, razor, or other
                                  North Carolina Code,        deadly weapon. Exemption for carrying on the
                                  Crim. Code, ch. 25          owner’s premises. Punishable by fine or
                                  (1883) § 1005,              imprisonment at the discretion of the court.
                                  Concealed weapons, the
                                  carrying or unlawfully, a
                                  misdemeanor.

348    1879           Texas       1879 Tex. Crim. Stat.       “If any person in this state shall carry on or     See Plaintiffs’ response to
                                  tit. IX, Ch. 4.             about his person, saddle, or in his saddle-bags,   Ex. No. 205 above.
                                                              any pistol, dirk, dagger, slung-shot, sword-       This law comes too late
                                                              cane, spear, brass-knuckles, bowie-knife, or       to shed much light on the
                                                              any other kind of knife manufactured or sold       scope of the Second
                                                              for the purposes of offense or defense, he shall   Amendment “[B]ecause
                                                              be punished by fine of not less than twenty-       post-Civil War
                                                              five nor more than one hundred dollars; and, in
                                                                                                                 discussions of the right to
                                                              addition thereto, shall forfeit to the county in
                                                              which he is convicted, the weapon or weapons       keep and bear arms ‘took
                                                              so carried.” Exemptions for militia members.       place 75 years after the
                                                              Also prohibited carrying in a church, religious    ratification of the Second
                                                              assembly, schools, and other sensitive spaces.     Amendment, they do not
                                                                                                                 provide as much insight
                                                                                                                 into its original meaning
                                                                                                                 as earlier sources.”
                                                                                                                 Bruen, 597 U.S. at 36.

                                                                                                                 Not “relevantly similar” as
                                                                                                                 it is a general carry
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                                                                                                        restriction and does not
                                                                                                        have an age restriction of
                                                                                                        any kind.




349   1880           Ohio     Michael Augustus          Prohibited the concealed carrying of any        See Plaintiffs’ response to
                              Daugherty, The Revised    pistol, Bowie knife, dirk, or other dangerous   Ex. No. 205 above.
                              Statutes and Other Acts   weapon. Punishable by a fine of up to $200 or   This law comes too late
                              of a General Nature of    imprisonment for up to 30 days for the first    to shed much light on the
                              the State of Ohio: In     offense, and a fine of up to $500 or            scope of the Second
                              Force January 1, 1880,    imprisonment for up to 3 months for the         Amendment “[B]ecause
                              at 1633 (Vol. 2, 1879),
                                                                                                        post-Civil War
                                                                                                        discussions of the right to
                                                                                                        keep and bear arms ‘took
                                                                                                        place 75 years after the
                                                                                                        ratification of the Second
                                                                                                        Amendment, they do not
                                                                                                        provide as much insight
                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

                                                                                                        Not “relevantly similar” as
                                                                                                        it is a concealed carry
                                                                                                        restriction and does not
                                                                                                        have an age restriction of
                                                                                                                          312
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                                                                               any kind.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response
                                  Offences Against Public    second offense.
                                  Peace, § 6892.

350    1880          South        1880 S.C. Acts 448, § 1,   Prohibited the carrying of a concealed pistol,    See Plaintiffs’ response to
                    Carolina      as codified in S.C. Rev.   dirk, dagger, slungshot, metal knuckles, razor,   Ex. No. 205 above.
                                  Stat. (1894), § 129.       or other deadly weapon. Punishable by fine up     This law comes too late
                                                             to $200 and/or imprisonment up to 1 year.         to shed much light on the
                                                                                                               scope of the Second
                                                                                                               Amendment “[B]ecause
                                                                                                               post-Civil War
                                                                                                               discussions of the right to
                                                                                                               keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar” as
                                                                                                               it is a concealed carry
                                                                                                               restriction and does not
                                                                                                               have an age restriction of
                                                                                                               any kind.


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351   1881         Alabama    1880-1881 Ala. L. 38-     Prohibited the concealed carrying of any             See Plaintiffs’ response to
                              39, ch. 44.               Bowie knife, or any other knife of like kind or      Ex. No. 205 above.
                                                        description, pistol, or firearm of “any other        This law comes too late
                                                        kind or description,” or air gun. Punishable by      to shed much light on the
                                                        fine of $50-300 and imprisonment of not more         scope of the Second
                                                        than 6 months. Further provided that fines           Amendment “[B]ecause
                                                        collected under the statute would be monetary        post-Civil War
                                                        and not in-kind payments.
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a concealed carry
                                                                                                             restriction and does not
                                                                                                             have an age restriction of
                                                                                                             any kind.
352   1881         Arkansas   1881 Ark. Acts 191, ch.   Prohibited the carrying of any dirk, Bowie           See Plaintiffs’ response to
                              96, § 1-2.                knife, sword, spear cane, metal knuckles,            Ex. No. 205 above.
                                                        razor, or any pistol (except pistols that are used   This law comes too late
                                                        in the Army or Navy if carried openly in the         to shed much light on the
                                                        hand).                                               scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                                                315
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                                                                                                   provide as much insight
                                                                                                   into its original meaning
                                                                                                   as earlier sources.”
                                                                                                   Bruen, 597 U.S. at 36.

                                                                                                   Not “relevantly similar” as
                                                                                                   it is a general carry
                                                                                                   restriction and does not
                                                                                                   have an age restriction of
                                                                                                   any kind.
353   1881         Colorado   Colo. Rev. Stat 1774, §   Prohibited the concealed carrying of any   See Plaintiffs’ response to
                                                                                                   Ex. No. 205 above.
                                                                                                   This law comes too late
                                                                                                   to shed much light on the
                                                                                                   scope of the Second
                                                                                                   Amendment “[B]ecause
                                                                                                   post-Civil War
                                                                                                   discussions of the right to
                                                                                                   keep and bear arms ‘took
                                                                                                   place 75 years after the
                                                                                                   ratification of the Second
                                                                                                   Amendment, they do not
                                                                                                   provide as much insight
                                                                                                   into its original meaning
                                                                                                   as earlier sources.”
                                                                                                   Bruen, 597 U.S. at 36.

                                                                                                   Not “relevantly similar” as
                                                                                                   it is a concealed carry
                                                                                                   restriction and does not
                                                                                                   have an age restriction of
                                                                                                   any kind.


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                                           D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                   Description of Regulation                Plaintiffs’ Response
                                  248 (1881).              firearms, any pistol, revolver, Bowie knife,
                                                           dagger, slingshot, brass knuckles, or other
                                                           deadly weapon, unless authorized by chief of
                                                           police.



354    1881         Delaware      1881 Del. Laws 987, An   Prohibited the carrying of concealed deadly      See Plaintiffs’ response to
                                  Act Providing for the    weapons or selling deadly weapons other than     Ex. No. 205 above.
                                  Punishment of Persons    an ordinary pocket knife to minors. Punishable   This law comes too late
                                  Carrying Concealed       by a fine of $25-200 or imprisonment for 10-
                                                                                                            to shed much light on the
                                  Deadly Weapons, ch.      30 days.
                                  548, § 1.                                                                 scope of the Second
                                                                                                            Amendment “[B]ecause
                                                                                                            post-Civil War
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar” as
                                                                                                            it is a concealed carry

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                                                                                                             restriction and does not
                                                                                                             have an age restriction of
                                                                                                             any kind.




355   1881          Illinois   Ill. Act of Apr. 16,        Prohibited the possession, selling, loaning, or   See Plaintiffs’ response to
                               1881, as codified in Ill.   hiring for barter of a slungshot or metallic      Ex. No. 205 above.
                               Stat. Ann., Crim. Code      knuckles or other deadly weapon. Punishable       This law comes too late
                               73 (1885), ch. 38,          as a misdemeanor.                                 to shed much light on the
                               Possession or sale                                                            scope of the Second
                               forbidden, § 1.                                                               Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a restriction on
                                                                                                             slugshots, and metallic
                                                                                                             knuckles and does not have
                                                                                                             an age restriction of any
                                                                                                             kind.




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356   1881          Illinois   Harvey Bostwick Hurd,      Prohibited selling, giving, loaning, hiring for   See Plaintiffs’ response to
                               Late Commissioner, The     barter any minor a pistol, revolver, derringer,   Ex. No. 205 above.
                               Revised Statutes of the    Bowie knife, dirk or other deadly weapon.         This law comes too late
                               State of Illinois. 1882.   Punishable by fine of $25-200.                    to shed much light on the
                               Comprising the                                                               scope of the Second
                               “Revised Statutes of                                                         Amendment “[B]ecause
                               1874,” and All                                                               post-Civil War
                               Amendments Thereto,
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar” as
                                                                                                            it is a restriction on minors,
                                                                                                            not legal adults. Also
                                                                                                            permits the selling, giving,
                                                                                                            and loaning of long guns to
                                                                                                            minors and legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                   Plaintiffs’ Response
                                  Together with the
                                  General Acts of 1875,
                                  1877, 1879, 1881 and
                                  1882, Being All the
                                  General Statutes of the
                                  State, in Force on the
                                  First Day of December,
                                  1882, at 375 (1882),
                                  Deadly Weapons:
                                  Selling or Giving to
                                  Minor, § 54b.

357    1881          Indiana      The Revised Statutes of   Prohibited maliciously or mischievously              See Plaintiffs’ response to
                                  Indiana: Containing,      shooting a gun, rifle, pistol, or other missile or   Ex. No. 205 above.
                                  Also, the United States   weapon, or throwing a stone, stick, club, or         This law comes too late
                                  and Indiana               other substance at a vehicle. Punishable by          to shed much light on the
                                  Constitutions and an      imprisonment for 30 days to 1 year and a fine        scope of the Second
                                  Appendix of Historical    of $10-100.                                          Amendment “[B]ecause
                                  Documents. Vol. 1, at                                                          post-Civil War
                                  366 (1881), Crimes,
                                                                                                                 discussions of the right to
                                  § 1957.
                                                                                                                 keep and bear arms ‘took
                                                                                                                 place 75 years after the
                                                                                                                 ratification of the Second
                                                                                                                 Amendment, they do not
                                                                                                                 provide as much insight
                                                                                                                 into its original meaning
                                                                                                                 as earlier sources.”

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             Case
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                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar” as
                                                                                                           it is a restriction on
                                                                                                           shooting guns at vehicles.




358   1881          Nevada    David E. Baily, The       Prohibited a minor from carrying a concealed       See Plaintiffs’ response to
                              General Statutes of the   dirk, pistol, sword in case, slungshot, or other   Ex. No. 205 above.
                              State of Nevada. In       dangerous or deadly weapon. Punishable by          This law comes too late
                              Force. From 1861 to       fine of $20-200 and/or imprisonment of 30          to shed much light on the
                              1885, Inclusive. With     days to 6 months.                                  scope of the Second
                              Citations of the                                                             Amendment “[B]ecause
                              Decisions of the
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar” as
                                                                                                           it is a concealed carry
                                                                                                           restriction for minors, not
                                                                                                           legal adults. Law also
                                                                                                           permits the sale, purchase,
                                                                                                           acquisition, possession, and
                                                                                                           open carrying of all
                                                                                                           firearms for minors.
                                                                                                                             321
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response
                                  Supreme Court Relating
                                  Thereto, at 1077 (1885),
                                  An Act to prohibit the
                                  carrying of concealed
                                  weapons by minors, § 1.

359    1881         New York      George S. Diossy, The      Prohibited using, attempting to use, or          See Plaintiffs’ response to
                                  Statute Law of the State   concealing a slungshot, billy, sandclub or       Ex. No. 205 above.
                                  of New York:               metal knuckles, and any dirk. Punishable by      This law comes too late
                                  Comprising the Revised     imprisonment for up to 1 year and/or a fine up
                                                                                                              to shed much light on the
                                  Statutes and All Other     to $500.
                                  Laws of General                                                             scope of the Second
                                  Interest, in Force                                                          Amendment “[B]ecause
                                  January 1, 1881,                                                            post-Civil War
                                  Arranged Alphabetically                                                     discussions of the right to
                                  According to Subjects,                                                      keep and bear arms ‘took
                                  at 321 (Vol. 1, 1881),                                                      place 75 years after the
                                  Offenses Against Public                                                     ratification of the Second
                                  Decency; Malicious                                                          Amendment, they do not
                                  Mischief, and Other                                                         provide as much insight
                                  Crimes not Before
                                                                                                              into its original meaning
                                  Enumerated, Concealed
                                  Weapons, § 9.                                                               as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar” as
                                                                                                              it is a restriction on using
                                                                                                              or concealing certain

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                                                                                                            impact weapons and does
                                                                                                            not have an age restriction
                                                                                                            of any kind. Nor does this
                                                                                                            law restrict firearms in any
                                                                                                            way.




                                William King McAlister                                                      See Plaintiffs’ response to
360   1881        Tennessee –                            Prohibited the carrying of pistol, Bowie knife,
                                                                                                            Ex. No. 205 above.
                    City of     Jr., Ordinances of the   dirk, slungshot, brass knuckles, or other deadly
                   Nashville    City of Nashville, to    weapon. Punishable by fine of $10-50 for a         This law comes too late
                                Which are Prefixed the   first offense and $50 for subsequent offenses.     to shed much light on the
                                State Laws Chartering                                                       scope of the Second
                                                                                                            Amendment “[B]ecause
                                                                                                            post-Civil War
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.


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                                                                               Not “relevantly similar” as
                                                                               it is a general carry
                                                                               restriction of certain knives
                                                                               and impact weapons and
                                                                               does not have an age
                                                                               restriction of any kind. Law
                                                                               also does not restrict
                                                                               firearms in any way.

                                                                               It is also a local ordinance
                                                                               and inapplicable to 99% of
                                                                               the population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation           Plaintiffs’ Response
                                  and Relating to the City,
                                  with an Appendix, at
                                  340-41 (1881),
                                  Ordinances of the City
                                  of Nashville, Carrying
                                  Pistols, Bowie-Knives,
                                  Etc., § 1.

361    1881        Washington     1881 Wash. Code 181,        Prohibited the carrying of “any concealed   See Plaintiffs’ response to
                                  Criminal Procedure,         weapon.” Punishable by fine up to $100 or   Ex. No. 205 above.
                    [Territory]
                                  Offenses Against Public     imprisonment up to 30 days.                 This law comes too late
                                  Policy, ch. 73, § 929.
                                                                                                          to shed much light on the
                                                                                                          scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar” as
                                                                                                          it is a concealed carry
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                                                                                                              restriction and does not
                                                                                                              have an age restriction of
                                                                                                              any kind.


362   1881       Washington –    1881 Wash. Sess. Laws    Authorized New Tacoma to regulate                   See Plaintiffs’ response to
                 City of New     76, An Act to Confer a   transporting, storing, or selling gunpowder,
                                                                                                              Ex. No. 205 above.
                   Tacoma        City Govt. on New        giant powder, dynamite, nitroglycerine, or
                                 Tacoma, ch. 6, § 34,     other combustibles without a license, as well       This law comes too late
                   [Territory]
                                 pt. 15.                  as the carrying concealed deadly weapons, and       to shed much light on the
                                                          the use of guns, pistols, firearms, firecrackers.   scope of the Second
                                                                                                              Amendment “[B]ecause
                                                                                                              post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar” as
                                                                                                              it is a explosive storage
                                                                                                              regulation and concealed
                                                                                                              carry restriction and does
                                                                                                              not have an age restriction
                                                                                                              of any kind.

                                                                                                              It is also a local ordinance
                                                                                                              and inapplicable to 99%
                                                                                                              of the population.



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363   1881        Washington    William Lair Hill,      Prohibited exhibiting a dangerous weapon in a   See Plaintiffs’ response to
                                Ballinger’s Annotated   manner likely to cause terror. Punishable by    Ex. No. 205 above.
                  [Territory]
                                Codes and Statutes of   fine up to $25.                                 This law comes too late
                                                                                                        to shed much light on the
                                                                                                        scope of the Second
                                                                                                        Amendment “[B]ecause
                                                                                                        post-Civil War
                                                                                                        discussions of the right to
                                                                                                        keep and bear arms ‘took
                                                                                                        place 75 years after the
                                                                                                        ratification of the Second
                                                                                                        Amendment, they do not
                                                                                                        provide as much insight
                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

                                                                                                        Not “relevantly similar” as
                                                                                                        it is a c restriction on
                                                                                                        exhibiting a dangerous
                                                                                                        weapon likely to cause
                                                                                                        terror and does not have an
                                                                                                        age restriction of any kind.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                   Description of Regulation              Plaintiffs’ Response
                                  Washington, Showing
                                  All Statutes in Force,
                                  Including the Session
                                  Laws of 1897, at 1956
                                  (Vol. 2, 1897).

364    1882          Georgia      1882-83 Gal. L. 48-49,   Prohibited the concealed carrying of any        See Plaintiffs’ response
                                  ch. 94.                  “pistol, dirk, sword in a cane, spear, Bowie-   to Ex. No. 205 above.
                                                           knife, or any other kind of knives              This law comes too late
                                                           manufactured and sold for the purpose of        to shed much light on the
                                                           offense and defense.”                           scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar” as
                                                                                                           it is a concealed carry
                                                                                                           restriction and does not
                                                                                                           have an age restriction of
                                                                                                                             328
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                                                                                                     any kind. Law also does
                                                                                                     not restrict long guns in
                                                                                                     any way.




365   1882          Georgia   1882-83 Ga. L. 37, ch.   Imposed $25 occupational tax on dealers of    See Plaintiffs’ response
                              18.                      pistols, revolvers, dirks, or Bowie knives.   to Ex. No. 205 above.
                                                                                                     This law comes too late
                                                                                                     to shed much light on the
                                                                                                     scope of the Second
                                                                                                     Amendment “[B]ecause
                                                                                                     post-Civil War
                                                                                                     discussions of the right to
                                                                                                     keep and bear arms ‘took
                                                                                                     place 75 years after the
                                                                                                     ratification of the Second
                                                                                                     Amendment, they do not
                                                                                                     provide as much insight
                                                                                                     into its original meaning
                                                                                                     as earlier sources.”
                                                                                                     Bruen, 597 U.S. at 36.

                                                                                                     Not “relevantly similar” as
                                                                                                     it is imposes a tax on
                                                                                                     dealers of handguns and
                                                                                                     Bowie knives and does not
                                                                                                     have an age restriction of
                                                                                                     any kind. The law also
                                                                                                     does not restrict long guns
                                                                                                     in any way.



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366   1882       Iowa – City of   S. J. Quincy, Revised     Prohibited the carrying a concealed pistol,      See Plaintiffs’ response to
                   Sioux City     Ordinances of the City    revolver, slungshot, cross-knuckles, knuckles    Ex. No. 205 above.
                                  of Sioux City, Iowa, at   of lead, brass or other metal, or any Bowie      This law comes too late
                                  62 (1882), Ordinances     knife, razor, billy, dirk, dirk knife or Bowie   to shed much light on the
                                  of the City of Sioux      knife, or other dangerous weapon.                scope of the Second
                                  City, Iowa, § 4.                                                           Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a concealed carry
                                                                                                             restriction and does not
                                                                                                             have an age restriction of
                                                                                                             any kind. The law also
                                                                                                             does not restrict long guns
                                                                                                             in any way.

                                                                                                             It is also a local ordinance
                                                                                                             and inapplicable to 99% of
                                                                                                             the population.




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                                           D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                   Description of Regulation                   Plaintiffs’ Response

367    1882       West Virginia   1882 W. Va. Acts 421-   Prohibited the carrying of a pistol, dirk, Bowie    See Plaintiffs’ response to
                                  22; W. Va. Code, ch.    knife, razor, slungshot, billy, metallic or other   Ex. No. 205 above.
                                  148, § 7.               false knuckles, or any other dangerous or           This law comes too late
                                                          deadly weapon. Also prohibited selling any          to shed much light on the
                                                          such weapon to a minor. Punishable by fine of       scope of the Second
                                                          $25-200 and imprisonment of 1-12 months.            Amendment “[B]ecause
                                                                                                              post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar” as
                                                                                                              it is restricts selling pistols,
                                                                                                              certain knives, and impact
                                                                                                              weapons to minor, not legal
                                                                                                              adults. Law also does not
                                                                                                              restrict long guns in any
                                                                                                              way.



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368   1883       Illinois – City   Revised Ordinances of       Prohibited the carrying of a concealed pistol,    See Plaintiffs’ response to
                   of Danville     the City of Danville        revolver, derringer, Bowie knife, dirk,           Ex. No. 205 above.
                                   [Illinois], at 66 (1883),   slungshot, metallic knuckles, or a razor, as a    This law comes too late
                                   Ordinances of the City      weapon, or any other deadly weapon. Also          to shed much light on the
                                   of Danville. Concealed      prohibited displaying the weapon in a             scope of the Second
                                   Weapons, § 22.              threatening or boisterous manner. Punishable      Amendment “[B]ecause
                                                               by fine of $1-100 and forfeiting the weapon, if   post-Civil War
                                                               ordered by the magistrate.
                                                                                                                 discussions of the right to
                                                                                                                 keep and bear arms ‘took
                                                                                                                 place 75 years after the
                                                                                                                 ratification of the Second
                                                                                                                 Amendment, they do not
                                                                                                                 provide as much insight
                                                                                                                 into its original meaning
                                                                                                                 as earlier sources.”
                                                                                                                 Bruen, 597 U.S. at 36.

                                                                                                                 Not “relevantly similar” as
                                                                                                                 it is a concealed carry
                                                                                                                 restriction and does not
                                                                                                                 have an age restriction of
                                                                                                                 any kind. The law also
                                                                                                                 does not restrict long guns
                                                                                                                 in any way.

                                                                                                                 It is also a local ordinance
                                                                                                                 and inapplicable to 99% of
                                                                                                                 the population.




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369   1883          Kansas    1883 Kan. Sess. Laws     Prohibited the selling, trading, giving, or           See Plaintiffs’ response to
                              159, An Act to Prevent   loaning of a pistol, revolver, or toy pistol, dirk,   Ex. No. 205 above.
                              Selling, Trading Or      Bowie knife, brass knuckles, slungshot, or            This law comes too late
                              Giving Deadly Weapons    other dangerous weapons to any minor, or to           to shed much light on the
                              or Toy Pistols to        any person of notoriously unsound mind. Also          scope of the Second
                              Minors, and to Provide   prohibited the possession of such weapons by          Amendment “[B]ecause
                              Punishment Therefor,     any minor. Punishable by fine of $5-100. Also         post-Civil War
                              §§ 1-2.                  prohibited a minor from possessing a pistol,
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is a restriction minors,
                                                                                                             not legal adults. The law
                                                                                                             does not restrict minors or
                                                                                                             legal adults from selling,
                                                                                                             purchasing, acquiring,
                                                                                                             possessing, or carrying
                                                                                                             long guns in any way.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                   Plaintiffs’ Response
                                                             revolver, toy pistol by which cartridges may be
                                                             exploded, dirk, Bowie knife, brass knuckles,
                                                             slungshot, or other dangerous weapon.
                                                             Punishable by fine of $1-10.

370    1883         Missouri      1883 Mo. Laws 76, An       Prohibited the carrying of a concealed fire          See Plaintiffs’ response to
                                  Act to Amend Section       arms, Bowie knife, dirk, dagger, slungshot, or       Ex. No. 205 above.
                                  1274, Article 2, Chapter   other deadly weapon to a church, school,             This law comes too late
                                  24 of the Revised          election site, or other public setting or carrying   to shed much light on the
                                  Statutes of Missouri,      in a threatening manner or while intoxicated.        scope of the Second
                                  Entitled “Of Crimes        Punishable by fine of $25-200 and/or by              Amendment “[B]ecause
                                  And Criminal               imprisonment up to 6 months.                         post-Civil War
                                  Procedure” § 1274.
                                                                                                                  discussions of the right to
                                                                                                                  keep and bear arms ‘took
                                                                                                                  place 75 years after the
                                                                                                                  ratification of the Second
                                                                                                                  Amendment, they do not
                                                                                                                  provide as much insight
                                                                                                                  into its original meaning
                                                                                                                  as earlier sources.”
                                                                                                                  Bruen, 597 U.S. at 36.

                                                                                                                  Not “relevantly similar” as
                                                                                                                  it is a concealed carry
                                                                                                                  restriction and does not
                                                                                                                  restrict any arms based on
                                                                                                                  age. The law also does not
                                                                                                                                    334
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                                                                                                            restrict long guns.




371   1883       Washington –    1883 Wash. Sess. Laws     Authorized City of Snohomish to regulate and     See Plaintiffs’ response to
                    City of      302, An Act to            prohibit carrying concealed deadly weapons       Ex. No. 205 above.
                  Snohomish      Incorporate the City of   and to prohibit using guns, pistols, firearms,   This law comes too late
                   [Territory]   Snohomish, ch. 6, § 29,   firecrackers, bombs, and explosives.             to shed much light on the
                                 pt. 15.                                                                    scope of the Second
                                                                                                            Amendment “[B]ecause
                                                                                                            post-Civil War
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a concealed carry
                                                                                                            restriction and does not
                                                                                                            restrict any arms based on
                                                                                                            age.

                                                                                                            This is also a local
                                                                                                            ordinance and thus
                                                                                                            inapplicable to 99% of the
                                                                                                                              335
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                                                                                                             population.




372   1883        Wisconsin –   1883 Wis. Sess. Laws      Prohibited the carrying of a concealed pistol or   See Plaintiffs’ response
                   City of      713, An Act to Revise,    colt, or slungshot, or cross knuckles or           to Ex. No. 205 above.
                   Oshkosh      consolidate And Amend     knuckles of lead, brass or other metal or Bowie    This law comes too late
                                The Charter Of The City   knife, dirk knife, or dirk or dagger, or any       to shed much light on the
                                Of Oshkosh, The Act       other dangerous or deadly weapon. Punishable       scope of the Second
                                Incorporating The City,   by confiscation of the weapon.                     Amendment “[B]ecause
                                And The Several Acts                                                         post-Civil War
                                Amendatory Thereof,
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a concealed carry
                                                                                                             restriction and does not
                                                                                                             restrict any arms based on
                                                                                                             age. The law also does not
                                                                                                             restrict long guns.

                                                                                                             This is also a local
                                                                                                             ordinance and thus
                                                                                                             inapplicable to 99% of
                                                                                                             the population.
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                                             D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction            Citation                 Description of Regulation             Plaintiffs’ Response
                                  ch. 6, § 3, pt. 56.



373    1884          Georgia      1884-85 Ga. L. 23, ch.   Imposed $100 occupational tax on dealers of   See Plaintiffs’ response to
                                  52.                      pistols, revolvers, dirks, or Bowie knives.   Ex. No. 205 above.
                                                                                                         This law comes too late
                                                                                                         to shed much light on the
                                                                                                         scope of the Second
                                                                                                         Amendment “[B]ecause
                                                                                                         post-Civil War
                                                                                                         discussions of the right to
                                                                                                         keep and bear arms ‘took
                                                                                                         place 75 years after the
                                                                                                         ratification of the Second
                                                                                                         Amendment, they do not
                                                                                                         provide as much insight
                                                                                                         into its original meaning
                                                                                                         as earlier sources.”
                                                                                                         Bruen, 597 U.S. at 36.

                                                                                                         Not “relevantly similar”
                                                                                                         as it is a tax imposed on
                                                                                                         dealers of handguns and
                                                                                                         Bowie knives and does
                                                                                                         not restrict any arms

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                                                                                                           based on age.




374   1884          Maine     The Revised Statutes of    Prohibited the carrying of a dirk, dagger,        See Plaintiffs’ response to
                              the State of Maine,        sword, pistol, or other offensive and dangerous   Ex. No. 205 above.
                              Passed August 29, 1883,    weapon without reasonable cause to fear an        This law comes too late
                              and Taking Effect          assault.                                          to shed much light on the
                              January 1, 1884, at 928,                                                     scope of the Second
                              (1884), Prevention of                                                        Amendment “[B]ecause
                              Crimes, § 10.                                                                post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a general carry
                                                                                                           restriction and does not
                                                                                                           restrict any arms based on
                                                                                                           age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.




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                                                                                                               See Plaintiffs’ response to
375   1884        Minnesota –     W. P. Murray, The         Prohibited the carrying of a concealed pistol or
                                                                                                               Ex. No. 205 above.
                  City of Saint   Municipal Code of Saint   pistols, dirk, dagger, sword, slungshot, cross-
                      Paul        Paul: Comprising the      knuckles, or knuckles of lead, brass or other      This law comes too late
                                  Laws of the State of      metal, Bowie knife, dirk knife or razor, or any    to shed much light on the
                                  Minnesota Relating to     other dangerous or deadly weapon. Punishable       scope of the Second
                                  the City of Saint Paul,   by seizure of the weapon.                          Amendment “[B]ecause
                                  and the Ordinances of                                                        post-Civil War
                                  the Common Council;                                                          discussions of the right to
                                  Revised to December 1,
                                                                                                               keep and bear arms ‘took
                                  1884, at 289 (1884),
                                  Concealed Weapons –                                                          place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a concealed carry
                                                                                                               restriction and does not
                                                                                                               restrict any arms based on
                                                                                                               age.

                                                                                                               This is also a local
                                                                                                               ordinance and thus
                                                                                                               inapplicable to 99% of the
                                                                                                               population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                   Plaintiffs’ Response
                                  License, § 1.

376    1884         Tennessee     Tenn. Pub. Acts (1879),   Prohibited the carrying, “publicly or                See Plaintiffs’ response
                                  ch. 186, as codified in   privately,” of any dirk, razor, sword cane,          to Ex. No. 205 above.
                                  Tenn. Code (1884).        loaded cane, slungshot, brass knuckles,              This law comes too late
                                                            Spanish stiletto, belt or pocket pistol, revolver,   to shed much light on the
                                                            or any kind of pistol.                               scope of the Second
                                                                                                                 Amendment “[B]ecause
                                                                                                                 post-Civil War
                                                                                                                 discussions of the right to
                                                                                                                 keep and bear arms ‘took
                                                                                                                 place 75 years after the
                                                                                                                 ratification of the Second
                                                                                                                 Amendment, they do not
                                                                                                                 provide as much insight
                                                                                                                 into its original meaning
                                                                                                                 as earlier sources.”
                                                                                                                 Bruen, 597 U.S. at 36.

                                                                                                                 Not “relevantly similar”
                                                                                                                 as it is a general carry
                                                                                                                 restriction and does not
                                                                                                                 restrict any arms based on
                                                                                                                 age. There is no
                                                                                                                 restriction on the sale,
                                                                                                                 purchase, acquisition,
                                                                                                                 possession of firearms by
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                                                                                                         minors or legal adults.




377   1884         Vermont    1884 Vt. Acts &           Prohibited the setting of any spring gun trap.   See Plaintiffs’ response to
                              Resolves 74, An Act       Punishable by a fine of $50-500 and liability    Ex. No. 205 above.
                              Relating To Traps, § 1.   for twice the amount of any damage resulting     This law comes too late
                                                        from the trap.
                                                                                                         to shed much light on the
                                                                                                         scope of the Second
                                                                                                         Amendment “[B]ecause
                                                                                                         post-Civil War
                                                                                                         discussions of the right to
                                                                                                         keep and bear arms ‘took
                                                                                                         place 75 years after the
                                                                                                         ratification of the Second
                                                                                                         Amendment, they do not
                                                                                                         provide as much insight
                                                                                                         into its original meaning
                                                                                                         as earlier sources.”
                                                                                                         Bruen, 597 U.S. at 36.

                                                                                                         Not “relevantly similar”
                                                                                                         as it is a restriction on
                                                                                                         setting “spring gun traps”
                                                                                                         and does not restrict any
                                                                                                         arms based on age. There
                                                                                                         is no restriction on the
                                                                                                         sale, purchase,
                                                                                                         acquisition, possession of
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                                                                                                             firearms by minors or
                                                                                                             legal adults.



378   1884        Wyoming       1884 Wyo. Sess. Laws,      Prohibited exhibiting in a threatening manner a   See Plaintiffs’ response to
                  [Territory]   ch. 67, § 1, as codified   fire-arm, Bowie knife, dirk, dagger, slungshot    Ex. No. 205 above.
                                in Wyo. Rev. Stat.,        or other deadly weapon. Punishable by fine of     This law comes too late
                                Crimes (1887):             $10-100 or imprisonment up to 6 months.           to shed much light on the
                                Exhibiting deadly                                                            scope of the Second
                                weapon in angry                                                              Amendment “[B]ecause
                                manner. § 983.                                                               post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a restriction
                                                                                                             exhibiting in a threatening
                                                                                                             manner and does not
                                                                                                             restrict any arms based on
                                                                                                             age. There is no
                                                                                                             restriction on the sale,
                                                                                                             purchase, acquisition,
                                                                                                             possession of firearms by
                                                                                                             minors or legal adults.




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379   1885         Montana      1885 Mont. Laws 74,        Prohibited possessing, carrying, or purchasing   See Plaintiffs’ response
                                Deadly Weapons, An         a dirk, dirk-knife, sword, sword cane, pistol,   to Ex. No. 205 above.
                  [Territory]
                                Act to Amend § 62 of       gun, or other deadly weapon, and from using      This law comes too late
                                Chapter IV of the Fourth   the weapon in a threatening manner or in a
                                                                                                            to shed much light on the
                                                                                                            scope of the Second
                                                                                                            Amendment “[B]ecause
                                                                                                            post-Civil War
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a restriction on
                                                                                                            pistols and certain knives
                                                                                                            and does not restrict any
                                                                                                            arms based on age. There
                                                                                                            is no restriction on the
                                                                                                            sale, purchase,
                                                                                                            acquisition, possession of
                                                                                                            firearms by minors or
                                                                                                            legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                  Plaintiffs’ Response
                                  Division of the Revised   fight. Punishable by fine of $10-100 and/or
                                  Statutes, § 62-63.        imprisonment for 1-3 months.

380    1885         New York      George R. Donnan,         Prohibited using or attempting to use, carrying,   See Plaintiffs’ response
                                  Annotated Code of         concealing, or possessing a slungshot, billy,      to Ex. No. 205 above.
                                  Criminal Procedure and    sandclub or metal knuckles, or a dagger, dirk      This law comes too late
                                  Penal Code of the State   or dangerous knife. Punishable as a felony, and    to shed much light on the
                                  of New York as            as a misdemeanor if a minor.                       scope of the Second
                                  Amended 1882-85, at                                                          Amendment “[B]ecause
                                  172 (1885), Carrying,                                                        post-Civil War
                                  Using, Etc., Certain
                                                                                                               discussions of the right to
                                  Weapons, § 410.
                                                                                                               keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a restriction using
                                                                                                               certain knives and impact
                                                                                                               weapons and does not
                                                                                                               restrict any arms based on
                                                                                                               age. There is no
                                                                                                               restriction on the sale,
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                                                                                                             purchase, acquisition,
                                                                                                             possession of firearms by
                                                                                                             minors or legal adults.




381   1885        New York –   Charter and Ordinances     Prohibited the carrying or using with the intent   See Plaintiffs’ response to
                    City of    of the City of Syracuse:   to do bodily harm a dirk, Bowie knife, sword       Ex. No. 205 above.
                   Syracuse    Together with the Rules    or spear cane, pistol, revolver, slungshot,        This law comes too late
                               of the Common Council,     jimmy, brass knuckles, or other deadly or          to shed much light on the
                               the Rules and              unlawful weapon. Punishable by a fine of $25-      scope of the Second
                               Regulations of the         100 and/or imprisonment for 30 days to 3           Amendment “[B]ecause
                               Police and Fire            months.                                            post-Civil War
                               Departments, and the
                                                                                                             discussions of the right to
                               Civil Service
                               Regulations, at 215                                                           keep and bear arms ‘took
                               (1885),                                                                       place 75 years after the
                               [Offenses Against the                                                         ratification of the Second
                               Public Peace and Quiet,]                                                      Amendment, they do not
                               § 7.                                                                          provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a carry restriction
                                                                                                             and does not restrict any
                                                                                                             arms based on age. There
                                                                                                             is no restriction on the
                                                                                                             sale, purchase,
                                                                                                             acquisition, possession of
                                                                                                             firearms by minors or
                                                                                                                                345
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                                                                               legal adults.

                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of the
                                                                               population.




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                                                     Historical Laws

                                           D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                    Description of Regulation                 Plaintiffs’ Response

382    1885          Oregon       1885 Or. Laws 33, An     Prohibited the concealed carrying of any           See Plaintiffs’ response to
                                  Act to Prevent Persons   revolver, pistol, or other firearm, or any knife   Ex. No. 205 above.
                                  from Carrying            (other than an “ordinary pocket knife”), or any    This law comes too late
                                  Concealed Weapons and    dirk, dagger, slungshot, metal knuckles, or any    to shed much light on the
                                  to Provide for the       instrument that could cause injury. Punishable     scope of the Second
                                  Punishment of the        by a fine of $10-200 or imprisonment for 5-        Amendment “[B]ecause
                                  Same, §§ 1-2.            100 days.                                          post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a concealed carry
                                                                                                              restriction and does not
                                                                                                              restrict any arms based on
                                                                                                              age. There is no
                                                                                                              restriction on the sale,
                                                                                                              purchase, acquisition,
                                                                                                              possession of firearms by
                                                                                                              minors or legal adults.

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             Case
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383   1886        Colorado –   Isham White, The Laws    Prohibited the carrying of any slungshot, colt,   See Plaintiffs’ response to
                   City of     and Ordinances of the    or metal knuckles while engaged in any breach     Ex. No. 205 above.
                   Denver      City of Denver,          of the peace. Punishable by a fine of $25-300.    This law comes too late
                               Colorado, at 369, § 10                                                     to shed much light on the
                               (1886).                                                                    scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a general carry
                                                                                                          restriction while in the act
                                                                                                          of any breach of peace
                                                                                                          and does not restrict any
                                                                                                          arms based on age. There
                                                                                                          is no restriction on the
                                                                                                          sale, purchase,
                                                                                                          acquisition, possession of
                                                                                                          firearms by minors or
                                                                                                          legal adults.

                                                                                                          This is also a local
                                                                                                          ordinance and thus
                                                                                                          inapplicable to 99% of the
                                                                                                          population.


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384   1886          Georgia    1886 Ga. L. 17, ch. 54.   Imposed $100 occupational tax on dealers of       See Plaintiffs’ response
                                                         pistols, revolvers, dirks, Bowie knives, and      to Ex. No. 205 above.
                                                         “pistol or revolver cartridges.”                  This law comes too late
                                                                                                           to shed much light on the
                                                                                                           scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a tax imposed on
                                                                                                           dealers of handguns and
                                                                                                           Bowie knives and does
                                                                                                           not restrict any arms
                                                                                                           based on age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.
385   1886        Maryland –   1886 Md. Laws 315, An     Prohibited the carrying of a gun, pistol, dirk,   See Plaintiffs’ response to
                  County of    Act to Prevent the        dirk-knife, razor, billy or bludgeon on an        Ex. No. 205 above.
                   Calvert     Carrying of Guns,         election day. Punishable by a fine of $10-50.     This law comes too late
                               Pistols, Dirk-knives,
                                                                                                           to shed much light on the
                               Razors, Billies or
                               Bludgeons by any                                                            scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
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                                                                               discussions of the right to
                                                                               keep and bear arms ‘took
                                                                               place 75 years after the
                                                                               ratification of the Second
                                                                               Amendment, they do not
                                                                               provide as much insight
                                                                               into its original meaning
                                                                               as earlier sources.”
                                                                               Bruen, 597 U.S. at 36.

                                                                               Not “relevantly similar”
                                                                               as it is a “sensitive places”
                                                                               carry restriction and does
                                                                               not restrict any arms
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.

                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of the
                                                                               population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response
                                  Person in Calvert
                                  County, on the Days of
                                  Election in said County,
                                  Within One Mile of the
                                  Polls § 1.

386    1886        Maryland –     John Prentiss Poe, The     Prohibited the carrying of a concealed pistol,   See Plaintiffs’ response to
                   County of      Maryland Code. Public      dirk knife, Bowie knife, slungshot, billy,       Ex. No. 205 above.
                    Calvert       Local Laws, Adopted by     sandclub, metal knuckles, razor, or any other    This law comes too late
                                  the General Assembly       dangerous or deadly weapon. Punishable by        to shed much light on the
                                  of Maryland March 14,      fine of up to $500 or imprisonment of up to 6    scope of the Second
                                  1888. Including also the   months.                                          Amendment “[B]ecause
                                  Acts of the Session of                                                      post-Civil War
                                  1888 Incorporated
                                                                                                              discussions of the right to
                                  Therein, and Prefaced
                                  with the Constitution of                                                    keep and bear arms ‘took
                                  the State, at 468-69                                                        place 75 years after the
                                  (Vol. 1, 1888),                                                             ratification of the Second
                                  Concealed Weapons,                                                          Amendment, they do not
                                  § 30.                                                                       provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a concealed carry
                                                                                                              restriction and does not
                                                                                                              restrict any arms based on
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                                                                                                           age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.

                                                                                                           This is also a local
                                                                                                           ordinance and thus
                                                                                                           inapplicable to 99% of the
                                                                                                           population.




                              John Prentiss Poe, The     “Every person, not being a conservator of the     See Plaintiffs’ response to
387   1886         Maryland
                                                                                                           Ex. No. 205 above.
                              Maryland Code. Public      peace entitled or required to carry such
                              Local Laws, Adopted by     weapon as a part of his official equipment,       This law comes too late
                              the General Assembly       who shall wear or carry any pistol, dirk-knife,   to shed much light on the
                              of Maryland March 14,      bowie- knife, slung-shot, billy, sand-club,       scope of the Second
                              1888. Including also the   metal knuckles, razor, or any other dangerous     Amendment “[B]ecause
                              Acts of the Session of     or deadly weapon of any kind whatsoever,          post-Civil War
                              1888 Incorporated          (penknives excepted,) concealed upon or about
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a concealed carry
                                                                                                           restriction and does not
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                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response
                                  Therein, and Prefaced      his person; and every person who shall carry or
                                  with the Constitution of   wear any such weapon openly, with the intent
                                  the State Page 468-469,    or purpose of injuring any person, shall, upon
                                  Image 568-569 (Vol. 1,     conviction thereof, be fined not more than five
                                  1888) available at The     hundred dollars, or be imprisoned not more
                                  Making of Modern Law:      than six months in jail or in the house of
                                  Primary Sources.           correction.”
                                  Carrying Weapons |
                                  Maryland | 1886.
                                  Concealed Weapons, §
                                  30.

388    1887         Alabama       1886 Ala. L. 36, ch. 4.    Imposed $300 occupational tax on dealers of       See Plaintiffs’ response
                                                             pistols, pistol cartridges, Bowie knives, and     to Ex. No. 205 above.
                                                             dirk knives.                                      This law comes too late
                                                                                                               to shed much light on the
                                                                                                               scope of the Second
                                                                                                               Amendment “[B]ecause
                                                                                                               post-Civil War
                                                                                                               discussions of the right to
                                                                                                               keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
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                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a tax imposed on
                                                                                                               dealers of handguns and
                                                                                                               certain knives and does
                                                                                                               not restrict any arms
                                                                                                               based on age. There is no
                                                                                                               restriction on the sale,
                                                                                                               purchase, acquisition,
                                                                                                               possession of firearms by
                                                                                                               minors or legal adults.
389   1887       Iowa – City of   Geoffrey Andrew           Prohibited the carrying of a concealed pistol or   See Plaintiffs’ response to
                    Council       Holmes, Compiled          firearms, slungshot, brass knuckles, or            Ex. No. 205 above.
                    Bluffs        Ordinances of the City    knuckles of lead, brass or other metal or          This law comes too late
                                  of Council Bluffs, and    material, or any sandbag, air guns of any          to shed much light on the
                                  Containing the Statutes   description, dagger, Bowie knife, or instrument    scope of the Second
                                  Applicable to Cities of   for cutting, stabbing or striking, or other        Amendment “[B]ecause
                                  the First-Class,          dangerous or deadly weapon, instrument or          post-Civil War
                                  Organized under the       device.
                                                                                                               discussions of the right to
                                  Laws of Iowa, at 206-07
                                  (1887), Carrying                                                             keep and bear arms ‘took
                                  Concealed Weapons                                                            place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a concealed carry
                                                                                                               restriction and does not
                                                                                                               restrict any arms based on
                                                                                                               age. There is no
                                                                                                               restriction on the sale,
                                                                                                                                  355
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                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.

                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of the
                                                                               population.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                    Description of Regulation                 Plaintiffs’ Response
                                  Prohibited, § 105.

390    1887       Kansas – City   O. P. Ergenbright,        Prohibited using a pistol or other weapon in a     See Plaintiffs’ response
                       of         Revised Ordinances of     hostile or threatening manner. Also prohibited     to Ex. No. 205 above.
                  Independence    the City of               carrying a concealed pistol, dirk, Bowie knife,    This law comes too late
                                  Independence, Kansas:     revolver, slungshot, billy, brass, lead, or iron   to shed much light on the
                                  Together with the         knuckles, or any deadly weapon. Punishable         scope of the Second
                                  Amended Laws              by fine of $5-100.                                 Amendment “[B]ecause
                                  Governing Cities of the                                                      post-Civil War
                                  Second Class and
                                                                                                               discussions of the right to
                                  Standing Rules of the
                                  City Council, at 162                                                         keep and bear arms ‘took
                                  (1887), Weapons, § 27.                                                       place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a concealed carry
                                                                                                               restriction and does not
                                                                                                               restrict any arms based on
                                                                                                               age. There is no
                                                                                                               restriction on the sale,
                                                                                                               purchase, acquisition,
                                                                                                               possession of firearms by
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                                                                                                             minors or legal adults.

                                                                                                             This is also a local
                                                                                                             ordinance and thus
                                                                                                             inapplicable to 99% of
                                                                                                             the population.




391   1887         Michigan   1887 Mich. Pub. Acts      Prohibited the carrying of a concealed dirk,         See Plaintiffs’ response to
                              144, An Act to Prevent    dagger, sword, pistol, air gun, stiletto, metallic   Ex. No. 205 above.
                              The Carrying Of           knuckles, pocket-billy, sandbag, skull cracker,      This law comes too late
                              Concealed Weapons,        slungshot, razor or other offensive and              to shed much light on the
                              And To Provide            dangerous weapon or instrument.                      scope of the Second
                              Punishment Therefore, §                                                        Amendment “[B]ecause
                              1.                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a concealed carry
                                                                                                             restriction and does not
                                                                                                             restrict any arms based on
                                                                                                             age. There is no
                                                                                                             restriction on the sale,
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                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction          Citation                   Description of Regulation                 Plaintiffs’ Response


392    1887         Montana       1887 Mont. Laws 549,    Prohibited the carrying of any pistol, gun,       See Plaintiffs’ response to
                                  Criminal Laws, § 174.   knife, dirk-knife, bludgeon, or other offensive   Ex. No. 205 above.
                   [Territory]
                                                          weapon with the intent to assault a person.       This law comes too late
                                                          Punishable by fine up to $100 or imprisonment     to shed much light on the
                                                          up to 3 months.                                   scope of the Second
                                                                                                            Amendment “[B]ecause
                                                                                                            post-Civil War
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a carry restriction
                                                                                                            if one carries with the
                                                                                                            intent to assault a person
                                                                                                            and does not restrict any
                                                                                                            arms based on age. There
                                                                                                            is no restriction on the
                                                                                                            sale, purchase,
                                                                                                                               360
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                                                                                                          acquisition, possession of
                                                                                                          firearms by minors or
                                                                                                          legal adults.



393   1887        New Mexico    An Act to Prohibit the    Defined “deadly weapons” as including           See Plaintiffs’ response
                  [Territory]   Unlawful Carrying and     pistols, whether the same be a revolved,        to Ex. No. 205 above.
                                Use of Deadly             repeater, derringer, or any kind or class of    This law comes too late
                                Weapons, Feb. 18,         pistol or gun; any and all kinds of daggers,
                                                                                                          to shed much light on the
                                1887, reprinted in Acts   Bowie knives, poniards, butcher knives, dirk
                                of the Legislative        knives, and all such weapons with which         scope of the Second
                                Assembly of the           dangerous cuts can be given, or with which      Amendment “[B]ecause
                                Territory of New          dangerous thrusts can be inflicted, including   post-Civil War
                                Mexico, Twenty-           sword canes, and any kind of sharp pointed      discussions of the right to
                                Seventh Session 55, 58    canes; as also slungshots, bludgeons or any     keep and bear arms ‘took
                                (1887) .                  other deadly weapons.                           place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a provision
                                                                                                          defining “deadly
                                                                                                          weapons.” The law does
                                                                                                          not include long guns in
                                                                                                          this definition and does
                                                                                                          not restrict any arms
                                                                                                          based on age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.
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394   1887         Virginia   The Code of Virginia:       Prohibited the carrying of a concealed pistol,   See Plaintiffs’ response
                              With the Declaration of     dirk, Bowie knife, razor, slungshot, or any      to Ex. No. 205 above.
                              Independence and the        weapon of the like kind. Punishable by fine of   This law comes too late
                              Constitution of the         $20-100 and forfeiture of the weapon.            to shed much light on the
                              United States; and the                                                       scope of the Second
                              Constitution of Virginia,                                                    Amendment “[B]ecause
                              at 897 (1887), Offences                                                      post-Civil War
                              Against the Peace, §
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a concealed carry
                                                                                                           restriction and does not
                                                                                                           restrict any arms based on
                                                                                                           age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.




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              Case
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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                    Plaintiffs’ Response
                                  3780.

395    1888        Maryland –     John Prentiss Poe, The     Prohibited carrying, on days of an election,         See Plaintiffs’ response
                   County of      Maryland Code: Public      any gun, pistol, dirk, dirk-knife, razor, billy or   to Ex. No. 205 above.
                     Kent         Local Laws, Adopted by     bludgeon. Punishable by a fine of $5-20.             This law comes too late
                                  the General Assembly
                                                                                                                  to shed much light on the
                                  of Maryland March 14,
                                  1888. Including also the                                                        scope of the Second
                                  Public Local Acts of the                                                        Amendment “[B]ecause
                                  Session of 1888                                                                 post-Civil War
                                  incorporated therein, at                                                        discussions of the right to
                                  1457 (Vol. 2, 1888),                                                            keep and bear arms ‘took
                                  Election Districts–                                                             place 75 years after the
                                  Fences, § 99.                                                                   ratification of the Second
                                                                                                                  Amendment, they do not
                                                                                                                  provide as much insight
                                                                                                                  into its original meaning
                                                                                                                  as earlier sources.”
                                                                                                                  Bruen, 597 U.S. at 36.

                                                                                                                  Not “relevantly similar”
                                                                                                                  as it is a carry restriction
                                                                                                                  on “election days” and
                                                                                                                  does not restrict any arms
                                                                                                                  based on age. There is no
                                                                                                                  restriction on the sale,
                                                                                                                  purchase, acquisition,

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                                                                                                            possession of firearms by
                                                                                                            minors or legal adults.

                                                                                                            This is also a local
                                                                                                            ordinance and thus
                                                                                                            inapplicable to 99% of
                                                                                                            the population.




396   1888          Florida   Fla. Act of Aug. 6,         Prohibited the concealed carrying of slungshot,   See Plaintiffs’ response to
                              1888, ch. 1637, subch.      metallic knuckles, billies, firearms, or other    Ex. No. 205 above.
                              7, § 10, as codified in     dangerous weapons if arrested for committing      This law comes too late
                              Fla. Rev. State., tit. 2,   a criminal offense or disturbance of the peace.   to shed much light on the
                              pt. 5 (1892).               Punishable by imprisonment up to 1 year and a     scope of the Second
                                                          fine up to $50.                                   Amendment “[B]ecause
                                                                                                            post-Civil War
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a concealed carry
                                                                                                            restriction while
                                                                                                            committing a crime and
                                                                                                            does not restrict any arms
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                                                                                                       based on age. There is no
                                                                                                       restriction on the sale,
                                                                                                       purchase, acquisition,
                                                                                                       possession of firearms by
                                                                                                       minors or legal adults.

                                                                                                       This is also a local
                                                                                                       ordinance and thus
                                                                                                       inapplicable to 99% of the
                                                                                                       population.
397   1888          Georgia   1888 Ga. L. 22, ch. 123.   Imposed $25 occupational tax on dealers of    See Plaintiffs’ response to
                                                         pistols, revolvers, dirks, or Bowie knives.   Ex. No. 205 above.
                                                                                                       This law comes too late
                                                                                                       to shed much light on the
                                                                                                       scope of the Second
                                                                                                       Amendment “[B]ecause
                                                                                                       post-Civil War
                                                                                                       discussions of the right to
                                                                                                       keep and bear arms ‘took
                                                                                                       place 75 years after the
                                                                                                       ratification of the Second
                                                                                                       Amendment, they do not
                                                                                                       provide as much insight
                                                                                                       into its original meaning
                                                                                                       as earlier sources.”
                                                                                                       Bruen, 597 U.S. at 36.

                                                                                                       Not “relevantly similar”
                                                                                                       as it is a imposed a tax on
                                                                                                       handgun and knife dealers
                                                                                                       and does not restrict any
                                                                                                       arms based on age. There
                                                                                                       is no restriction on the
                                                                                                       sale, purchase,
                                                                                                       acquisition, possession of
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                                                                               firearms by minors or
                                                                               legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

 No.   Year        Jurisdiction           Citation                     Description of Regulation                  Plaintiffs’ Response

398    1888        Maryland –     John Prentiss Poe, The     Prohibited the carrying of a pistol, dirk knife,    See Plaintiffs’ response to
                    City of       Maryland Code. Public      Bowie knife, slingshot, billy, brass, iron or any   Ex. No. 205 above.
                   Baltimore      Local Laws, Adopted by     other metal knuckles, razor, or any other           This law comes too late
                                  the General Assembly       deadly weapon if arrested for being drunk and       to shed much light on the
                                  of Maryland March 14,      disorderly. Punishable by fine of $5-25, and        scope of the Second
                                  1888. Including also the   confiscation of the weapon.                         Amendment “[B]ecause
                                  Public Local Acts of the                                                       post-Civil War
                                  Session of 1888
                                                                                                                 discussions of the right to
                                  Incorporated Therein, at
                                  522-23 (Vol. 1, 1888),                                                         keep and bear arms ‘took
                                  City of Baltimore,                                                             place 75 years after the
                                  § 742.                                                                         ratification of the Second
                                                                                                                 Amendment, they do not
                                                                                                                 provide as much insight
                                                                                                                 into its original meaning
                                                                                                                 as earlier sources.”
                                                                                                                 Bruen, 597 U.S. at 36.

                                                                                                                 Not “relevantly similar”
                                                                                                                 as it is a general carry
                                                                                                                 restriction while “being
                                                                                                                 drunk and disorderly” and
                                                                                                                 does not restrict any arms
                                                                                                                 based on age. There is no
                                                                                                                 restriction on the sale,
                                                                                                                 purchase, acquisition,
                                                                                                                 possession of firearms by

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                                                                                                             minors or legal adults.

                                                                                                             This is also a local
                                                                                                             ordinance and thus
                                                                                                             inapplicable to 99% of the
                                                                                                             population.




399   1888         Minnesota   George Brooks Young.      Prohibited manufacturing, selling, giving, or       See Plaintiffs’ response to
                               General Statutes of the   disposing of a slungshot, sandclub, or metal        Ex. No. 205 above.
                               State of Minnesota in     knuckles, or selling or giving a pistol or          This law comes too late
                               Force January 1, 1889,    firearm to a minor without magistrate consent.      to shed much light on the
                               at 1006 (Vol. 2, 1888),   Also prohibited carrying a concealed                scope of the Second
                               Making, Selling, etc.,    slungshot, sandclub, or metal knuckles, or a        Amendment “[B]ecause
                               Dangerous Weapons, §§     dagger, dirk, knife, pistol or other fire-arm, or   post-Civil War
                               333-34.                   any dangerous weapon.
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is restricts minors,
                                                                                                             not legal adults from
                                                                                                             purchasing certain arms
                                                                                                             without magistrate
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                                                                                                         consent.

                                                                                                         This is also a local
                                                                                                         ordinance and thus
                                                                                                         inapplicable to 99% of the
                                                                                                         population.



400   1888       Utah – City of Dangerous and              Prohibited carrying a slingshot or any        See Plaintiffs’ response
                 Salt Lake City Concealed Weapon,          concealed deadly weapon without permission    to Ex. No. 205 above.
                                Feb. 14, 1888, reprinted   of the mayor. Punishable by fine up to $50.
                  [Territory]                                                                            This law comes too late
                                in The Revised
                                Ordinances Of Salt Lake                                                  to shed much light on the
                                City, Utah 283 (1893)                                                    scope of the Second
                                                                                                         Amendment “[B]ecause
                                                                                                         post-Civil War
                                                                                                         discussions of the right to
                                                                                                         keep and bear arms ‘took
                                                                                                         place 75 years after the
                                                                                                         ratification of the Second
                                                                                                         Amendment, they do not
                                                                                                         provide as much insight
                                                                                                         into its original meaning
                                                                                                         as earlier sources.”
                                                                                                         Bruen, 597 U.S. at 36.

                                                                                                         Not “relevantly similar”
                                                                                                         as it is a concealed carry
                                                                                                         restriction and does not
                                                                                                         restrict any arms based on
                                                                                                         age. There is no
                                                                                                         restriction on the sale,
                                                                                                         purchase, acquisition,
                                                                                                         possession of firearms by
                                                                                                         minors or legal adults.
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                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of
                                                                               the population.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                                 (Salt Lake City, Utah). §
                                 14.

401   1889          Arizona      1889 Ariz. Sess. Laws       Prohibited carrying of any pistol, dirk, dagger,   See Plaintiffs’ response to
                                 16, § 1.                    slungshot, sword cane, spear, brass knuckles,      Ex. No. 205 above.
                   [Territory]
                                                             Bowie knife, or any knife manufactured to          This law comes too late
                                                             offensive or defensive purposes. Punishable by
                                                                                                                to shed much light on the
                                                             a fine of $25-100 and forfeiture of the weapon.
                                                                                                                scope of the Second
                                                                                                                Amendment “[B]ecause
                                                                                                                post-Civil War
                                                                                                                discussions of the right to
                                                                                                                keep and bear arms ‘took
                                                                                                                place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.

                                                                                                                Not “relevantly similar”
                                                                                                                as it is a general carry
                                                                                                                restriction and does not
                                                                                                                restrict any arms based on
                                                                                                                age. There is no
                                                                                                                restriction on the sale,

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                                                                                                       purchase, acquisition,
                                                                                                       possession of firearms by
                                                                                                       minors or legal adults.




402   1889          Idaho       The Act of the Territory   Prohibited private persons from carrying    See Plaintiffs’ response to
                                of Idaho approved          “deadly weapons” within any city, town or   Ex. No. 205 above.
                  [Territory]
                                February 4, 1889 (Sess.    village.                                    This law comes too late
                                Laws 1889, p. 27).
                                                                                                       to shed much light on the
                                                                                                       scope of the Second
                                                                                                       Amendment “[B]ecause
                                                                                                       post-Civil War
                                                                                                       discussions of the right to
                                                                                                       keep and bear arms ‘took
                                                                                                       place 75 years after the
                                                                                                       ratification of the Second
                                                                                                       Amendment, they do not
                                                                                                       provide as much insight
                                                                                                       into its original meaning
                                                                                                       as earlier sources.”
                                                                                                       Bruen, 597 U.S. at 36.

                                                                                                       Not “relevantly similar”
                                                                                                       as it is a general carry
                                                                                                       restriction and does not
                                                                                                       restrict any arms based on
                                                                                                       age. There is no
                                                                                                       restriction on the sale,
                                                                                                       purchase, acquisition,
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                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.




403   1889        Pennsylvania   Laws of the City of        Prohibited the concealed carrying of any       See Plaintiffs’ response to
                    – City of    Johnstown, Pa.,            pistol, razor, dirk, Bowie knife, blackjack,   Ex. No. 205 above.
                   Johnstown     Embracing City Charter,    handy billy, or other deadly weapon.           This law comes too late
                                 Act of Assembly of May     Punishable by fine of $5-50.                   to shed much light on the
                                 23, 1889, for the                                                         scope of the Second
                                 Government of Cities of                                                   Amendment “[B]ecause
                                 the Third Class, General                                                  post-Civil War
                                 and Special Ordinances,
                                 Rules of Select and                                                       discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a concealed carry
                                                                                                           restriction and does not
                                                                                                           restrict any arms based on
                                                                                                           age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.

                                                                                                           This is also a local
                                                                                                           ordinance and thus
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                                                                               inapplicable to 99% of the
                                                                               population.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                  Plaintiffs’ Response
                                 Common Councils and
                                 Joint Sessions, at 86
                                 (1897), An Ordinance
                                 for the Security of
                                 Persons and Property of
                                 the Inhabitants of the
                                 City of Johnstown; The
                                 preservation of the
                                 Public Peace and Good
                                 Order of the City, and
                                 Prescribing Penalties for
                                 Offenses Against the
                                 Same, § 12.

404   1890       Connecticut –   Charles Stoers              Prohibited the concealed carrying of any metal      See Plaintiffs’ response
                 City of New     Hamilton, Charter and       knuckles, pistol, slungshot, stiletto, or similar   to Ex. No. 205 above.
                    Haven        Ordinances of the City      weapons, absent written permission of the           This law comes too late
                                 of New Haven, Together      mayor or superintendent of police. Punishable
                                                                                                                 to shed much light on the
                                 with Legislative Acts       by a fine of $5-50.
                                 Affecting Said City, at                                                         scope of the Second
                                 164, § 192 (1890).                                                              Amendment “[B]ecause
                                                                                                                 post-Civil War
                                                                                                                 discussions of the right to
                                                                                                                 keep and bear arms ‘took
                                                                                                                 place 75 years after the
                                                                                                                 ratification of the Second
                                                                                                                 Amendment, they do not
                                                                                                                 provide as much insight

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                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

                                                                                                        Not “relevantly similar”
                                                                                                        as it is a concealed carry
                                                                                                        restriction and does not
                                                                                                        restrict any arms based on
                                                                                                        age. There is no
                                                                                                        restriction on the sale,
                                                                                                        purchase, acquisition,
                                                                                                        possession of firearms by
                                                                                                        minors or legal adults.

                                                                                                        This is also a local
                                                                                                        ordinance and thus
                                                                                                        inapplicable to 99% of
                                                                                                        the population.
405   1890          Georgia    1890 Ga. L. 38, ch. 131.   Imposed $100 occupational tax on dealers of   See Plaintiffs’ response to
                                                          pistols, revolvers, dirks, or Bowie knives.   Ex. No. 205 above.
                                                                                                        This law comes too late
                                                                                                        to shed much light on the
                                                                                                        scope of the Second
                                                                                                        Amendment “[B]ecause
                                                                                                        post-Civil War
                                                                                                        discussions of the right to
                                                                                                        keep and bear arms ‘took
                                                                                                        place 75 years after the
                                                                                                        ratification of the Second
                                                                                                        Amendment, they do not
                                                                                                        provide as much insight
                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

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                                                                               Not “relevantly similar”
                                                                               as it is a tax imposed on
                                                                               dealers of handguns and
                                                                               certain knives and does
                                                                               not restrict any arms
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                  Description of Regulation                Plaintiffs’ Response

406   1890         Louisiana     890 La. L. 39, ch. 46.   Prohibiting the transfer of any pistol, dirk,   See Plaintiffs’ response to
                                                          Bowie knife, or “any other dangerous weapon,    Ex. No. 205 above.
                                                          which may be carried concealed on a person to   This law comes too late
                                                          any person under the age of 21.                 to shed much light on the
                                                                                                          scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a restricts the sale
                                                                                                          and transfer of arms that
                                                                                                          “may be carried
                                                                                                          concealed” to persons
                                                                                                          under 21. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of long guns

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                                                                                                           by minors or legal adults.




407   1890        Maryland –   John Prentiss Poe, The     Prohibited the carrying of a concealed pistol,   See Plaintiffs’ response to
                   City of     Baltimore City Code,       dirk-knife, Bowie knife, slingshot, billy,       Ex. No. 205 above.
                  Baltimore    Containing the Public      sandclub, metal knuckles, razor or any other     This law comes too late
                               Local Laws of Maryland     dangerous or deadly weapon, or who openly        to shed much light on the
                               Relating to the City of    carries with the intent to injure a person.      scope of the Second
                               Baltimore, and the         Punishable by fine of up to $500 and             Amendment “[B]ecause
                               Ordinances of the          imprisonment up to 6 months.                     post-Civil War
                               Mayor and City
                                                                                                           discussions of the right to
                               Council, in Force on the
                               First Day of November,                                                      keep and bear arms ‘took
                               1891, with a                                                                place 75 years after the
                               Supplement, Containing                                                      ratification of the Second
                               the Public Local Laws                                                       Amendment, they do not
                               Relating to the City of                                                     provide as much insight
                               Baltimore, Passed at the                                                    into its original meaning
                               Session of 1892 of the                                                      as earlier sources.”
                               General Assembly, and                                                       Bruen, 597 U.S. at 36.
                               also the Ordinances of
                               the Mayor and City
                               Council, Passed at the                                                      Not “relevantly similar”
                               Session of 1891-92, and                                                     as it is a concealed carry
                               of 1892-1893, up to the                                                     restriction and does not
                               Summer Recess of                                                            restrict any arms based on
                                                                                                           age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.

                                                                                                           This is also a local
                                                                                                           ordinance and thus
                                                                                                           inapplicable to 99% of the
                                                                                                                             379
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                                                                               population.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                                 1893, at 297-98 (1893),
                                 Ordinances of
                                 Baltimore, § 742A.

408   1890        Nebraska –     W. J. Connell, The          Prohibited the carrying of a concealed pistol or   See Plaintiffs’ response to
                   City of       Revised Ordinances of       revolver, colt, billy, slungshot, brass knuckles   Ex. No. 205 above.
                   Omaha         the City of Omaha,          or knuckles of lead, dirk, dagger, or any knife    This law comes too late
                                 Nebraska, Embracing         resembling a Bowie knife, or any other             to shed much light on the
                                 All Ordinances of a         dangerous or deadly weapon. Punishable by          scope of the Second
                                 General Nature in Force     fine up to $100.                                   Amendment “[B]ecause
                                 April 1, 1890, Together                                                        post-Civil War
                                 with the Charter for
                                                                                                                discussions of the right to
                                 Metropolitan Cities, the
                                 Constitution of the                                                            keep and bear arms ‘took
                                 United States and the                                                          place 75 years after the
                                 Constitution of the State                                                      ratification of the Second
                                 of Nebraska, at 344                                                            Amendment, they do not
                                 (1890), Ordinances of                                                          provide as much insight
                                 Omaha, Concealed                                                               into its original meaning
                                 Weapons, § 10.                                                                 as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.

                                                                                                                Not “relevantly similar”
                                                                                                                as it is a concealed carry
                                                                                                                restriction and does not
                                                                                                                restrict any arms based on
                                                                                                                age. There is no
                                                                                                                restriction on the sale,
                                                                                                                                  381
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                                                                                                            purchase, acquisition,
                                                                                                            possession of firearms by
                                                                                                            minors or legal adults.

                                                                                                            This is also a local
                                                                                                            ordinance and thus
                                                                                                            inapplicable to 99% of the
                                                                                                            population.




                               W. J. Connell, The                                                           See Plaintiffs’ response to
409   1890        Nebraska –                             Prohibited the carrying of a concealed pistol or
                                                                                                            Ex. No. 205 above.
                   City of     Revised Ordinances of     revolver, colt, billy, slungshot, brass knuckles
                   Omaha       the City of Omaha,        or knuckles of lead, dirk, dagger, or any knife    This law comes too late
                               Nebraska, Embracing       resembling a Bowie knife, or any other             to shed much light on the
                               All Ordinances of a       dangerous or deadly weapon. Punishable by          scope of the Second
                               General Nature in Force   fine up to $100.                                   Amendment “[B]ecause
                               April 1, 1890, Together                                                      post-Civil War
                               with the Charter for
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar”
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                                                                               as it is a concealed carry
                                                                               restriction and does not
                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.

                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of the
                                                                               population.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                Plaintiffs’ Response
                                 Metropolitan Cities, the
                                 Constitution of the
                                 United States and the
                                 Constitution of the State
                                 of Nebraska, at 344
                                 (1890), Ordinances of
                                 Omaha, Concealed
                                 Weapons, § 10.

410   1890         Oklahoma      1890 Okla. Laws 495,        Prohibited the concealed carrying of any          See Plaintiffs’ response to
                                 art. 47, §§ 1, 2, 10;       pistol, revolver, Bowie knife, dirk, dagger,      Ex. No. 205 above.
                   [Territory]
                                 Leander G. Pitman, The      slungshot, sword cane, spear, metal knuckles,     This law comes too late
                                 Statutes of Oklahoma,       or any other knife or instrument manufactured     to shed much light on the
                                 1890. (From the Laws        or sold solely for defense. Also prohibited the   scope of the Second
                                 Passed by the First         carrying of any pistol, revolver, Bowie knife,    Amendment “[B]ecause
                                 Legislative Assembly of     dirk knife, loaded cane, billy, metal knuckles,   post-Civil War
                                 the Territory), at 495-96   or “any other offensive or defense weapon.”
                                                                                                               discussions of the right to
                                 (1891).                     Punishable by a fine of $50-500 and
                                                             imprisonment for 3-12 months.                     keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
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                                                                                                        as it is a carry restriction
                                                                                                        and does not restrict any
                                                                                                        arms based on age. There
                                                                                                        is no restriction on the
                                                                                                        sale, purchase,
                                                                                                        acquisition, possession of
                                                                                                        firearms by minors or
                                                                                                        legal adults.




411   1890         Oklahoma     1890 Okla. Sess. Laws   Prohibited the manufacture, sale, giving, or    See Plaintiffs’ response to
                                475, Crimes Against     disposing of any instrument or weapon usually   Ex. No. 205 above.
                  [Territory]
                                The Public Health And   known as a slungshot, and prohibited the        This law comes too late
                                Safety, §§ 18-19.       carrying any slungshot or similar weapon.
                                                                                                        to shed much light on the
                                                                                                        scope of the Second
                                                                                                        Amendment “[B]ecause
                                                                                                        post-Civil War
                                                                                                        discussions of the right to
                                                                                                        keep and bear arms ‘took
                                                                                                        place 75 years after the
                                                                                                        ratification of the Second
                                                                                                        Amendment, they do not
                                                                                                        provide as much insight
                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

                                                                                                        Not “relevantly similar”
                                                                                                        as it is a restriction on
                                                                                                        slungshot or similar
                                                                                                                             385
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                                                                               impact weapons and does
                                                                               not restrict any arms
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction          Citation                     Description of Regulation                  Plaintiffs’ Response

412   1890        Oklahoma –     General Laws Relating     Prohibited the carrying of any pistol; dirk;
                   Town of       to Incorporated Towns     butcher knife; Bowie knife; sword; spear-cane,
                   Checotah      of Indian Territory, at   metal knuckles, razor, slungshot, sandbag, or a
                                 37 (1890), Revised        switchblade.
                   [Territory]
                                 Ordinances of the Town
                                 of Checotah, Ordinance
                                 No. 11, § 3.




413   1891         Michigan      1891 Mich. Pub. Acts      Prohibited the carrying of a concealed pistol,      See Plaintiffs’ response to
                                 409, Police Department,   revolver, Bowie knife, dirk, slungshot, billie,     Ex. No. 205 above.
                                 pt 15.                    sandbag, false knuckles, or other dangerous         This law comes too late
                                                           weapon. Also prohibited lurking or being            to shed much light on the
                                                           concealed with the intent to injure a person or     scope of the Second
                                                           property, or threatening to beat or kill a person   Amendment “[B]ecause
                                                           or property. Punishable by fine up to $100 and      post-Civil War
                                                           the costs of prosecution, and in default of
                                                                                                               discussions of the right to
                                                           payment, imprisonment.
                                                                                                               keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.
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                                                                                                               Not “relevantly similar”
                                                                                                               as it is a concealed carry
                                                                                                               restriction and does not
                                                                                                               restrict any arms based on
                                                                                                               age. There is no
                                                                                                               restriction on the sale,
                                                                                                               purchase, acquisition,
                                                                                                               possession of firearms by
                                                                                                               minors or legal adults.
                                                                                                               See Plaintiffs’ response to
414   1891       West Virginia   1891 W. Va. Code 915,     Prohibited the carrying of a pistol, dirk, Bowie
                                                                                                               Ex. No. 205 above.
                                 Of Offences Against the   knife, razor, slungshot, billy, metallic or other
                                 Peace, ch. 148, § 7.      false knuckles, or any other dangerous or           This law comes too late
                                                           deadly weapon. Also prohibited selling such a       to shed much light on the
                                                           weapon to a minor. Punishable by fine of $25-       scope of the Second
                                                           200 and imprisonment for 1-12 months.               Amendment “[B]ecause
                                                                                                               post-Civil War
                                                                                                               discussions of the right to
                                                                                                               keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a general carry
                                                                                                               restriction and only
                                                                                                               restrict the sale to minors,
                                                                                                               not legal adults. The law
                                                                                                               also does not restrict the
                                                                                                               sale of long guns to
                                                                                                               minors or legal adults.
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                  Description of Regulation                Plaintiffs’ Response




415   1892         Alabama       1892 Ala. L. 183, ch.   Imposed $300 occupational tax on dealers of       See Plaintiffs’ response
                                 95.                     pistols, pistol cartridges, Bowie knives, and     to Ex. No. 205 above.
                                                         dirk knives, and clarified that cartridges that   This law comes too late
                                                         can be used in a pistol shall be deemed pistol    to shed much light on the
                                                         cartridges.                                       scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a tax imposed on
                                                                                                           dealers of handguns and
                                                                                                           certain knives and does
                                                                                                           not restrict any arms
                                                                                                           based on age. There is no
                                                                                                           restriction on the sale,
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                                                                                                                purchase, acquisition,
                                                                                                                possession of firearms by
                                                                                                                minors or legal adults.



416   1892         District of   Washington D.C. 27           “Be it enacted by the Senate and House of         See Plaintiffs’ response
                   Columbia      Stat. 116 (1892) CHAP.       Representatives of the United States of           to Ex. No. 205 above.
                                 159.– An Act to punish       America in Congress assembled, That it shall      This law comes too late
                                 the carrying or selling of   not be lawful for any person or persons within    to shed much light on the
                                 deadly or dangerous          the District of Columbia, to have concealed       scope of the Second
                                 weapons within the           about their person any deadly or dangerous        Amendment “[B]ecause
                                 District of Columbia,        weapons, such as daggers, air-guns, pistols,      post-Civil War
                                 and for other purposes.      bowie-knives, dirk knives or dirks, blackjacks,
                                                                                                                discussions of the right to
                                                              razors, razor blades, sword canes, slung shot,
                                                              brass or other metal knuckles.”                   keep and bear arms ‘took
                                                                                                                place 75 years after the
                                                                                                                ratification of the Second
                                                                                                                Amendment, they do not
                                                                                                                provide as much insight
                                                                                                                into its original meaning
                                                                                                                as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.

                                                                                                                Not “relevantly similar”
                                                                                                                as it is a concealed carry
                                                                                                                restriction and does not
                                                                                                                restrict any arms based on
                                                                                                                age. There is no
                                                                                                                restriction on the sale,
                                                                                                                purchase, acquisition,
                                                                                                                possession of firearms by
                                                                                                                minors or legal adults.




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417   1892          Georgia    1892 Ga. L. 25, ch. 133.   Imposed $100 occupational tax on dealers of    See Plaintiffs’ response to
                                                          pistols, revolvers, dirks, Bowie knives, and   Ex. No. 205 above.
                                                          metal knuckles.                                This law comes too late
                                                                                                         to shed much light on the
                                                                                                         scope of the Second
                                                                                                         Amendment “[B]ecause
                                                                                                         post-Civil War
                                                                                                         discussions of the right to
                                                                                                         keep and bear arms ‘took
                                                                                                         place 75 years after the
                                                                                                         ratification of the Second
                                                                                                         Amendment, they do not
                                                                                                         provide as much insight
                                                                                                         into its original meaning
                                                                                                         as earlier sources.”
                                                                                                         Bruen, 597 U.S. at 36.

                                                                                                         Not “relevantly similar”
                                                                                                         as it is a tax imposed on
                                                                                                         dealers of handguns and
                                                                                                         certain knives and does
                                                                                                         not restrict any arms
                                                                                                         based on age. There is no
                                                                                                         restriction on the sale,
                                                                                                         purchase, acquisition,
                                                                                                         possession of firearms by
                                                                                                         minors or legal adults.




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                                          D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction          Citation                  Description of Regulation                Plaintiffs’ Response


418   1892         Vermont       No. 85.—An Act         “Section 1. A person who shall carry a            See Plaintiffs’ response to
                                 Against Carrying       dangerous or deadly weapon, openly or             Ex. No. 205 above.
                                 Concealed Weapons,     concealed, with the intent or avowed purpose      This law comes too late
                                 Ch. 85, p. 95. 1892.   of injuring a fellow man, shall, upon             to shed much light on the
                                                        conviction thereof, be punished by a fine not     scope of the Second
                                                        exceeding two hundred dollars, or by              Amendment “[B]ecause
                                                        imprisonment not exceeding two years, or          post-Civil War
                                                        both, in the discretion of the court.
                                                                                                          discussions of the right to
                                                        Sec. 2. A person who shall carry or have in his   keep and bear arms ‘took
                                                        possession while a member of and in               place 75 years after the
                                                        attendance upon any school, any firearms, dirk    ratification of the Second
                                                        knife, bowie knife, dagger or other dangerous
                                                                                                          Amendment, they do not
                                                        or deadly”
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a general carry
                                                                                                          restriction and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
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                                                                                                            minors or legal adults.




419   1892       Washington –   Albert R. Heilig,        Prohibited the carrying of a concealed a           See Plaintiffs’ response to
                   City of      Ordinances of the City   revolver, pistol or other fire arms or any knife   Ex. No. 205 above.
                   Tacoma       of Tacoma, Washington,   (other than an ordinary pocket knife) or any       This law comes too late
                                at 333-34 (1892).        dirk or dagger, slingshot or metal knuckles, or    to shed much light on the
                                                         any instrument by the use of which injury          scope of the Second
                                                         could be inflicted upon the person.                Amendment “[B]ecause
                                                                                                            post-Civil War
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a concealed carry
                                                                                                            restriction and does not
                                                                                                            restrict any arms based on
                                                                                                                               393
             Case
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                                                                                                           age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.

                                                                                                           This is also a local
                                                                                                           ordinance and thus
                                                                                                           inapplicable to 99% of the
                                                                                                           population.
420   1893          Arizona     1893 Ariz. Sess. Laws   Prohibited the concealed carrying of any pistol    See Plaintiffs’ response to
                                3, § 1.                 or other firearm, dirk, dagger, slungshot, sword   Ex. No. 205 above.
                  [Territory]
                                                                                                           This law comes too late
                                                                                                           to shed much light on the
                                                                                                           scope of the Second
                                                                                                           Amendment “[B]ecause
                                                                                                           post-Civil War
                                                                                                           discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                           as it is a concealed carry
                                                                                                           restriction and does not
                                                                                                           restrict any arms based on
                                                                                                           age. There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                                             394
Case
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                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                    Description of Regulation               Plaintiffs’ Response
                                                            cane, spear, brass knuckles, Bowie knife (or
                                                            any kind of knife, except a pocket knife not
                                                            manufactured for offensive or defensive use).




421   1893         Delaware      Revised Statutes of the    Prohibited the concealed carrying of deadly     See Plaintiffs’ response to
                                 State of Delaware, of      weapons or selling deadly weapons other than    Ex. No. 205 above.
                                 Eight Hundred and          an ordinary pocket knife, and prohibited        This law comes too late
                                 Fifty-Two. As They         discharging any firearm in any public road.
                                                                                                            to shed much light on the
                                 Have Since Been            Punishable by fine of $25-100 or by
                                 Amended, Together          imprisonment for 10-30 days.                    scope of the Second
                                 with the Additional                                                        Amendment “[B]ecause
                                 Laws of a Public and                                                       post-Civil War
                                 General Nature, Which                                                      discussions of the right to
                                 Have Been Enacted                                                          keep and bear arms ‘took
                                 Since the Publication of                                                   place 75 years after the
                                 the Revised Code of                                                        ratification of the Second
                                 Eighteen Fifty-Two. To                                                     Amendment, they do not
                                 the Year of Our Lord                                                       provide as much insight
                                 One Thousand Eight
                                                                                                            into its original meaning
                                 Hundred and Ninety-
                                 Three; to Which are                                                        as earlier sources.”
                                 Added the Constitutions                                                    Bruen, 597 U.S. at 36.
                                 of the United States and
                                                                                                                              396
Case
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                                                                               Not “relevantly similar”
                                                                               as it is a concealed carry
                                                                               restriction and does not
                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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             Case
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                                                    Historical Laws

                                          D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction          Citation                   Description of Regulation               Plaintiffs’ Response
                                 of this State, the
                                 Declaration of
                                 Independence, and
                                 Appendix, at 987
                                 (1893), An Act
                                 Providing for the
                                 Punishment of Persons
                                 Carrying Concealed
                                 Deadly Weapons, § 1.

422   1893          North        1893 N.C. L. 468-69,    Prohibiting the transfer of any pistol, pistol   See Plaintiffs’ response to
                   Carolina      ch. 514.                cartridge, brass knucks, Bowie knife, dirk,      Ex. No. 205 above.
                                                         loaded cane, or slingshot to a minor.            This law comes too late
                                                                                                          to shed much light on the
                                                                                                          scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.


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                                                                                                             Not “relevantly similar”
                                                                                                             as it is a on selling and
                                                                                                             transfers to minors, not
                                                                                                             legal adults. The law also
                                                                                                             does not restrict the sale,
                                                                                                             purchase, acquisition,
                                                                                                             possession of long guns
                                                                                                             by minors or legal adults.
423   1893       Rhode Island   1893 R.I. Pub. Laws       Prohibited the carrying of any dirk, Bowie         See Plaintiffs’ response
                                231, An Act Prohibiting   knife, butcher knife, dagger, razor, sword cane,   to Ex. No. 205 above.
                                The Carrying Of           air-gun, billy, metal knuckles, slungshot,         This law comes too late
                                Concealed Weapons,        pistol, or firearm of any description.             to shed much light on the
                                chap. 1180, § 1.                                                             scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a general carry
                                                                                                             restriction and does not
                                                                                                             restrict any arms based on
                                                                                                             age. There is no
                                                                                                             restriction on the sale,
                                                                                                             purchase, acquisition,
                                                                                                             possession of firearms by
                                                                                                             minors or legal adults.

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             Case
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response


424   1893        Tennessee –    Claude Waller, Digest      Prohibited the carrying of a pistol, Bowie       See Plaintiffs’ response to
                    City of      of the Ordinances of the   knife, dirk knife, slungshot, brass knucks, or   Ex. No. 205 above.
                   Nashville     City of Nashville, to      other deadly weapon. Punishable by fine of       This law comes too late
                                 Which are Prefixed the     $10-50 for a first offense and $50 for           to shed much light on the
                                 State Laws                 subsequent offenses.                             scope of the Second
                                 Incorporating, and                                                          Amendment “[B]ecause
                                 Relating to, the City,                                                      post-Civil War
                                 with an Appendix
                                                                                                             discussions of the right to
                                 Containing Various
                                 Grants and Franchises,                                                      keep and bear arms ‘took
                                 at 364-65 (1893),                                                           place 75 years after the
                                 Ordinances of the City                                                      ratification of the Second
                                 of Nashville, § 738.                                                        Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a general carry
                                                                                                             restriction and does not
                                                                                                             restrict any arms based on
                                                                                                             age. There is no
                                                                                                             restriction on the sale,
                                                                                                             purchase, acquisition,
                                                                                                             possession of firearms by
                                                                                                                               400
             Case
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                                                                                                          minors or legal adults.

                                                                                                          This is also a local
                                                                                                          ordinance and thus
                                                                                                          inapplicable to 99% of the
                                                                                                          population.




425   1893        Wyoming –   A. McMicken, City          Prohibited a person from possessing or           See Plaintiffs’ response to
                   City of    Attorney, The Revised      carrying a pistol, revolver, knife, slungshot,   Ex. No. 205 above.
                   Rawlins    Ordinances of the City     bludgeon or other lethal weapon. Punishable      This law comes too late
                              of Rawlins, Carbon         by fine up to $100 or imprisonment up to 30      to shed much light on the
                              County, Wyoming, at        days.                                            scope of the Second
                              131-32 (1893), Revised                                                      Amendment “[B]ecause
                              Ordinances of the City                                                      post-Civil War
                              of Rawlins, Article VII,
                                                                                                          discussions of the right to
                              Carrying Firearms and
                              Lethal Weapons, § 1.                                                        keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a possession and
                                                                                                          carry restriction on
                                                                                                          pistols, knives, and impact
                                                                                                                            401
             Case
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                                                                                                       weapons and does not
                                                                                                       restrict any arms based on
                                                                                                       age. There is no
                                                                                                       restriction on the sale,
                                                                                                       purchase, acquisition,
                                                                                                       possession of firearms by
                                                                                                       minors or legal adults.
                                                                                                       Prohibition also does not
                                                                                                       apply to long guns.

                                                                                                       This is also a local
                                                                                                       ordinance and thus
                                                                                                       inapplicable to 99% of the
                                                                                                       population.
426   1895       North Dakota   1895 N.D. Rev. Codes   Prohibited the carrying of any slungshot or     See Plaintiffs’ response
                                1293, Penal Code,      similar weapon, and the concealed carrying of   to Ex. No. 205 above.
                                                                                                       This law comes too late
                                                                                                       to shed much light on the
                                                                                                       scope of the Second
                                                                                                       Amendment “[B]ecause
                                                                                                       post-Civil War
                                                                                                       discussions of the right to
                                                                                                       keep and bear arms ‘took
                                                                                                       place 75 years after the
                                                                                                       ratification of the Second
                                                                                                       Amendment, they do not
                                                                                                       provide as much insight
                                                                                                       into its original meaning
                                                                                                       as earlier sources.”
                                                                                                       Bruen, 597 U.S. at 36.

                                                                                                       Not “relevantly similar”
                                                                                                       as it is a concealed carry
                                                                                                       restriction and does not
                                                                                                       restrict any arms based on
                                                                                                                          402
Case
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                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




                                                                                                403
             Case
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                                                     Historical Laws

                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation             Plaintiffs’ Response
                                 Crimes Against the         any firearm or any “sharp or dangerous
                                 Public Health and          weapon.”
                                 Safety, ch. 40, §§ 7312-
                                 13.

427   1895       North Dakota    The Revised Codes of       Prohibited the setting of any spring or trap   See Plaintiffs’ response to
                                 the State of North         gun.                                           Ex. No. 205 above.
                                 Dakota 1895 Together                                                      This law comes too late
                                 with the Constitution of
                                                                                                           to shed much light on the
                                 the United States and of
                                 the State of North                                                        scope of the Second
                                 Dakota with the                                                           Amendment “[B]ecause
                                 Amendments Thereto, at                                                    post-Civil War
                                 1259 (1895) .                                                             discussions of the right to
                                                                                                           keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.


                                                                                                           Not “relevantly similar”
                                                                                                           as it is a restriction on
                                                                                                           setting “spring or trap
                                                                                                           gun[s]” and does not

                                                                                                                             404
             Case
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                                                                                                              restrict any arms based on
                                                                                                              age. There is no
                                                                                                              restriction on the sale,
                                                                                                              purchase, acquisition,
                                                                                                              possession of firearms by
                                                                                                              minors or legal adults.




428   1895        Vermont –      Ordinances of the City   Prohibited discharging a gun, pistol, or other      See Plaintiffs’ response
                 City of Barre   of Barre, Vermont, ch.   loaded firearm, firecracker, serpent, or other      to Ex. No. 205 above.
                                 16, § 18 (1895).         explosive, unless on a person’s own property        This law comes too late
                                                          or with the permission of the property owner.       to shed much light on the
                                                          Also prohibited making a bonfire in the street      scope of the Second
                                                          except with city council permission and the         Amendment “[B]ecause
                                                          carrying of concealed steel or brass knuckles, a    post-Civil War
                                                          pistol, slungshot, stiletto, or weapon of similar
                                                                                                              discussions of the right to
                                                          character.
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a restriction on
                                                                                                              discharging a gun and
                                                                                                              does not restrict any arms
                                                                                                              based on age. There is no
                                                                                                              restriction on the sale,
                                                                                                              purchase, acquisition,
                                                                                                              possession of firearms by
                                                                                                                                405
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                                                                                                             minors or legal adults.

                                                                                                             This is also a local
                                                                                                             ordinance and thus
                                                                                                             inapplicable to 99% of
                                                                                                             the population.




429   1896        California – L. W. Moultrie, City      Prohibited the transfer to any minor under the      See Plaintiffs’ response
                 City of Fresno Attorney, Charter and    age of 18 any gun, pistol or other firearm, dirk,   to Ex. No. 205 above.
                                Ordinances of the City   Bowie knife, powder, shot, bullets, or any          This law comes too late
                                                                                                             to shed much light on the
                                                                                                             scope of the Second
                                                                                                             Amendment “[B]ecause
                                                                                                             post-Civil War
                                                                                                             discussions of the right to
                                                                                                             keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a restriction on
                                                                                                             “minors under the age of
                                                                                                             18” There is no restriction
                                                                                                             on the sale, purchase,
                                                                                                             acquisition, possession of
                                                                                                             firearms by minors 18-
                                                                                                                               406
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                                                                               years and over or legal
                                                                               adults. Additionally,
                                                                               unlike the challenged
                                                                               provision, this allows for
                                                                               sales to minors under 18
                                                                               with parental consent.

                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of
                                                                               the population.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                Plaintiffs’ Response
                                 of Fresno, 1896, at 37, §   combustible or dangerous material, absent
                                 53 (1896).                  written consent of parent or guardian.



430   1896        California – L. W. Moultrie, Charter       Prohibited the concealed carrying of any pistol   See Plaintiffs’ response to
                 City of Fresno and Ordinances of the        or firearm, slungshot, dirk, Bowie knife, or      Ex. No. 205 above.
                                City of Fresno, at 30, §     other deadly weapon, absent written               This law comes too late
                                8 (1896).                    permission.                                       to shed much light on the
                                                                                                               scope of the Second
                                                                                                               Amendment “[B]ecause
                                                                                                               post-Civil War
                                                                                                               discussions of the right to
                                                                                                               keep and bear arms ‘took
                                                                                                               place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a concealed carry
                                                                                                               restriction and does not
                                                                                                               restrict any arms based on
                                                                                                               age. There is no
                                                                                                                                 408
             Case
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                                                                                                        restriction on the sale,
                                                                                                        purchase, acquisition,
                                                                                                        possession of firearms by
                                                                                                        minors or legal adults.

                                                                                                        This is also a local
                                                                                                        ordinance and thus
                                                                                                        inapplicable to 99% of the
                                                                                                        population.
431   1896        Mississippi   1896 Miss. L. 109-10,   Prohibited the carrying of a concealed Bowie    See Plaintiffs’ response
                                ch. 104.                knife, dirk, butcher knife, pistol, brass or    to Ex. No. 205 above.
                                                        metallic knuckles, slingshot, sword, or other   This law comes too late
                                                        deadly weapon “of like kind or description.”    to shed much light on the
                                                                                                        scope of the Second
                                                                                                        Amendment “[B]ecause
                                                                                                        post-Civil War
                                                                                                        discussions of the right to
                                                                                                        keep and bear arms ‘took
                                                                                                        place 75 years after the
                                                                                                        ratification of the Second
                                                                                                        Amendment, they do not
                                                                                                        provide as much insight
                                                                                                        into its original meaning
                                                                                                        as earlier sources.”
                                                                                                        Bruen, 597 U.S. at 36.

                                                                                                        Not “relevantly similar”
                                                                                                        as it is a concealed carry
                                                                                                        restriction and does not
                                                                                                        restrict any arms based on
                                                                                                        age. There is no
                                                                                                        restriction on the sale,
                                                                                                        purchase, acquisition,
                                                                                                        possession of firearms by
                                                                                                        minors or legal adults.
                                                                                                                          409
             Case
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432   1896       Rhode Island   General Laws of the        Prohibited the carrying of any dirk, Bowie         See Plaintiffs’ response
                                State of Rhode Island      knife, butcher knife, dagger, razor, sword cane,   to Ex. No. 205 above.
                                and Providence             air-gun, billy, metal knuckles, slungshot,         This law comes too late
                                Plantations to Which are   pistol, or firearm of any description. Exempted    to shed much light on the
                                Prefixed the               officers or watchmen whose duties required         scope of the Second
                                Constitutions of the       them to make arrests or guard prisoners or         Amendment “[B]ecause
                                United States and of the
                                                                                                              post-Civil War
                                                                                                              discussions of the right to
                                                                                                              keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a general carry
                                                                                                              restriction and does not
                                                                                                              restrict any arms based on
                                                                                                              age. There is no
                                                                                                              restriction on the sale,
                                                                                                              purchase, acquisition,
                                                                                                              possession of firearms by
                                                                                                              minors or legal adults.




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             Case
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                                                     Historical Laws

                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response
                                 State, at 1010-11        property.
                                 (1896), Offences
                                 Against Public Policy,
                                 §§ 23, 24, 26.


433   1896       Washington –    Rose M. Denny, The       Prohibited the carrying of a concealed              See Plaintiffs’ response to
                   City of       Municipal Code of the    revolver, pistol or other fire-arms, or any knife   Ex. No. 205 above.
                  Spokane        City of Spokane,         (other than an ordinary pocket knife) or any        This law comes too late
                                 Washington.              dirk or dagger, sling-shot or metal knuckles, or    to shed much light on the
                                 Comprising the           any instrument by the use of which injury           scope of the Second
                                 Ordinances of the City   could be inflicted upon the person or property.     Amendment “[B]ecause
                                 (Excepting Ordinances    punishable by fine of $25-100, cost of              post-Civil War
                                 Establishing Street      prosecution, and imprisonment until
                                                                                                              discussions of the right to
                                 Grades) Revised to       fines/costs are paid.
                                 October 22, 1896, at                                                         keep and bear arms ‘took
                                 309-10 (1896),                                                               place 75 years after the
                                 Ordinances of Spokane,                                                       ratification of the Second
                                 An Ordinance to Punish                                                       Amendment, they do not
                                 the Carrying of                                                              provide as much insight
                                 Concealed Weapons                                                            into its original meaning
                                 within the City of                                                           as earlier sources.”
                                 Spokane, § 1.                                                                Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a concealed carry
                                                                                                              restriction and does not
                                                                                                              restrict any arms based on
                                                                                                                                411
             Case
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                                                                                                   age. There is no
                                                                                                   restriction on the sale,
                                                                                                   purchase, acquisition,
                                                                                                   possession of firearms by
                                                                                                   minors or legal adults.

                                                                                                   This is also a local
                                                                                                   ordinance and thus
                                                                                                   inapplicable to 99% of the
                                                                                                   population.




434   1897         Alabama    William Logan Martin,   Tax of $300 on the sale of pistols, pistol   See Plaintiffs’ response
                              Commissioner, The       cartridges, Bowie knives, and dirk knives.   to Ex. No. 205 above.
                              Code of Alabama,                                                     This law comes too late
                              Adopted by Act of the                                                to shed much light on the
                              General Assembly of                                                  scope of the Second
                                                                                                   Amendment “[B]ecause
                                                                                                   post-Civil War
                                                                                                   discussions of the right to
                                                                                                   keep and bear arms ‘took
                                                                                                   place 75 years after the
                                                                                                   ratification of the Second
                                                                                                   Amendment, they do not
                                                                                                   provide as much insight
                                                                                                   into its original meaning
                                                                                                   as earlier sources.”
                                                                                                   Bruen, 597 U.S. at 36.


                                                                                                                     412
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                                                                               Not “relevantly similar”
                                                                               as it is a tax imposed on
                                                                               the sale of handguns and
                                                                               certain knives and does
                                                                               not restrict any arms
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




                                                                                                413
             Case
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                                                      Historical Laws

                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                                  the State of Alabama,
                                  Approved February 16,
                                  1897, § 27 (1897).

435   1897         Missouri –     William K. Amick, The      Prohibited the carrying of a concealed pistol or   See Plaintiffs’ response to
                  City of Saint   General Ordinances of      revolver, colt, billy, slungshot, cross knuckles   Ex. No. 205 above.
                     Joseph       the City of Saint Joseph   or knuckles of lead, brass or other metal, dirk,   This law comes too late
                                  (A City of the Second      dagger, razor, Bowie knife, or any knife           to shed much light on the
                                  Class) Embracing all       resembling a Bowie knife, or any other             scope of the Second
                                  Ordinances of General      dangerous or deadly weapon.                        Amendment “[B]ecause
                                  Interest in Force July                                                        post-Civil War
                                  15, 1897, together with
                                                                                                                discussions of the right to
                                  the Laws of the State of
                                  Missouri of a General                                                         keep and bear arms ‘took
                                  Nature Applicable to the                                                      place 75 years after the
                                  City of St. Joseph.                                                           ratification of the Second
                                  Compiled and Arranged,                                                        Amendment, they do not
                                  at 508 (1897),                                                                provide as much insight
                                  Concealed Weapons –                                                           into its original meaning
                                  Carrying of, § 7.                                                             as earlier sources.”
                                                                                                                Bruen, 597 U.S. at 36.

                                                                                                                Not “relevantly similar”
                                                                                                                as it is a concealed carry
                                                                                                                restriction and does not
                                                                                                                restrict any arms based on
                                                                                                                age. There is no
                                                                                                                restriction on the sale,
                                                                                                                                  414
             Case
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                                                                                                            purchase, acquisition,
                                                                                                            possession of firearms by
                                                                                                            minors or legal adults.

                                                                                                            This is also a local
                                                                                                            ordinance and thus
                                                                                                            inapplicable to 99% of the
                                                                                                            population.




436   1897          Texas     1897 Tex. Gen. Laws         Prohibited the selling or giving to a minor a     See Plaintiffs’ response to
                              221, An Act to Prevent      pistol, dirk, dagger, slungshot, sword cane,      Ex. No. 205 above.
                              the Barter, Sale And        spear or knuckles made of any metal or hard       This law comes too late
                              Gift of Any Pistol, Dirk,   substance, Bowie knife or any other knife         to shed much light on the
                              Dagger, Slung Shot,         manufactured or sold for the purpose of           scope of the Second
                              Sword Cane, Spear, or       offense or defense without the consent of their   Amendment “[B]ecause
                              Knuckles Made of Any        parent or guardian. Punishable by fine of $25-    post-Civil War
                              Metal Or Hard
                                                                                                            discussions of the right to
                                                                                                            keep and bear arms ‘took
                                                                                                            place 75 years after the
                                                                                                            ratification of the Second
                                                                                                            Amendment, they do not
                                                                                                            provide as much insight
                                                                                                            into its original meaning
                                                                                                            as earlier sources.”
                                                                                                            Bruen, 597 U.S. at 36.

                                                                                                            Not “relevantly similar”
                                                                                                                              415
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                                                                               as it is a restriction on
                                                                               minors and not legal
                                                                               adults. Law also does not
                                                                               restrict any long guns
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of long guns
                                                                               by minors or legal adults.
                                                                               Minors could also
                                                                               purchase pistols and other
                                                                               identified weapons with
                                                                               parental consent.




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             Case
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
                                 Substance to Any Minor     200 and/or imprisonment for 10-30 days.
                                 Without the Written
                                 Consent of the Parent or
                                 Guardian of Such
                                 Minor. . ., ch. 155.

437   1897        Washington     Richard Achilles           Prohibited the carrying of a concealed             See Plaintiffs’ response to
                                 Ballinger, Ballinger’s     revolver, pistol, or other fire-arms, or any       Ex. No. 205 above.
                                 Annotated Codes and        knife, (other than an ordinary pocket knife), or   This law comes too late
                                 Statutes of Washington:    any dirk or dagger, sling-shot, or metal           to shed much light on the
                                 Showing All Statutes in    knuckles, or any instrument by the use of          scope of the Second
                                 Force, Including the       which injury could be inflicted upon the           Amendment “[B]ecause
                                 Session Laws of 1897,      person or property of any other person.            post-Civil War
                                 at 1956-57 (Vol. 2,        Punishable by fine of $25-100 and/or
                                                                                                               discussions of the right to
                                 1897), Carrying            imprisonment for 30 days.
                                 Concealed Weapons,                                                            keep and bear arms ‘took
                                 § 7084.                                                                       place 75 years after the
                                                                                                               ratification of the Second
                                                                                                               Amendment, they do not
                                                                                                               provide as much insight
                                                                                                               into its original meaning
                                                                                                               as earlier sources.”
                                                                                                               Bruen, 597 U.S. at 36.

                                                                                                               Not “relevantly similar”
                                                                                                               as it is a concealed carry
                                                                                                               restriction and does not
                                                                                                               restrict any arms based on
                                                                                                                                 417
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                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.




438   1898          Georgia    1898 Ga. L. 60, ch. 103.   Prohibited the concealed carry of any pistol,   See Plaintiffs’ response to
                                                          dirk, sword cane, spear, Bowie knife, other     Ex. No. 205 above.
                                                          kind of knife “manufactured and sold for        This law comes too late
                                                          purpose of offense and defense,” and any        to shed much light on the
                                                          “kind of metal knucks.”                         scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a concealed carry
                                                                                                          restriction and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                                            418
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                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                          D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction          Citation                     Description of Regulation                 Plaintiffs’ Response

439   1898       Oregon – City   The Charter of Oregon     Prohibited the carrying of any slingshot, billy,   See Plaintiffs’ response
                  of Oregon      City, Oregon, Together    dirk, pistol, or “any concealed deadly             to Ex. No. 205 above.
                     City        with the Ordinances and   weapon,” and the discharge of any firearm, air     This law comes too late
                                 Rules of Order, 259       gun, sparrow gun, flipper, or bean shooter,        to shed much light on the
                                 (1898), An Ordinance      unless in self-defense.                            scope of the Second
                                 Providing for the                                                            Amendment “[B]ecause
                                 Punishment of                                                                post-Civil War
                                 Disorderly Persons, and
                                                                                                              discussions of the right to
                                 Keepers and Owners of
                                 Disorderly Houses, § 2.                                                      keep and bear arms ‘took
                                                                                                              place 75 years after the
                                                                                                              ratification of the Second
                                                                                                              Amendment, they do not
                                                                                                              provide as much insight
                                                                                                              into its original meaning
                                                                                                              as earlier sources.”
                                                                                                              Bruen, 597 U.S. at 36.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a general carry
                                                                                                              restriction and does not
                                                                                                              restrict any arms based on
                                                                                                              age. There is no
                                                                                                              restriction on the sale,
                                                                                                              purchase, acquisition,
                                                                                                              possession of firearms by
                                                                                                              minors or legal adults.

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             Case
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                                                                                                             This is also a local
                                                                                                             ordinance and thus
                                                                                                             inapplicable to 99% of
                                                                                                             the population.




440   1899          Alaska    Fred F. Barker,            Prohibited concealed carrying in any manner         See Plaintiffs’ response
                              Compilation of the Acts    any revolver, pistol, other firearm, knife (other   to Ex. No. 205 above.
                              of Congress and            than an “ordinary pocket knife”), dirk, dagger,     This law comes too late
                              Treaties Relating to       slungshot, metal knuckles, or any instrument        to shed much light on the
                              Alaska: From March 30,     that could cause injury to a person or property.    scope of the Second
                              1867, to March 3, 1905,                                                        Amendment “[B]ecause
                              at App. A, p. 139 (30                                                          post-Civil War
                              Stat. L. 1253 (1899));
                                                                                                             discussions of the right to
                              1896-99 Alaska Sess.
                              Laws 1270, ch. 6, § 117.                                                       keep and bear arms ‘took
                                                                                                             place 75 years after the
                                                                                                             ratification of the Second
                                                                                                             Amendment, they do not
                                                                                                             provide as much insight
                                                                                                             into its original meaning
                                                                                                             as earlier sources.”
                                                                                                             Bruen, 597 U.S. at 36.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a concealed carry
                                                                                                             restriction and does not
                                                                                                             restrict any arms based on
                                                                                                             age. There is no
                                                                                                             restriction on the sale,
                                                                                                                               421
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                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.




441   1899        Nebraska –   Compiled Ordinances of    Prohibited the carrying of a concealed pistol,   See Plaintiffs’ response
                    City of    the City of Fairfield,    revolver, dirk, Bowie knife, billy, slingshot,   to Ex. No. 205 above.
                   Fairfield   Clay County, Nebraska,    metal knuckles, or other dangerous or deadly     This law comes too late
                               at 34 (1899), Ordinance   weapons. Punishable by forfeiture and “shall     to shed much light on the
                               No. 20, An Ordinance to   be so adjudged.”                                 scope of the Second
                                                                                                          Amendment “[B]ecause
                                                                                                          post-Civil War
                                                                                                          discussions of the right to
                                                                                                          keep and bear arms ‘took
                                                                                                          place 75 years after the
                                                                                                          ratification of the Second
                                                                                                          Amendment, they do not
                                                                                                          provide as much insight
                                                                                                          into its original meaning
                                                                                                          as earlier sources.”
                                                                                                          Bruen, 597 U.S. at 36.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a concealed carry
                                                                                                          restriction and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                                            422
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                                                                               possession of firearms by
                                                                               minors or legal adults.

                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of
                                                                               the population.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                    Description of Regulation              Plaintiffs’ Response
                                 Prohibit the Carrying of
                                 Concealed Weapons and
                                 Fixing a Penalty for the
                                 violations of the same.
                                 Be it ordained by the
                                 Mayor and Council of
                                 the City of Fairfield,
                                 Nebraska: § 1.

442   1899        Texas – City   Theodore Harris,           Prohibited drawing in a threatening manner a   See Plaintiffs’ response to
                    of San       Charter and Ordinances     pistol, gun, knife, sword cane, club or any    Ex. No. 205 above.
                    Antonio      of the City of San         other instrument or weapon that may cause      This law comes too late
                                 Antonio. Comprising        death.                                         to shed much light on the
                                 All Ordinances of a                                                       scope of the Second
                                 General Character in                                                      Amendment “[B]ecause
                                 Force August 7th, at 220                                                  post-Civil War
                                 (1899), Ordinances of
                                                                                                           discussions of the right to
                                 the City of San Antonio,
                                 Ordinances, ch. 22, § 4.                                                  keep and bear arms ‘took
                                                                                                           place 75 years after the
                                                                                                           ratification of the Second
                                                                                                           Amendment, they do not
                                                                                                           provide as much insight
                                                                                                           into its original meaning
                                                                                                           as earlier sources.”
                                                                                                           Bruen, 597 U.S. at 36.

                                                                                                           Not “relevantly similar”
                                                                                                                             424
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                                                                                                               as it is a restriction on
                                                                                                               drawing handguns or
                                                                                                               knives in a threatening
                                                                                                               manner and does not
                                                                                                               restrict any arms based on
                                                                                                               age. There is no
                                                                                                               restriction on the sale,
                                                                                                               purchase, acquisition,
                                                                                                               possession of firearms by
                                                                                                               minors or legal adults.

                                                                                                               This is also a local
                                                                                                               ordinance and thus
                                                                                                               inapplicable to 99% of the
                                                                                                               population.
443   1900       Iowa – City of   William H. Baily, The     Prohibited the carrying of a concealed pistol or   See Plaintiffs’ response to
                  Des Moines      Revised Ordinances of     other firearms, slungshot, brass knuckles, or      Ex. No. 205 above.
                                  Nineteen Hundred of the   knuckles of lead, brass or other metal or          Law comes too late to
                                  City of Des Moines,       material, or any sandbag, air guns of any          provide any insight into
                                  Iowa, at 89-90, (1900),   description, dagger, Bowie knife, dirk knife, or   the meaning of the
                                  Ordinances City of Des    other knife or instrument for cutting, stabbing    Second Amendment.
                                  Moines, Weapons,          or striking, or other dangerous or deadly          Bruen entirely
                                  Concealed, § 209.         weapon.
                                                                                                               disregarded laws from the
                                                                                                               20th century, noting that,
                                                                                                               “[a]s with…late-19th
                                                                                                               century evidence, the
                                                                                                               20th-century evidence
                                                                                                               presented by respondents
                                                                                                               and their amici does not
                                                                                                               provide insight into the
                                                                                                               meaning of the Second
                                                                                                               Amendment when it
                                                                                                               contradicts earlier
                                                                                                               evidence.” Bruen, 597
                                                                                                               U.S. at 66 n.28.
                                                                                                                                425
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                                                                               Not “relevantly similar”
                                                                               as it is a concealed carry
                                                                               restriction and does not
                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.

                                                                               This is also a local
                                                                               ordinance and thus
                                                                               inapplicable to 99% of the
                                                                               population.




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                                          D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction          Citation                   Description of Regulation                  Plaintiffs’ Response




444   1900         New York      1900 N.Y. Laws 459,     Prohibited manufacturing or selling a              See Plaintiffs’ response to
                                 An Act to Amend         slungshot, billy, sandclub or metal knuckles,      Ex. No. 205 above.
                                 Section Four Hundred    and prohibited selling a firearm to a minor in     Law comes too late to
                                 and Nine of the Penal   any city or incorporated village without written   provide any insight into
                                 Code, Relative to       consent of police magistrate. Exempted any         the meaning of the
                                 Dangerous Weapons,      officer of the United States or peace officer      Second Amendment.
                                 ch. 222, § 1.           when necessary and proper to discharge             Bruen entirely
                                                         official duties.
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a selling a firearm

                                                                                                                               427
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                                                                                                            to a minor, not a legal
                                                                                                            adult.




445   1901          Arizona     1901 Ariz. 1251-53, §§   Prohibited the concealed carrying of any pistol    See Plaintiffs’ response to
                                381, 385, 390.           or other firearm, dirk, dagger, slungshot, sword   Ex. No. 205 above.
                  [Territory]
                                                         cane, spear, brass knuckles, Bowie knife (or       Law comes too late to
                                                         any kind of knife, except a pocket knife not       provide any insight into
                                                         manufactured for offensive or defensive use).      the meaning of the
                                                         Exempted peace officers in discharge of            Second Amendment.
                                                         official duties. Punishable by a fine of $25-100   Bruen entirely
                                                         and forfeiture of the weapon.
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a concealed carry
                                                                                                            restriction and does not
                                                                                                            restrict any arms based on
                                                                                                            age. There is no
                                                                                                                               428
             Case
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                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.




446   1901           Utah     1901 Utah Laws 97-98,       Prohibited the construction and possession of   See Plaintiffs’ response to
                              An Act Defining an          any “infernal machine,” defined as a device     Ex. No. 205 above.
                              Infernal Machine, and       with a loaded firearm that is capable of        Law comes too late to
                              Prescribing Penalties for   igniting when moved, handled, or opened.        provide any insight into
                              the Construction or                                                         the meaning of the
                                                                                                          Second Amendment.
                                                                                                          Bruen entirely
                                                                                                          disregarded laws from the
                                                                                                          20th century, noting that,
                                                                                                          “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a restriction on
                                                                                                                               429
Case
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                                                                               “infernal machines” and
                                                                               does not restrict any arms
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




                                                                                                430
             Case
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response
                                 Contrivance of the
                                 Same, or Having Such
                                 Machine in Possession,
                                 or Delivering Such
                                 Machine to Any Person
                                 . . . , ch. 96, §§ 1-3.

447   1903         Oklahoma      Wilson’s Rev. & Ann.        Prohibited the concealed carrying of any        See Plaintiffs’ response to
                                 St. Okla.(1903) § 583, c.   pistol, revolver, Bowie knife, dirk, dagger,    Ex. No. 205 above.
                  [Territory]
                                 25.                         slungshot, sword cane, spear, metal knuckles,   Law comes too late to
                                                             or other kind of knife manufactured for         provide any insight into
                                                             defense.                                        the meaning of the
                                                                                                             Second Amendment.
                                                                                                             Bruen entirely
                                                                                                             disregarded laws from the
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.
                                                                                                                               431
             Case
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                                                                                                    Not “relevantly similar”
                                                                                                    as it is a concealed carry
                                                                                                    restriction and does not
                                                                                                    restrict any arms based on
                                                                                                    age. There is no
                                                                                                    restriction on the sale,
                                                                                                    purchase, acquisition,
                                                                                                    possession of firearms by
                                                                                                    minors or legal adults.

448   1903       South Dakota   S.D. Rev. Code, Penal   Prohibited the carrying of a concealed      See Plaintiffs’ response to
                                Code 1150 (1903) §§     slungshot, firearm, or sharp or dangerous   Ex. No. 205 above.
                                470, 471.               weapon.                                     Law comes too late to
                                                                                                    provide any insight into
                                                                                                    the meaning of the
                                                                                                    Second Amendment.
                                                                                                    Bruen entirely
                                                                                                    disregarded laws from the
                                                                                                    20th century, noting that,
                                                                                                    “[a]s with…late-19th
                                                                                                    century evidence, the
                                                                                                    20th-century evidence
                                                                                                    presented by respondents
                                                                                                    and their amici does not
                                                                                                    provide insight into the
                                                                                                    meaning of the Second
                                                                                                    Amendment when it
                                                                                                    contradicts earlier
                                                                                                    evidence.” Bruen, 597
                                                                                                    U.S. at 66 n.28.

                                                                                                    Not “relevantly similar”
                                                                                                    as it is a concealed carry
                                                                                                    restriction and does not
                                                                                                                       432
             Case
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                                                                                                        restrict any arms based on
                                                                                                        age. There is no
                                                                                                        restriction on the sale,
                                                                                                        purchase, acquisition,
                                                                                                        possession of firearms by
                                                                                                        minors or legal adults.
449   1905          Indiana   1905 Ind. Acts 677,   Prohibited maliciously or mischievously             See Plaintiffs’ response to
                              Public Conveyance—    shooting a gun, rifle, pistol or other weapon, or   Ex. No. 205 above.
                              Attacking, § 410.     throwing a stone, stick, club or any other          Law comes too late to
                                                    substance at a vehicle. Punishable by               provide any insight into
                                                    imprisonment for 30 days to 1 year and a fine       the meaning of the
                                                                                                        Second Amendment.
                                                                                                        Bruen entirely
                                                                                                        disregarded laws from the
                                                                                                        20th century, noting that,
                                                                                                        “[a]s with…late-19th
                                                                                                        century evidence, the
                                                                                                        20th-century evidence
                                                                                                        presented by respondents
                                                                                                        and their amici does not
                                                                                                        provide insight into the
                                                                                                        meaning of the Second
                                                                                                        Amendment when it
                                                                                                        contradicts earlier
                                                                                                        evidence.” Bruen, 597
                                                                                                        U.S. at 66 n.28.

                                                                                                        Not “relevantly similar”
                                                                                                        as it is a restriction on
                                                                                                        “mischievously shooting a
                                                                                                        gun” and does not restrict
                                                                                                        any arms based on age.
                                                                                                        There is no restriction on
                                                                                                        the sale, purchase,
                                                                                                        acquisition, possession of
                                                                                                                             433
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                                                                               firearms by minors or
                                                                               legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response
                                                            of $10-100.

450   1905        New Jersey     1905 N.J. Laws 324-25,     Prohibited the carrying of a concealed           See Plaintiffs’ response to
                                 A Supplement to an Act     revolver, pistol or other deadly, offensive or   Ex. No. 205 above.
                                 Entitled “An Act for the   dangerous weapon or firearm or any stiletto,     Law comes too late to
                                 Punishment of Crimes,”     dagger or razor. Punishable by fine up to $200   provide any insight into
                                 ch. 172, § 1.              and/or imprisonment with hard labor up to 2      the meaning of the
                                                            years.                                           Second Amendment.
                                                                                                             Bruen entirely
                                                                                                             disregarded laws from the
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a concealed carry
                                                                                                             restriction and does not

                                                                                                                               435
             Case
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                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.


451   1908       Rhode Island   1908 (January Session)   Prohibited the carrying of any dirk, dagger,     See Plaintiffs’ response to
                                R.I. Pub. Laws 145, An   razor, sword cane, Bowie knife, butcher knife,   Ex. No. 205 above.
                                Act in Amendment of      air-gun, billy, metal knuckles, slungshot,       Law comes too late to
                                section 23 of chapter    pistol, other firearm. Exempted officers or      provide any insight into
                                283 of the General       watchmen.                                        the meaning of the
                                Laws, § 23.                                                               Second Amendment.
                                                                                                          Bruen entirely
                                                                                                          disregarded laws from the
                                                                                                          20th century, noting that,
                                                                                                          “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a general carry
                                                                                                          restriction and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                                              436
             Case
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                                                                                                   purchase, acquisition,
                                                                                                   possession of firearms by
                                                                                                   minors or legal adults.




452   1909          Idaho     1909 Id. Sess. Laws 6,   Prohibited the carrying a concealed dirk,   See Plaintiffs’ response to
                              An Act To Regulate the   Bowie knife, dagger, slungshot, pistol,     Ex. No. 205 above.
                              Use and Carrying of      revolver, gun, or any other deadly or       Law comes too late to
                              Concealed Deadly         dangerous weapon in any public setting.     provide any insight into
                              Weapons and to                                                       the meaning of the
                              Regulate the Sale or                                                 Second Amendment.
                                                                                                   Bruen entirely
                                                                                                   disregarded laws from the
                                                                                                   20th century, noting that,
                                                                                                   “[a]s with…late-19th
                                                                                                   century evidence, the
                                                                                                   20th-century evidence
                                                                                                   presented by respondents
                                                                                                   and their amici does not
                                                                                                   provide insight into the
                                                                                                   meaning of the Second
                                                                                                   Amendment when it
                                                                                                   contradicts earlier
                                                                                                   evidence.” Bruen, 597
                                                                                                   U.S. at 66 n.28.

                                                                                                   Not “relevantly similar”
                                                                                                                     437
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                                                                               as it is a concealed carry
                                                                               restriction and does not
                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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             Case
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                                 Delivery of Deadly
                                 Weapons to Minors
                                 Under the Age of
                                 Sixteen Years to
                                 Provide a Penalty for the
                                 Violation of the
                                 Provisions of this Act,
                                 and to Exempt Certain
                                 Persons, § 1.

453   1909       South Dakota    1909 S.D. Sess. Laws        Prohibited the setting or possession of any “set   See Plaintiffs’ response to
                                 450, An Act for the         gun.”                                              Ex. No. 205 above.
                                 Preservation,                                                                  Law comes too late to
                                 Propagation, Protection,                                                       provide any insight into
                                 Taking, Use and                                                                the meaning of the
                                 Transportation of Game                                                         Second Amendment.
                                 and Fish and                                                                   Bruen entirely
                                 Establishing the Office
                                                                                                                disregarded laws from the
                                 of State Game Warden
                                 and Defining His                                                               20th century, noting that,
                                 Duties, ch. 240, §§ 21-                                                        “[a]s with…late-19th
                                 22.                                                                            century evidence, the
                                                                                                                20th-century evidence
                                                                                                                presented by respondents
                                                                                                                and their amici does not
                                                                                                                provide insight into the
                                                                                                                meaning of the Second
                                                                                                                Amendment when it

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             Case
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                                                                                                              contradicts earlier
                                                                                                              evidence.” Bruen, 597
                                                                                                              U.S. at 66 n.28.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a restriction on
                                                                                                              setting trap guns and does
                                                                                                              not restrict any arms
                                                                                                              based on age. There is no
                                                                                                              restriction on the sale,
                                                                                                              purchase, acquisition,
                                                                                                              possession of firearms by
                                                                                                              minors or legal adults.
454   1909        Washington   1909 Wash. Sess. Laws     Prohibited the setting of any trap, spring pistol,   See Plaintiffs’ response to
                               973, An Act Relating to   rifle, or other deadly weapon. Punishable by         Ex. No. 205 above.
                               Crimes and Punishments    imprisonment for up to 1 year or a fine of up to     Law comes too late to
                               and the Rights and        $1,000. Further punishable by imprisonment           provide any insight into
                               Custody of Persons        for up to 20 years for non-fatal or fatal injuries   the meaning of the
                               Accused or Convicted                                                           Second Amendment.
                                                                                                              Bruen entirely
                                                                                                              disregarded laws from the
                                                                                                              20th century, noting that,
                                                                                                              “[a]s with…late-19th
                                                                                                              century evidence, the
                                                                                                              20th-century evidence
                                                                                                              presented by respondents
                                                                                                              and their amici does not
                                                                                                              provide insight into the
                                                                                                              meaning of the Second
                                                                                                              Amendment when it
                                                                                                              contradicts earlier
                                                                                                              evidence.” Bruen, 597
                                                                                                              U.S. at 66 n.28.


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                                                                               Not “relevantly similar”
                                                                               as it is a restriction on
                                                                               selling and setting trap
                                                                               guns and does not restrict
                                                                               any arms based on age.
                                                                               There is no restriction on
                                                                               the sale, purchase,
                                                                               acquisition, possession of
                                                                               firearms by minors or
                                                                               legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
                                 of Crime, and Repealing    resulting from the trap.
                                 Certain Acts, ch. 249,
                                 ch. 7, §266, pts. 1-3.

455   1911         New York      1911 N.Y. Laws 442,        Prohibited the manufacture, sale, giving, or       See Plaintiffs’ response to
                                 An Act to Amend the        disposing of any weapon of the kind usually        Ex. No. 205 above.
                                 Penal Law, in Relation     known as a blackjack, slungshot, billy,            Law comes too late to
                                 to the Sale and Carrying   sandclub, sandbag, bludgeon, or metal              provide any insight into
                                 of Dangerous Weapons,      knuckles, and the offering, sale, loaning,         the meaning of the
                                 ch. 195, § 1.              leasing, or giving of any gun, revolver, pistol,   Second Amendment.
                                                            air gun, or spring-gun to a person under the       Bruen entirely
                                                            age of 16.
                                                                                                               disregarded laws from the
                                                                                                               20th century, noting that,
                                                                                                               “[a]s with…late-19th
                                                                                                               century evidence, the
                                                                                                               20th-century evidence
                                                                                                               presented by respondents
                                                                                                               and their amici does not
                                                                                                               provide insight into the
                                                                                                               meaning of the Second
                                                                                                               Amendment when it
                                                                                                               contradicts earlier
                                                                                                               evidence.” Bruen, 597
                                                                                                               U.S. at 66 n.28.

                                                                                                               Not “relevantly similar”

                                                                                                                                 442
             Case
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                                                                                                           as it is a restrict sales to
                                                                                                           “persons under the age of
                                                                                                           16.” There is no
                                                                                                           restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors 16 and over or
                                                                                                           legal adults.




456   1911         New York   1911 N.Y. Laws 442-43,     Prohibited the carrying or possession of any      See Plaintiffs’ response to
                              An Act to Amend the        weapon of the kind commonly known as a            Ex. No. 205 above.
                              Penal Law, in Relation     blackjack, slungshot, billy, sandclub, sandbag,   Law comes too late to
                              to the Sale and Carrying   metal knuckles, or bludgeon, and the carrying     provide any insight into
                              of Dangerous Weapons.      or possession of any dagger, dirk, dangerous      the meaning of the
                              ch. 195, § 1.              knife, razor, stiletto, or other “dangerous or    Second Amendment.
                                                         deadly instrument or weapon” with intent to       Bruen entirely
                                                         use the weapon unlawfully against another.
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.

                                                                                                           Not “relevantly similar”
                                                                                                                             443
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                                                                               as it is a general carry
                                                                               restriction and does not
                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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             Case
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                                          D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction          Citation                 Description of Regulation               Plaintiffs’ Response




457   1912         Vermont       1912 Vt. Acts and      Prohibited the setting of any spring gun.       See Plaintiffs’ response to
                                 Resolves 261.          Punishable by a fine of $50-500 and liability   Ex. No. 205 above.
                                                        for twice the amount of damage resulting from   Law comes too late to
                                                        the trap.                                       provide any insight into
                                                                                                        the meaning of the
                                                                                                        Second Amendment.
                                                                                                        Bruen entirely
                                                                                                        disregarded laws from the
                                                                                                        20th century, noting that,
                                                                                                        “[a]s with…late-19th
                                                                                                        century evidence, the
                                                                                                        20th-century evidence
                                                                                                        presented by respondents
                                                                                                        and their amici does not
                                                                                                        provide insight into the
                                                                                                        meaning of the Second
                                                                                                        Amendment when it
                                                                                                        contradicts earlier
                                                                                                        evidence.” Bruen, 597
                                                                                                        U.S. at 66 n.28.

                                                                                                        Not “relevantly similar”
                                                                                                        as it is a restriction on

                                                                                                                          445
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                                                                                                      setting “spring guns” and
                                                                                                      does not restrict any arms
                                                                                                      based on age. There is no
                                                                                                      restriction on the sale,
                                                                                                      purchase, acquisition,
                                                                                                      possession of firearms by
                                                                                                      minors or legal adults.
458   1913          Florida   1913 Fla. 117, An Act     Prohibited hunting wild game with automatic   See Plaintiffs’ response to
                              to Regulate the Hunting   guns.                                         Ex. No. 205 above.
                              of Wild Deer etc., § 8.                                                 Law comes too late to
                                                                                                      provide any insight into
                                                                                                      the meaning of the
                                                                                                      Second Amendment.
                                                                                                      Bruen entirely
                                                                                                      disregarded laws from the
                                                                                                      20th century, noting that,
                                                                                                      “[a]s with…late-19th
                                                                                                      century evidence, the
                                                                                                      20th-century evidence
                                                                                                      presented by respondents
                                                                                                      and their amici does not
                                                                                                      provide insight into the
                                                                                                      meaning of the Second
                                                                                                      Amendment when it
                                                                                                      contradicts earlier
                                                                                                      evidence.” Bruen, 597
                                                                                                      U.S. at 66 n.28.

                                                                                                      Not “relevantly similar”
                                                                                                      as it is a prohibits hunting
                                                                                                      with an automatic gun.
                                                                                                      There is no restriction on
                                                                                                      the sale, purchase,
                                                                                                      acquisition, possession of
                                                                                                      firearms by minors or
                                                                                                                          446
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                                                                                                          legal adults.



459   1913          Hawaii      1913 Haw. Rev. Laws   Prohibited the carrying a Bowie knife, sword        See Plaintiffs’ response to
                                ch. 209, § 3089,      cane, pistol, air-gun, slungshot, or other deadly   Ex. No. 205 above.
                  [Territory]
                                Carrying Deadly       weapon. Punishable by fine of $10-250 or            Law comes too late to
                                Weapons, § 3089.      imprisonment for 3-12 months, unless good           provide any insight into
                                                      cause can be shown for carrying the weapon.         the meaning of the
                                                                                                          Second Amendment.
                                                                                                          Bruen entirely
                                                                                                          disregarded laws from the
                                                                                                          20th century, noting that,
                                                                                                          “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a carry restriction
                                                                                                          on handguns and certain
                                                                                                          knives and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.
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460   1913           Iowa     1913 Iowa Acts 307, ch.   Prohibited the carrying of a concealed dirk,      See Plaintiffs’ response to
                              297, §§ 1, 2.             dagger, sword, pistol, revolver, stiletto,        Ex. No. 205 above.
                                                        metallic knuckles, picket billy, sandbag, skull   Law comes too late to
                                                        cracker, slungshot, or other offensive and        provide any insight into
                                                        dangerous weapons or instruments. Also            the meaning of the
                                                        prohibited the selling, keeping for sale,         Second Amendment.
                                                        offering for sale, loaning, or giving away any    Bruen entirely
                                                        dirk, dagger, stiletto, metallic knuckles,
                                                                                                          disregarded laws from the
                                                        sandbag, or “skull cracker.” Exempted the
                                                        selling or keeping for sale of “hunting and       20th century, noting that,
                                                                                                          “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a concealed carry
                                                                                                          restriction and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction            Citation                       Description of Regulation                Plaintiffs’ Response
                                                               fishing knives.”




461   1913         New York      1913 N.Y. Laws 1627-          Prohibited the carrying or possession of any      See Plaintiffs’ response to
                                 30, vol. III, ch. 608, § 1,   weapon of the kind commonly known as a            Ex. No. 205 above.
                                 Carrying and Use of           blackjack, slungshot, billy, sandclub, sandbag,   Law comes too late to
                                 Dangerous Weapons             metal knuckles, bludgeon, bomb, or                provide any insight into
                                 Carrying Weapons,             bombshell, and the carrying or possession of      the meaning of the
                                 Dangerous or Unusual          any dagger, dirk, dangerous knife, razor,         Second Amendment.
                                 Weapons, § 1.                 stiletto, or other “dangerous or deadly           Bruen entirely
                                                               instruments or weapon.”
                                                                                                                 disregarded laws from the
                                                                                                                 20th century, noting that,
                                                                                                                 “[a]s with…late-19th
                                                                                                                 century evidence, the
                                                                                                                 20th-century evidence
                                                                                                                 presented by respondents
                                                                                                                 and their amici does not
                                                                                                                 provide insight into the
                                                                                                                 meaning of the Second
                                                                                                                 Amendment when it
                                                                                                                 contradicts earlier
                                                                                                                 evidence.” Bruen, 597
                                                                                                                 U.S. at 66 n.28.

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                                                                                               Not “relevantly similar”
                                                                                               as it is a possession and
                                                                                               carry restriction and does
                                                                                               not restrict any arms
                                                                                               based on age. There is no
                                                                                               restriction on the sale,
                                                                                               purchase, acquisition,
                                                                                               possession of firearms by
                                                                                               minors or legal adults.




462   1915          New       1915 N.H. Laws 180-81, Prohibited the setting of a spring gun.   See Plaintiffs’ response to
                  Hampshire   An Act to Revise and    Punished by a fine of $50-500.           Ex. No. 205 above.
                              Amend the Fish and                                               Law comes too late to
                              Game Laws, ch. 133, pt.                                          provide any insight into
                              2, § 18.                                                         the meaning of the
                                                                                               Second Amendment.
                                                                                               Bruen entirely
                                                                                               disregarded laws from the
                                                                                               20th century, noting that,
                                                                                               “[a]s with…late-19th
                                                                                               century evidence, the
                                                                                               20th-century evidence
                                                                                               presented by respondents
                                                                                               and their amici does not
                                                                                               provide insight into the
                                                                                               meaning of the Second
                                                                                               Amendment when it
                                                                                               contradicts earlier

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                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.

                                                                               Not “relevantly similar”
                                                                               as it is a restriction on
                                                                               setting “spring gun[s]”
                                                                               and does not restrict any
                                                                               arms based on age. There
                                                                               is no restriction on the
                                                                               sale, purchase,
                                                                               acquisition, possession of
                                                                               firearms by minors or
                                                                               legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response

463   1915       North Dakota    1915 N.D. Laws 96, An      Prohibited the concealed carrying of any          See Plaintiffs’ response to
                                 Act to Provide for the     instrument or weapon usually known as a           Ex. No. 205 above.
                                 Punishment of Any          blackjack, slungshot, billy, sandclub, sandbag,   Law comes too late to
                                 Person Carrying            bludgeon, metal knuckles, or any sharp or         provide any insight into
                                 Concealed Any              dangerous weapon, any gun, revolver, pistol,      the meaning of the
                                 Dangerous Weapons or       or “other dangerous fire arm,” nitroglycerin,     Second Amendment.
                                 Explosives, or Who Has     dynamite, or any other dangerous or violent       Bruen entirely
                                 the Same in His            explosive.
                                                                                                              disregarded laws from the
                                 Possession, Custody or
                                 Control, unless Such                                                         20th century, noting that,
                                 Weapon or Explosive Is                                                       “[a]s with…late-19th
                                 Carried in the                                                               century evidence, the
                                 Prosecution of a                                                             20th-century evidence
                                 Legitimate and Lawful                                                        presented by respondents
                                 Purpose, ch. 83, §§ 1-3,                                                     and their amici does not
                                 5.                                                                           provide insight into the
                                                                                                              meaning of the Second
                                                                                                              Amendment when it
                                                                                                              contradicts earlier
                                                                                                              evidence.” Bruen, 597
                                                                                                              U.S. at 66 n.28.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a concealed carry
                                                                                                              restriction and does not
                                                                                                              restrict any arms based on
                                                                                                              age. There is no
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                                                                                                              restriction on the sale,
                                                                                                              purchase, acquisition,
                                                                                                              possession of firearms by
                                                                                                              minors or legal adults.




464   1917         California   1917 Cal. Stat. 221, § 1.   Prohibited the manufacture, leasing, keeping      See Plaintiffs’ response to
                                                            for sale, offering, giving, or disposing of any   Ex. No. 205 above.
                                                            instrument or weapon of the kind commonly         Law comes too late to
                                                            known as a blackjack, slungshot, billy,           provide any insight into
                                                            sandclub, sandbag, bludgeon, metal knuckles,      the meaning of the
                                                            dirk, or dagger.                                  Second Amendment.
                                                                                                              Bruen entirely
                                                                                                              disregarded laws from the
                                                                                                              20th century, noting that,
                                                                                                              “[a]s with…late-19th
                                                                                                              century evidence, the
                                                                                                              20th-century evidence
                                                                                                              presented by respondents
                                                                                                              and their amici does not
                                                                                                              provide insight into the
                                                                                                              meaning of the Second
                                                                                                              Amendment when it
                                                                                                              contradicts earlier

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                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a restriction
                                                                                                             impact weapons and
                                                                                                             certain knives and does
                                                                                                             not restrict any arms
                                                                                                             based on age. There is no
                                                                                                             restriction on the sale,
                                                                                                             purchase, acquisition,
                                                                                                             possession of firearms by
                                                                                                             minors or legal adults.
465   1917         California   1917 Cal. Stat. 221, § 2.   Prohibited the possession of any instrument or   See Plaintiffs’ response to
                                                                                                             Ex. No. 205 above.
                                                                                                             Law comes too late to
                                                                                                             provide any insight into
                                                                                                             the meaning of the
                                                                                                             Second Amendment.
                                                                                                             Bruen entirely
                                                                                                             disregarded laws from the
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.


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                                                                               Not “relevantly similar”
                                                                               as it is a possession and
                                                                               carry restriction impact
                                                                               weapons and knives and
                                                                               does not restrict any arms
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                                                             weapon of the kind commonly known as a
                                                             blackjack, slungshot, billy, sandclub, sandbag,
                                                             bludgeon, metal knuckles, bomb, or
                                                             bombshells, and the carrying of any dirk or
                                                             dagger.




466   1917         California    1917 Cal. Stat. 221, § 5.   Prohibited the use, or carrying or possession      See Plaintiffs’ response to
                                                             with the intent to use, any dagger, dirk,          Ex. No. 205 above.
                                                             dangerous knife, razor, stiletto, loaded pistol,   Law comes too late to
                                                             revolver, or other firearm, blackjack,             provide any insight into
                                                             slungshot, billy, sandclub, sandbag, metal         the meaning of the
                                                             knuckles, bomb, bombshell, or other                Second Amendment.
                                                             “dangerous or deadly instrument or weapon.”        Bruen entirely
                                                                                                                disregarded laws from the
                                                                                                                20th century, noting that,
                                                                                                                “[a]s with…late-19th
                                                                                                                century evidence, the
                                                                                                                20th-century evidence
                                                                                                                presented by respondents
                                                                                                                and their amici does not
                                                                                                                provide insight into the
                                                                                                                meaning of the Second

                                                                                                                                  456
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                                                                               Amendment when it
                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.

                                                                               Not “relevantly similar”
                                                                               as it is a general carry
                                                                               restriction and does not
                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                   Description of Regulation                Plaintiffs’ Response


467   1917        Missouri –      Joplin Code of 1917,    Prohibited the carrying of a concealed firearm,   See Plaintiffs’ response to
                 City of Joplin   Art. 67, § 1201.        Bowie knife, spring-back knife, razor,            Ex. No. 205 above.
                                                          knuckles, bill, sword cane, dirk, dagger,         Law comes too late to
                                                          slungshot, or other similar deadly weapons in a   provide any insight into
                                                          church, school, election site, court, or other    the meaning of the
                                                          public setting. Also prohibits using the weapon   Second Amendment.
                                                          in a threatening manner, using while              Bruen entirely
                                                          intoxicated, or selling to a minor.
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.

                                                                                                            Not “relevantly similar”
                                                                                                            as it is a restriction on
                                                                                                            selling to minors, not

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                                                                                                             legal adults.

                                                                                                             This is also a local
                                                                                                             ordinance and thus
                                                                                                             inapplicable to 99% of the
                                                                                                             population.




468   1917           North      1917 N.C. Sess. Laws       Prohibited killing quail with a gun that shoots   See Plaintiffs’ response to
                   Carolina –   309, Pub. Local Laws,      over two times before reloading.                  Ex. No. 205 above.
                    Harnett     An Act to Regulate the                                                       Law comes too late to
                    County      Hunting of Quail in                                                          provide any insight into
                                Harnett County, ch. 209,                                                     the meaning of the
                                § 1.                                                                         Second Amendment.
                                                                                                             Bruen entirely
                                                                                                             disregarded laws from the
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.

                                                                                                             Not “relevantly similar”
                                                                                                             as it is a hunting
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                                                                                                          regulation and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.

                                                                                                          This is also a local
                                                                                                          ordinance and thus
                                                                                                          inapplicable to 99% of the
                                                                                                          population.
469   1917          Oregon    1917 Or. Sess. Laws        Prohibited the attempted use, or the carry and   See Plaintiffs’ response to
                              804-08, An Act             possession with the intent to use, any dagger,   Ex. No. 205 above.
                              Prohibiting the            dirk, dangerous knife, razor, stiletto, loaded   Law comes too late to
                              manufacture, sale,         pistol, revolver, or other firearm, or any       provide any insight into
                              possession, carrying, or   instrument or weapon of the kind commonly        the meaning of the
                              use of any blackjack,      known as a blackjack, slungshot, billy,          Second Amendment.
                              slungshot, billy,          sandclub, sandbag, metal knuckles, bomb,         Bruen entirely
                              sandclub, sandbag,         bombshell, or any other “dangerous or deadly
                                                                                                          disregarded laws from the
                                                                                                          20th century, noting that,
                                                                                                          “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.

                                                                                                          Not “relevantly similar”
                                                                                                                           460
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                                                                               as it is a possession and
                                                                               carry restriction and does
                                                                               not restrict any arms
                                                                               based on age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation                 Plaintiffs’ Response
                                 metal knuckles, dirk,       weapon.” Punishable by a fine of $50-500 or
                                 dagger or stiletto, and     imprisonment for 1-6 months.
                                 regulating the carrying
                                 and sale of certain
                                 firearms, and defining
                                 the duties of certain
                                 executive officers, and
                                 providing penalties for
                                 violation of the
                                 provisions of this Act, §
                                 7.

470   1923         California    1923 Cal. Stat. 695, § 1.   Prohibited the manufacture, importation,           See Plaintiffs’ response to
                                                             keeping for sale, offering or exposing for sale,   Ex. No. 205 above.
                                                             giving, lending, or possession of any              Law comes too late to
                                                             instrument or weapon commonly known as a           provide any insight into
                                                             blackjack, slungshot, billy, sandclub, sandbag,    the meaning of the
                                                             metal knuckles, and the concealed carrying of      Second Amendment.
                                                             any dirk or dagger. Punishable by                  Bruen entirely
                                                             imprisonment for 1-5 years.
                                                                                                                disregarded laws from the
                                                                                                                20th century, noting that,
                                                                                                                “[a]s with…late-19th
                                                                                                                century evidence, the
                                                                                                                20th-century evidence
                                                                                                                presented by respondents
                                                                                                                and their amici does not
                                                                                                                provide insight into the

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                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.

                                                                                                          Not “relevantly similar”
                                                                                                          as it is a restriction impact
                                                                                                          weapons and a concealed
                                                                                                          carry restriction on certain
                                                                                                          knives and does not
                                                                                                          restrict any arms based on
                                                                                                          age. There is no
                                                                                                          restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.
471   1923         Missouri   1923 Mo. Laws 241-42,      Prohibited the carrying, while a passenger or    See Plaintiffs’ response to
                              An Act to Provide the      operating a moving vehicle, of a revolver, gun   Ex. No. 205 above.
                              Exercise of the Police     or other firearm, or explosive, any Bowie        Law comes too late to
                              Powers of the State by     knife, or other knife having a blade of more     provide any insight into
                              and through Prohibiting    than two and one-half inches in length, any      the meaning of the
                              the Manufacture,           slingshot, brass knucks, billy, club or other    Second Amendment.
                              Possession,                dangerous weapon. Punishable by                  Bruen entirely
                              Transportation, Sale and
                                                                                                          disregarded laws from the
                                                                                                          20th century, noting that,
                                                                                                          “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it

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                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.

                                                                               Not “relevantly similar”
                                                                               as it is a general carry
                                                                               restriction and does not
                                                                               restrict any arms based on
                                                                               age. There is no
                                                                               restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                       Description of Regulation                 Plaintiffs’ Response
                                 Disposition of               imprisonment of minimum 2 years.
                                 Intoxicating Liquors. . .§
                                 17.


472   1923          South        1923 S.C. Acts 221.          Prohibited the selling or giving to a minor a      See Plaintiffs’ response to
                   Carolina                                   pistol or pistol cartridge, brass knucks, Bowie    Ex. No. 205 above.
                                                              knife, dirk, loaded cane or slingshot. Also        Law comes too late to
                                                              prohibited a parent from giving such a weapon      provide any insight into
                                                              to their child under 12 years old. Punishable by   the meaning of the
                                                              fine up to $50 or imprisonment up to 30 days.      Second Amendment.
                                                                                                                 Bruen entirely
                                                                                                                 disregarded laws from the
                                                                                                                 20th century, noting that,
                                                                                                                 “[a]s with…late-19th
                                                                                                                 century evidence, the
                                                                                                                 20th-century evidence
                                                                                                                 presented by respondents
                                                                                                                 and their amici does not
                                                                                                                 provide insight into the
                                                                                                                 meaning of the Second
                                                                                                                 Amendment when it
                                                                                                                 contradicts earlier
                                                                                                                 evidence.” Bruen, 597
                                                                                                                 U.S. at 66 n.28.



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                                                                                                        Not “relevantly similar”
                                                                                                        as it is a restriction sales
                                                                                                        to minors, not legal
                                                                                                        adults. Law also does not
                                                                                                        restrict sales or giving of
                                                                                                        long guns to a minor.


473   1923         Vermont    1923 Vt. Acts and         Prohibited using, carrying, or possessing a     See Plaintiffs’ response to
                              Resolves 127, An Act to   machine gun or automatic rifle while hunting.   Ex. No. 205 above.
                              Prohibit the Use of                                                       Law comes too late to
                              Machine Guns and                                                          provide any insight into
                              Automatic Rifles in                                                       the meaning of the
                              Hunting, § 1.                                                             Second Amendment.
                                                                                                        Bruen entirely
                                                                                                        disregarded laws from the
                                                                                                        20th century, noting that,
                                                                                                        “[a]s with…late-19th
                                                                                                        century evidence, the
                                                                                                        20th-century evidence
                                                                                                        presented by respondents
                                                                                                        and their amici does not
                                                                                                        provide insight into the
                                                                                                        meaning of the Second
                                                                                                        Amendment when it
                                                                                                        contradicts earlier
                                                                                                        evidence.” Bruen, 597
                                                                                                        U.S. at 66 n.28.

                                                                                                        Not “relevantly similar”
                                                                                                        as it is a hunting/machine
                                                                                                        gun restriction and does
                                                                                                        not restrict any arms
                                                                                                        based on age. There is no
                                                                                                        restriction on the sale,
                                                                                                                           466
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                                                                                                         purchase, acquisition,
                                                                                                         possession of firearms by
                                                                                                         minors or legal adults.




474   1925          Oregon    1925 Or. Laws 42, An        Prohibited the setting of any loaded spring    See Plaintiffs’ response to
                              Act Prohibiting the         gun. Punishable by a fine of $100-500 or       Ex. No. 205 above.
                              Placing of Spring-Guns      imprisonment for 30 days to 6 months.          Law comes too late to
                              or Set-Guns; and            Exception for setting of trap gun to destroy   provide any insight into
                              Providing a Penalty         burrowing rodents.                             the meaning of the
                              Therefor, ch. 31, §§ 1-2.                                                  Second Amendment.
                                                                                                         Bruen entirely
                                                                                                         disregarded laws from the
                                                                                                         20th century, noting that,
                                                                                                         “[a]s with…late-19th
                                                                                                         century evidence, the
                                                                                                         20th-century evidence
                                                                                                         presented by respondents
                                                                                                         and their amici does not
                                                                                                         provide insight into the
                                                                                                         meaning of the Second
                                                                                                         Amendment when it
                                                                                                         contradicts earlier
                                                                                                         evidence.” Bruen, 597
                                                                                                         U.S. at 66 n.28.

                                                                                                         Not “relevantly similar”
                                                                                                         as it is a restriction on
                                                                                                         “spring guns” and does
                                                                                                         not restrict any arms
                                                                                                         based on age. There is no
                                                                                                         restriction on the sale,
                                                                                                         purchase, acquisition,
                                                                                                                              467
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                                                                                                              possession of firearms by
                                                                                                              minors or legal adults.




475   1925       West Virginia   1925 W.Va. Acts 25-30,     Prohibited unlicensed carrying of a pistol, dirk, See Plaintiffs’ response to
                                 1st Extraordinary Sess.,   Bowie knife, slungshot, razor, billy, metallic or Ex. No. 205 above.
                                                                                                              Law comes too late to
                                                                                                              provide any insight into
                                                                                                              the meaning of the
                                                                                                              Second Amendment.
                                                                                                              Bruen entirely
                                                                                                              disregarded laws from the
                                                                                                              20th century, noting that,
                                                                                                              “[a]s with…late-19th
                                                                                                              century evidence, the
                                                                                                              20th-century evidence
                                                                                                              presented by respondents
                                                                                                              and their amici does not
                                                                                                              provide insight into the
                                                                                                              meaning of the Second
                                                                                                              Amendment when it
                                                                                                              contradicts earlier
                                                                                                              evidence.” Bruen, 597
                                                                                                              U.S. at 66 n.28.

                                                                                                              Not “relevantly similar”
                                                                                                              as it is a carry restriction
                                                                                                              and does not restrict any
                                                                                                              arms based on age. There
                                                                                                              is no restriction on the
                                                                                                              sale, purchase,
                                                                                                              acquisition, possession of
                                                                                                                                  468
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                                                                               firearms by minors or
                                                                               legal adults.




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             Case
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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                       Description of Regulation                  Plaintiffs’ Response
                                 An Act to Amend and          other false knuckles, or any other dangerous or
                                 Re-Enact Section Seven       deadly weapon. Punishable by imprisonment
                                 . . . Relating to Offenses   for 6-12 months for the first offense, and for 1-
                                 Against the Peace;           5 years for subsequent offenses, and in either
                                 Providing for the            case, a fine of $50-200.
                                 Granting and Revoking
                                 of Licenses and Permits
                                 Respecting the Use,
                                 Transportation and
                                 Possession of Weapons
                                 and Fire Arms. . . , ch.
                                 3, § 7(a).

476   1925       West Virginia   1925 W.Va. Acts 31-32,       Prohibited publicly displaying for rent or sale     See Plaintiffs’ response to
                                 1st Extraordinary Sess.,     any revolver, pistol, dirk, Bowie knife,            Ex. No. 205 above.
                                 An Act to Amend and          slungshot, other dangerous weapon, machine          Law comes too late to
                                 Re-Enact Section Seven       gun, submachine gun, or high powered rifle.         provide any insight into
                                 . . . Relating to Offenses   Requires dealers to keep a register. Prohibited     the meaning of the
                                 Against the Peace . . . ,    selling, renting, giving, or lending any of these   Second Amendment.
                                 ch. 3, § 7, pt. b.           weapons to an unnaturalized person.                 Bruen entirely
                                                                                                                  disregarded laws from the
                                                                                                                  20th century, noting that,
                                                                                                                  “[a]s with…late-19th
                                                                                                                  century evidence, the
                                                                                                                  20th-century evidence
                                                                                                                  presented by respondents
                                                                                                                  and their amici does not

                                                                                                                                    470
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                                                                                                                 provide insight into the
                                                                                                                 meaning of the Second
                                                                                                                 Amendment when it
                                                                                                                 contradicts earlier
                                                                                                                 evidence.” Bruen, 597
                                                                                                                 U.S. at 66 n.28.

                                                                                                                 Not “relevantly similar”
                                                                                                                 as it is does not restrict
                                                                                                                 any arms based on age.
                                                                                                                 There is no restriction on
                                                                                                                 the sale, purchase,
                                                                                                                 acquisition, possession of
                                                                                                                 firearms by minors or
                                                                                                                 legal adults.
477   1925       West Virginia   1925 W.Va. Acts 30-31,       Prohibited carrying, transporting, or possessing   See Plaintiffs’ response to
                                 1st Extraordinary Sess.,     a machine gun, submachine gun, or high             Ex. No. 205 above.
                                 An Act to Amend and          powered rifle except on their own premises         Law comes too late to
                                 Re-Enact Section Seven       and with a permit. Also provides guidelines for    provide any insight into
                                 . . . Relating to Offenses   such a permit.                                     the meaning of the
                                 Against the Peace;                                                              Second Amendment.
                                                                                                                 Bruen entirely
                                                                                                                 disregarded laws from the
                                                                                                                 20th century, noting that,
                                                                                                                 “[a]s with…late-19th
                                                                                                                 century evidence, the
                                                                                                                 20th-century evidence
                                                                                                                 presented by respondents
                                                                                                                 and their amici does not
                                                                                                                 provide insight into the
                                                                                                                 meaning of the Second
                                                                                                                 Amendment when it
                                                                                                                 contradicts earlier
                                                                                                                 evidence.” Bruen, 597
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                                                                               U.S. at 66 n.28.


                                                                               Not “relevantly similar”
                                                                               as it is does not restrict
                                                                               any arms based on age.
                                                                               There is no restriction on
                                                                               the sale, purchase,
                                                                               acquisition, possession of
                                                                               firearms by minors or
                                                                               legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation              Plaintiffs’ Response
                                 Providing for the
                                 Granting and Revoking
                                 of Licenses and Permits
                                 Respecting the Use,
                                 Transportation and
                                 Possession of Weapons
                                 and Fire Arms . . . , ch.
                                 3, § 7, pt. b.

478   1927         California    1927 Cal. Stat. 938, An     Prohibited a person, firm, or corporation      See Plaintiffs’ response to
                                 Act to Prohibit the         possessing a machine gun. Punishable by        Ex. No. 205 above.
                                 Possession of Machine       imprisonment up to 3 years and/or fine up to   Law comes too late to
                                 Rifles, Machine Guns        $5,000.                                        provide any insight into
                                 and Submachine Guns                                                        the meaning of the
                                 Capable of                                                                 Second Amendment.
                                 Automatically and                                                          Bruen entirely
                                 Continuously
                                                                                                            disregarded laws from the
                                 Discharging Loaded
                                 Ammunition of any                                                          20th century, noting that,
                                 Caliber in which the                                                       “[a]s with…late-19th
                                 Ammunition is Fed to                                                       century evidence, the
                                 Such Guns from or by                                                       20th-century evidence
                                 Means of Clips, Disks,                                                     presented by respondents
                                 Drums, Belts or other                                                      and their amici does not
                                 Seperable Mechanical                                                       provide insight into the
                                 Device, and Providing a                                                    meaning of the Second
                                 Penalty for Violation                                                      Amendment when it
                                 Thereof, ch. 552, §§ 1,
                                                                                                            contradicts earlier
                                                                                                                              473
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                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.


                                                                               Not “relevantly similar” as
                                                                               it is does not restrict any
                                                                               arms based on age. There is
                                                                               no restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                          D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction          Citation                   Description of Regulation              Plaintiffs’ Response
                                 2.

479   1927          Indiana      1927 Ind. Acts 469,      Prohibited owning or possessing a machine     See Plaintiffs’ response to
                                 Public Offenses—         gun or bomb in an automobile. Punishable by   Ex. No. 205 above.
                                 Ownership, Possession    imprisonment for 1-5 years.                   Law comes too late to
                                 or Control of Machine                                                  provide any insight into
                                 Guns or Bombs—                                                         the meaning of the
                                 Penalty, ch. 156, § 1.                                                 Second Amendment.
                                                                                                        Bruen entirely
                                                                                                        disregarded laws from the
                                                                                                        20th century, noting that,
                                                                                                        “[a]s with…late-19th
                                                                                                        century evidence, the
                                                                                                        20th-century evidence
                                                                                                        presented by respondents
                                                                                                        and their amici does not
                                                                                                        provide insight into the
                                                                                                        meaning of the Second
                                                                                                        Amendment when it
                                                                                                        contradicts earlier
                                                                                                        evidence.” Bruen, 597
                                                                                                        U.S. at 66 n.28.


                                                                                                        Not “relevantly similar”
                                                                                                        as it is does not restrict
                                                                                                        any arms based on age.
                                                                                                                          475
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                                                                                                    There is no restriction on
                                                                                                    the sale, purchase,
                                                                                                    acquisition, possession of
                                                                                                    firearms by minors or
                                                                                                    legal adults.


480   1927          Indiana   1927 Ind. Acts 469,       Prohibited discharging a machine gun or     See Plaintiffs’ response to
                              Operation of Machine      bomb. Punishable by imprisonment for 2-10   Ex. No. 205 above.
                              Guns, Discharge of        years.                                      Law comes too late to
                              Bombs—Offense and                                                     provide any insight into
                              Penalty:, ch. 156, § 2.                                               the meaning of the
                                                                                                    Second Amendment.
                                                                                                    Bruen entirely
                                                                                                    disregarded laws from the
                                                                                                    20th century, noting that,
                                                                                                    “[a]s with…late-19th
                                                                                                    century evidence, the
                                                                                                    20th-century evidence
                                                                                                    presented by respondents
                                                                                                    and their amici does not
                                                                                                    provide insight into the
                                                                                                    meaning of the Second
                                                                                                    Amendment when it
                                                                                                    contradicts earlier
                                                                                                    evidence.” Bruen, 597
                                                                                                    U.S. at 66 n.28.


                                                                                                    Not “relevantly similar”
                                                                                                    as it is does not restrict
                                                                                                    any arms based on age.
                                                                                                    There is no restriction on
                                                                                                    the sale, purchase,
                                                                                                    acquisition, possession of
                                                                                                                      476
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                                                                                                     firearms by minors or
                                                                                                     legal adults.




481   1927           Iowa     927 Iowa Acts 201, An        Prohibited possession of a machine gun.   See Plaintiffs’ response to
                              Act to prohibit the                                                    Ex. No. 205 above.
                              Possession or Control of                                               Law comes too late to
                              Machine Guns. ..... , §§ 1                                             provide any insight into
                              2.                                                                     the meaning of the
                                                                                                     Second Amendment.
                                                                                                     Bruen entirely
                                                                                                     disregarded laws from the
                                                                                                     20th century, noting that,
                                                                                                     “[a]s with…late-19th
                                                                                                     century evidence, the
                                                                                                     20th-century evidence
                                                                                                     presented by respondents
                                                                                                     and their amici does not
                                                                                                     provide insight into the
                                                                                                     meaning of the Second
                                                                                                     Amendment when it
                                                                                                     contradicts earlier
                                                                                                     evidence.” Bruen, 597
                                                                                                     U.S. at 66 n.28.


                                                                                                     Not “relevantly similar” as
                                                                                                     it is does not restrict any
                                                                                                     arms based on age. There is
                                                                                                     no restriction on the sale,
                                                                                                     purchase, acquisition,
                                                                                                     possession of firearms by
                                                                                                     minors or legal adults.
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482   1927         Maryland    1927 Md. Laws 156, §   Prohibited possession of liquor in an             See Plaintiffs’ response to
                               388-B.                 automobile that also carries a gun, pistol,       Ex. No. 205 above.
                                                      revolver, rifle machine gun, or other dangerous   Law comes too late to
                                                      or deadly weapon.                                 provide any insight into
                                                                                                        the meaning of the
                                                                                                        Second Amendment.
                                                                                                        Bruen entirely
                                                                                                        disregarded laws from the
                                                                                                        20th century, noting that,
                                                                                                        “[a]s with…late-19th
                                                                                                        century evidence, the
                                                                                                        20th-century evidence
                                                                                                        presented by respondents
                                                                                                        and their amici does not
                                                                                                        provide insight into the
                                                                                                        meaning of the Second
                                                                                                        Amendment when it
                                                                                                        contradicts earlier
                                                                                                        evidence.” Bruen, 597
                                                                                                        U.S. at 66 n.28.

                                                                                                        Not “relevantly similar” as
                                                                                                        it is does not restrict any
                                                                                                        arms based on age. There is
                                                                                                        no restriction on the sale,
                                                                                                        purchase, acquisition,
                                                                                                        possession of firearms by
                                                                                                        minors or legal adults.
483   1927       Massachusetts 1927 Mass. Acts 416,   Prohibited the carrying of a pistol, revolver,    See Plaintiffs’ response to
                                                                                                        Ex. No. 205 above.
                                                                                                        Law comes too late to
                                                                                                        provide any insight into
                                                                                                        the meaning of the
                                                                                                        Second Amendment.
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                                                                               Bruen entirely
                                                                               disregarded laws from the
                                                                               20th century, noting that,
                                                                               “[a]s with…late-19th
                                                                               century evidence, the
                                                                               20th-century evidence
                                                                               presented by respondents
                                                                               and their amici does not
                                                                               provide insight into the
                                                                               meaning of the Second
                                                                               Amendment when it
                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.


                                                                               Not “relevantly similar” as
                                                                               it is does not restrict any
                                                                               arms based on age. There is
                                                                               no restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation                  Plaintiffs’ Response
                                 An Act Relative to         machine gun, stiletto, dagger, dirk knife,
                                 Machine Guns and           slungshot, metallic knuckles, or sawed off
                                 Other Firearms, ch. 326,   shotgun, billy, or dangerous weapon if arrested
                                 § 5.                       upon a warrant for an alleged crime.
                                                            Punishable by imprisonment of 6 months to
                                                            2.5 years.




484   1927       Massachusetts 1927 Mass. Acts 413,         Prohibited selling, renting, or leasing a pistol,   See Plaintiffs’ response to
                               An Act Relative to           revolver, or machine gun to a person without a      Ex. No. 205 above.
                               Machine Guns and             license to possess the same.                        Law comes too late to
                               Other Firearms, ch. 326,                                                         provide any insight into
                               §§ 1-2 (amending §§                                                              the meaning of the
                               121, 123).                                                                       Second Amendment.
                                                                                                                Bruen entirely
                                                                                                                disregarded laws from the
                                                                                                                20th century, noting that,
                                                                                                                “[a]s with…late-19th
                                                                                                                century evidence, the
                                                                                                                20th-century evidence
                                                                                                                presented by respondents
                                                                                                                and their amici does not
                                                                                                                provide insight into the
                                                                                                                meaning of the Second

                                                                                                                                  480
             Case
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                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.


                                                                                                             Not “relevantly similar”
                                                                                                             as it is does not restrict
                                                                                                             any arms based on age.
                                                                                                             There is no restriction on
                                                                                                             the sale, purchase,
                                                                                                             acquisition, possession of
                                                                                                             firearms by minors or
                                                                                                             legal adults.
485   1927         Michigan   1927 Mich. Pub. Acts        Prohibited manufacturing, selling, or              See Plaintiffs’ response to
                              888-89, An Act to           possessing a machine gun, silencer, bomb,          Ex. No. 205 above.
                              Regulate and License        bombshell, blackjack, slungshot, billy, metallic   Law comes too late to
                              the Selling, Purchasing,    knuckles, sandclub, bludgeon. Punishable by        provide any insight into
                              Possessing and Carrying     fineup to $1,000 or imprisonment.                  the meaning of the
                              of Certain Firearms, § 3.                                                      Second Amendment.
                                                                                                             Bruen entirely
                                                                                                             disregarded laws from the
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.

                                                                                                                               481
Case
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                                                                               Not “relevantly similar”
                                                                               as it is does not restrict
                                                                               any arms based on age.
                                                                               There is no restriction on
                                                                               the sale, purchase,
                                                                               acquisition, possession of
                                                                               firearms by minors or
                                                                               legal adults.




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             Case
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation                Plaintiffs’ Response

486   1927         Michigan      1927 Mich. Pub. Acts        Prohibited manufacturing, selling, or            See Plaintiffs’ response to
                                 888-89, An Act to           possessing a machine gun or firearm that can     Ex. No. 205 above.
                                 Regulate and License        be fired more than 16 times without reloading.   Law comes too late to
                                 the Selling, Purchasing,    Also Prohibited the same for a muffler or        provide any insight into
                                 Possessing and Carrying     silencer. Punishable by fine of $1,000 and/or    the meaning of the
                                 of Certain Firearms, § 3.   imprisonment up to 5 years.                      Second Amendment.
                                                                                                              Bruen entirely
                                                                                                              disregarded laws from the
                                                                                                              20th century, noting that,
                                                                                                              “[a]s with…late-19th
                                                                                                              century evidence, the
                                                                                                              20th-century evidence
                                                                                                              presented by respondents
                                                                                                              and their amici does not
                                                                                                              provide insight into the
                                                                                                              meaning of the Second
                                                                                                              Amendment when it
                                                                                                              contradicts earlier
                                                                                                              evidence.” Bruen, 597
                                                                                                              U.S. at 66 n.28.


                                                                                                              Not “relevantly similar”
                                                                                                              as it is does not restrict
                                                                                                              any arms based on age.
                                                                                                              There is no restriction on
                                                                                                              the sale, purchase,
                                                                                                                                  483
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                                                                                                             acquisition, possession of
                                                                                                             firearms by minors or
                                                                                                             legal adults.




487   1927        New Jersey   1927 N.J. Laws 742, A      Prohibited a pawnbroker from selling or            See Plaintiffs’ response to
                               Further Supplement to      possessing for sale, loan, or to give away a       Ex. No. 205 above.
                               an Act Entitled, “An Act   machine gun, automatic rifle, revolver, pistol,    Law comes too late to
                               for the Punishment of      or other firearm, or other instrument of any       provide any insight into
                               Crimes,” ch. 321, § 1.     kind known as a blackjack, slungshot, billy,       the meaning of the
                                                          sandclub, sandbag, bludgeon, metal knuckles,       Second Amendment.
                                                          dagger, dirk, dangerous knife, stiletto, bomb or   Bruen entirely
                                                          other high explosive. Punishable as a high
                                                                                                             disregarded laws from the
                                                          misdemeanor.
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.

                                                                                                             Not “relevantly similar” as
                                                                                                             it is does not restrict any
                                                                                                             arms based on age. There is
                                                                                                             no restriction on the sale,
                                                                                                             purchase, acquisition,
                                                                                                             possession of firearms by
                                                                                                             minors or legal adults.
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488   1927        New Jersey   1927 N.J. Laws 180-81,     Prohibited selling, giving, loaning, delivering   See Plaintiffs’ response to
                               A Supplement to an Act     or furnishing, or possessing a machine gun or     Ex. No. 205 above.
                               Entitled “An Act for the   automatic rifle to another person without a       Law comes too late to
                                                                                                            provide any insight into
                                                                                                            the meaning of the
                                                                                                            Second Amendment.
                                                                                                            Bruen entirely
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar”
                                                                                                            as it is does not restrict
                                                                                                            any arms based on age.
                                                                                                            There is no restriction on
                                                                                                            the sale, purchase,
                                                                                                            acquisition, possession of
                                                                                                            firearms by minors or
                                                                                                            legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation               Plaintiffs’ Response
                                 Punishment of Crimes,”    license.
                                 ch. 95, §§ 1-2.

489   1927       Rhode Island    1927 (January Session)    Prohibited carrying a concealed pistol and       See Plaintiffs’ response to
                                 R.I. Pub. Laws 256, An    prohibited manufacturing, selling, purchasing,   Ex. No. 205 above.
                                 Act to Regulate the       or possessing a machine gun.                     Law comes too late to
                                 Possession of Firearms:                                                    provide any insight into
                                 §§ 1, 4, 5, 6.                                                             the meaning of the
                                                                                                            Second Amendment.
                                                                                                            Bruen entirely
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar”
                                                                                                            as it is does not restrict
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                                                                                                            any arms based on age.
                                                                                                            There is no restriction on
                                                                                                            the sale, purchase,
                                                                                                            acquisition, possession of
                                                                                                            firearms by minors or
                                                                                                            legal adults.
490   1927       Rhode Island   1927 R. I. Pub. Laws       Prohibited carrying a concealed pistol and       See Plaintiffs’ response to
                                256, An Act to Regulate    Prohibited manufacturing, selling, purchasing,   Ex. No. 205 above.
                                the Possession of          or possessing a machine gun or silencer.         Law comes too late to
                                Firearms: §§ 1, 4, 7, 8.                                                    provide any insight into
                                                                                                            the meaning of the
                                                                                                            Second Amendment.
                                                                                                            Bruen entirely
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar”
                                                                                                            as it is does not restrict
                                                                                                            any arms based on age.
                                                                                                            There is no restriction on
                                                                                                            the sale, purchase,
                                                                                                            acquisition, possession of
                                                                                                            firearms by minors or
                                                                                                                              487
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                                                                                                           legal adults.




491   1927       Rhode Island   1927 R.I. Pub. Laws       Prohibited a person who has previously been      See Plaintiffs’ response to
                                256, An Act to Regulate   convicted of a violent crime from owning,        Ex. No. 205 above.
                                the Possession of         carrying, or possessing any firearm (including   Law comes too late to
                                Firearms, §§1, 3.         machine gun or pistol).                          provide any insight into
                                                                                                           the meaning of the
                                                                                                           Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.


                                                                                                           Not “relevantly similar”
                                                                                                           as it is does not restrict
                                                                                                           any arms based on age.
                                                                                                           There is no restriction on
                                                                                                           the sale, purchase,
                                                                                                           acquisition, possession of
                                                                                                           firearms by minors or
                                                                                                           legal adults.
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492   1929          Indiana   1929 Ind. Acts 139,    Prohibited being armed with a pistol, revolver,   See Plaintiffs’ response to
                              Criminal Offenses—     rifle shotgun, machine gun, or any other          Ex. No. 205 above.
                              Commission of or       firearm or dangerous weapon while                 Law comes too late to
                              Attempt to Commit      committing or attempting to commit a crime of     provide any insight into
                              Crime While Armed      rape, robbery, bank robbery, or larceny.          the meaning of the
                              with Deadly Weapon,    Punishable by imprisonment for 10-20 years,       Second Amendment.
                              ch. 55, § 1.           in addition to the punishment for the original    Bruen entirely
                                                     crime.
                                                                                                       disregarded laws from the
                                                                                                       20th century, noting that,
                                                                                                       “[a]s with…late-19th
                                                                                                       century evidence, the
                                                                                                       20th-century evidence
                                                                                                       presented by respondents
                                                                                                       and their amici does not
                                                                                                       provide insight into the
                                                                                                       meaning of the Second
                                                                                                       Amendment when it
                                                                                                       contradicts earlier
                                                                                                       evidence.” Bruen, 597
                                                                                                       U.S. at 66 n.28.

                                                                                                       Not “relevantly similar” as
                                                                                                       it is does not restrict any
                                                                                                       arms based on age. There is
                                                                                                       no restriction on the sale,
                                                                                                       purchase, acquisition,
                                                                                                       possession of firearms by
                                                                                                       minors or legal adults.
493   1929         Michigan   1929 Mich. Pub. Acts   Prohibited manufacturing, selling, or             See Plaintiffs’ response to
                                                                                                       Ex. No. 205 above.
                                                                                                       Law comes too late to
                                                                                                       provide any insight into
                                                                                                       the meaning of the
                                                                                                       Second Amendment.
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                                                                               Bruen entirely
                                                                               disregarded laws from the
                                                                               20th century, noting that,
                                                                               “[a]s with…late-19th
                                                                               century evidence, the
                                                                               20th-century evidence
                                                                               presented by respondents
                                                                               and their amici does not
                                                                               provide insight into the
                                                                               meaning of the Second
                                                                               Amendment when it
                                                                               contradicts earlier
                                                                               evidence.” Bruen, 597
                                                                               U.S. at 66 n.28.


                                                                               Not “relevantly similar” as
                                                                               it is does not restrict any
                                                                               arms based on age. There is
                                                                               no restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                     Description of Regulation                 Plaintiffs’ Response
                                 529, An Act to Regulate    possessing a machine gun, silencer, bomb,
                                 and License the Selling,   bombshell, blackjack, slungshot, billy, metallic
                                 Purchasing, Possessing     knuckles, sandclub, sandbag, bludgeon, or any
                                 and Carrying of Certain    gas ejecting device.
                                 Firearms, § 3.




494   1929         Michigan      1929 Mich. Pub. Acts       Prohibited manufacturing, selling, or              See Plaintiffs’ response to
                                 529, An Act to Regulate    possessing a machine gun or firearm that can       Ex. No. 205 above.
                                 and License the Selling,   be fired more than 16 times without reloading.     Law comes too late to
                                 Purchasing, Possessing     Also Prohibited the same for a muffler or          provide any insight into
                                 and Carrying of Certain    silencer.                                          the meaning of the
                                 Firearms, § 3.                                                                Second Amendment.
                                                                                                               Bruen entirely
                                                                                                               disregarded laws from the
                                                                                                               20th century, noting that,
                                                                                                               “[a]s with…late-19th
                                                                                                               century evidence, the
                                                                                                               20th-century evidence
                                                                                                               presented by respondents
                                                                                                               and their amici does not
                                                                                                               provide insight into the

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                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.


                                                                                                           Not “relevantly similar”
                                                                                                           as it is does not restrict
                                                                                                           any arms based on age.
                                                                                                           There is no restriction on
                                                                                                           the sale, purchase,
                                                                                                           acquisition, possession of
                                                                                                           firearms by minors or
                                                                                                           legal adults.
495   1929         Missouri   1929 Mo. Laws 170,       Prohibited selling, delivering, transporting, and   See Plaintiffs’ response to
                              Crimes and Punishment,   possessing a machine gun. Punishable by             Ex. No. 205 above.
                              Prohibiting the Sale,    imprisonment of 2-30 years and/or fine up to        Law comes too late to
                              Delivery,                $5,000.                                             provide any insight into
                              Transportation,                                                              the meaning of the
                              Possession, or Control                                                       Second Amendment.
                              of Machine Rifles,                                                           Bruen entirely
                              Machine Guns and Sub-
                                                                                                           disregarded laws from the
                              machine Guns, and
                              Providing Penalty for                                                        20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.
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                                                                               Not “relevantly similar” as
                                                                               it is does not restrict any
                                                                               arms based on age. There is
                                                                               no restriction on the sale,
                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                    Description of Regulation               Plaintiffs’ Response
                                 Violation of Law, §§ 1-
                                 2.

496   1929         Nebraska      1929 Neb. Laws 674,       Prohibited selling or otherwise disposing of a   See Plaintiffs’ response to
                                 An Act Prohibiting the    machine gun. Punishable by fine of $1,000-       Ex. No. 205 above.
                                 Sale, Possession and      $10,000. Also Prohibited transporting or         Law comes too late to
                                 Transportation of         possessing a machine gun. Punishable by          provide any insight into
                                 Machine Guns within       imprisonment for 1-10 years.                     the meaning of the
                                 the State of Nebraska;                                                     Second Amendment.
                                 and Prescribing                                                            Bruen entirely
                                 Penalties for the
                                                                                                            disregarded laws from the
                                 Violation of the
                                 Provisions Hereof, ch.                                                     20th century, noting that,
                                 190, §§ 1-2.                                                               “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar” as
                                                                                                            it is does not restrict any
                                                                                                                              494
             Case
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                                                                                                            arms based on age. There is
                                                                                                            no restriction on the sale,
                                                                                                            purchase, acquisition,
                                                                                                            possession of firearms by
                                                                                                            minors or legal adults.




497   1929       Pennsylvania   1929 Pa. Laws 777, An       Prohibited selling, giving, transferring, or    See Plaintiffs’ response to
                                Act prohibiting the sale,   possessing a machine gun. Punishable by fine    Ex. No. 205 above.
                                giving away, transfer,      up to $1,000 and imprisonment by separate or    Law comes too late to
                                purchasing, owning,         solitary confinement at labor up to 5 years.    provide any insight into
                                possession and use of       Also Prohibited using a machine gun during an   the meaning of the
                                machine guns: §§ 1, 4       attempted crime. Punishable by separate and     Second Amendment.
                                                            solitary confinement at labor for up to 10      Bruen entirely
                                                            years.
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar” as
                                                                                                                              495
             Case
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                                                                                                           it is does not restrict any
                                                                                                           arms based on age. There is
                                                                                                           no restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.



498   1929       Pennsylvania   1929 Pa. Laws 777, An       Prohibited being armed with a machine gun      See Plaintiffs’ response to
                                Act prohibiting the sale,   while committing a crime. Punishable by        Ex. No. 205 above.
                                giving away, transfer,      imprisonment with solitary confinement up to   Law comes too late to
                                purchasing, owning,         10 years.                                      provide any insight into
                                possession and use of                                                      the meaning of the
                                                                                                           Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.


                                                                                                           Not “relevantly similar” as
                                                                                                           it is does not restrict any
                                                                                                           arms based on age. There is
                                                                                                           no restriction on the sale,
                                                                                                                             496
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                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                                   Grabarsky Declaration
                                                      Historical Laws

                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction            Citation                     Description of Regulation            Plaintiffs’ Response
                                 machine guns, § 3.

499   1929         Wisconsin     1928-1929 Wis. Sess.         Prohibited owning, using, or possession a    See Plaintiffs’ response to
                                 Laws 157, An Act to          machine gun. Punishable by imprisonment of   Ex. No. 205 above.
                                 Create . . . the Statutes,   1-15 years.                                  Law comes too late to
                                 Relating to Machine                                                       provide any insight into
                                 Guns and Providing a                                                      the meaning of the
                                 Penalty, ch. 132, § 1.                                                    Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.


                                                                                                           Not “relevantly similar” as
                                                                                                           it is does not restrict any
                                                                                                           arms based on age. There is
                                                                                                                             498
             Case
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                                                                                                          no restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                          minors or legal adults.



500   1931         Delaware   1931 Del. Laws 813, An      Prohibited a person from possessing a machine   See Plaintiffs’ response to
                              Act Making it Unlawful      gun. Punishable by fine and/or imprisonment.    Ex. No. 205 above.
                              for any Person or                                                           Law comes too late to
                              Persons Other than the                                                      provide any insight into
                              State Military Forces or                                                    the meaning of the
                              Duly Authorized Police                                                      Second Amendment.
                              Departments to have a                                                       Bruen entirely
                              Machine Gun in his or
                                                                                                          disregarded laws from the
                              their Possession, and
                              Prescribing a Penalty for                                                   20th century, noting that,
                              Same, ch. 249, § 1.                                                         “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.


                                                                                                          Not “relevantly similar” as
                                                                                                          it is does not restrict any
                                                                                                          arms based on age. There is
                                                                                                          no restriction on the sale,
                                                                                                          purchase, acquisition,
                                                                                                          possession of firearms by
                                                                                                                            499
             Case
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                                                                                                       minors or legal adults.




501   1931          Illinois   1931 Ill. Laws 452-53,   Prohibited selling, loaning, or giving away,   See Plaintiffs’ response to
                               An Act to Regulate the   purchasing, possessing, carrying, or           Ex. No. 205 above.
                               Sale, Possession and     transporting any machine gun.                  Law comes too late to
                               Transportation of                                                       provide any insight into
                               Machine Guns, §§ 1-2.                                                   the meaning of the
                                                                                                       Second Amendment.
                                                                                                       Bruen entirely
                                                                                                       disregarded laws from the
                                                                                                       20th century, noting that,
                                                                                                       “[a]s with…late-19th
                                                                                                       century evidence, the
                                                                                                       20th-century evidence
                                                                                                       presented by respondents
                                                                                                       and their amici does not
                                                                                                       provide insight into the
                                                                                                       meaning of the Second
                                                                                                       Amendment when it
                                                                                                       contradicts earlier
                                                                                                       evidence.” Bruen, 597
                                                                                                       U.S. at 66 n.28.


                                                                                                       Not “relevantly similar” as
                                                                                                                         500
             Case
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                                                                                                     it is does not restrict any
                                                                                                     arms based on age. There is
                                                                                                     no restriction on the sale,
                                                                                                     purchase, acquisition,
                                                                                                     possession of firearms by
                                                                                                     minors or legal adults.
502   1931          Illinois   1931 Ill. Laws 454, An   Prohibited being armed with a machine gun    See Plaintiffs’ response to
                               Act to Regulate the      while committing arson, assault, burglary,   Ex. No. 205 above.
                                                                                                     Law comes too late to
                                                                                                     provide any insight into
                                                                                                     the meaning of the
                                                                                                     Second Amendment.
                                                                                                     Bruen entirely
                                                                                                     disregarded laws from the
                                                                                                     20th century, noting that,
                                                                                                     “[a]s with…late-19th
                                                                                                     century evidence, the
                                                                                                     20th-century evidence
                                                                                                     presented by respondents
                                                                                                     and their amici does not
                                                                                                     provide insight into the
                                                                                                     meaning of the Second
                                                                                                     Amendment when it
                                                                                                     contradicts earlier
                                                                                                     evidence.” Bruen, 597
                                                                                                     U.S. at 66 n.28.


                                                                                                     Not “relevantly similar” as
                                                                                                     it is does not restrict any
                                                                                                     arms based on age. There is
                                                                                                     no restriction on the sale,
                                                                                                     purchase, acquisition,
                                                                                                     possession of firearms by
                                                                                                     minors or legal adults.
                                                                                                                      501
             Case
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                  Description of Regulation                Plaintiffs’ Response
                                 Sale, Possession and    kidnapping, larceny, rioting, or robbery.
                                 Transportation of       Punishable by imprisonment for 5 years to life.
                                 Machine Guns, § 7.

503   1931         Michigan      1931 Mich. Pub. Acts    Prohibited the setting of any spring or trap      See Plaintiffs’ response to
                                 671, The Michigan       gun.                                              Ex. No. 205 above.
                                 Penal Code, ch. 37,                                                       Law comes too late to
                                 § 236.                                                                    provide any insight into
                                                                                                           the meaning of the
                                                                                                           Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.


                                                                                                           Not “relevantly similar”
                                                                                                                             502
             Case
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                                                                                                            as it is does not restrict
                                                                                                            any arms based on age.
                                                                                                            There is no restriction on
                                                                                                            the sale, purchase,
                                                                                                            acquisition, possession of
                                                                                                            firearms by minors or
                                                                                                            legal adults.
504   1931         New York   1931 N.Y. Laws 1033,        Prohibited using an imitation pistol and          See Plaintiffs’ response to
                              An Act to Amend the         carrying or possessing a black-jack, slungshot,   Ex. No. 205 above.
                              Penal Law in Relation to    billy, sandclub, sandbag, metal knuckles,         Law comes too late to
                              Carrying and Use of         bludgeon, dagger, dirk, dangerous knife, razor,   provide any insight into
                              Glass Pistols, ch. 435, §   stiletto, imitation pistol, machine gun, sawed    the meaning of the
                              1.                          off shot-gun, or any other dangerous or deadly    Second Amendment.
                                                          weapon.                                           Bruen entirely
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.

                                                                                                            Not “relevantly similar” as
                                                                                                            it is does not restrict any
                                                                                                            arms based on age. There is
                                                                                                            no restriction on the sale,
                                                                                                            purchase, acquisition,
                                                                                                            possession of firearms by
                                                                                                            minors or legal adults.
                                                                                                                                503
             Case
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505   1931       North Dakota   1931 N.D. Laws 305-06,   Prohibited selling, giving, loaning, furnishing,   See Plaintiffs’ response to
                                An Act to Prohibit the   or delivering a machine gun, submachine gun,       Ex. No. 205 above.
                                Possession, Sale and     automatic rifle, or bomb (without a license).      Law comes too late to
                                Use of Machine Guns,     Punishable by imprisonment up to 10 years          provide any insight into
                                Sub-Machine Guns, or                                                        the meaning of the
                                                                                                            Second Amendment.
                                                                                                            Bruen entirely
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar”
                                                                                                            as it is does not restrict
                                                                                                            any arms based on age.
                                                                                                            There is no restriction on
                                                                                                            the sale, purchase,
                                                                                                            acquisition, possession of
                                                                                                            firearms by minors or
                                                                                                            legal adults.




                                                                                                                              504
             Case
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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation              Plaintiffs’ Response
                                 Automatic Rifles and        and/or fine up to $3,000.
                                 Defining the Same . . . ,
                                 ch. 178, §§ 1-2.

506   1932         District of   District of Columbia        Prohibited being armed with or having readily   See Plaintiffs’ response to
                   Columbia      1932:                       available any pistol or other firearm while     Ex. No. 205 above.
                                 1932, Public-No. 275-       committing a violent crime. In addition to      Law comes too late to
                                 72D Congress, ch. 465.      being punished for the crime, will also be      provide any insight into
                                                             punished with imprisonment (various terms       the meaning of the
                                                             depending on the number of previous             Second Amendment.
                                                             convictions). Additionally, prohibited people   Bruen entirely
                                                             convicted of violent crimes from owning or
                                                                                                             disregarded laws from the
                                                             possessing a pistol. Prohibited carrying a
                                                             concealed deadly or dangerous weapon.           20th century, noting that,
                                                             Regulates the sale and transfer of pistols.     “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.

                                                                                                             Not “relevantly similar” as

                                                                                                                               505
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                                                                                                             it is does not restrict any
                                                                                                             arms based on age. There is
                                                                                                             no restriction on the sale,
                                                                                                             purchase, acquisition,
                                                                                                             possession of firearms by
                                                                                                             minors or legal adults.




507   1932         Louisiana   1932 La. Acts 337-38,        Prohibited selling, loaning, giving, purchasing, See Plaintiffs’ response to
                               An Act to Regulate the       possession, carrying, or transporting a machine Ex. No. 205 above.
                               Sale, Possession and         gun.                                             Law comes too late to
                               Transportation of                                                             provide any insight into
                               Machine Guns, and                                                             the meaning of the
                               Providing a Penalty for                                                       Second Amendment.
                               a Violation Hereof . . . ,                                                    Bruen entirely
                               §§ 1-2.
                                                                                                             disregarded laws from the
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.


                                                                                                             Not “relevantly similar” as
                                                                                                                               506
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                                                                                                         it is does not restrict any
                                                                                                         arms based on age. There is
                                                                                                         no restriction on the sale,
                                                                                                         purchase, acquisition,
                                                                                                         possession of firearms by
                                                                                                         minors or legal adults.



508   1933         California   1933 Cal. Stat. 1169.   Prohibited a person, firm, or corporation from   See Plaintiffs’ response to
                                                        selling, possessing or transporting a machine    Ex. No. 205 above.
                                                        gun. Punishable by imprisonment up to 3 years    Law comes too late to
                                                                                                         provide any insight into
                                                                                                         the meaning of the
                                                                                                         Second Amendment.
                                                                                                         Bruen entirely
                                                                                                         disregarded laws from the
                                                                                                         20th century, noting that,
                                                                                                         “[a]s with…late-19th
                                                                                                         century evidence, the
                                                                                                         20th-century evidence
                                                                                                         presented by respondents
                                                                                                         and their amici does not
                                                                                                         provide insight into the
                                                                                                         meaning of the Second
                                                                                                         Amendment when it
                                                                                                         contradicts earlier
                                                                                                         evidence.” Bruen, 597
                                                                                                         U.S. at 66 n.28.


                                                                                                         Not “relevantly similar” as
                                                                                                         it is does not restrict any
                                                                                                         arms based on age. There is
                                                                                                         no restriction on the sale,
                                                                                                                           507
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                                                                               purchase, acquisition,
                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction            Citation                       Description of Regulation              Plaintiffs’ Response
                                                               and/or fine up to $5,000.

509   1933          Florida      1933 Fla. Laws 623, An        Prohibited throwing a bomb or shooting a       See Plaintiffs’ response to
                                 Act to Prevent                machine gun across or along a street or        Ex. No. 205 above.
                                 Throwing of Bombs and         highway, any public park or place where        Law comes too late to
                                 the Discharge of              people assemble with the intent to do bodily   provide any insight into
                                 Machine Guns Upon, or         harm. Punishable by death.                     the meaning of the
                                 Across Any Public Road                                                       Second Amendment.
                                 in the State of Florida . .                                                  Bruen entirely
                                 ., ch. 16111, § 1.
                                                                                                              disregarded laws from the
                                                                                                              20th century, noting that,
                                                                                                              “[a]s with…late-19th
                                                                                                              century evidence, the
                                                                                                              20th-century evidence
                                                                                                              presented by respondents
                                                                                                              and their amici does not
                                                                                                              provide insight into the
                                                                                                              meaning of the Second
                                                                                                              Amendment when it
                                                                                                              contradicts earlier
                                                                                                              evidence.” Bruen, 597
                                                                                                              U.S. at 66 n.28.


                                                                                                              Not “relevantly similar”
                                                                                                              as it is does not restrict
                                                                                                              any arms based on age.
                                                                                                                                509
             Case
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                                                                                                         There is no restriction on
                                                                                                         the sale, purchase,
                                                                                                         acquisition, possession of
                                                                                                         firearms by minors or
                                                                                                         legal adults.




510   1933          Hawaii    1933 Haw. Special Sess.   Prohibited a person, firm, or corporation from   See Plaintiffs’ response to
                              Laws 117, An Act . . .    owning, possessing, selling, or transporting a   Ex. No. 205 above.
                              Regulating The Sale,      machine gun, shell cartridge, or bomb            Law comes too late to
                              Transfer And Possession   containing or capable of emitting tear gas or    provide any insight into
                              Of Certain Firearms,      other noxious gas.                               the meaning of the
                              Tear Gas And                                                               Second Amendment.
                              Ammunition: § 2.                                                           Bruen entirely
                                                                                                         disregarded laws from the
                                                                                                         20th century, noting that,
                                                                                                         “[a]s with…late-19th
                                                                                                         century evidence, the
                                                                                                         20th-century evidence
                                                                                                         presented by respondents
                                                                                                         and their amici does not
                                                                                                         provide insight into the
                                                                                                         meaning of the Second
                                                                                                         Amendment when it
                                                                                                         contradicts earlier
                                                                                                         evidence.” Bruen, 597
                                                                                                         U.S. at 66 n.28.


                                                                                                         Not “relevantly similar”
                                                                                                         as it is does not restrict
                                                                                                         any arms based on age.
                                                                                                         There is no restriction on
                                                                                                                           510
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                                                                                                    the sale, purchase,
                                                                                                    acquisition, possession of
                                                                                                    firearms by minors or
                                                                                                    legal adults.




511   1933          Kansas    1933 Kan. Sess. Laws      Prohibited possession of a machine rifle,   See Plaintiffs’ response to
                              76, An Act Relating to    machine gun, or submachine gun.             Ex. No. 205 above.
                              Machine Guns and                                                      Law comes too late to
                              Other Firearms Making                                                 provide any insight into
                              the Transportation or                                                 the meaning of the
                              Possession Thereof                                                    Second Amendment.
                              Unlawful in Certain                                                   Bruen entirely
                              Cases, Providing for
                                                                                                    disregarded laws from the
                              Search, Seizure and
                              Confiscation Thereof in                                               20th century, noting that,
                                                                                                    “[a]s with…late-19th
                                                                                                    century evidence, the
                                                                                                    20th-century evidence
                                                                                                    presented by respondents
                                                                                                    and their amici does not
                                                                                                    provide insight into the
                                                                                                    meaning of the Second
                                                                                                    Amendment when it
                                                                                                    contradicts earlier
                                                                                                    evidence.” Bruen, 597
                                                                                                    U.S. at 66 n.28.


                                                                                                    Not “relevantly similar” as
                                                                                                    it is does not restrict any
                                                                                                    arms based on age. There is
                                                                                                    no restriction on the sale,
                                                                                                    purchase, acquisition,
                                                                                                                      511
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                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                       Description of Regulation               Plaintiffs’ Response
                                 Certain Cases, Relating
                                 to the Ownership and
                                 Registration of Certain
                                 Firearms, and Providing
                                 Penalties for the
                                 Violation of this Act, ch.
                                 62, §§ 1-3.

512   1933         Minnesota     1933 Minn. Laws 231-         Prohibited owning, controlling, using,           See Plaintiffs’ response to
                                 33, An Act Making It         possessing, selling, or transporting a machine   Ex. No. 205 above.
                                 Unlawful to Use, Own,        gun.                                             Law comes too late to
                                 Possess, Sell, Control or                                                     provide any insight into
                                 Transport a “Machine                                                          the meaning of the
                                 Gun”, as Hereinafter                                                          Second Amendment.
                                 Defined, and Providing                                                        Bruen entirely
                                 a Penalty for the
                                                                                                               disregarded laws from the
                                 Violation Thereof, ch.
                                 190, §§ 1-3.                                                                  20th century, noting that,
                                                                                                               “[a]s with…late-19th
                                                                                                               century evidence, the
                                                                                                               20th-century evidence
                                                                                                               presented by respondents
                                                                                                               and their amici does not
                                                                                                               provide insight into the
                                                                                                               meaning of the Second
                                                                                                               Amendment when it
                                                                                                               contradicts earlier
                                                                                                               evidence.” Bruen, 597
                                                                                                                                 513
             Case
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                                                                                                         U.S. at 66 n.28.


                                                                                                         Not “relevantly similar” as
                                                                                                         it is does not restrict any
                                                                                                         arms based on age. There is
                                                                                                         no restriction on the sale,
                                                                                                         purchase, acquisition,
                                                                                                         possession of firearms by
                                                                                                         minors or legal adults.

513   1933         New York   1933 N.Y. Laws 1639,      Prohibited selling, giving, disposing of,        See Plaintiffs’ response to
                              An Act to Amend the       transporting, or possessing a machine gun or     Ex. No. 205 above.
                              Penal Law, in Relation    submachine gun to a person guilty of a felony.   Law comes too late to
                              to the Sale, Possession                                                    provide any insight into
                              and Use of Sub-                                                            the meaning of the
                              Machine Guns, ch. 805,                                                     Second Amendment.
                              §§ 1, 3.                                                                   Bruen entirely
                                                                                                         disregarded laws from the
                                                                                                         20th century, noting that,
                                                                                                         “[a]s with…late-19th
                                                                                                         century evidence, the
                                                                                                         20th-century evidence
                                                                                                         presented by respondents
                                                                                                         and their amici does not
                                                                                                         provide insight into the
                                                                                                         meaning of the Second
                                                                                                         Amendment when it
                                                                                                         contradicts earlier
                                                                                                         evidence.” Bruen, 597
                                                                                                         U.S. at 66 n.28.


                                                                                                         Not “relevantly similar” as
                                                                                                         it is does not restrict any
                                                                                                                            514
             Case
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                                                                                                           arms based on age. There is
                                                                                                           no restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.



514   1933           Ohio     1933 Ohio Laws 189-         Prohibited owning, possessing, and               See Plaintiffs’ response to
                              90, Reg. Sess., An Act. .   transporting a machine gun, light machine gun,   Ex. No. 205 above.
                                                                                                           Law comes too late to
                                                                                                           provide any insight into
                                                                                                           the meaning of the
                                                                                                           Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.


                                                                                                           Not “relevantly similar”
                                                                                                           as it is does not restrict
                                                                                                           any arms based on age.
                                                                                                           There is no restriction on
                                                                                                           the sale, purchase,

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Case
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                                                                               acquisition, possession of
                                                                               firearms by minors or
                                                                               legal adults.




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                                            D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                   Description of Regulation              Plaintiffs’ Response
                                 . Relative to the Sale    or submachine gun without a permit.
                                 and Possession of         Punishable by imprisonment of 1-10 years.
                                 Machine Guns, § 1.

515   1933          Oregon       1933 Or. Laws 489, An     Prohibited possession of a machine gun. Also   See Plaintiffs’ response to
                                 Act to Amend Sections     Prohibited carrying a concealed machine gun,   Ex. No. 205 above.
                                 72-201, 72-202, 72-207,   pistol, revolver, or other firearm.            Law comes too late to
                                 Oregon Code 1930, ch.                                                    provide any insight into
                                 315, §§ 3-4.                                                             the meaning of the
                                                                                                          Second Amendment.
                                                                                                          Bruen entirely
                                                                                                          disregarded laws from the
                                                                                                          20th century, noting that,
                                                                                                          “[a]s with…late-19th
                                                                                                          century evidence, the
                                                                                                          20th-century evidence
                                                                                                          presented by respondents
                                                                                                          and their amici does not
                                                                                                          provide insight into the
                                                                                                          meaning of the Second
                                                                                                          Amendment when it
                                                                                                          contradicts earlier
                                                                                                          evidence.” Bruen, 597
                                                                                                          U.S. at 66 n.28.


                                                                                                          Not “relevantly similar”
                                                                                                                            517
             Case
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                                                                                                           as it is does not restrict
                                                                                                           any arms based on age.
                                                                                                           There is no restriction on
                                                                                                           the sale, purchase,
                                                                                                           acquisition, possession of
                                                                                                           firearms by minors or
                                                                                                           legal adults.
516   1933          Oregon    1933 Or. Laws 488, An     Prohibited a unnaturalized person and person       See Plaintiffs’ response to
                              Act to Amend Sections     convicted of a felony against another person or    Ex. No. 205 above.
                              72-201, 72-202, 72-207,   the government from owning or possessing a         Law comes too late to
                              Oregon Code 1930, § 2.    pistol, revolver, other firearm, or machine gun.   provide any insight into
                                                        Punishable by imprisonment for 1-5 years.          the meaning of the
                                                                                                           Second Amendment.
                                                                                                           Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.


                                                                                                           Not “relevantly similar”
                                                                                                           as it is does not restrict
                                                                                                           any arms based on age.
                                                                                                           There is no restriction on
                                                                                                           the sale, purchase,
                                                                                                           acquisition, possession of
                                                                                                                             518
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                                                                                                            firearms by minors or
                                                                                                            legal adults.




517   1933       South Dakota   1933 S.D. Sess. Laws      Prohibited possession of a machine gun during     See Plaintiffs’ response to
                                245-47, An Act Relating   a violent crime. Punishable by imprisonment       Ex. No. 205 above.
                                to Machine Guns, and to   up to 15 years. Prohibited using a machine gun    Law comes too late to
                                Make Uniform the Law      offensively or aggressively; punishable by        provide any insight into
                                with Reference Thereto,   imprisonment up to 15 years. Requires             the meaning of the
                                ch. 206, §§ 1-8.          manufacturers to keep a register of machine       Second Amendment.
                                                          guns and for owners to converted their            Bruen entirely
                                                          machine guns to pistols to register the weapon.
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar” as
                                                                                                            it is does not restrict any
                                                                                                            arms based on age. There is
                                                                                                            no restriction on the sale,
                                                                                                            purchase, acquisition,
                                                                                                            possession of firearms by
                                                                                                            minors or legal adults.
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518   1933          Texas     1933 Tex. Gen. Laws         Prohibited possession of a machine gun;           See Plaintiffs’ response to
                              219-20, 1st Called Sess.,   punishable by imprisonment up to 10 years.        Ex. No. 205 above.
                              An Act Defining             Prohibited selling, leasing, giving, bartering,   Law comes too late to
                              “Machine Gun” and           exchanging, or trading a machine gun;             provide any insight into
                                                                                                            the meaning of the
                                                                                                            Second Amendment.
                                                                                                            Bruen entirely
                                                                                                            disregarded laws from the
                                                                                                            20th century, noting that,
                                                                                                            “[a]s with…late-19th
                                                                                                            century evidence, the
                                                                                                            20th-century evidence
                                                                                                            presented by respondents
                                                                                                            and their amici does not
                                                                                                            provide insight into the
                                                                                                            meaning of the Second
                                                                                                            Amendment when it
                                                                                                            contradicts earlier
                                                                                                            evidence.” Bruen, 597
                                                                                                            U.S. at 66 n.28.


                                                                                                            Not “relevantly similar” as
                                                                                                            it is does not restrict any
                                                                                                            arms based on age. There is
                                                                                                            no restriction on the sale,
                                                                                                            purchase, acquisition,
                                                                                                            possession of firearms by
                                                                                                            minors or legal adults.




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             Case
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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                      Description of Regulation               Plaintiffs’ Response
                                 “Person”; Making It an      punishable by imprisonment for 2 months to
                                 Offense to Possess or       10 years.
                                 Use Machine Guns. . . ,
                                 ch. 82, §§ 1-4, 6.

519   1933        Washington     1933 Wash. Sess. Laws       Prohibited manufacturing, owning, buying,        See Plaintiffs’ response to
                                 335-36, An Act Relating     selling, loaning, furnishing, transporting, or   Ex. No. 205 above.
                                 to Machine Guns,            possessing a machine gun.                        Law comes too late to
                                 Regulating the                                                               provide any insight into
                                 Manufacture,                                                                 the meaning of the
                                 Possession, Sale of                                                          Second Amendment.
                                 Machine Guns and                                                             Bruen entirely
                                 Parts, and Providing
                                                                                                              disregarded laws from the
                                 Penalty for the Violation
                                 Thereof, and Declaring                                                       20th century, noting that,
                                 an Emergency, ch. 64,                                                        “[a]s with…late-19th
                                 §§ 1-5.                                                                      century evidence, the
                                                                                                              20th-century evidence
                                                                                                              presented by respondents
                                                                                                              and their amici does not
                                                                                                              provide insight into the
                                                                                                              meaning of the Second
                                                                                                              Amendment when it
                                                                                                              contradicts earlier
                                                                                                              evidence.” Bruen, 597
                                                                                                              U.S. at 66 n.28.



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                                                                                                           Not “relevantly similar” as
                                                                                                           it is does not restrict any
                                                                                                           arms based on age. There is
                                                                                                           no restriction on the sale,
                                                                                                           purchase, acquisition,
                                                                                                           possession of firearms by
                                                                                                           minors or legal adults.




520   1934        New Jersey   1934 N.J. Laws 394-95,    Declares a person who possesses a machine         See Plaintiffs’ response to
                               A Further Supplement      gun or submachine gun a “gangster” and            Ex. No. 205 above.
                               to an Act Entitled “An    therefore, enemy of the state. Also declares a    Law comes too late to
                               Act for the Punishment    person who carries a deadly weapon without a      provide any insight into
                               of Crimes,” ch. 155, §§   permit a “gangster.” If convicted a “gangster,”   the meaning of the
                               1-5.                      punishable by fine up to $10,000 and/or           Second Amendment.
                                                         imprisonment up to 20 years.                      Bruen entirely
                                                                                                           disregarded laws from the
                                                                                                           20th century, noting that,
                                                                                                           “[a]s with…late-19th
                                                                                                           century evidence, the
                                                                                                           20th-century evidence
                                                                                                           presented by respondents
                                                                                                           and their amici does not
                                                                                                           provide insight into the
                                                                                                           meaning of the Second
                                                                                                           Amendment when it
                                                                                                           contradicts earlier
                                                                                                           evidence.” Bruen, 597
                                                                                                           U.S. at 66 n.28.



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                                                                                                      Not “relevantly similar”
                                                                                                      as it is does not restrict
                                                                                                      any arms based on age.
                                                                                                      There is no restriction on
                                                                                                      the sale, purchase,
                                                                                                      acquisition, possession of
                                                                                                      firearms by minors or
                                                                                                      legal adults.
521   1934          South     1934 S.C. Acts 1288,    Prohibited transporting, possessing, selling,   See Plaintiffs’ response to
                   Carolina   An Act regulating the   renting, or giving a firearm or machine gun.    Ex. No. 205 above.
                              use and possession of   Punishable by fine up to $1,000 and             Law comes too late to
                                                                                                      provide any insight into
                                                                                                      the meaning of the
                                                                                                      Second Amendment.
                                                                                                      Bruen entirely
                                                                                                      disregarded laws from the
                                                                                                      20th century, noting that,
                                                                                                      “[a]s with…late-19th
                                                                                                      century evidence, the
                                                                                                      20th-century evidence
                                                                                                      presented by respondents
                                                                                                      and their amici does not
                                                                                                      provide insight into the
                                                                                                      meaning of the Second
                                                                                                      Amendment when it
                                                                                                      contradicts earlier
                                                                                                      evidence.” Bruen, 597
                                                                                                      U.S. at 66 n.28.


                                                                                                      Not “relevantly similar”
                                                                                                      as it is does not restrict
                                                                                                      any arms based on age.
                                                                                                      There is no restriction on
                                                                                                      the sale, purchase,
                                                                                                                          523
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                                                                               acquisition, possession of
                                                                               firearms by minors or
                                                                               legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                    Description of Regulation                Plaintiffs’ Response
                                 Machine Guns: §§ 1-6.      imprisonment with solitary confinement up to
                                                            20 years.

522   1934          Virginia     1934 Va. Acts 137-39,      Prohibited possession or use of a machine gun    See Plaintiffs’ response to
                                 An Act to define the       during a violent crime; punishable by death or   Ex. No. 205 above.
                                 term “machine gun”; to     imprisonment for a minimum of 20 years.          Law comes too late to
                                 declare the use and        Prohibited unlawful possession or use of a       provide any insight into
                                 possession of a machine    machine gun for offensive or aggressive          the meaning of the
                                 gun for certain purposes   purposes; punishable by imprisonment for a       Second Amendment.
                                 a crime and to prescribe   minimum of 10 years. Requires manufacturers      Bruen entirely
                                 the punishment therefor,   to keep a register of machine guns.
                                                                                                             disregarded laws from the
                                 ch. 96, §§ 1-7.
                                                                                                             20th century, noting that,
                                                                                                             “[a]s with…late-19th
                                                                                                             century evidence, the
                                                                                                             20th-century evidence
                                                                                                             presented by respondents
                                                                                                             and their amici does not
                                                                                                             provide insight into the
                                                                                                             meaning of the Second
                                                                                                             Amendment when it
                                                                                                             contradicts earlier
                                                                                                             evidence.” Bruen, 597
                                                                                                             U.S. at 66 n.28.


                                                                                                             Not “relevantly similar” as
                                                                                                             it is does not restrict any
                                                                                                                               525
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                                                                                                        arms based on age. There is
                                                                                                        no restriction on the sale,
                                                                                                        purchase, acquisition,
                                                                                                        possession of firearms by
                                                                                                        minors or legal adults.




523   1931-1933   Wisconsin   1931-1933 Wis. Sess.      Prohibited using or possessing a machine gun    See Plaintiffs’ response to
                              Laws 245-47, An Act . .   during an attempted violent crime; punishable   Ex. No. 205 above.
                              .Relating to Machine      by imprisonment of minimum 20 years.            Law comes too late to
                              Guns and to Make          Prohibited use of a machine gun for offensive   provide any insight into
                              Uniform the Law with      or aggressive purposes; punishable by           the meaning of the
                              Reference Thereto, ch.    imprisonment of minimum 10 years.               Second Amendment.
                              76, § 1, pt. 164.01-                                                      Bruen entirely
                              164.06.
                                                                                                        disregarded laws from the
                                                                                                        20th century, noting that,
                                                                                                        “[a]s with…late-19th
                                                                                                        century evidence, the
                                                                                                        20th-century evidence
                                                                                                        presented by respondents
                                                                                                        and their amici does not
                                                                                                        provide insight into the
                                                                                                        meaning of the Second
                                                                                                        Amendment when it
                                                                                                        contradicts earlier
                                                                                                        evidence.” Bruen, 597
                                                                                                        U.S. at 66 n.28.


                                                                                                        Not “relevantly similar” as
                                                                                                        it is does not restrict any
                                                                                                        arms based on age. There is
                                                                                                                          526
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                                                                                                         no restriction on the sale,
                                                                                                         purchase, acquisition,
                                                                                                         possession of firearms by
                                                                                                         minors or legal adults.




524   1931-1933   Wisconsin   1931-1933 Wis. Sess.     Prohibited selling, possessing, using, or         See Plaintiffs’ response to
                              Laws 778, An Act . . .   transporting a machine gun, automatic firearm,    Ex. No. 205 above.
                              Relating to the Sale,    bomb, hand grenade, projectile, shell, or other   Law comes too late to
                              Possession,              container that can contain tear or other gas.     provide any insight into
                              Transportation and Use   Punishable by imprisonment for 1-3 years.         the meaning of the
                              of Machine Guns and                                                        Second Amendment.
                              Other Weapons in                                                           Bruen entirely
                                                                                                         disregarded laws from the
                                                                                                         20th century, noting that,
                                                                                                         “[a]s with…late-19th
                                                                                                         century evidence, the
                                                                                                         20th-century evidence
                                                                                                         presented by respondents
                                                                                                         and their amici does not
                                                                                                         provide insight into the
                                                                                                         meaning of the Second
                                                                                                         Amendment when it
                                                                                                         contradicts earlier
                                                                                                         evidence.” Bruen, 597
                                                                                                         U.S. at 66 n.28.

                                                                                                         Not “relevantly similar” as
                                                                                                         it is does not restrict any
                                                                                                         arms based on age. There is
                                                                                                         no restriction on the sale,
                                                                                                         purchase, acquisition,
                                                                                                                           527
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                                                                               possession of firearms by
                                                                               minors or legal adults.




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                                           D. DANGEROUS WEAPONS LAWS1

No.   Year        Jurisdiction           Citation                 Description of Regulation   Plaintiffs’ Response
                                 Certain Cases, and
                                 Providing a Penalty, ch.
                                 359, § 1.

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                                                  E. GUNPOWDER LAWS 2

 No.    Year        Jurisdiction          Citation                   Description of Regulation                 Plaintiffs’ Response

525    1757-68       Maryland      Md. Acts 53, An Act     That it shall not be lawful for any person or      Not “relevantly similar”
                                   Prohibiting All Trade   persons within this Province, to sell or give to   as it is does not restrict
                                   With The Indians, For   any Indian Woman or Child, any gunpowder,          any arms based on age.
                                   The Time Therein        shot, or lead, whatsoever, nor to any Indian       There is no restriction on
                                   Mentioned, § 3.         Man within this province, more than the            the sale, purchase,
                                                           quantity of one pound of gunpowder and six
                                                                                                              acquisition, possession of
                                                           pounds of shot or lead, at any one time, and
                                                           not those, or lesser quantities of powder or       firearms by minors or
                                                           lead oftener than once in Six months, under the    legal adults.
                                                           Penalty of Five Pounds Current Money for           Inspection and licensing
                                                           every pound of gunpowder.                          requirements imposed on
                                                                                                              the manufacture and/or sale
                                                                                                              of gunpowder provides no
                                                                                                              justification for an age-
                                                                                                              based firearms ban or age-
                                                                                                              based “licensing” or
                                                                                                              “training” requirement for
                                                                                                              the purchaser.


                                                                                                              Gunpowder storage
                                                                                                              regulations are more akin
                                                                                                              to fire codes and land
                                                                                                              use/zoning ordinances.




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526          1775          New           8 Documents and             Requiring each firearm sold in the colony to       See Plaintiffs responses to
                         Hampshire       Records Relating to the     possess certain specifications and pass            Ex. No. 525 above.
                                         State of New Hampshire      inspection involving the safe firing of the gun.
                                         During the Period of the
                                         American Revolution
                                         from 1776-1783 at 15-
                                         16 (Nathaniel Bouton
                                         ed. 1874), Jan. 12, 1775.

527          1775         Maryland       Resolution of the           Approving purchase of muskets with detailed        See Plaintiffs responses to
                                         Maryland Council of         manufacturing specifications and requiring that    Ex. No. 525 above.
                                         Safety, August 19, 1775.    they be proved before purchase.

         2
           As explained in the declaration, supra paragraph 3, at this time Defendants do not provide exhibited copies of the laws
  referenced in categories (D) Dangerous Weapons Laws, and (E) Gunpowder Laws, but will do so if the Court so requests.




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                                                  E. GUNPOWDER LAWS 2

 No.   Year        Jurisdiction           Citation                     Description of Regulation                   Plaintiffs’ Response

528    1775       Pennsylvania    Resolution of the          Requiring that all muskets be “proved” prior to      See Plaintiffs responses to
                                  Pennsylvania               purchase.                                            Ex. No. 525 above.
                                  Committee on Safety,
                                  Oct. 27, 1775, Col. Rec.
                                  Penn. 10:383

529    1776        New Jersey     “Act for the Inspection    Required the inspection of gunpowder prior to        See Plaintiffs responses to
                                  of Gunpowder”, 1776-       sale, and appointed state inspectors to “mark”       Ex. No. 525 above.
                                  1777, N.J. Laws 6, ch.     lots that passed inspection.
                                  6.

530    1776       Rhode Island    “An Act for the            Requiring that before gunpowder could be sold        See Plaintiffs responses to
                                  Inspection of              it needed to pass inspection or adhere to            Ex. No. 525 above.
                                  Gunpowder                  certain safety standards.
                                  Manufactured Within
                                  This State” 1776 R.I.
                                  Public Laws 25 (Oct.
                                  Session).

531    1776        Continental    E. Wayne Carp’s To         George Washington ordered all Continental            See Plaintiffs responses to
                     Army         Starve The Army At         Army firearms stamped with an insignia:              Ex. No. 525 above.
                                  Pleasure: Continental      “U.S.XIII.” in order to make it easier to
                                  Army Administration        identify cases where arms were being illegally
                                  And American Political     sold in a secondary market to private
                                  Culture, 1775-             individuals.
                                  1783 (1984) at 66-67.

532    1780        Continental    Letter from George         “I think it will be best for you to give orders to   See Plaintiffs responses to
                                  Washington to Henry        the Officer superintending the Laboratory to         Ex. No. 525 above.
                                                                                                                                    532
              Case
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                                                 E. GUNPOWDER LAWS 2

 No.   Year        Jurisdiction          Citation                    Description of Regulation                  Plaintiffs’ Response
                      Army        Knox (Nov. 30,           have the Barrels sufficiently proved before
                                  1780), in The Writings   they are delivered to Mr. Buel, as I suspect that
                                  of George Washington     they are most of them of the trash kind which
                                  from the Original        Mr. .... Lee charges Mr. Deane[']s Agent with
                                  Manuscript Sources       purchasing.”
                                  1745-1799 (John C.
                                  Fitzpatrick, ed.).

533    1783       Massachusetts   1783 Mass. Acts 37, § 2. Prohibited the possession of any “fire arms,”       See Plaintiffs responses to
                   – City of                               and among other devices, loaded with any gun        Ex. No. 525 above.
                    Boston                                 powder. Punishable by forfeiture and sale at
                                                           public auction.

534    1784        New York –     1784 Laws of N.Y. 627,   Prohibited any person to keep any quantity of       See Plaintiffs responses to
                   City of New    ch. 28.                  gun powder exceeding 28 pounds and required         Ex. No. 525 above.
                   York City                               storage in separate containers. Punishable by
                                                           forfeiture and fine.

535    1794       Pennsylvania    Pa. Laws 764, An Act     “Whereas gun-powder imported from abroad,           See Plaintiffs responses to
                                  Providing For The        and manufactured within this state, have            Ex. No. 525 above.
                                  Inspection Of            frequently been found to vary much in its
                                  Gunpowder chap. 337.     strength, and sometimes of inferior qualities,
                                                           and its defects not discovered until brought
                                                           into actual use : and whereas the modes
                                                           herefore rules to prove the force thereof have
                                                           been found uncertain and variable; and
                                                           whereas Joseph Leacock, of the city of
                                                           Philadelphia, hath invented an engine, called a
                                                           pendulum powder proof, with a graduated arch
                                                                                                                                533
              Case
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                                                 E. GUNPOWDER LAWS 2

 No.   Year        Jurisdiction          Citation                    Description of Regulation                 Plaintiffs’ Response
                                                           and catch pall, by which it is conceived that
                                                           the force of gunpowder may be proved by
                                                           experiment, and the article reduced to certain
                                                           and uniform standards of strength, whereby the
                                                           manufacture may be advanced towards
                                                           ultimate perfection, and the purchaser and
                                                           consumer protected against fraud and
                                                           imposition.”

536    1805       Massachusetts 1804 Mass. Acts. 111,      To prevent harm to residents from the sale of      See Plaintiffs responses to
                                ch. 81, An Act to          unsafe firearms. The law required the              Ex. No. 525 above.
                                Provide for the Proof of   appointment of inspectors, up to two per
                                Fire Arms Manufactured     county, who would “prove,” i.e. test and
                                Within this                inspect, all musket barrels and pistol barrels.
                                Commonwealth.              The law detailed the manner in which these
                                                           inspections were to be conducted, which
                                                           included testing the firearm to ensure it would
                                                           not fail and that it could carry a shot over a
                                                           certain distance. If the firearm passed
                                                           inspection, then the inspector would stamp it
                                                           with the inspector’s initials and the year onto
                                                           the barrel so that the stamp could not be erased
                                                           or disfigured.

537    1811          New          N.H. Laws 74, An Act     “That if any person or persons shall sell or       See Plaintiffs responses to
                   Hampshire      To Regulate The          offer for sale by retail any gunpowder in any      Ex. No. 525 above.
                                  Keeping And Selling,     highway, or in any street, lane, or alley, or on
                                  And Transporting Of      any wharf, or on parade or common, such
                                  Gunpowder, chap. 61, §   person so offending shall forfeit and pay for
                                                                                                                               534
              Case
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                                  5.                      each and every offense a sum not more than
                                                          five dollars nor less than one dollar, to be
                                                          recovered and applied as aforesaid.”

538    1811        New Jersey     N.J. Laws 300, An Act   “No person or persons whatsoever shall be              See Plaintiffs responses to
                                  To Regulate Gun         permitted within this state to erect or establish      Ex. No. 525 above.
                                  Powder Manufactories    or cause to be erected or established any
                                  And Magazines Within    manufactory which shall be actually employed
                                  This State.             in manufacturing gun powder either by himself
                                                          or any other person, either on his own land or
                                                          another, within the distance of a quarter of a
                                                          mile from any dwelling house, barn or out
                                                          house, without the consent under hand and seal
                                                          of all and every the owner or owners of such
                                                          dwelling house.”

539    1814       Massachusetts 1814 Mass. Acts 464,      § 1 (“All musket barrels and pistol barrels,           See Plaintiffs responses to
                                An Act In Addition To     manufactured within this Commonwealth,                 Ex. No. 525 above.
                                An Act, Entitled “An      shall, before the same shall be sold, and before
                                Act To Provide For The    the same shall be stocked, be proved by the
                                Proof Of Fire Arms,       person appointed according to the provisions
                                Manufactured Within       of an act .......... ”); § 2 (“That if any person of
                                This Commonwealth,”       persons, from and after the passing of this act,
                                ch. 192.                  shall manufacture, within this Commonwealth,
                                                          any musket or pistol, or shall sell and deliver,
                                                          or shall knowingly purchase any musket or
                                                          pistol, without having the barrels first proved
                                                          according to the provisions of the first section
                                                          of this act, marked and stamped according the
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              Case
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                                                E. GUNPOWDER LAWS 2

 No.   Year        Jurisdiction          Citation                   Description of Regulation                    Plaintiffs’ Response
                                                          provisions of the first section of the act.”)

540    1820          New          N.H. Laws 274, An Act   The Governor is hereby authorized to appoint          See Plaintiffs responses to
                   Hampshire      To Provide For The      an inspector of gunpowder for every public            Ex. No. 525 above.
                                  Appointment Of          powder magazine, and at every manufactory of
                                  Inspectors And          gunpowder in this state. § 2. And be it further
                                  Regulating The          enacted that from and after the first day of July
                                  Manufacture Of          next, all gunpowder which shall be
                                  Gunpowder, chap XXV,    manufactured within this estate shall be
                                  §§ 1-9.                 composed of the following proportions and
                                                          quality of materials. . . § 3. It shall be the duty
                                                          of each of said inspectors to inspect examine
                                                          and prove all gunpowder which after the first
                                                          day of July shall not be deposited at any public
                                                          powder magazine, or manufactory of this state.
                                                          . . § 4: No gunpowder within this state shall be
                                                          considered to be of proof unless one ounce
                                                          thereof, placed in a chamber of a four inch
                                                          howitzer and elevated so as to form an angle of
                                                          forty five degrees with the horizon, will, upon
                                                          being fired throw a twelve pound shot seventy
                                                          five yards at the lease. § 5: When ever any of
                                                          said inspectors shall discover any gunpowder,
                                                          deposited at any public powder magazine, or
                                                          any other place within this state, which is not
                                                          well manufactured or which is composed of
                                                          impure materials . . . the inspector in such
                                                          case, shall mark each cask containing such
                                                          impure ill manufactured or deficient
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                                                             gunpowder. § 6. If any person shall knowingly
                                                             sell any condemned gunpowder . . . every
                                                             such person, so offending , shall forfeit and
                                                             pay not less than two hundred dollars nor more
                                                             than five hundred dollars. . . § 7. Each
                                                             inspector . . . be shown to the faithful and
                                                             impartial discharge of the duties of his office,
                                                             and each inspector one cent for each pound
                                                             gunpowder, by him examined inspected and
                                                             proved § 8. That if any manufacturer of
                                                             gunpowder meant to be sold inspected . . .
                                                             shall forfeit . . . not less than two dollars . . . §
                                                             That if any person with within this state . .
                                                             shall knowingly . . . shall forfeit not less than 5
                                                             dollars nor more than 500 dollars.”

541    1821          Maine        1821 Laws of the State     Required the governor to appoint inspectors of          See Plaintiffs responses to
                                  of Maine 685-86, vol. 2,   firearms who would then ensure that firearms            Ex. No. 525 above.
                                  § 3, An Act to Provide     met certain safety standards and stamped prior
                                  for the Proof of Fire      to their sale.
                                  Arms.

542    1825          New          An Act To Regulate The     Penalizing the selling or offer for sale of             See Plaintiffs responses to
                   Hampshire      Keeping And Selling,       gunpowder in any highway, street, lane, alley,          Ex. No. 525 above.
                                  And Transporting Of        wharf, parade, or common
                                  Gunpowder, 1825 N.H.
                                  Laws 74, chap. 61, § 5


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                                                  E. GUNPOWDER LAWS 2

 No.   Year        Jurisdiction           Citation                    Description of Regulation                  Plaintiffs’ Response

543    1836       Connecticut –   Acts 105 (Reg. Sess.)     Relative to prohibiting and regulating the
                    Cities of     An Act Incorporating      bringing in, and conveying out, or storing of
                  Hartford, New   The Cities of Hartford,   gunpowder in said cities.
                   Haven, New     New Haven, New
                    London,       London, Norwich and
                  Norwich, and    Middletown, chap. 1, §
                   Middletown     20.

544    1845           Iowa        Iowa Laws 119, An Act     They shall have power from time to time to          See Plaintiffs responses to
                                  to Incorporate and        make and publish all such laws and ordinances       Ex. No. 525 above.
                                  Establish the City of     as to them shall seem necessary to provide for
                                  Dubuque, chap 123, §      the safety, preserve health, promote the
                                  12.                       prosperity and improve the morals, order,
                                                            comfort and convenience of said city, and the
                                                            inhabitants thereof, to impose fines, forfeitures
                                                            and penalties on all persons offending against
                                                            the laws and ordinances of said city, and
                                                            provide for the prosecution, recovery and
                                                            collection thereof, and shall have power to
                                                            regulate by ordinance the keeping and sale of
                                                            gunpowder within the city.


545    1847          Indiana      Ind. Acts 93, An Act To   To regulate and license, or provide by              See Plaintiffs responses to
                                  Reduce the Law            ordinance for regulating and licensing for the      Ex. No. 525 above.
                                  Incorporating the City    keepers of gunpowder and other explosive
                                  of Madison, and the       compounds.
                                  Several Acts
                                                                                                                                 538
              Case
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                                    Amendatory thereto Into
                                    One Act, And To
                                    Amend the Same, chap
                                    61, § 8, pt. 4.

546    1849            Ohio         Ohio Laws 408, An Act       That the said town council of Ripley shall have   See Plaintiffs responses to
                                    To Incorporate The          power to ordain and establish laws and            Ex. No. 525 above.
                                    Town Of Ripley In The       ordinances . . . to regulate the sale of
                                    County Of Brown, § 4        gunpowder therein.

547    1851       Illinois – City   Ordinances of the City      Prohibiting the keeping, sale, or giving away     See Plaintiffs responses to
                    of Chicago      of Chicago, Ill., ch. 16,   of gun powder or gun cotton “in any quantity”     Ex. No. 525 above.
                                    § 1.                        absent written permission of the authorities.
                                                                Punishable by a fine of $25 per offense.

548    1858        Minnesota –      Ordinances of the City      Prohibited the keeping, sale, or giving away of   See Plaintiffs responses to
                    City of         of St. Paul, Minn., ch.     gun powder or gun cotton “in any quantity”        Ex. No. 525 above.
                    St. Paul        21, § 1.                    absent payment of $5 to the City Treasurer and
                                                                written permission of the authorities.
                                                                Authorized any person to “keep for his own
                                                                use” no more than 1 pound of gun powder or
                                                                gun cotton at any one time. Punishable by a
                                                                fine not to exceed $50 per offense.

549    1859       Massachusetts 1 The General Statutes          Renewing and updating firearm proving and         See Plaintiffs responses to
                                of the Commonwealth             gunpowder safety inspection laws.                 Ex. No. 525 above.
                                of Massachusetts:
                                Enacted December 28,
                                1859, to Take Effect
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                                                   E. GUNPOWDER LAWS 2

 No.    Year        Jurisdiction           Citation                    Description of Regulation                  Plaintiffs’ Response
                                   June 1, 1860 (2d ed.,
                                   William A. Richardson
                                   & George P. Sanger,
                                   eds.) 255 (1873).

550     1865         Vermont       Vt. Acts & Resolves       “…and said fire wardens may inspect the             See Plaintiffs responses to
                                   213, An Act To Amend      manner of manufacturing and keeping gun-            Ex. No. 525 above.
                                   An Act Entitled “An Act   powder, lime, ashes, matches, lights, fire-
                                   To Incorporate The        works of all kinds, and other combustibles, . . .
                                   Village Of Rutland,:”     and said fire-wardens may, if they deem the
                                   Approved November         same to be dangerous, order the persons
                                   15, 1847, § 10.           manufacturing and keeping such gun powder .
                                                             . . in what manner to manufacture and keep the
                                                             same.”


551    1867-68       Tennessee     Tenn. Pub. Acts 26, An    To provide for the prevention and                   See Plaintiffs responses to
                                   Act To Amend The          extinguishment of fires . . . to regulate and       Ex. No. 525 above..
                                   Charter Of The City Of    prevent carrying on manufactures dangerous in
                                   Memphis, And For          causing or producing fire . . .
                                   Other Purposes, pt. 20.




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